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                                               UNITED STATES DISTRICT COURT FO R THE
                                                            SOUTHERN DISTRICT OFFCORIDA                                                                                               JUN 2 # 2222
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                                                      JO HN ARTHUR MAC LEAN = PLAINTIFF

                            RE:THE MOCK UNITED STATES SENATE INVESTIGATION PROB
                                   REGARDING FLO RIDA CORRUPTION INVOLVING
                                   INTENTIONAL VIO LATION O F M ULTIPLE STATE
                                      AND FEDERAL STATUTES EMPLOYED TO
                                       UNLAW FULLY CONVICT A US CITIZEN -                                                                                                                                               Z
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                         see the num berofbenefi   ts forthe State by accepting it-as wel
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                         FederalCourtjudge(oranyone else) isreadingthis-AG Moodyhasrefusedplaintiffsinformalresolution.
                           Thisistosay-AG Moody has in fact refused plainti
                                                                          ffs informalresolution -and -in doing so -chosento com mit
                         ''CRIMINAL CONSPIRACY'' and ''''OBSTRUCTION OF JUSTICE'' - by not NULIFYING BOTH UNLAW FUL
                         CONVICTIONS and arrestin and prosecutin aII22 -PBC public servabts who've commi
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                                     Everglades CorrectionalInstitution
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                                UNITED STATES DISTRICT COURT FOR THE
                                    SOUTHERN DISTRICT OF FLORIDA
                            CIVIL RIGHTS COMPLAINT UNDER 42 U S C j 1983
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              92
              ,
                 DaveAronbern
               Palm Beach County State Attorney
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                  401 N.Dixie Highway
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                  3)JudqeJelrevColbath
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                  4)Judne Karen Millel
                  Palm Beach CountyCircuitCoud Judge
                  205 N.Dixie Highway.
                  W .P.B.Fl orida33401
                  5)Judne KristaMary
                  Palm Beach County Circui
                                         tCourtJudge
                  205 N.Dixie Highway
                  W .P.B. Florida 33401

                  6).CarevHauahwout
                  Palm Beach County Head Public Defender
                  421 3rd Street
                  W .P.B.Fl  orida.33401
                  7).DanielEisinaerASA FelonyChi
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                  421 3rd Street
                  W .P.B. Florida 33401
                  8)..steveArbuzow
                  Palm Beach County trialPD attorney
                  4213rd Street
                  W .P.B. Florida.33401




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           Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 4 of 142



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                 9) Meaan Eaton
                 Palm Beach County initialcase PD attorney
                 421 3rd Street
                 W .P.B. Florida.33401

                 10)Travis Dunninnton
                 Once Palm Beach County PD supervisor
                 PDsoffice hasaddress
                 11) RettParker
                 Formercase PBC PD Attorney
                 PDs office has address
                 Tampa'Florida (??)
                 12)RickBradsha-
                               h
                 Palm Beach County PBSO Sheri
                 3228 Gun Club Road
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                 W .P.B. Florida.33406

                 13)MavnorCruz
                 Boca Raton Police Detective
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                 PBSO HAS ADDRESS
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                 Unknown address
                 BOCA POLI   C E HAS ADDRESS
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$                15)Tera Sessa
                 Palm Beach County PBSO Crime Lab Administrator
                 3228 Gun Ciub Road
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V'.              W .P.B.Florida 33406
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                 16) Cel
                       vnda Sowards
                 Palm Beach Country PBSO Crime Lab Forensic Scientist
                 3228 Gun Club Road
                 W .P.B. Florida -33406

                 17)Marci Reë
                 Palm BeachCountyAssistantState Attorney-case prosecutor
                 401 N.Dixie Highway
                 W .P.B. Florida. 33401

                 18)Briana Cokelv
                 Palm BeachCountyAssistantStateAttorney-caseprosecutor
                 401 N.Dixie Highway
                 W .P.B. Florida.33401

                 19) Reid-scott
                 lnitialPalm Beach CountyAssistantStateAttorney oncase
                 401N.Dixie Highway
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                 20)Poqqv Natale




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         Case 9:20-cv-80997-DMM Document 1 Entered on !FLSD Docket 06/24/2020 Page 5 of 142           #%
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                       Palm Beach County Case AppealPD
                       321 3rd Street
                       W .P.B. Florida.33401

                       21)Ashlev Moodv
                       Florida'sAttorney General
                       Tallahassee'Florida
                       *************************************************


                       111. EXHAUSTION OF ADMINISTRATIVE REM EDIES
                       Not applicable - not DOC related - and not a state court possi
                                                                                    ble remedy where extreme 'CONFLICT OF
                       INTEREST''is involved.
                       IV.PREVIOUS LAW .SUITS:
                           Have you initi
                                        ated otheractions in state courtdealing with SAME orsimilarfacts/issues i
                                                                                                                nvolving THIS action.
                       Answer Due to extreme CONFLICT OF INTEREST aIIbeing state em ployees -No prioracti
                                                                                                        onstaken -birds ofa
                       feather-no one on the same team -evergoes againstfellow team mates!
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1                      B. Have you initiated otheractions in federalcourtwith the SAME orsim ilarfacts/issues involved in THIS action.
                       Answer: Idi d tile a farIess ofa sim ilarclaim on two ofthese defendants in this com plaint severalyears back -in

)                      which -with the AGs power-sheCORRUPTLY had''
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                                                                            fixed'' -(which she isexpectedtoemmloy-aggin fo-rthis. 1-98-3).
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Y)                     C. Have you initiated other actions in either state or fededal coud that relate to the fact or m anner of your
                       incarceration -etc?                                                                                                    à
                       Answer: Again - Ifiled a 1983 a few years back - not heard - in regards to then currentAG Bondi- vi
                       COUNTLESS stateststutes-resulting in my unlawfularrestand jailing - butthi
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                                                                                                s 1983complaint-is UNRELATED
                       to the priorcomplaint-otherthen Bondi-asjustone ofthis 1983s issues -is now covertl
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                       filing thatpriorcomplaint.
                       D.Have you everhad any actions in federalcourtdism issed as frivol
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                       to service?
                       Answer:No!!However-To the bestofmy 73 yearoId recollection - the M i      amiFederalcourtdismissed thatabove
                       mentioned 1983 - ONLY.-due to the state cas-
                                                  -               e-W As PENDING . Itis unknown where thatcase stands atthis tim e -
                                                                             -

                       butforthe record -I'm notm oving forward wi  th thatcase S- and itwas NEVER HEARD -and this 1983 has now
                       involved num erous additionaldefendants on fardi
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                        1983is NOT thesame 1983- norshoulditbe connected in anw w ay to that1983-thatwasNEVER HEAMQ.
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                        ADDITIONAL REQUIRED PAGES
                       As the courtis aware - 1983 perm i
                                                        ts extra pages when necessary.W i
                                                                                        th 21 defendants -there is no way to shorten
                       this-and be understood.
                                    CLAIMS BY PLAINTIFF OF DEFENDANTS

                       ln extreme brief- plainti ffwillprove alldefendants are guilty ofevery Federaljudge ruling below - and mul   tipl
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                       culm inating in two unlawfulconvictions - allin violation of numerous Civi
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                                      UNITED STATES DISTRICT COURT FOR THE
                                          SOUTHERN DISTRICT OF FLORIDA

                               CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C.j 1983
                                            JOHN ARTHUR MAC LEAN = PLAINTIFF
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 Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 8 of 142                       y


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     E)Plainti ff redictsthe assined 'ud e willnotallow thiscase to be made Federalpublic record -in aIIprocessyj -                                             .
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     trial(thejudgewillnevergrant)to clearl
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     ey AG PamelaJo Bondi-undoubtedl      y have ''
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                 State and Federalcourts alikeu ARE BOUND....BOUND TO G UARD
                 AND PROTECT RIGHTS SECURED BY THE CONSTITUTION.III'
                                 U.S.-HAYW OOD VS DROW N,556 U.S.729,
                                  129 S.Ct.2108r173 L.Ed2d.920 (2009)
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                      A state CAN NOT REFUSE TO APPLY THE SUBSTANTI
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                               PROTECTIONS OF A FEDERAL STATUTE
                               (18-241/18-242 /18-1512)IN ITS OWN COURT
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            4) Three Palm Beach CountyCircuitCoudJudges = Karen Miller/Krista Marx/Jeffrey Colbath.
            5) TW O PBC -BOCA RATON ''bad cop''= MynorCruzand RonaldMello
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            Colbath verbabily CONVICTED VHIM SELF aswell-via m ul  tiply state and federalviolations-namely: -Title 18-241 /
            18-242 / 18-1512 / 18-1708 / 18-1709 / and 18-4. It is strongl     y believed they had these precise recorded
            confessions - made atthe beginning oftrialone.-edited outofthe courtrecording -ofwhich the FBlwillbe able to
            uncover.

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                                    AND THE JUDGES CO NFESSIO N OF KNOW ING THE
                                         STATE HAD NO LAW FUL EVIDENCE
                                            MAKING AN UNLAW FUL TRIALS
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                       you (
                           nE-FENSE ATTORNEVS cAN NoT DEFEND youR CLIENT uslNG THE --
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                      oà--èùkaoov F'oR 3o VEARS-Axo THAT THE EvloExcE wAs NoT lNnIv1nuAkuv pAc KAqqp sy-p                - .. .- -

                                TH-ER EvlDEscu -soR THAT IT D1D NoT HAVE ANv pkèpERTv REf)
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                      Y% Rs!''


                          IT is the policy of the Sheriffof Palm Beach County to m aintain evidence...in accordance with FEDERALN STATEa
                      AND LOCALSTATUTES andcourtdecisions (ONLY -ONLY -ONLY W HEN COURTS ARE IN FULL COMPLIANCE                              '
                      W ITH THIS GENERAL ORDER AND THE FBI!).This orderwillapply to ALL employees.(which engulfs PBSO                         @
                      CRIME LAB stag                                                                                                         '
                                                CHAIN OF CUSTODY
                          IT IS REQUIRED UNDER (countless state and federal       ) LAW -THAT THE ITEM (swab and piece of cl  oth)
          )               introduced to the courtas evidence during a criminalorcivilproceeding - IS PROVEN (THATS PROVENIII)to be
                          THE SAME ITEM ORIGINALY COLLECTED.(onlyaccomplished bythe CHAIN OF CUSTODYI!)

)'   ,
                          1)THE CHAIN OF CUSTODY INCLUDES THE NAMES OF ALL PERSONS HANDLING THE EVIDENCE THE
                          REASON THE DATE AND TIME THE EVIDENCE CAM E INTO THEIR POSSESSION

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 '                        9.W HAT CHAIN OF CUSTODYP'
                          A.W e had nonell!
                                                   ?R
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V-
 ,@                       2) PROPER PACKAGING CONSIST OF PROTECTING AND SEPARATING ITEMS TO PREVENT THE LOSS,
                          REM OVAL,CONTAMINATION OR TAM PERING .
                                                                                                                                                  N


                          Q..And whatpackacinq??'?? How could anv iudge - allow A--NY c
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                                                                                             k.Forensic $cientist.
                                                                                                                 (F$)$191q.(mpfq:qod
                          MIAZMJ-QXS-QBCQ-thatWASN'
                                                  TEVENPACKA/ùDAY/Li -ioV M>@hl
                                                                              p4h9cpq/ proceeàingtj?'??
                          A,.Via cprrupti
                                        ol !!
                          3)PROPER SEALS CONSIST OF COVERING ALL OPENINGS OF EVIDENCE PACKAGE TO PREVENT LOSS,
     *                    REMOVAL,CONTAMINATION OR TAMPERINGI!(NOW GET THIS NEXT LINE)
                          EVIDENCE W ILL NOT...(W ILLNOT)BE ACCEPTED (lN THE CRIME LAB OR COURT)UNLESS IT IS PACKAGED
          .               AND UNDER PROPER SEAL
                          Q,Butthere was no oackaninn orseals at:1
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                          A.)aaree!Totall
                                        v unlawful-aswaq:
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                          4)EACH ITEM OF EVIDENCE SHALL BE LEGALLY -RECORDED ON THE PROPERTY RECEIPTS.(The FS
              /           (CS) CONFESSED -THEY didn'
                                                   teven have one propedy receiptforthe evidence to a FS confessed 50 to 300
                          GaSeS.

                            SUMMARY AND FORMAT O FALLTO FOLLOW
                          To begin this VERY ACCURATE ACCOUNTING of thi
                                                                      s massive Florida and Palm Beach County PELICAN
                          BRIEF and W ATERGATE caliber OBSTRUCTION OF JUSTICE and CRIMINAL CONSPIRACY -is a ''mock'
                          U.S.Senate Q and A INVESTIGATION -in which - IF (IF) a1I involved were to TELL THE TRUTH -the




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         answers they give -would represent EXACTLY what has criminally been inflicted on plaintiff(JM)eversi
                                                                                                            nce
         October19th -2012- as you willread inthismockQ and A.
         AGAIN:The answersto a1Iquestionsasked bythe Senate Majori
                                                                 tyLeaderare being answered inthe highestdegree
         oftruth -and priorto anyone doubting any such answer-ask any ofthese defendants ifthey'd be W ILLING to
         SUBM IT to federalpolygraph-andwatch how fastthey'llREFUSE -a''right''ornot..

          PAGE 8 NEXT




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       j,s,
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                          AT THE END OF THE.Q and A ....
            are several pages ofvari   ous state and Federal vi
                                                              olations comm itted -and both Florida and U.S.Constitution
          Amendm ent vi olations - in whi
                                        ch have been so horrifi call
                                                                   y violated -one would swear they were com m itted by
          people who aren'teven attorneys.
          Also be advised -ifwhil
                                e reading along -you stumble into som ethi
                                                                         ng thatm akes me look guil
                                                                                                  ty -ori
                                                                                                        sn'tfitting to m y
          overallthem e ordemeanor- 'they''had italtered to reflectsomething Idid NOT W RITE! And forthe record - Ihad
          NOTHING to do with these crimes and wasn'  teven in the state atthe tim e of one ofthe two were to have taken
          place in the 1970'
                           s
                A CRUCIAL FACT NO N-VIG II-ANTES W ILL ACCEPT
          Due tothe fact-98% ofthese pages to follow -provewithoutany shadow ofdoubt-the statespubli
                                                                                                   c servants are
          guilty ofallwithin -willbe the cause ofvigilante bar-claim ing that's up to the appealcouds to decide -which sounds
          good on paper- but again Federall     y proven wrong bel  ow - reflectively acquiring a reply of - ''
                                                                                                              G ood try butthe
          HIGHEST APPEAL COURT IN THE UNITED STATES HAS ALREADY DECIDED - AND M UST BE

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                                       DEESRALCOURT.                                                                             d4
                      227 V S.438,469,471,48 s.ct564

           ''
            To declare thatin the administration ofcriminallaw,the endjustifiesthe means to declare the GovernmentMAY
4N         COMMIT CRIMES inorderto secure aconvicti
           W ILL)bringterri
                          ble (Iegal)retributionl''
                                                         on ofa private (singul
                                                                              ar)criminalwould (and lmore then assure you

                     THE VERY HEART OF OBSTRUCTION OF                                                                             ç
                                                                                                                                       N
x-#
                       JUSTICE /CRIM INAL CONSPIRACY
N
                        AND M ULTIPLE CONSTITUTIONAL
                                 VIOLATIO NS                                                                                          Nx
                         REPEAT BUT NEEDED TO SINK DEEP
               ASA CONFESSIO N TO JUDGE PRIOR TO TRIAL ONE BEG INNING
           ''
            JUDGE,THE DEFENSE IS GO ING TO TELL THE JURY,THE STATE HAS NO CHAIN O F CUSTODY FO R 30
           YEARS ON THE ONLY EVIDENCE W E HAVE,AND THAT THE EVIDENCE W AS IN A LARG E BOX W ITH THE
           EVIDENCE FROM 50 TO 300 OTHER OLD CASES,NONE O F W HICH W AS INDI
                                                                           V IDUALLY PACKAGED,ALL
           TOUCHING EACH OTHER,W ITH NO PROPERW RECEIPTS FOR 30YEARS.'
                        U.S.-HAYW OOD VS DROW Nu556 U.S.729,
                         129S.Ct.2108:173 L.Ed 2d.920 (2009)
                'A state CAN NOT REFUSE TO APPLY THE SUBSTANTIVE
                          PROTECTIO NS OF A FEDERAL STATUTE
                (18-241/18-242/18-3600/18-1512)IN ITS OW N COURTI!


                               FEDERALTI TLE 18-3600 (a)(4)
           (4) 'The speci
                        fic evidence TO BE TESTED isinthe possession ofthe government(PBSO)and HAS BEEN (PAST
           TENSE)SUBJECT TO A CHAIN OF CUSTODY (I       abconfessedto NO CoC!!)and retained underconditionssuffi
                                                                                                               cient
           to ENSURE thatsuch evidence HAS NOT BEEN (PAST TENSEIII)- substitutED -contaminatED - tamperED
           W ITH - replacED - OR alterED -i
                                          n ANY respectmaterialto the proposed DNA testingl''
           The above-detailsthe State mustbe incompl   iancew iththe requirementsforPostConviction DNA RE-testing -onl   y
           allowed when a states INITIAL ANALYSIS is in fullcom pliance ofthe above FederalDNA acquisition - inasm uch as -




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               LOOK UP again- atthe indi
               F                          vidualdescriptive restri
                                                                 ctionsand note -the/re alIin PAST TENSE (ed)
                                                                                                            w r
                                                                                                              evealing that
                ederalm andate -clearly proves-3600 DNA MANDATES BEG INS -IN THE STATES OW N CRIM            E LABS -and
               COURTS - MAKING ANY STATE DNA UNLAW FUL-IF NOT IN CO MPLIANCE W I
                                                                               TH ABOVE.
                          THE JUDGES CO NFESSION OF KNOW ING THE
                             STATE HAD NO LAW FUL EVIDENCE
                                MAKING AN UNLAW FUL TRIALS
               ''
                YOU DEFENSE AU ORNEYS CAN NOT DEFEND YO UR CLIENT USING THE STATE HAS NO CHAIN O F
               CUSTODY FOR 30 YEARSmAND THAT THE EVIDENCE W AS NOT INDI
                                                                      V IDUALLY PACKAGED AND TO UCHING
               OTHER EVIDENCE,NOR THAT IT DID NOT HAVE ANY PROPERW RECEIPTS FO R 30 YEARSI'III!

               And no judges'discretion orimmunityfrom ci
                                                        vilfinancialsuits-all
                                                                            ow any bar-to knowingly and will
                                                                                                           fully violate the
               1aw -ofwhich bothjudgeandstate confesstoviolatingl!
               Redundantornot -SPECIFICALLY NOTE the m ul     tiple pasttense ofaIIthe ''
                                                                                        ed''atthe end ofthe above read
               restrictive words -that PERTAIN TO - PRIOR TO ANY Federalpostconvi  cti
                                                                                     on testing. In otherwordsqifthe state     '
               IevelDNA EVIDENCE -HADN'T BEEN MAINTAINED - AS THE FEDS MANDATE IN THE ABOVE 18-3600 (4)(a)
               -
                  DNA EVIDENCE CAN NOT BE USED IN ANY STATE OR FEDERAL DNA TESTING LABS, CLEARLY
               M EANING :

         P'    1)ThatthestatesDNAWASN'TLAWFULTOEVEN USEINANYCRIME LABorCOURTand..
                   2)W HERE SAID EVIDENCE IS NOT FederalSUITABLE FOR FEDERAL POST CONVICTION RETESTING -THEN
               BECO MES A VIOLATION OF 18-241AND 18-242, INASM UCH AS DENYING A DEFENDANT THE SAM E RIGHTS
               AS EVERYONE ELSE HASI TO BE ABLE ...ABLE TO HAVE aTHEIR DNA RETESTED BY THE FEDS PO ST
               CO NVICTION APPEAL PROCESS -IN W HICH THE STATE HAS ALREADY DENIED THAT RIG HT -BY INITIALLY
               ALLOW
               Circui ING UNL
                    tCoud    AW FUL
                          -THAT     EVIDENCE
                                COULDN' T HAVETO BE ANY
                                               BEEN INTRO  DUCED
                                                        M ORE    TO
                                                               UNLAW 1st-tTHE
                                                                     FUL  hanitCRI
                                                                                 M E LAB -AND 2nd -THE PBC
                                                                               was                                                 ge

C-              M ustyou re-read the above 3600 again -to see aIIthe ''
                                                                      ed'
                                                                        s'- CLEARING TALKING -PRIOR TO REACHING ANY
               PO ST CONVICTIO N DNA TESTING OR THE STATE LEVEL - DNA W ON'           T BE ACCEPTABLE FOR FEDERAL
         #y,   RETESTING - IF..IF ..IF THE STATE WASN'T IN COMPLIANCE W ITH 18-3600 (4)(a)-asthe state DNA inthese
               fabricated cases -surel
                                     y wasn'tlll!
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                   PAGE 9 NEXT
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                      PAG E 9R         ASA BC
                               SENATE MAJO RITY LEADER COMPELS THE FLOOR
                      W iththeUS Senates Majority Leader-EdW hite (EW)-askingthequestions-aIlthedefendantsare sitting inwai
                                                                                                                          tfor
                      theirturn -as are the victi
                                                m -J.M . and wi
                                                              fe -aIlpresentand sworn in -as EW opens:
                      ''Good m orning I
                                      adi
                                        es and gentlemen. Though none ofyou had anychoice in com ing here -Inonethelesswantto
                      thank you forappearing.Any time we have one ofourstates making a MOCKERY ofourcountri
                                                                                                          esjudi
                                                                                                               cialsystem
                      and Constituti
                                   ons -you can be sure -the fullSenate w illstep in. lalso m ustsay -the fullSenate is appall
                                                                                                                             ed atthe
                      wayFIa/PBC Judici
                                      alhasso terriblyconductedwhatwe now aIIbelieve -is''
                                                                                         the norm'
                                                                                                 'foraIIFloridajudi
                                                                                                                  cial-and you
                      may be cedain -we're going to resol
                                                        ve this abruptly.
                      lalsofi
                            nd itverydisturbingJM wasqui
                                                       te willing toworkthi
                                                                          s out(save''face''forFIa)withthe new Florida AG -Ashley
                      Moody-w ho -Iike the priorAG -Pam Bondi-again -m erely choseto sitbackto playthewaiting game wi         th JM - to
                      see ifhe'd make good any ofhis repeated vows -thatthis day woul  d eventually arri
                                                                                                       ve -and - Florida -thatplan was -
                      and willagain prove to be - a serious mistake -with notone ofyou sm artenough to realize -any story as Pelican
                      Briefand W ATERGATE em barrassing forthe US Governm ent and a state -as this story trul       y is - only naturally
                      woul d enthrawlthe fullSenate -W ashington -Florida and globalciti
                                                                                       zens.
                      My intentions are to ask each ofyou various questions -and îetme m ake itvery clear-where you're allattached to
                      the very latest-lazorpolygraph -thatwillpositi
                                                                   vely catch every Ii
                                                                                     e you m ake -Istrongl
                                                                                                         y suggestyou don'tli
                                                                                                                            e - orthe
'
                      penaliti
                             es won' tbe nice.Thatmeans -forevery questi   on Iask -you had betteranswerthe God's Honesttruth. And
 .                    withthat-IcallState prosecutorBrinna Cokley to the stand. Forthe sake ofsaving time -we'llskip allofthe small
.:                    talk-so wecangetrighttothe meatofthishorrifi
                                                                 c injustice
)                     Q .W ould you state yournam eand posi
                                                          tionforus.                                                                        >/
                      A My nam e is Briana Cokley - and l'm one ofthe two Palm Beach County Assistant State Attorney who were
                      assigned to prosecute JM i
                                               n both trials in the sum merof2018.
                      Q . And were you aware cjfthe corrupti
                                                           on taking place in PBC?
                      A, Sir-there isn'tone barm emberanywhere in Florida - thatisn'
                                                                                   taware ofthis corruption. W e aIIknow ofi
                                                                                                                           tand play
                      our partwhen ourtime comes -even the PA's. Butin the JM cases - MarciRex and I-were both specifically
                      assigned by the PBC S.A.Dave Arenberg -as he knew we're ruthless when i tcomes to violating everything.
                      Q .W hatwould everprom ptyouto make sucha bold-state cri
                                                                             m inalconfession-on record - as the one below?
                      ''
                       JUDG E,THE DEFENSE IS GO ING TO TELL THE JURY, THE STATE HAS NO CHAIN OF CUSTODY FO R 30
                      YEARS ON THE ONLY EVIDENCE W E HAVE, AND THAT THE EVIDENCE W AS IN A LARG E BOX W ITH THE
                      EVIDENCE
                      TOUCHI NG FRO
                                EACHM OT
                                      50 TO 300 OTHER OLD CASES, NONE OF W HICH W AS INDIVIDUALLY PACKAGED, ALL
                                        HER,W ITH NO PROPERW RECEIPTS FOR 30 YEARS .''
                      Q.W asthatclosetowhatyouconfessedto i
                                                          n court-wi
                                                                   thoutthejurypresent?
                      A.Astonishing JM could rememberthatquote -as its almosta clone. As to what prom pted m e to say it - pure
                      ignorance and notthi
                                         nking clearly orthatJM would rem em beritorhave the abili
                                                                                                 ty to bring us alIdown - with one slip
                      ofthe tongue -good-by barcard and Iivelihood.
                      Q. No truerw ordswere everspoken. So i
                                                           tis yourtestimony here today that:

         @            1)Youknew the evi
                                      dencewas 100% unlawfulto use inanycourton earth?
                      2)Thatyou viol
                                   ated Fla Statj 838.022 -18-1512 and Fla.Stat913.18 -via concealing mul
                                                                                                        tiple materialfactsfrom
         @            thejury?


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               3)Anthatthere'
                            sa second 'mul  e counts ofthatstatute -via fraudulently presenting the evidence as Iawful-
                                         tipl
               when you abundantly knew itwasn't?
               4)You've splendidlyviolated JMsUS Consti
                                                      tuti
                                                         onalrights perTitle 18-241 and Ti
                                                                                         tle 18-242 and 18-241 -basically
               m andating every US ci
                                    ti
                                     zen m ustrecei
                                                  ve -notonly a FAIR TRI
                                                                       AL -but a Iawfulprosecution anywhere inthe US -
    '
    9
    .
               equaland in compl
                               iance with the fullUS and FIa Consti
                                                                  tutions.Are you aware you'
                                                                                           ve violated al1ofthi
                                                                                                              s -justfor
               starters?
               A.1am sir.Butits the ofd -thinking we wouldn'tgetcaught-and that Arenberg would getthings fixed forus -ifwe
               dig too deep ofa hole -Iike he has in the past.
               Q.l'm going to quote a Florida statute and Iwillask you severalquestions in regards to it.


               (1)I
                            FLASTATUTE.5838.022OFFICI
                  T IS UNLAWFUL FOR A t
                                      XPUBLIC SERVA-
                                                    ALMISCONDUCT
                                                   ND OR PUBLIC CONTRACTOR,TO KNOWINGLY AND
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               INTENTIONALLY OBTAIN A (ANY)BENEF-fT ianunlawfular
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               PERSON OR TO CAUSE UNLAWFULHARM (ARREST 6YEARS IN JAIL -rWO UNLAWFULYMIALS PRI/06.)                                 --   -   -

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               To Astjk          .
                                                                                  ''     -
               a)FALSIFYING OR CAUSING ANOTHER PERSON TO FALSIFY ANY OFFICIALRECORD 06 Qj'jq
               DOCUVQNV !
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               b)-CONCEALING. COVERING UP DESTROYING OR ALTERING ANY OFFICIAL, RECORD ()6
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               c)OBSTRUCTING -DELAYING -OR PREVENTING THE COMMDN-LCA-
                                                                    TID-N-S.-OE-1NFORMATION.R
               THE COMMISSION OFA FELONY THAT DIRRCTSYJNVOLW M OR èV EXV UH-E OQ
        V. sse-v-s-o .qy-'% :F?klvtlqsqltkkk-w ,
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        PAGE 10R           ASA BC -1
        Q.Mvfirstnuestionis-whodoesthatIaw pertaint9?
        A.Fl
           oridabarandbadne(BAM)!
        Q:Notthe public?
        A.Correct.
        Q .And vou clearlv undqrstand thatstate Ial?
                .



        A.Sir-Ihave mv Florida barcard:ofcourse Iunderstandjt.
        Q.No MsCokelv-vouno I
                            onuerhaveanvbarcard:Sothen -wherethisisa state I   aw foraIlBAB -thatincludesaII
        ASAS-which youhaveNO im munityforcriminallyvl
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                                                             sn,
                                                               tthatcorrect'?!

  F .A'.Yesi
           tisastateIawforalIbab-andno-wqhavenoimmklni
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        Q .Then you've -PREVENTED M D CONCEALED .THE.COMM UNJCATC
                                                                ON-S-O
                                                                     .F..tN
                                                                      - - --F-ORMA-T-IONSst-
                                                                             -             sq-en-
                                                                                                agqjq
       'h/l
          nw) RFLATING TO THE CO-MMISSION OF A FELONY r THAT DlR
                                                               yECTtY INVDLVES QR     . ENNECTS T!:LC. -

        GOVERNMENT ENTITY SEFW ED MY T8E PUBLIC SUt:WANTSalh@lpp-ipçm@lipnl#irlg.çpnçqpl
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        Q.So youconfess-you didn'
                                t advise ei
                                          therjury-i
                                                   n eithertrial-the onlyevidence you had -wasunlawfulto use?
                                                                                                                    *
                                                                                                                    ù


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        A.Ahhhh-nowe did nQ!!
        Q.Soyou'
               ve commi
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                      tteda class3felony-timestwo tri
                                                    als-thus 14jurors-thus14countsin all?
                                                                                                                    N
        A. Ummm -we d1 .
        QxMakinc i
                 ttwounlawfultri
                               als? -



        A.Truq.
        Q .MsC -wereyouorderedto convictJM atallcost?
        A.W e were.And Pam Bondialways has ourback inasm uch as -notlosing ourcards and stuffIike that.
                                        PSALM 58:1 -4
                JUSTICE:DO YOU RULERS EVEN KNOW THE MEANING OF THE
                  W ORD? DO YOU JUDGE THE PEOPLE FAIRLY? NO !YO U PLOT
                     INJUSTICE IN YOUR HEARTS.YOU SPREAD VIO LANCE
                        THROUGHOUT THE LAND. THESE W ICKED PEOPLE
                          ARE BO RN SINNERS EVEN FROM BIRTH THEY
                             HAVE LIED AND GONE THEIR OW N W AY.
                                     THEY SPIT VENOM LIKE
                                        DEADLY SNAKES!




                                          WX OVW '
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       !k. , ?                                             e            ''
       ) /, .                                              >        .




          Q.During ei thertrial-di
                                 d the alleged victim soranyone in Iaw enforcem entoranyone else -ever-atany time -look
          across the courtroom -and pointto JM and say -''that's the assailantrightthere.''?
          A.Ah no!

          Q.Were there anyfingerprints leftbehind bythe realassai
                                                                lant-in whichthe alleged vi
                                                                                          ctims pointed outwhere they
          touched -ofwhich police ''gathered togethernthose very prints -to exam ine againstJM's??
          A.Um there was.
          Q.How many prints in alI,?
          A.Ahhh...w ellactuall y -the police officerwho testi
                                                             fied in both trials -testified he personall
                                                                                                       y acquired 11 fingerprint
          cards -with 5 prints on each -so Iike -a m i
                                                     nim um of55 prints were found total-from both crim e screens.
          Q.Fifty five fingerprints in all.And did the olicertake the prints ofeveryone in the house -to see i
                                                                                                             fany ofthe prints
          we're theirs?
          A.He did -and none m atchedl!
4
q

          Q. Ms Cokley- aren't finger pri
          EXCULPATO RY?''
                                        nts believed to be the assailants - padicularly witnessed placed - MATERIA L


)
,         A. Um m ...yeah -they are.
          Q .So the prints had to belong to the assailant-where they m atched no one else in eitherhome?
4.
 0        A.Ahhh yes.                                                                                                              ''
                                                                                                                                   ,

          Q .And have you everheard of:

                     ARIZONA VS YOUNGBLOOD (1988):488 U.S.51
                (20)The DUE PROCESS CLAUSE PROTECTS A DEFENDAN
           FROM (FROM)BEING CONVICTEDOFA CRIMEW HERETHE STATE
                   HAS FAILED'TO PRESERVE ''MATERIAL EXCULPATO RY''
                                   EVIDENCE!GM !
                                                                                                                                   1
                                                                                                                                   %
                                                                                                                                   W
          A.Um mm m yeah -I'm aware ofthat.
           Q.Then tellus a1I- TELL THE W ORLD - because that's who'
                                                                  s going to read thi
                                                                                    s:did police find any ofthose 55
           prints -to match even one ofJM s?
           A.No.
           Q.So herewe have thepolice-acquire 55 MATERIAL EXCULPATORY prints-from thevery Iocations-the alleged
           vi
            ctims saw the REAL assailanttouch -yetnone ofthose 55 prints match JMs prints?
           A.Ahhh....well.....because the police destroyed them alI-there wasn'
                                                                              tanyway oftelli
                                                                                            ng.
           The fullsenate smil
                             es:
           Q .Isee.And i
                       sn'
                         titagain true -case proven prints - are materialexculpatory?
           A.Thatistrue -yes.

           Q.Andisn'
                   tittrue-thefederaljudgesruled i
                                                 nYOUNGBLOOD -thatuponastatefailingtoPRESERVE MATERIAL




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                 EXCUPLATORY EVIDENCE -REQUIRES THE CHARG ES TO BE DISMISSED -which is also a constituti
                                                                                                       onaland
                 Brady m andate'??
                A.W hatcan Isay? W e we're-allordered by AG BONDI-to violate anything we had to -to geta conviction -so we did
                -
                      andthatsjustone ofthe manywevomited aIIoverl!
                 Q.And didn'tyou justtestify -fingerprintswere I
                                                               ocated atthe scene ofboth all
                                                                                           eged crimes -in which the police
                 officers w ho gathered those prints together-also confessed via documentation -to having destroyed those very
                 prints - wouldn'
                                tthatconfession be considered MATERIAL FACTS?
                 A.M ostdefini
                             tely!
                 Q.And did you oryourASAS assistant Rex - bring these - innocentorguil
                                                                                     ty proving facts -to the attention ofthe
                 juries?
                 A.Ahhhhh...no.,.no we didn'
                                           t.
                 Q ,And why not?
                 A.Because they would have found JM innocent!
                 Q.And the fact ou intentional didn'tbrin these .ye mptqfia.
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                 violationof....coNcEALlNG COVERING UP-ANY OFFIUI/L,REUQRM O R bOCUM ENJ..F-i
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                                                                                                   4-......18-
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                 18-1512 via manvsubsections- making it a class 3 felon-y---both
                                                        -   .    - .-           -pu p-n-d- y-
                                                                               .J-  - .     oq!q.-...
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                                                                                                                  qprll-e.z..
#                A.Ahhhhhh....
                             yeahhh....obvi
                                          ously wedre guilty ofboth statutes times 14 counts.
                 Q.And w ho wasfirstto have discovered this printdestruction?

V                GO TO PAGE 11                                                                                                    #
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                  PAGE 11     ASA BC                                                 i
                 A.PBC ASA Rei
                             d Scott.
                 Q.
                 KNOWSoINGLY
                         this ASA.
                                ANDScot t was the firstto make known the destruction of prints -ofwhi
                                     W ILL                                                          ch he too violated - by
                                          INGLY FALSIFY,OR CO NCEAL A MATERIAL FACT -aIIon top of- crim inall  y concealing
                 these m aterialfactsfrom the cour
                                                 l -defense -and m edia.
                 A.He can'
                         tdeny it-as he confessed in the moti
                                                            on to compel(m2c)hearing -to the poli
                                                                                                ce fi
                                                                                                    nding and gathering
                 togetherthe 24 m aterialfavorabl  e evidence - 11 of which were the print cards - thus - materialexculpatory - so
                 yeahhh
                 ''     - he  was   t
                                    he  fi
                                         rstto com mitthatclass 3 felony -we BABS try to claim wasn' tactually a felony - itwas only
                  suppressing''theevidence -awordgamethat'ssupposedtoavoidthat5838,022statute -anddoesavoid i                 t-ifa
                 sharp -non vigilante attorney orrr-sharp accused -doesn' tmention thatstatute -as JM did - and snitch us out.
                 Q .And how I ong do you think Florida's been getting away with the Brady vs Maryland - violation - by scam ming the
                 public by beli
                              eving the word ''suppression'' m akes concealing l
                                                                               egal-as ifits a li
                                                                                                fe preserver- when i ts actually a Fla
                 Stat838.022 concealing classthree fel ony?                                   .                                       .
                                           ISAI
                                              A H 1:23
                           YOUR LEADERS ARE REBELS AND COM PANIONS OF
                               THEIVES.ALL OF THEM LOVE BRIBES
                                       AND DEMAND PAYOFFS.
                                              PSALM 94:20
                            CAN UNJUST LEADERS CLAIM GOD IS O N THEIR SIDE
                             - - LEADERS W HO SE DECREES PERM I
                                                              T INJUSTICE                                                                  h:
                                   THEY GANG UP AGAINST THE RIGHTEOUS
kp
 <                                      AND CONDEM N THE INNOCENT
>
                 A.
                 f Ohhh gawddd...fordecades - when the truth is - Fla. Statute j 838.022 is specificall
                                                                                                      y for''PUBLIC SERVANTS''            %
                 oragain - 'PREVENTING AND CONCEALING THE COM MUNICATIO NS O F INFO RMATION RELATING TO
                 THE COMMISSION OF A FELONY - THAT DIRECTLY INVOLVES OR EFFECTS (effects'?? How aboutdestroys                             )
      '          ANY TRUST IN ALL STATE CITIZENS IN ITS JUDICIAL SYSTEM : IT'
                                                                            S ENTIRE JUDICIAL SYSTEM I! HOW
                 BOUT THAT??!!) THE GOVERNMENT ENTITY SERVED BY THE PUBLIC SERVANTS -so yeahhh                                -   we're
                 scam ming the tax payers the defense the court and the pubic -everytime we employ the 'suppression game'
                                                                                                                        '                 Xv
                 W e'rehistoryineverywaypossible-aren'
                                                     twe? :'(                                                                         .
                 Q .Ouuu i
                 MANDATES   f you onl
                               DISMI y knew
                                    SSAL  OF. As i
                                               THEf suppression isn'
                                                    CHAR            texactly what the Brady case is soooo federally against- it
                                                          G ESIIII
                                                                 ?'?? lsn'ti
                                                                           talso true -an alleged victim stated the assailant-had
                 black hairy arms -to 2Ms blonde and lightcovered hair?
                 A -Um -yeah thattoo i
                                     s true.
                 Q .Then how the hellcanan honorabl   e state -w hich Fl
                                                                       orida obviously isn't-sim ple blow thatpowerfulfactoff? Here
                 JMs arm hairwasn'   t heavy in those days - and posi  tively blond? W hat'd you alIdo - brainwash yourselves into
                 believing he dyed his arm hair??????
      .          A.This is making me sick.
      o.
       wy        Q.No doubt!l tshouldl! So you're aIlwellaware -including EX AG Bondi -thatJM was unlawfully arrested and
     'W'         charged and prosecuted and imprisonede
                                                      ??

      L   .
          ?      A.Ofcourse we aIlknew . Everything became transparentinthe M2C -asjustsomeofourmanyviolations -inwhich
                 forbid JM from even being arrested.
                 Q.Yetyou andyourcorruptassociate ASA -MarciRex-nonetheless prosecuted JM anyway?




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                          A.Bynochoice!Ei
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                          More senatorsm il
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                          Q .1
                             . don'
                                  tthinkvou have to worrv aboutthatanvlonner-M iss Cokelv IfIwere you. I'd be m ore concern overyour
                          ar
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                             l -as ou are now underarrestand these twofem@le fejvpl@ epl,î,lp.-
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                                                                                              es. Ou are a lsgrace to the U$
                          GovernmentAgents? Getheroutofmy sight!
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                   PAG E 12R        R.S./ASA
                   Q.lnow catl-PBCSveryown DOC HOLIDAY. ASA R.S.M rS -sitand tellus yournam e and position.
               A.Mynam eis Reid Scott -and lwasthe initialcase PBC ASA. Before we begin -is there any chance you give m e a
               deal-i
                    flsnitchouteveryone involved -and detailtheirpartin the unlawfulconvictione??
               FullUS SenatelaughterasEdW hi
                                           te replied:
               Q.Nota chance in hellMrScott. Yourdays com ingling wi    th Iiberty -are hi
                                                                                         story - and furthernore - onl
                                                                                                                     yifyou full
                                                                                                                               y
               cooperate by answering aI
               t                       Im y questions truthfull
                                                              y -willyou receive only 50 years -opposed to 100 - ifyou electnot
                o.W hich willi
                             tbe?
               A 1'11cooperate. Ask away.                                                                                          '
                                                                                                                                   -'
                                                                                                                                    *e
               Q.W asevewthingCokel
                                  ysaidcorrect? Andwereyou i
                                                           n factdomino one inthispi
                                                                                   tifuljudicialembarrassment?
               A.Yes aIIshe said was the truth and yes - Iwas the scum who unl
                                                                             awfull
                                                                                  y initi
                                                                                        ated the charges - knowing we had
               absolutel
                       y nothing Iawfultoem ploytoarrestJM -muchIess-takehim totrial.
               Q
               t .So you knew -when Boca'
                                        s defective MynorCruz cam e along to presenthiscol
                                                                                         d case to you - you knew itwas




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                                                                                                                                   ''
     u   'h
              2)AndwhatJM HONORABLY fellunder-''the identityofan accused SHOULD HAVE BEEN ESTABLISHED wi
              the exercise ofDUE dil igence.'JM fellinto thissecond cryteri
                                                                                                       th
                                                                           a -because W E HAD ACCESS TO HIS DNA in the
              NationalCodis W AYYY BACK IN 2007 -and a sim ple licence check would have show n he Iived in Deerfield - thus
                                                                                                                                    '

                                                                                                                                     ijk'x

              establishing the -'Should have been established.''Even ifthe DNA hadn'
                                                                                   tbeen FABRICATED -AS IT HAD BEEN -it                  %
              wasfouryearsTOO LATE in2012 to useany DNA
              Q .So youdid make thatveryclearto DeFective Cruz?
     '
     '
              A.Ohhhhh Cruz knew alright- which accounts forwhy he was so upsetwhen - during the ini
              Cr
              b uzasked JM threetim es-i
               een questi
              CHARGES   oned!
                        O N That offici
                                                                                                      tialpolice interview -
                                        fhe'dbeen prior questioned -by Boca PD -in 2007/8 - onlyto be told by JM he hadn'
                                       ally and Iawfully meant -W E HAD NO LAW FUL EVIDENCE AT ALL - TO FILE ANY
                                                                                                                           t             4
                           !!
              Q.And should have released JM afterfinding outhe hadn'tbeen questioned?
              A.Correct.

 @            QO
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 .            A.I'm afraid so Sir
              Q
              b .And yourfeariswellwarranted Scott- as you're going to be prosecuted to the fullestextentofthe law - and will
              ke placed underarrest-pri
                                      orto stepping down. Agents? Upon hi  s com pletion - stand at his side. W ho el
                                                                                                                    se Mr S
               new alIthis?
 P'. A Everyoneinvol
                   ved.Pam Bondi-DaveAronberg-BreannaCokel
                                                         y-MarciRex -MynorCruz-aIIthePDs aIl                              -




                                               SS M H V
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                           three judges -many in the PBSO CRIME LAB.W e aIlknew -i
                                                                                 twasan unlawfularrest-alIthe while -hoping we
                           could getenough vigilanties on the team -to pulloffan unlawfulconviction -which we did.
                           Q .Excellent-then they're aIIunderarreston the same charges-concurrently neck and neckwith OBSTRUCTIO N
                           OF JUSTICE -AND CRIM INAL CONSPIRACY - none ofwhich any ofyou willbeat- and more charges and counts
                           w illbe added -I'm sure.Tellme thestoryofJMs reportmaking you becomea PA?
                           A.As becametooapparentforany ofourjudicialwel      lbeing -JM isjusttoosharp-to pullanything overon. W hen he
                           was shopping around for Iegalcounsel- upon telling three PAs - of Cruz asking him three ti m es - if he'd been
                           quest
                           JM i ioned in 2007/8 in regards to these charges -only NO7'to have been -the three PAs he was screening - filled
                               n onj775.15 (15)(a)-thushispossi
                                                              ble candi
                                                                      datesforhis PA -made i
                                                                                           tveryclear-the DNA hadexpired          .


                           A.
                           U JM then w rote one ofhis brutalrepods detailing the unlawfularrest-which drowned Cruz and I- in an FCltoil et.
                             pon thathappening -the PBC SA Aronberg -in talking with Pam Bondi-feltlneeded to getoutofthe state
                           attorneys office -thus - in thinking itwouldn'
                                                                        tIook suspi
                                                                                  cious -the l
                                                                                             ocals paperdid a story on my going to become a   '''
                           PA.
                           Q .W hich JM saw thru'??
                           A.ln roughly one pointtwo seconds. The reason he wrote anotherkillerreporttelling aII-the realreason I'd staged
              --
              .
                           the PA m ove -causing Bondi-Aronberg and me -head failure. Back to the drawing board -we then feltitbest-ifl
                           returned to the state attorneysoffice -based on-atthattime -JM hadn'tgiven the mediathe story ofwhy Ikeft- so
                           we felti
                                  twas safe to return -in onl y a month as a PA . (Googl
                                                                                       e Rei
                                                                                           d Scottbecomesa PA)
                           Q.Tothesam eposi
                                          tion aswhenyouIeft?
                           A.No....
                                  Aronberg made me the head ofthe murder(signal5)di
                                                                                  vision     .


                           Q .Scott-on a 1to 10 -how m uch-towhatdegree. i
                                                                         sAronberg a crim inal?
                           A.Aronberg is as corruptas Cali
                                                         fornia is I
                                                                   ong. Im ean - Ithought lwas bad - butthis m an has me beatby a Iong
          #                shot.He'sjustIike everypolitician-corruptascanbe -you-obviouslyanexceptionsir      .


                           Q.(FulIsenateIaughter)Ofcourse.IheardJM advised -youattended bothofhistrialsatcedaintimes W hy? .
     )k
    h.
k                          A.To see how i  twas going and how Aronbergs two fem ale superstarprosecutors were doing - who -forthe record -
                           are a refl
                                    ection ofAronberg in the area ofcorruptand criminal. They have zero m orals.

                           GO TO PAG E 13




                                                                  zv v ;
                                                                       ,v(='
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                       x.
                        'q ,- L
                    z.'e a g




                             PAGE 13R      -RS
                            Q.
                            d Yeah -welltheirdays ofprancing backand fodh to a coud room podium - are history,Theirstardom searching
                              ays are over-as they both face alIthe sam e charges -and more. Oh they'
                                                                                                    llappearin the papers one m ore time
                            alright- butitwon'tbe anarticlethey'llcutouttoputintheirscrapbookliketheyboth currentlydo. How many ofJMs
                            repods have you read and who else reads them?

                            A.Everyone hewrotewhile i
                                                    njailinthesixyears.Ihave my own copies infact And everyone high up involved -has
                                                                                                         .
                            read aIIthe copies made -while being sentto hi swi fe -so like he'
                                                                                             s said before - his realdetailed reports -are
                            already athome. However-we've recentl y heard he had a corruptdeputy m aila bunch m ore forhim - so notto be
                            screened -which none ofus -know how serious they expose ourviolati
                                                                                             ons.
                            Q.And whatwereyourfeelingseverytime reading anew one?
                            A.Panic.Fear of them reaching a serious media that I
                                                                               oves corruption stories. One ofwhich his wife sentto the
                            W ASHINGTON POST -the W P neverrecei  ved due to PB pulling hercorruptfederalstri
                                                                                                            ngs?


               .

              J.       (.
                            Q.Expl
                                 ai
                                  n!
                            A.JM wrote a very detailed repod consisting ofroughly 65 pages -he had hi
                            itwas tracked.He then had his wi fe check the US Postalweb si
                                                                                                     s wife send to the W P - priority mail-so
                                                                                           te to see w hen itarrived - and m ore im portantly -
                                                                                                                                                  p
                            when itwas delivered to the W P.

N                           Q.Anndd?
 X.
                   .        A.Dueto the jaillisteningto everywordhe'd sayonthecallsto hiswi fe-(asDOC surel   y does-pl   ayed overandover
  '
                            to differentstam -DA told PB ofthe W P mailing -atwhich time she had hervigilante office staffcontacthercorrupt
      >                     fed fri
                                  ends-askingthem to contactthe W P zip code POST OFFICE -and have them keep transferring itaround to
                            differentPOs -butneverdeliverit.
  :''X             -7
                       '
                       .
                            (:
                             ) w ow !How m uch more could she have exposed herguil
                            So the W P neverreceived it?
                                                                                 tto evewthing in thatreport-which we wil
                                                                                                                        !have a copy of.              %
          -                 A.No sir!                                                                                                                 %
                            Q.DidJM tryto resend i
                                                 ttotheW P?
                            A.No sirhe didn't-butknowing him halfaswellas he knows aIII1lIofus - He's very close to God and strongly
                                                                                                                                                      y
                                                                                                                                                      )è
                                                                                                                                                      ,


               ',
                       '    believes in Gods'tim ing. Th-
                                                        us-r-inbeli
                                                                  evinqinthat-heqotthemessaqeitwasn'
                                                                                                   ttheriqhttimetoU SE UP hiS oa>t
                                                                                                                             --   --
                            connecti
                                   onswiththeWP-sohe'sthankfulPB didwhatshediçj-qshi      :@thpmqre oq-pl sodetailswhatI'usttolj
                            Fou -which aIlthe more convicts PB and aIIofu&.Aswell-henow iasaùettershoio convictionnulli
                                                                          .                                           ficati
                                                                                                                           on-wi
                                                                                                                               th
                            the new AG -where -ifshe doesn'
                                                          tgrantsuch a nuli
                                                                          fication -M oody won'
                                                                                              tsee a second yearin office - as the
                            publicwilloustherquickly!
                            Q.W hatmakesa vigil   ante barM rS? Imean -you spendaIIthoseyearsin Iaw school- learning the do's and don'ts -
                            with intentions ofwinning trials. W hatm akes you cross the Iine?
                            A.Hearingvi  ctimscryonthe stand. We reach a pointwe don'
                                                                                    tcare ifwe have the rightaccused ofnot:we have to
                            give a vi
                                    ctim closure.
                            Q.Evenifitsthewrongaccused-asitdefini
                                                                tely i
                                                                     sintheJM case?
                            A.Sorry sir-butyes.
                            Q.Wasthere any victi
                                               m ID inei
                                                       thercase?




                                                                WM W W
                                                                               J
                                                     z       0*-   #       *       z:
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  Kr-b ,
  f.A &hl



      A,No sir.
      Q.Any USABLEfingerprints ineithercase aiming atJM?
     A.No sir.
      Q.Anyoutsidefootprintmoldings?
     A.No sir.
     Q .Did ei
             thervictim -in ei
                             thercase-everpointJM outastheassail
                                                               ant?
     A.No sir.
     Q.W ere there anywitnessesthatcan putJM atscene ofeithercrime?
     A.No sir.
     Q.You heard the ASA'
     f                     S sni
                               tch you outon the destroyed evidence - thus you're aware -youbre in violation ofstate
                                                                                                                           1:
     elonies -times m any?
     A.
     ke Yeahhhh...l'm aware. Justone ofthe many things aboutthis si      tuation that makes me fum e - is -JM repeatedly
       pttedling alîofus in his Cosum bo reports -this day w oubd com e - butwe allthoughthe was nothing buttal
     con                                                                                                        k. Now -
         - ai
            ris in ourfuture
                          .




     Q.
      Wh
     A.


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             ea
              se
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               d
               en
                c
                e
                ?
       AIIthe state claimed -wasthe one ti
         planted wi


            - CHAI
     A PROSECUTI
                                           ny swab -and one tiny piece ofc10th we now ALSO believe was fabricated
                  th his DNA . A pointJM found in the papers -reading....

     ''THE PROBLEMS HAVE PROMPTED THE LAW INSTITUTE OF VICTORIA TO WARN OF THE (EXTREME)
     DANG ERS O F CONVICTING ON DNA EVIDENCE ALONE. M ICHAEL MCNAM ARA THE INSTITUTE'S CRIM INAL
     LAW CO
                 RMAN                                                    ,
                  ON B: SAID:''PEO PLE TREAT DNA AS THE BE-ALL AND END-ALL''BUT YOU SHOULDN'
                                                                                           T RUN
                      ASED ON ONE that's onell! PIECE OF EVIDEN E RTICCLARLY W HERE THERE IS
                                                                                                                            A)
     SUCH R M FOR HU
                              MANERROQ! pqoyyguk yrpg-/z,
                              -
                                                        y ';
      (Andeach case-tri
                      al-hadexactlyone claimedpieceofevidence )        .


     Q.So again -fora clearrecord -i
     ca                             twasyou-who discovered Boca PD had destroyed 100% ofthe evidence in both
       ses -and in factBoca PD confessed to doing so -and docum ented such destruction?
     A.Yes sirthatwas me -and yes lthen concealed......lmean....suppressed thatm aterialfact.
     Q.W hy?
     A.BecauseIknew -i
                     fthe defensefoundthatout-theyri
                                                   ghtfull
                                                         ycould have the chargesdismissed
                                                                                                    .


     Q.So in reality -youdidn'tonly know you couldn'tarrestJM - duetothe fouryearstoo late on DNA usage -buteven
     a
     24 pieces ofMATERIAL FAVORABLE evidence -e
       f
       terd oi
             ng so - you knew  you coul
                                      dn'
                                        t I
                                          awf ul
                                               ly t
                                                  ak  him to trias- with 1)noevidence-but2)thefactthey'd destroyed
                                                    ofwhich the 11   fingerprintcardswere MATERIAL EXCULPATORY
     -
     hawhich - i
               n itselfmanda tes (
                                 BRADY   vs MARYLAND)     the  dismi ssalofthe charges. You clearly knew -you should
        ve beenhonorableand dismissedthe charges. lsn'tthattrue?
    A.Yes siritis true. We weretoastfrom thejump and we knew i   t.Ouronly hopewasthe PA he hired costmore then
    JM had -resul  ting in having to getone ofourvigilante PDs - which waswhathappened and atthattime -with al1
    vigilantieson board -we knew wecould pulloffa convicti on.




                                                             N
                                          J       .
                                      /       x
                                                  ..nD
                                                     y yy, y
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             Q Anunlawfulconviction Scott. AnddidyourPBC SA DA knew ofaIIthis?
             A Totheextreme.Hewasthe onewhotold me to saynothing!Leti
                                                                    tplayoutandwe'llget- em .And DA was right.
             di
              d - onl
                    y to have thrown ourIives away. Damn-it-all!                                               We

             GO TO PAGE 14




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               PAGD 14R       ASA . RS

               Q.MrS -I'
                       m going to reada FIaState statute -and thenaskyou some questions- understand?
               A.Yes sir.
               Q.Here i
                      tis:
                     FLA STATUTE.j 838.022 OFFICI
                                                ALMISCONDUCT
               (1) IT ISONALL
               INTENTI   UNLAW FUL FOR
                             Y OBTAI     A PUBLI
                                   N A (ANY)   C SERVANT
                                            BENEFI
                                                 T(         OR PUBLIC CONTRACTOR TO KNOW INGLY AND
               CAUSE UNLAW FUL HAR                 an unlawfularrestbyand forthe state):FOR ANY PERSON OR TO
                                    M (ARREST 6 YEARS IN JAIL TW O UNLAW FUL TRIALS PRISON) TO ANOTHER,
               BY:

               a) FALSIFYING,OR CAUSING ANOTHER PERSON TO FALSIFY ANY O FFICIAL RECORD OR OFFICIAL
               DOCUM ENTI!
                                                                                                                                      (
               b) CONCEALING, COVERING UP DESTROYING OR                             ALTERING ANY OFFICIAL, RECORD             OR      '
               DO CUMENT...ORCAUSI
                                 NG ANOTHEi PERSONTO iERFORM SUCHANACT
     4.
               c)OBSTRUCTING -DELAYING -OR PREVENTING THE COMMUNICATIONS OF INFORMATION RELATING TO
)
c.
               THE COM MISSION OF A FELO NY THAT DIRRCTLY INVOLVES O R EFFECTS THE GOVERNMENT ENT
               SERVED BY THE PUBLIC SERVANTS                                                     IW
                                                                                                                                          >



#XJ
               Q. My firstquestion is -pedaining to secti
               concealed  -
                                                        on (b)above -you confessed during the motion to compel- thatyou had
                            forthe tirsttwo years -afterJM had been arrested - that in 1980 -Boca Police had destroyed 24 pieces
                                                                                                                                          N)
              ofmaterialfavorable evidence -11 ofwhich were victim witnessed assailantfinge
                                                                                              rprints -clearly m aterialexculpatory       N
              trforcing the defense into a motion to compel-before you'd turn over that'' case
              -
                                                                                               - di
                                                                                                  sm isser''to tbe coud -isn' tthat
                ue?
              A.Thatis true sir.
              Q.Then rightoff-you' ve commi tted a class three felony - W HICH PERTAINS TO PUBLIC SERVANTS - wi
              counts -one countforeach piece ofevidence. You then -wellpriorto that-conceal
                                                                                                                    th 24
                                                                                                                                          N
                                                                                                                                          t   .

                                                                                           ed thatsame truth in yourarrest
              warrant-the reason you elected NOT to go the ''grand jufy indictment''-route in case they requested to see or
              hear                                                                             -
                   ofthe evidence -isn'
                                      tthatcorrect?
              A.Again -sir-that'
                               s correct?
              Q
              on.W hic
                 the  hi
                     up sal
                        andsofraud -Ieading evefy public servantinvol
                                                                    ved in these two cases -to believe - theircase ASA -was
                            up -would thatalso be the truth?
              A.Again -yes sir.

              Q.And pertai
                         ningto (a)above-youfalsi
              alawfulPC forarrest
                                                fiedanarrestwarrant-byportraying everythingwaslegit and that you had
                                                                                                              -

              usable evi          wh
                                   -
                                     en-dueto t
                                              he
                       dence forPC due to knowing oneyearDNA usageengrainedbyFIaj77515(15)(a)-you had novalid-
                                                                                                   .

              these cases wa
                                       -
                                                    - the DNA had expired fouryears pri
                                                                                      or  - so in actuality -nothing about
                            slawful-makingthi
                                            s anotherfelony-andextrem e unlawfularrest- is thatcorrect'??
              A.Yessir.

              Q. TheUNI
              CO MM n-  per
                      CATItaininOF
                          ONS   g tTHI
                                   o (Sc)EVI
                                          abDENCE
                                            ove - yDEST
                                                   ou - OBSTRUCTED and DELAYED   -
                                                                                    and PREVENTED THE
                                                   RUCTI
              OBVIOUSLY RELATING TO THE COM MISSION OF   ON  I
                                                             NFO RMATION -THE  I
                                                                               NITIAL7W 0 YEARS - THUS -
                                                       A FELONY THAT DIRECTLY EFFECTS THE GOVERNM ENT




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                                                                     a,

                                            zwlV paz
                                                  -L,('A .
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         .
              h,t./
             -.

         c. /


                       ENTIW -SERVED BY THE PUBLIC SERVANTS - didyounot?
                      A.Again -guil
                                  ty sir.
                      Q.Then in a1lseriousnessM rS -Ihave to ask-how could JM have everbeen I   awfull
                                                                                                     yarrested- jai
                                                                                                                  ledforsixyears
                      -
                       tried-and lawfullyfound guiltyand sentto prison? How wasanyofthatIawful?

 ' '      9
          .           A,Sir-lhave nodefencel! From the one yearusage ofDNA being fouryearstoo late - everything wedid to follow -
     .   r'           was
                      t down hilland crim i  nal- and Iaced with felonies - resulting in JM being in DOC extremely unlawfully. Butsir-
                       hisMisEET
                      TO      now THE
                                  aIIon AG Ashl
                                              ey Moody.She hasthe powerto nullifythese convictions -and i  fshe doesn't- and this HAS
                                      PRESS -shewillbeim peached-noquesti     onsasked.
                      A.Its appearing however-she's anotherBondi-in as much as - having a gang ofvigil   ante attorney assistants - who
         z'           ar
                      M e telling herto si
                                         tback do nothing -and see whatJM does -nothaving the intelligence to acceptand realize - after
                        oody recei ves a copy ofthis 1983 from JMs w i
                                                                     fe -which gives a detailed accounting ofthi s entire obstruction of
                      justi
                          ce and criminalconspiracy-ifMoody doesn'
                                                                 tnuli
                                                                     fy the convi
                                                                                cti
                                                                                  ons-it'
                                                                                        s also 51 to a federalcoud -and ifthe
                      court makes the crucialm istake ofIooking the otherway -ri
                                                                               ghtto - notonly W ashi
                                                                                                    ngton - butthe W ashington Post.
                      Q ..Fifty one?
                      A. Enroute -code two.
                      Q. Scott -due toyourcountless-multi-felony participationinthisJM case -alone - nevermind -the dozens ofother
                      crim inalvigilante public servants who each did theirunlawfulpad -JM is illegally in prison - and ifthe state thinks its
                      going to getawaywith thi    s -itSERIOUSLY NEEDS TO REBOOTI!. That is notgoing to happen.ll! Anything else
                      you wantto say?



')
)                     A.lneverwould have thoughtyou'd have dug up thatstatute 838.022 -specificall
                      t
                      bitl
                         e 18-1512.Now thatyou have -we obviousl
                        oth statutes -in m any more ways than one.
                      Q .OK -Ietme now open upyournextkeg ofworms. The alleged -surlyfabricated -Willi
                                                                                                      y forpubli
                                                                                                               c servants - or Federal
                                                                   y realize every PBC public servanton M rJM s 1983 - is in violation of


                                                                                                        ams RuleCase(W RC)from
                      this point on.And this time -we willhave JM himself- explaining whatan atrocious - unlawful- crim inalactyou
                                                                                                                                                 /
                                                                                                                                                 %
                                                                                                                                                 '
                                                                                                                                                 #

                                                                                                                                                 %
                                                                                                                                                 t
                                                                                                                                                 y
$)                    personally orchestrated - who willbe cross examinating you Scott- on the stand - on w hat willbe horrificall
                      exposedbyJM -ashi
                                      shavingbeentheone draggedthruthispiti
                                                                          fulinjustice.JM youhavethefloorsir                  .
                                                                                                                                 y               c
                                                                                                                                                 w'
                                                                                                                                                 y
                      2M
                      St .Thank you sir - and as you said -thi  s is an abomination ofan exam ole ofPBC'S criminalback bone - on the
                      f ates part  a pr
                                      a cti
                                          ce - whi ch is also exceptionally complexed and com plicated to understand - so a1Iwillhave to
                      ollow closely.Very com piicated to revealand comprehend.

                      JM.During the motion to compelhearing (mzch)in around 2014/15 - the state -ormore precisely-Scott-only
                      confessed to therebeing the two caseswe'    vediscussed tothispoint-wi
                                                                                           th indivi
                                                                                                   dualalleged victims. Again -only two
                      cases -with each aldeging only one victim . Atno pri
                                                                         ortime -tothe bestofmy recollection -did Scotteverbring up a
                      third case.Is thatcorrectMr. S?
                      !$.Ititi.....i;irl!
                      GO TO 15




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                                                                               y, . ymw,
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                                                                    j'?
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                    PAGE 15R RS

                    JM) OK -and during thatm2ch -only then -atthe riskofkosing yourbarcard -fornotdevusging the intentional
                    concealed truth - were you forced i
                                                      nto confessing - thatboth the police - (who ''gathered together''the case
                    evidence)-andthe crimelab-both documented - thataIIcase evidence- had been destroyed Is thatcorrect-sir?
                                                                                                                  .


                    A.Thati
                          s true.
                    JM .So between the Boca pol ice - intentionallv -willfull
                                                                            v and knowinnlv destrovinu 24 i
                                                                                                          tem s of'm ateri
                                                                                                                         alfavorable''
                    evidence -thus -obviousl
                                           y intentional- and the crime I    ab I
                                                                                og book confessions ofsame - both case evidence had
                    been destroyed -thatwould be the ultimate Brady Violation fordi sm i
                                                                                       ssalofboth cases -isn'tthatalso correct?
                    A.ltis -sir.

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                 fo
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                               earsnot-o
                                      -?f
                                        theunl
                                             awfulsi
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                                                                         edthose'materi
                                                                                      alfacts'-fromthe
      ;             A . Idid.                                                                                                                   y
                                                                                                                                                .

                                                                                                                                           ,.

                    JM.Andagain-there wasnomentioning inthosestwoyears-intothisinjustice -ofathird case-wasthere?
                    A.No sir.
                    JM.W hatyou're goingto donow -istellthisveryhonorable federalcoud (coming up) -and thewholeworldsmedia-
                    of your desperate - next- evil- criminaltrick - ofthe States frantic fabrication ofyet a third case - employed to
%                   enhance the -'Iet's getJM '- effods - ofyourentire vigilante publi
                                                                                     c servantgang -trying to find a case stillopened:a
                    case inthe 70's:a case -wi  th two alleged victimsthi
                                                                        stim e -two sisters-you figuredwould backeach otherup - of

J
.
                    theirobviously-tragi c assaults.Doesthatreveal-whatyouand Cruzwovetogether-MrS?                                                 %N
                                                                                                                                                    4M
                                                                                                                                                    .
                                                                                                                                                    x

                    A.Too close forme to say anythi
                                                  ng but-to the Ietter.
V'
 x.
                    JM .So again -to clarify -you and Cruz chose a decades oId case -thatwas also to have taken place in and around
                                                                                                                                                    t
                    the same tim e the othertwo cases were -the mid seventies -wi    th this case having two alleged vi ctims - and oddl
                                                                                                                                       y
                    enough - neversol ved fordecades.Now whatIwantto know M rS -is -why you wai          ted three to fouryears aftermy
                    arrestin 2012 -to give birth to thi
                                                      s alledged third case -alleging a connecti
                    now give usthatanswer-butitsgoingto bethewhol
                                                                                                 on to me -andyou're notonlygoing to
                                                                         etruth- andnothingbutthetruth-isn'tit-MrS?                                 t
                                                                                                                                                    x
                    A.Regteiully -yes.W e knew -with 100% ofourevidence destroyed in the firsttwo poorl y fabricated cases we aimed
                    yourway -we knew -i    fwe acknowledged thatthere was also a third case -in which i
                                                                                                      ts case evidence was also to
                    havereached the PBSO CRIME LAB inthe 70s- we knew we'd bein the same boataswe were-withtheothertwo
                    cases inasm uch as - thisthird case evidencewould have also been destroyed.
                    A.One ofthe largestvictoryuncoveringfacts -(coming up)thatshould havewoneveryoneoverto yoursi
                                                                                                                de -was -
                    we claimed -thoughthat3rdcasewasto have double(* 0)thevictims - (W HICH W OULD BE NATURALLY MORE
                    SERIOUS -IF THIS TO FOLLOW W AS TRUE) wethen COVERED UP THE FACT -only Boca PD investi       gate that
                    case - atwhi ch time - we claim ed Boca nevertook that70's case evidence -to the PBSO CRIME LAB until2015 -
                    w
                    thhich obviousl
                                  y -no Iaw enforcem entwould everfailto bring i
                                                                               ts evidence directly to the crime Iab - yetwe portrayed
                      atscam so well(covered up)no one butyou -caughtthatlie. In otherwords -no case evidence eludes being
                    broughtdirectlyto the PBSO CRIME LAB -aswe claim edthi
                                                                         s case evidence hadn'
                                                                                             tbeen. Thatwas a scam on our
                    part.
                    A. Imean - who'd evergo for-pol ice notbringing evidence from a double assault-in the same dwelling - to a crime
                    Iab for36 years? No one.-which we were desperate in covering up -knowing:

                    1)i
                      f(when)the two victimseverfound outthe evidence from theircase-wasn'tbroughtto theIabfor36years-
                    they'
                        d sue the tailends offBoca:and




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       >'        2)if(when)itgetsoutto Bocaciti
                                              zens-i
                                                   fdidn'
                                                        tactuallybringthecaseevidencetothecrime l
                                                                                                ab- thatwouldhave
          y'
          I#     causedchaosinbelieving Boca PD W ASN'
                                                     T capableofMprotectand serve''-sowe knew -wewere reall
                                                                                                          y opening up
       'N        a canofworm s-by claiming Boca neverbroughtthatW RC evidencetothecrime Iabfor36years
                 JM . And why di
                               d you claim only Boca investigated thatcase and keptaIIthatcase evidence from reaching the PBSO
                 CRIM E LAB?


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                               LAB whereitwas to remain by us portrayingthiscaseevidencewas an exceptionto
                 thatrule-and nevermade ittothe PBSO CRIME LAB for36years -accounted for whythatW RC evidence - hadn't
                 also been destroyed in those decades atPBSO CRIM E LAB - as the othertwo case evi
                                                                                                 dence was destroyed - by
                 cl
                  aiming itremained atBoca PD)-which also would have setusup -so we coul
                                                                                       dn'
                                                                                         tuse the W RC case evidence
                 ei
                  ther-i
                       f...if-i
                              ttoo hadbeen broughttotheIab inthe70s.

      Q          A),Thi
                      swaswhywepodrayed-theW RC casewasonly investigated byBoca -whothentookaIItheevidence tothe
                 Boca PD -where itrem ained for3.5 decades - neverto reach the PBSO CRIME LAB -so we could claim the state -
                 therefore DID have the W RC evidence in this case - (to also fabricate -to aim yourway)-which aIIthe ignorant
                 peopl
                     e and PBC media -fellfor.
                 JM .W hich was aIIa Iie - as obvi
                 THE 70'
                                                 ously -a doubl
                        S -W HERE IT TOO -W AS DESTROYED wi
                                                              e assaultcase evidence was broughtto the PBSO CRIM E LAB IN
                                                                 th aIItheother70'
                                                                                 scase evidence.
                                                                                                                                 :7
Yxx   f
       #,. :     A.Unfodunately - thats the real100% truth. W e had no case evidense on any case - including the W RC - that
       x.u ' '   wasn'tbroughtto the PBC CRIM E LAB -in 77 -where thatevidence was then fabricated to match yourDNA butour
                 scam of-'thatcase evidence neverIeftBoca PD''- story-wasbelieved bythejury-whi
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                    PAGE 16R
                    JM .Explai
                             n fortheworldwhataW RC is.
                    A.I ts a very slimmy case -apparentl y a very prejudice judge against''innocentuntilproven guilty''- (orpossibl
                                                                                                                                  y
                    stoned)-elected to rul  e -thatthough states can NOT charge an accused with a crime -ifoutofthe statute of
                    Iimitati
                           ons- theycanstiluse thatcaseAGAINST an accused-bytellingthejuryofsucha crime-and how itssimilar
                    to the case intrial-ajuryisthereto hear.
                    A.This-ofcourse -givesthe state yetanothercase to fudherPOISON thejufy into believing -the accused ofthe
                    case atbar-actuall
                                     ydi
                                       d the W RC crime also -butjustcoul
                                                                        dn'tbecharged wi
                                                                                       th it-unquestjonabl y swaying anyjury
                  to the states side.Nothing butanassaul
                                                       tontheConsti
                                                                  tution-which Florida -being asevilas i
                                                                                                       tis-Iow vvvsthe W RC
                  ruling and uses itas often as itcan.
                    JM.More truth is -any W RC -is required to have 'strikingly similar''attri
                                                                                             butes to the case atbar-oritcan'
                                                                                                                            tbe used -
                    yeta1Ivigilantejudgesal
                                          waysallow the state toemploy anyW RC -eventhough''strikingl
                                                                                                    y similar''playsno parlofa
                    W RC

                    A.Correct.Ourvigilantejudgesal
                                                 so give usthe victory-by primaril
                                                                                 yALLOW ING THE STATE TO INTRODUCE ANY
                    AND ALL EVIDENCE IT W ISHES TO - CONCURRENTLY DENYING THE DEFENCE FROM INTRODUCING ANY
                    EVIDENCE THAT COULD CLEAR THE ACCUSED -W HICH IS JUST ANOTHER JUDICIAL ASSAULT ON A FAIR
                    TRIAL -AND THE CONSTITUTION - LITERALLY NO ONE ELSE SEES
)-                  JM .Alright- now - let's getto the DNA anal
                    forevi
                                                                  ysis in this pathetic W RC case. In aII-whatdid the state claim they had
                          dence in this case -in which the state Iied aboutnotbeing broughtto the crime I  ab back in the seventies.
            '

                    A.okay - 1'11 IistofaIlthe alleged evidencd in the W RC appearing on the firstpage ofthe FO RENSIC BIOLOGY
                    REPORT (FBR)- then saveyourVICTORY forIast,Iwilthen note -beside each i
                                                                                          tem ofclaimed evidence - aI
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                    AIIfacts and ggures below -obtained from the PBC CRIM E LAB FORENSIC BIOLO GY REPORT O N THE W RC
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                    sub 003-underwearfrom KS =        e'
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                    sub 004 -underwearfrom NS =
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                    sub005-Blueshodsoutfi
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                    sub 006 -Redandwhitestrile robe=JMsclaimedmatchontwo ofthreestai
                                                                                   ns.(thatbeing theonlyplacethey
                    planted yourDNA -clearly proven so by al1to follow -m ainly the ''GOLD''com ing up.
                                        ********************W***********W*



                    Sub007-VAGINALSMEARslidefromvictim KS =),
                                                            jX ,
                                                               )
                    1)A chemicalreaction indictive-butnotspeci
                                                             ficto qemen-was notdetected!Furthermicroscopicexamination DID
                    NOT identi
                             fythepresence ofSPERM cells.l
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                    2)Femal
                          e DNA profileswere obtainedfrom boththe nOn SPERMfract                      #'.@.',é'
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                  AS A CONTRIBUTOR TO BOTH DNA PROFILES!!!!!!!=kIMq '                                                                                                    ''''''t' '
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                      .'  ..a FJ '




                              Sub008-VAGINALSMEAR slidefrom victim NS =t1ùo'
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                              1)A chemicalreaction indictive -butnotspeci
                                                                        fic to semen -was notdetected! Furthermi
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                              IDENTIFIED the presence ofSPERM cells.l
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                             2)Fe
                             AF AmaleDNABUTOR
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                             JM .Then l'm confused.W as lto have assaulted the cloak and dagger robe -orthe victi
                                                                                                                m s - as its a world known
                             crime fact -a pervesmain goal-isto UNlawfullyimplantsemen -intoa vagina-yet-the PBC FS (A D.S.) made it.
          ;'                 PERFECTLY CLEAR -notonly wasn'tany semen orDNA orpubic hair ofm ine Iocated IN eithervictim butneither     -
         '
           Q,                was any ofthe three located ON eitheralleged victi
                                                                              m orundercl
                                                                                        othing which any non vigilante honorable baror
                                                                                                     -

                             badge -would clearly see and agree - IHAD NOTHING TO DO W ITH EITHER OF THESE TW O ASSAULTSI!Can
                             you hearme now'??

                             JM.Yet-Iook atthe prejudice damage thatscam case did to both tri
                                                                                            als.Now -forthe firsttime -MrS -release
                             anotherPelican Briefcalibertruth -as to the claim s my DNA was Iocated on an alleged robe. This is priceless!
                             A.This can only mean -thatthe PBC PBSO CRIM E I-AB F.S.(known) fabri
                                                                                                catedyourDNA to place on the robe -
               g             as wellasTHE OTHER TW O CASES -swab and ($0th. And asto why thatwasdone -(otherthanto claim you did                 '
               '      *
                      '      these crimes also) i
                                                twas easierplanting yourfabricated DNA on a robe -than two ''
                                                                                                            slides'
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                                                                                                                          d have easil
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    g                        been VERIFIED proven forged -only to then callthem the case vaginalsmearsli
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              .              A.The robe was easierto pl   ant DNA on -and idon'tbelieve there was any trialtestim ony - of a robe playing any
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                             actualpartofthe crimes -otherthen possibly the police picked one up -in thinking itdi d have a connection - gi
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          3,
                             the Iab som ething to cl
                                                    aim they found your DNA orsem en on - m aki    ng iteasy to aim guiltyourway!And neither
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                             victim everclaimed the assailant placed sem en on a robe - in any otherm anner-so NO going there!
                             A.Truth is - no one can argue the fact-where both vaginalsmearsli
                                                                                             des blared -YOU'D BEEN EXCLUDED ofany
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                             DNA orsemen -orhair-hey? How were you to ofsexually assaulted ei
                             pointwe woul dn'tletyourvigil
                                                                                               thervictim -which - bytheway- wasa major
                                                         ante PDsmention to thejury-andto preventthatfrom being broughtup -we had both
                                                                                                                                                 )?  .




                             the state and PDsspotlightthe robe -to getthe juries minds offaIIthe otherevi
                                                                                                         dence thatcleared you-especiall
                                                                                                                                       y
                             thefact-Ii
                                      terall
                                           y noneofyourDNA orsemenwasdiscoveredON THEIR VAGINALSMEAR SLIDES - whichoutright
                             and em barrassingly CLEARED YOU .. Had youbeen yourownAtty-youwoul
                              NEXT PAGE 17
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                           perhapsâom aKtmndofhairordrinking cup.n eyam plifiedthetiny Ompleinto alarge
                           qlznntity ofDNA using a Ktnndard lechnique called w holegenom e am plification.
                           Ofcourse,adn'nking cup orpieceofhaitmightitselfbeleftata climesceneto framesomeone.
                           butblood orsalivamay bem orebelievable.
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                           n e otherteclmique relied on DN A proflessstored l law enforcem entdn- bases asa sehesof
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                       electto proceed with the case.



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               PAGE 17R

           t A.You may also recal
                                l-the robe was nevertaken outofthe bag -during thetrial- exceptatthe very end ofone
               rial-whenajuryaskedtoseeit-so i
                                             gnorant-hefailedto recall-neithervictim evercl
                                                                                          aimedwearing i
                                                                                                       torhaving
           any connecti on to a robe. Nothing but a stage performance by the state -to prance around the cour
                                                                                                            '
                                                                                                            t- holding a bag
           -
           diwith a cl
                     aim ed - butnotdisplayed -robe in i t-whi ch aI1ignorantbought- atno trialtime -taking the robe out-to
             splay the claimed DNA ''stains'
                                           'on the claimed robe. A grade 'B''pe/orm anceatthatll!
           A. And anotber incredibly powedul HUGE POINT!The police NEVER W OULD HAVE TAKEN BOTH VICTIMS
           ''underwear''-norwould any crime Iab analyzed such clothing -had both victims notputiton - AFTER theiralleged
            assault-AND ADVISED POLICE OF DO ING SO !!W hy? Becausewhatgoes IN - ALW AYS COM ES OUT -referring
           tosemenintheform of 'drainage''. Yet-even afteranalyzing both pairs ofunderwear-the FS finds what? JME!
           A: MrJM -we know and knew - you had nothing to do with this case ei
                                                                             ther- butwhere we had so many problem s
           wl
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               he othertwo cases swab and (
                                          $0t
                                            h - made  any  chance  of obtai
                                                                          ning a guilty verdics so unsure - we needed a
               ackupcase -to confuse and POISON thejury- enoughtofindyouguil
                                                                           tyoftheothertwo casesatbar          .


           JM - I'
                 m charm ed. Answerthese questions forthe sake ofthe gl  obalmedi  a -even though aIIthese answers came
           outduring both trials - as you willnow answerthem . Did eithervictim -everpointme out - in eithertrialand say -
           'He'
              s the one who assaulted us'' ?


.
4          A.No sir!

           JM .W ere there any claim s ofMY fingerprints being found anywhere?

&          A.No sir.
           JM .W ere there any claim s ofMY footprints being found in oraround the alleged dwell
           A.No sir!
                                                                                               ing?
                                                                                                                                '
                                                                                                                                i)
           JM.W ere there any witnesses who could place ME -orMY car- in any Iocation -even remotel
                                                                                                  y cl
                                                                                                     ose to the alleged
           crime scene?                                                                                                         ,
                                                                                                                                -   #
          A.No sir!
          JM   W ere orare there any police officers -who can -in any LAW FUL CONSTITUTIONAL way - shape orform - link
                .

           me to this orany such crime -anywhere -atany time -in the lasthundred years?
                                                                                                                                )
                                                                                                                                x

          A.Nosir.
          JM .W asthereanyTYPICAL-''pubi
                                       c hairs''ofm ine- found inoron-oraroundthevictim s bed orgroundorfl
                                                                                                         oor?
          A.No sir.

          JM.How inthe hellcould ajury -be so niave-so ignorant-to believe a man wasguilty ofsuch an act-when there
          wasabsolutel
                     y no physicalconnection TO ei
                                                 ther alleged vi
                                                               ctim??'??
          A.Sir-W E USED THIS CASE -knowing anothersetoftearson the stand-
          caringifthey had the rightsuspectornot. That'stypicallyand thewhole purpos
                                                                                   wo uldpushourjuriestoapoint-ofnot
                                                                                     e ofany state employing aW RC - and
          itworks every time -which Ifully agree -could notbe anymore UNconstitutionalthan itis - forthe state to use a case
          againstanyone -when the accused was nevereven charged orfound guilty ofit. lts absurdity ati   ts finest. Butthat's
          whatFlorida'sJUST-US - isalIabout! That-and al     ways having avigilanteAG inoffice- who'lleitherIook the other
          way on aIIwe violate -orapprove ofit-and PB wasthe ultim ate atboth!
          A.Andifanyone believes Boca PD actuall
                                               y didn'
                                                     tbringtwin evidenceto the counties crim e Iabfor36 years- ahhhh -




                                                 /             .


                                                ZeA ëx .. ,
                                                                        A V%
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     r . )
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     ( .'''
          .        '
     %Nv   ' .4




                  the
                  th y're notalIthere. Ofcourse Boca broughtthe REAL W RC evidence to the crim e Iab - whi
                                                                                                         ch was destroyed wi th alI
                  the other70's evidence -as there's NO EXCEPTIONS TO THAT -otherthan forgullible people. And before you
                    row aIIofus to the globalm edia - Ietm e give you anothercruci
                  G OLD                                                          alpointyou m i
                                                                                              ssed. Here again isa line from THE
                         .



                  Sub008 - VAGINALSMEAR slidefrom vi
                                                   ctim NS =
                  1)''
                     A chemicalreaction indictive -butnotspecificto semen -was NOT detected!Furthermicroscopic examination
                  DlD (DID)IDENTIFY THE PRESENCE OF SPERM CELLSIIIII! JME !!
                  A.Note above i
                               tstates.....'
                                           'Fudhermicroscopicexamination DlD (DID)identifythe presence ofSPERM cell
                                                                                                                  s.'!!
                  A.Yetwhere NONE OF yoursperm cells-semen -orDNA -was found onthe VAG INAL SPERM SLIDE...-
                  obvi
                     ouslycl
                           earsyouofthecrim e!                                                                                  1)This

                  2)Italso proves -i
                                   twasa DIFFERENT MALE thanyou -(whichthe state -oddl
                                                                                     y enough didn'tfocus orcom ment
                                                                                                           -                             .
                                                                                                                                         '
                  on -oradmitsto:gee-Ican'timaginewhy-canyou?) and
                  3) Iteal
                  m or    so
                         li  proves- the FS simply eitherplantedyourDNA on a robe -(i
                          kely                                                       fthere was even a robe involved) or-far-
                             -  the FS outrightIi
                                                ed -by simpl
                                                           y blam ing you -AFTER ALREADY CLEARING YOU OF ANY SEXUAL
                  ASSAULT IN THE LINE ABOVE. And anyone who'd play thi
                                                                     s down -is vigilante -orinvolved wi
                                                                                                       th aIIofus public
                  servants GO ING TO PRISONI!And no one can cl
                  ABOVE                                      aim a condom was used - BECAUSE THE FS CO NFESSED
                           TO FINDING SPERM CELLS ON THE VAGINAL SLIDE - THAT W EREN'
                           -
                                                                                    T YOURSIIII! (BREAKING
4
ê.
                  NEW S -JM CLEARED - $$$$$)
                  JM .W hat- MrPBC - EX -ASA - NOW GOING TO PRISON FOR W HAT YOUV E DONE TO M E -
                  juriessay now i
                                f(when)they readthisfull- up coming 1983:2
                                 -                                                                                   whatwould the           q
                                                                                                                                             '*G
                                                                                                                                             N
                                                                                                                                               x
                  A.They'd tellyou how sorry they were - but i
                                                             t wasn'
                                                                   t thei
                                                                        r fault- due to you having NO defence presented - as                 X
                  meti
                     culousaswe'
                               vejustpresented i
                                               t!You had NO DEFENCEI!
                  Q .MrJM -anything furlherw i
                                             th PBCSmostcorruptASA in history?
                  JM .No sir.He' sdone!THEY'RE ALL-THROUGH DEALING!- and they could have aIl'walked''-had they accepted
                  my inform alresolution.
                  Q.'
                  weBel
                    llgi
                       eevehm e-I'm farm oreaware ofthat-thanyoucouldeverimagine part
                         tt                                                         icul
                                                                                       arlyregarding PBandVA DA -but
                                                                                        -

                  b          em a1l-believe thatl! MrS -you're underarrest-and willtaken toa federaljai    lshortly. Yourdays with a
                   arcard-areover-and you willbefull    y prosecutedformultiplestate andfederalvi  olationsand intentionalCi vilRight
                  violations.You were the initialbad Ii
                                                      nk that falsely had a US citi
                                                                                  zen unlawfully arrested -
                  imprisoned- aIlinviolationofstate andUS Constitutions.                                    jailed forsix years -and
                   NEXT PAGE 18




                                                   z'w v 0
                                                         .A.
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                                                                       szw .y..
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                                                             îq-ae


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     z ,.
     ,  .vjk
           v.)
     k ..-'
          'N
           t'
            . )'




            PAGE 18R         KM PlD 1
            Q .NextIcal
                      lK.M tothestand. W oùld you give us yournam e and position?
            A .My name isKrista Marx-and Iwasthe2nd PBC judgeassignedtoJMscasesbackin2016/17
            Q .Andwho assignedyoutohiscase?
            A Bei
                ng one ofexAG PB vi
                                  gil
                                    antejudges-thru hergo between-she did          .


            Q .And how Iongdid youIastand whatcausedyouto be replaced?
            A.lwas assigned as the case judge tiIthe trialswe're over-butthen -when JM caughtmy unlawfull
                                                                                                        y ruling on a
            Pr
             e- l
                ndi ct
                     ment Del ay (
                                 P1D)
            PB pulled me offthe case
                                     heari
                                         ng -he  wrote  one ofhis exposi
                                                                       ng r
                                                                          epods- whi
                                                                                   ch broughttoo much heaton me so            -
                                        .



            Q.Explain.                                                                                                                '
            A. Sir-would itbe ok i   f iread one ofJMs detailed reports on whatIcrim inall y did to avoi
                                                                                                       d releasing him
           explains i
                    tprecisionly to the way itwas and alIthe truth he titled - PID - vs. FAST and SPEEDY TRIAL
                                                                                                                         -
                                                                                                                             as he

-          Q ,Sure.Please do.
t
.
           A.Ok -he wrote: ''This to follow -was anotherofPB -under-her-corrupt-table - unethicalacts -by having a trusted
                                                                                                                                          (

           middle-man - go to the PBC circuitcourtjudge K. M arx and ordered Marx NOT TO GRANT A MOTIO N TO
           DISMISS -in which any judge had no choice - BUT to dismiss. So what did Marx do? Seen shortly - after two
           im podantdefini
                         tions.
                                                                                                                                          r'
                                                                                                                                              V
                                                                                                                                              X
>          b
                       PRE-INDICTMENT DELAY . (PID)
           Footballgam es begin wi
                                 th a kick-o#. Baseballgam es begin with a firstpitch. Everything has a kickoff-a firstpitch -a
            eginningto getitupand running-justas-a PID AND SPEEDY havetheirs           .                                                  y>
           Fora
           NO!!!!PID -itMUST BEGI
                  MANDATORY!     N N with a ''
                                             subjectofpolice interest''-being INVESTIGATED by police. OptionalforPID?
                                  ot an arrest - but an investigation - with NO INITIAL ARREST CLOSE TO THE
           INVESTIGATION time fram e. That'
                                          s the very heartof a PID .
           For
           IS tha''Speedy''-often called a ''FAST and SPEEDY TRIAL''- (which isguaranteed bythe Constituti
                                                                                                         on)-an arrest
                   e kickoff.No arrest-noones injail-sodeadend.One mustbearrestedtoini
                                                                                     tiatea SPEEDY          .


           You're ask
           KM TO   EMed
                      Pto remem berthe di
                                        fference-ifyou expectto seethe PITIFUL - CORRUPT INJUSTICE PB O RDERED
                        LOY dur
                              ing my  PID
           described a ROLLS ROYCE case -  m otion to dism iss heari
                                                                   ng - based on these facts seen shortl
                                                                                                       y - after l briefly
           ei
            th                              the ultimate example-which Idon'tcurrentlyhaveaccessto- though    itstitlewas
              er-HOPE vsSTATE -orvice versa.
           As
           m orfeormon
                   the beautyofthiscase -a subjecthad beeninvestigatedby police for18 months with NO ARREST FOR 18
                                                                                                  -
                       ths -a three yeartim e fram e in all Uponthathonorabl
                                                         .                 ejudge hearingofthe 18 month delay- priortothe
           s
           had co rrest-thejudge rul
            ub j ects a                   ed -18 monthswas waaaayyy too Iong (PID)forpolice to have waited as the police
                                                                                                                -
                    mpleted theirinvestigation 18 m onths prior-thus im plied:

           ''Ifyou (police)had anything on the subject-you should have arrested him afterthe investigation wascompleted           .
           Eighteen m onths -was too Iong to waitforan arrest,''

          Itwasduetothepolicenotarrestingthatsubjectfor18months-thejudgerul
                                                                          ed-wasJUST TOO LONG ofaPID
          AND
          thi -IN TURN -DISMISSEDTHE CHARGES! Now -that'sanhonorabl    ejudge definitely notin PBC and Idon'-
                                                                                             -              t
             nk Florida -as Bondiwould neverallow anything as honorable orLAW ABIDING to take pl
                                                                                               aced i
                                                                                                    n thi
                                                                                                        s state.
                                                                                      K ' /<'
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                   /. e 'à. ,
                   / ..jz'/   l
                          . ,/y
                   k'


                        ln my case -youshould recallthatPBSO-BOCA had me undertheir''finestm icroscopes 'fornearly a yearin 1982 -
                        secured via theirPBC DETAINER placed on May3rd -1982 .- inwhich-AFTER DADE CO UNTY CLEARED M E -
                        VIA THEIR C RIM E LAB -PBSO-BOCA dropped the detaineron 12-17-82 -afterhavi ng acquired acopyofmy Dade
                        bio specs-and CO MPARING THEM wi    th aIlofPBSO-BOCA'S unsol
                                                                                    vedcrim es-notasm uch asmatchingone hair-
                        printordrop ofanything -wi th any oftheiropened cases -BUT SPECIFICALLY - THE TW O CASES THEY'VE
                        UNLAW FULY CONVICTED ME O N .!!! l was TOTALLY CLEARED BY TW O CRIM E LABS - and anything
                        PBSO-BOCA - W OULD HAVE TO COM E UP W ITH - SO NOT TO LO OK SO CRIM INAL - W ILL BE OUTRIG HT -
                        BS!A royalcrock!
                        So here Iwas-in 1982 -asubjectofinterestbyPBDO-BOCA -fornearlya year-underan INTENSE i
                                                                                                             nvestigation         -
                        atwhichtim e PBSO-BOCA confirmedthey'dfinished theirinvestigation-bydroppingtheirinvestigation and detai
                                                                                                                               ner
                        - on 12-17-82 -which opened a m assive PID door-i
                                                                        fany arrestwere m ade atany time in the future!
                        And
                        h wasthere an arrestm ade inthefuture?Ofcourse!On October19th -2012-36 yearslater- the Boca deFecti
                         ad me arrested - atwhich time Ihaven't been free since. Legal
                                                                                                                                ve
                                                                                     ? Notone single aspect ofthese cases has been
                                                                                                                                      9$
                        Iawful-startingwith a PID -asany honorablejudge -would I
                                                                               ookatanyprosecutorand ask-
                       ''
                        Are you STILL on crack ? JM was EXTENSI   V ELY INVESTIGATED IN 1982 - AND HERE THE POLICE FINALY
                       PUT
                       DI SM THE DONUTS DOW N -LONG ENOUGH SO THAT - 36 YEARS LATER - YOU EXPECT M E TO NOT
                             ISS THIS PlD M OTION???? MAY ISUGG EST Mr/M sstate -you make anabruptexi       toutthatbackdoor- and
                       go see a shrink-because you both need help!36 yearPID and you have the gallto argue thiscase i
                                                                                                                    n my coud'?? Hi
                                                                                                                                  t
                       the door- now lll'

                       That'
                           s whatany honorablejudge would rule.Now dishonorable -on the Bondihand -i s anotherstory!Again keep
    V                  these things in mind:PB had three PBC Circuitcourtjudges -thatare 500% pure vi
                                                                                                    gilante -totalbar crimi
                                                                                                                          nal
                                                                                                                            s     -
                        l
                        hawless -vigilanties -who know they CAN vi
                                                                 olate absolutely any and everything - knowing both PB and the JQC
                          ave theirback -100% truth.                                                                                   y


Y
                        This accounts forwhy PB had aIlthree judges on my cases -atone time oranother- ofwhich I've uncovered
                       multiple state and federalviolations-abundantwi
                                                                     th aIIthree -accounting forwhy PB yanked the two femal
                                                                                                                          e judges
                                                                                                                                       v
                                                                                                                                       x
                       offmy case -due to my reports splendidly reveal
                                                                     ing the crimes they'd comm i
                                                                                                tted thus Bondi gave each judge a
                       new position away from my pen        The alm i
                                                                    ghty ''
                                                                                                           -

                                                                          careermove''scam -m ostoften used in these situati
                                                                                                                           ons.        w
                                                                                                                                       s
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u,      -. ..,

                         GO TO PAG E 19
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                                                            Febmo o4 Updatœ
                                                           criminalLaw- proe ure

                         Eliynbet.
                                 hBosek,J.D ..John Bourdeaw J.D ..JoyT.Cook'    f-hrmlcbae.
                                                                                          laJ.D.,PaulM ,Coltoff,J.D .,
                     Edward K.Esping.J.D .M aèyn ereâeK .FitgeraldyZ.D .,KaG l= G eiger,J.D .,SzphanieA.G ggetts.
                     J.D ..Clzristine M .rxlm eno,J.D .,LL.M .,Amy G .Gore,J.D .,Tnmm'y E.H inshaw,J.D .,Janiœ H olben,
                       J.D.,BethBatesHolliday,J.D.,GaryA.Hughes,J.D.,RacbelM .Kane,M .A.,J'         .D .,.John Ktm pflen,                   L
                      J.D.,SonjaTlrsen,J.D.,StephtnT+.*n.',J.D.,Judit;
                       T.Rxook.J.D .,Kx 'm berly C.Sim m ons,J.
                      M aryEllenW est J.D ..JudyE.Ze1in,J.
                                                                     hNichterM orris,J.D.,CharlesJ.Nagy,J.D.,M ark
                                                               D .,SusanL.n om ms,J.D .,BarbaraJ.VapArsdale,J.D .,
                                                            D .and Ann B.Vndan,J.D .,RobèrtB.M cKinney,J.D .,Anne
                                                                                                                                             T*
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                     E.M dley,J.D.,LL.M .,M aryBabbM orzis,J.D.ofthestaloftlzeNationalLegalRexnrch œ oup,Hc.
                                                                 VII.Tzial                                                                           M
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                                                              B.Ticm forTrial
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                                                  TopicSumm aryCorrelationTableReferencea
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                 adefmzseu lo-deavtb.
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                 Preindictmentde
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                 theSixth A mendm ent 2

                To establi-s
                           h- th.at. a- preindictm-O t:day isad-uep-r-o-= violauon,G
                                         -                                    -     . e defendantm ustflrstsh-ow actual
                                                                          .                                    ..      .    * < *'* 5v -   ..-
                pre'
                   mdieefrom ie#ehyxahd thecourtmustthen weie a'
                                             -                              ay demonstrable reasonsfortheV aY 1 0 4
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                tlw signl
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                Fom an dG iam estor a1- 1'on> thedefo danthaam ettlzisburden of roof thebur sSlftx
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                                                                       ii' .''
                PAGE 19R    KM.PID.2                                   ..

                                                                            î

             Priorto Judge M arx being dragged offmy case -she heard ourPID MOTIO N - that was totally non-deniablel!
             C
             b ouldn'tpossibly be denied -withaIlofthe correctPID ingredients-stading wi  ththe requi
                                                                                                    red investigati
                                                                                                                  on - followed
              y a 36 yeardelay..Theextreme ul  tim ate foran autodismissal. The only problem was -both Bondiand Marx knew -
             therewasIiterally NO W AY to allow said motion TO BE HEARD -withouthonoring it. Heyyy? Nota problem fortwo
             venm ousl y corruptfem ales - w ho never should have been given the power they werel!So what did Bonditell
             (through hergo-betweens)thejudgetodo? Simpl
                                                       y refusetohearthe motion AT ALL                         .



             Again-how couldthey dothat?W hen lwasjustbeginni
                                                            ng defending thiscorruption -we had moneyto hirea pri
                                                                                                                vate
            Atty)-or
            side  who
                    rrr--with 28 years federaland state experience - eitherintentionally setme up - (also covertl
                                                                                                                y on the states
                         hewasjustignorant!W hyso? Ratherthanfiling aPlD -hefilesa Speedy-believing theeventualarrest
            MADE IT A SPEEDY - claim i     ng the ri
                                                   ght for the state to prosecute - was past the allowed time to have been-
            prosecuted.
             Confused? That'
                           s due to -both PID and Speedy -do involve a I
                                                                       ong period oftime. So whatofficiall
                                                                                                         y sets the type of
             motionforajudgeandcourt?THE TITLE ON THE MOTIONI!Whena moti
                                                                       ontitl
                                                                            e saysSPEEDY -everything tobe
            argued m ustpertain to SPEEDYI! NOT PIDI! And did THAT CO URT AND JUDGE ENTERTAIN SPEEDY? 100% -
            solely based on the title -the PA fil
                                                ed under-was purely speedy - AND THE W RONG MOTION TO HAVE BEEN
            FILEDI!W as PID everon the table ormentionrd during thatSPEEDY hearing'?? Definitel
                                                                                              y notll! Strictly Speedy!So
            where's the problem ?

            First-PriortojudgeMarx-wasjudgeKaren Miller-whowasalsotoldto denythe Speedy atalIcost-(i  fshe wasto
            heLarthe case)no matterwhatshe hadto violate -asBondialwayshastheirback Thus .even the W RO NGFULLY
            FI                                                                                             .
                  ED AND HEARD as Speedy -itfirstwas denied -forno valid oraccurate reason.

4           But-due to being heard during a half-tai
                                                   lhearing -the second corruptjudge (Marx)- perorderofBondi then
            refused to even hearthe 36 yearsTRUE PID -asthe PlD ittruelywas) by the judge claiming a motion hasalready
                                                                                                                         -        %
A           been hearddi
            -
                         scussing a36 yeardelay-thus-judge Marxflatrefusedto evenhearthe true 36yearPID del
                in which the del
                               ay was 100% a PID .
                                                                                                             ay motion                )
                                                                                                                                      .




            Lawful' ?? Notintheslightest-mainlydueto the TITLE beingfiledvia -
                                                                                                                                      ï
                                                                                                                                      ,.


j.
 ,  .
            PRE-INDICTMENT DELAY -having no mentioning orconnecti
            - i
              ni
            affi
                 tself-THE JUDGE W AS CO MPELLED -tofi
               liation with Speedy.
                                                                       on wi
                                                                           th Speedy whatsoeverll! Thatnew PlD MOTION
                                                          rsthearthem otion-andsecond- treatitsolelyasa P1D -having no            j
                                                                                                                                  .




            But-using thefact-they both involvedtime delays-(eventhough theylre BOTH W ELLKNOWN IN ALLJUDICIAL               -
            as TW O TOTALLY di fferentmoti ons)'- Bondiordered Marx -to treatthe PlD -as IF IT HAD ALREADY BEEN
            HEARD -and -in doing so -flatrefuseto EVEN HEAR the PID - ofwhich -even 6 PDs-on the States side -and
            t
            Mwo PAs -aIIm ade i
                              tveryclear-PID and SPEEDY are totally differentmotions - nonetheless accounted forwhy
              arx refused toeven hearthe PID -whi
                                                ch ajudgesdiscretion hasno rightnotto hearany motion -especiallyone
            thejudge knows-they'd havetograntinfavorofthe defendantl!                                               -
             And again -why? Because as priorm entioned -there was no way to hearourPlD ofits36 yeardelay priorto a
            arrest- and notgranti
                                t-and -in turn -rel                                                               n
                                                  ease me:Bondi's main goal-as mine now is- to see herin prison and
            gl
             obably disgraced-andto secure she isneverin apositionto ruin anothermalesli  fe - whichyou maybe cedain -1
            willlegally do - ifshe doesn'
                                        t have these unlawfulconvictions nulifi
                                                                              de - and comply w ith the rest of m y inform al
            request.tW hichBondichosetoblow off.
            Thi
            F s again shows the extreme -pi
                                          tifull
                                               y corrupt-horrendousl
                                                                   y evil- excessively vigilante - totally Iawless - way
                lorida's'judicialoperates-and l've heard literally countless examples from otherinmates -ofhow they too were
            screwed over.

            Justimagine i fW ashington has to read thi
                                                     s -againand again and again where PB hasordered (and stood by and
            allowed to take place)-multiple -tlnlawful reasons -these 43 yearoId cases-(thathave NOTHING TO DO W ITH




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                                                  .      m4, ,         J
     Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 42 of 142                 Ly'4 .
                                                                                                             p<'& .



         ME inthe firstplace)-shoul
                                  d neverhave beenfiled.AndFlorida'sactually beli
                                                                                eves-W E'RE justgoing to I
                                                                                                         etthi
                                                                                                             sgo-
         wi
          thotltbringingaIIbarandbadgetojustice?:-):-) ThinkagainFlorida!
         I'm evenconsidering puttingthi
                                      s 1983 on ablog so everyone canseewhatthe Floridajudici
                                                                                            alis like-when havi
                                                                                                              nga
         vigilanteAG atthe helm.Allofwhich-globaljudicialheat-willcarryovertothecurrentAG Moody- ifshedoesn'    t
         NULIFY THESE CO NVICTIONS!
         Something else the evil-vigilante trialjudge (Judge Jeffrey Colbath)criminally did -was to deny the MOTION IN
         LIMINE -whi
                   ch was saturated with detailed explanations as to 1)why the evidence was ill
                                                                                              egalto use and 2)W hy
         there was no way to tel
                               lwhere the swab or($0th cam e from -thus - IN NO W AY COULD THIS MOTION EVER BE
         HO NO RABLY -M ORALLY orETHICALLY DENIED -butColbath deni        ed itanyway.
           Again-whatyouare now abouttoread -are quotesfrom the MIL-starting wi
                                                                              th:
         1)Inthe box(ofdecadesoldevidence)the FS found microscopeslides-c10thcuttings-cigarettebutts-swabs-and
         atI
           eastone bandaid.                                                                                               .


         2)Noneofthe evi
                       dence inthe boxhad been properl
                                                     y packaged orstored.
         3)ThereWAS NO PROPERTY RECEIPTS accompanyingANY OF THE ITEMS orforthe boxitsel
                                                                                      f                               .



         4)The boxwasnotsealed and therewas NO WAY to determinewhenorbywhom the box had Iastbeen opened or
         moved.

         5 l'
            T'
             he PBSO crime Iab's I
                                 og book used to keep track ofevidence submi
                                                                           tted forserologicaltesting shows thatthe
4-       evidence associatedwiththis(swab and cloth) case WAS DESTROYED IN 1980.
         GO TO PAGE 20 NEXT
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                   PAGE 20R.            KM .PID. 3

               6)ln asingle manilaenvelope-she(FS)found atleast10 I   oose swabsfrom di
                                                                                      #erentcases-aIItouching eachother
               insidetheenvelope.(Thesame FS testified inbothtrialstherewere atIeast25 to 30 swabsfound-notten)            .


               7)Theswab(theonetheFSjustsaidthehellwithit-1'11justpickthisoneandplasterJMsfabricatedDNA onit-and
               who'lleverknow)does nothave the (serologi
                                                       stname)monogram on it(he testifi
                                                                                      edtwice HE PUT ON ALL SWABS
               hetested)AND IT W AS NOT STAPLED TO AN INDEX CARD (as he also testi fied hewould do)           .


               Now forthe Iove ofGod -what? This judge (Colbath)-couldn'
                                                                       tsee the swab and c10th - could not have been
               anymore in violation ofPBSO GeneralOrder532.00-andeverystateandfederalDNA MANDATORY COM PLIANCE
               MANDATES
               HE VIO       THAN I  T W AS -yetthis PREPROGRAMM ED - BY BONDI -JUDGE - DIDN'T GIVE A DAMN W HAT
               BEING LATED: HE W AS ORDERED BY BO NDINOT TO DISMISS THE EVIDENCE - SPECIFICALLY DUE TO
                      THE ONLY EVIDENCE THE STATE HAD - TO UNCONSTITUTIO NALLY AND UNLAW FULLY
               PROSECUTE JM BY .
               PerIiterally countl
                                 ess state and FederalDNA MANDATES -whetheran i    tem was fabricated - oractualcase evidence               .
               - nei
                   ther should have everbeen allowed in ANY FLA CRIM E LAB -or introduced by the state - allowed to be used in            ,
               anytrial.Translated -via numerous Civilri
                                                       ghts -thi
                                                               s nevershould have happened. So why di d it?                             - 1.
               No mystery to me -lt's a Florida unethical-thought-to-be covert-AG mandate -to - in any and aIIFlorida circuit
               courtcriminaljudi
                               cialprosecutions- thatNO JUDGE isto EVER GRANT any motion to dismiss-orrrrrgrant any
              motion on evidence in favorofdefence - in which would Iikewise - puta defendanton the street- accomplished by
              violati
                    ng absolutely every U . S. Constituti   onalCi vil Ri
                                                                        ght in the Constitution it takes - to keep an accused
              unconstitutionally in jail- intentionally - unjustl
                                                                y - unconstitutionally forced into Florida's....'ftake it up with the

)             appellate court'b....scam -where in 100% ofhigh profi
              d
              underthe tabl

              up in i
                            e order-to also deny reli
                   A serious-thought-to-be brilli
                    t-which W E assure Fl
                                        ori
                                          da . wi
                                                      ef.
                                                                     lecases-theAG's go-betweens- also orderthe DCA courtto
               eny the appeal-welding the accused in prison foryears -wai   ting foranotherFlorida courtto comply with the AGs -

                                                antjudicialarmed robberytaking place in Fl
                                                                                         orida -with 98% ofi
                                                                                                           ts incarcerated caught
                                                                                                                                          '
                                                                                                                                          ..
                                                                                                                                          1s
                                                                                                                                           r%
                                                                                                                                           %
                                                llcostthestate-judici
                                                                    alruin -UNLESS these unlawfulconvictionsare nulli
                                                                                                                    fi
                                                                                                                     ed.
               Expressed differently-noooo judge isto grantany -anytype ofmoti
                                                                             on-in round one (motionhearings)-thatwould
              establi
                    sh a case to be thrown out.Thi
                                                 s is an acrossthe state -thought-to-be-covert-pituful
                                                                                                     ly corrupttactic Florida              N
              employs-ALW AYS IN HIGH PROFILE CASES -OR ANY CASE A VIGILANTE AG G I              VES THE ORDER TO THE
              JUDGE -DO NOT LET THAT DEFENDANT O UT! VIO LATE ANY U S CONSTITUTIONAL CIVIL RIGHT YOU
              HAVE TO -TO KEEP HIM IN JAILI!
              Am erica -wakeupl! Senators-you're aU. S.Senator-sworn underoathto God Alm ighty -andthe nati       onsci  tizens
              - t
                o honor-respect-and to follow ourU . S.Constitution-yetyou're alIIookingthe otherway-everytim eone ofyour
              state judges -intentîonally -willfull
                                                  y and knowingly blows offa U.S,citizens ConstitutionalCivilRights - allowing
              judgestodo this-simplyto empl
                                          oythe states snailpace-appellatecourtscam - before anyreliefi
                                                                                                      sgi
                                                                                                        ven-whichis
              rarelyissued.

              AndJudgeColbath?Enjoyyourfinaldayswi
                                                 thagavelbecauseyouhaveGods'word-throughoneform ofmediaor
              another- yourbarcard wlllbe YANKED by W ASHINGTO N -AS W ILL BOTH FEM ALE PROSECUTORS AND
              CO UNTY ATTORNEY - for INTENTIONALLY - W ILLFULLY - JOYFULLY - AND KNOW INGLY - VIOLATING
              COUNTLESS - STATE AND FEDERAL STATUTES -AND CONSTITUTIONAL RIGHTS AND MANDATES - of
              which - ''idlef'
                             - plays NO partof.
                           M EDIA -RESEARCH ANY LASTTW ENTY CASES
              Again-No Fl  ori
                             da judge willeverhonorany U.S.ConstitutionalorCivil rightofa defendant-as to do so would          -
              requi
                  re the case to be dismissed!CorruptAGs and the farce ofthe FLA JQC -continually allow Florida'sjudgesto
              SQUAT ALLLLL
              CASE RULLING OVER  EVERY AMERICAN'S CONSTITUTIONAL RIGHT - CO NTRARY TO THIS U.S. FEDERAL
                           -
                             W HICH IS ALSO A CONSTITUTIONAL MANDATE!




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                                   U,S --BOW LiNG v PARKER, 882 F.Supp.2d 891(ED. Ky2012)
                               THRO UGH A
                               CO URTS  THE SUPREMACY CLAUSE O F THE UNITED STATES CO NSTITUT4ON - STATE AND FEDERAL
                                          LIKE - ARE BOUND - BOUND -TO G UARD AND PROTECT RIGHTS SECURED BY THE
                               CONSTITUTION. (NOT OPTIONALII
                                                           )
                               Nojudge-hasanyI
                                             awfulright-orrrrrdiscreti
                                                                     onwhatsoever-toever-everdenyanyonesConsti
                                                                                                             tutionalrights-but
                               Flajudgesviol
                                           ate absolutelyevefy Consti
                                                                    tuti
                                                                       onalrightthatcomes before them -(FOR THE TIME BEING - alllabout
                               t
                               fo change-i fwefre leftno choi
                                                            ce -butto deploycountl
                                                                                 esscopies ofthis 1983 -and NO ONE W ILLSTOP US - ifa
                                ederalcourtdoesn'tgive usthe win.)
                                I
                                tsure is going to be interesting - to see how wise Florida's AG Moody i
                                                                                                      s - as there i
                                                                                                                   s no doubtin my m ind -Flori
                                                                                                                                              da's
                               ci
                                tizens W OULD NOT wantan AG to remain in ofhce -having read aIIofthis and notnulli     fy both convi
                                                                                                                                   ctions.
                               If Iwas asked - how Ithink the A G willhandle this -thats no mystery:She'lllether office confidants gether
                               im peached by Iistening to theiradvice ofsitback and do nothing -ratherthan to send two MALE state attorneys in to
                               see m e -to sign an informalresolution and release m e. Allcrystalclear.
                '
             1*',              FederalJudge in THIS case? You'llbe globably m onitored to see how you handle thi
                                                                                                               s fullplate in frontofyou. Swim
                               and drown in 'their''pond - orkeep yourgavelby honori ng youroath to God.
                              wi
                               thdrawingfrom thecase which would be taken by Washington as -the judge
                                                          -
                                                                                                  Or-knows
                                                                                                      willitbJM
                                                                                                             ethie
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                                                                                                                          but ut-byt
                               DARE putFlorida in ITS I
                                                      ong overdue -place.
                               GO TO PAG E 21

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                        PAGE 21 R.            JC ful
                                                   l
                        Q.Inow callJudge JC.W oul
                                                d you state yournam e and posi
                                                                             tion in this disgrace ofFlori
                                                                                                         da JUST -US?

                        A.My name is Jeffory Colbath and lwas the Palm Beach Countfy CircuitCoud judge who heard the JM twi
                                                                                                                          n
                        unlawfultrials.

                        Q,So duri
                                ngthe summerof2018- youweretheassignedjudge to bothJM cases?
                        A.Iwas -yes sir.
                        Q .And whoassigned youto hiscases?
                        A.Bondi - thru herconfi
                                              dants she al
                                                         w ays used -so nothing could come back on her.
                        Q .O K...andwhydid she pickyou?
                        A.AsJM has written in hisreports-Bondihasvari
                                                                    ousvigil
                                                                           antejudgesin eachcounty-sheassi  gnswhenshewants
                        anaccused convicted atanycost-and I-and both KMs-are herthree vigilantejudges in PBC she knows won'tlet

                        her
                        Q  dowin
                          And
                          .    sittrue -ASA Cokelyadvised you-in court-justpriortothe firsttrialbeginning -a quote very close -ifnot W
                        exactto this:
                        ''
                         JUDGE,THE DEFENSE IS GO ING TO TELL THE JURY, THE STATE HAS NO CHAIN OF CUSTODY FOR 30
                        YEARS ON THE O NLY EVIDENCE W E HAVE,AND THAT THE EVIDENCE W AS IN A LARGE BOX W ITH THE

1                       EVIDENCE FROM 50 TO 300 OTHER OLD CASESy NONE OF W HICH W AS INDIVIDUALLY PACKAGED , ALL
                        TO UCHING EACH OTHER,W ITH NO PROPERTY RECEIPTS FO R 30YEARS.''
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                        A. However-via the FS's indirecttestimony during both trials -(which the juries were so ignorant-they never
                        caught) the FS mildly stated -the DNA was UNlawful-thus i
                        recording-bothtrialtranscriptsoftheforensi
                        tri
                          alone -aboutthe evidence being total
                        revealsthe evi
                                                                 csci
                                                                    entisttesti
                                      dence could nothave been anym ore unl
                                                                                      fthey edited ourconfessions outofthe audi   o
                                                                              m ony -confirmswhatthe state confessed to-justpriorto
                                                              ly unlawful- so ei
                                                                               ther by the recording - orthe trialtranscripts -m ore than
                                                                           awfullthan i
                                                                                      twas -and nevershoul   d have been allowed in any
                                                                                                                                            )
                        crim e I
                               ab -orcourtproceeding.
                        Q.How rightyou are -butbe notdeceived:OurFBIwilluncoverabsolutelyeverything thathasbeencovered up - to
                        include butnotIim i
                                          t-anything wrongl
                                                          ytaking place inDOC -understand?
                        A.Yes sir.

                        Q.Now telltheW ORLD -how could aseasonedjudge-confesson record -thisstatement:
                        'YOU DEFENSE AU ORNEYS CAN NOT DEFEND YOUR CLIENT USING THE STATE HAS NO CHAIN OF
                        CUSTO DY FOR 30 YEARS,AND THAT THE EVIDENCE W AS NOT INDIVIDUALLY PACKAGED AND TOUCHING
                        OTHER EVIDENCE,NOR THAT IT DID NOT HAVE ANY PROPERW RECEIPTS FOR 30 YEARSI'
                        Q.Imean-w hatwere youthinking?
                        A.Ishotfrom the hip withoutthinking.COMMEN SENSE DICTATES -any confession Iike thatfrom a judge -the
                        judge is history. As to why Ihad to tellthe PDs that-ifthey tol
                                                                                      d the jury - the state had absolute zero lawful
                        Qvidence-theywouldhavefound JM innocent-whichwasnotwhatBondiordered usaIltoaccompli
                                                                                                          sh. Bondiwas a




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                  ruthless-statute vi
                                    olating politician -who nevershould have become an AG. Had she nothad the ''looks''-she'd
                  NEVER have made i  tin politics.

                  Q.Isi
                      ttruePB hadan arrayofvi
                                            gil
                                              antejudgesin.....''.
                  A.PBC? Yes -butalIFla.AGs have vi
                                                  gil
                                                    ante judges and PDs in aIIcounties in Florida -they employ on al1high
                  profile cases -to insure a conviction. And i
                                                             tis also true -the PDs were working covedly with the state -inasm uch as
                  not representing JM Iawfully - which - in itself- i   s in violation. of FederalTitle 18-241 and 18-242 - and aII
                  constitutions in the US.Two totally unconsti
                                                             tutionaltrialswhich is com mon in Florida.
                  Q.Tellthe world -Colbath - how -whatyou've criminall
                                                                     y done -compli
                                                                                  es wi
                                                                                      th any ofthe JQCS CO DE OF JUDICIAL
                  CO NDUCT MANDATES SEEN BELOW :NOT EVER OPTIONALI!
                                         CANON ONE
                  A JUDGE SHALL UPHOLD THE INTEG RITY AND INDEPENDENCE O F THE JUDICIARY

        @         lntegrity???'?? Ninety six % ofFlorida judges brutally murderintegri
                  THEIR BACK ANDOVERLOOKS ANY COURTROOM INJUSTICES OR VIOLATIONSII
                                                                                     ty on a daily basis KNOW ING THE JQC HAS

                                                   CANON TW O
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                ESSHALLAVOI
                          D IMPROPRIETYANDTHEAPPEARANCEOFIMPROPRI
                              .                                 ETYINALLTHEJUDGES
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                                                         IATRHYTHELAW ANDSHALLACTATALLTIMESINAMANNER

4                 Again:whatare we missing'
                  in these cases even knowing whatimpropriety orim parti
                                                                       ali
                                                                            .



                                          ?? Haveyou read ofanything inthese mandates -thathad any affiliati
                                                                         ty orrespecting and com plying wi
                                                                                                           onwi
                                                                                                              ththejudges
                                                                                                         th the Iaw ,even means?
                                                                                                                                        A
                  These poorexcuse forprosecutors andjudges,don'
                                                               teven know enough to notsay anything on record - thatwilleat                 1
V                 theirbarcards forbreakfast,Iunch,and dinner!
                             AND HOW DOES A JUDG E and PROSECUTORS
                                       DARE TO DO THIS?
                                                                                                                                        w   y
                  Its sim ple!There is no honorable JUDICIAL governing authority in Florida. NO NE!Secondly,aIlbarand badge eatat
                  the sam e restaurants and Iiterally often sleep together. They'
                                                                                re aIIhom e boysand girl
                                                                                                       s -from the same ri
                                                                                                                         ch hoods,
                  RED team ballplayers -nevergo againstred team players.
                  Said di  fferently, they aII know - no one in authority, will do anything to vigilante bar or
                  badge.,..UNTIL....UNTIL,....JudiciaI corruption is broughtto the MEDIAI!Then, and only then,willthe governing
                  authori
                        ties take action, and ifthe new regi m e doesn' t NULIFY THESE CONVICTION S, W F LL HAVE NO CHOICE
                  BUT TO FLO OD BIG M EDIA, W ITH THE VERSION OF THIS STORY W E HAVE AT HO ME, INCLUDING ALL
                                               .
                                                                                                       .


                  NAMES,THATW ILLSTEAM W ASHINGTONI!
                  Q.You evertake atourthrua prison?
                  A.Ihave.
                  Q:W ellyou'
                            re about to take another one - and i
                                                               t won'
                                                                    t be any day tri
                                                                                   p. You're under arrest.Agents - put
                  thls....
                         this....vigilantejudge ina cage wherehe belongs.

                  GO TO PAG E 22. NEXT




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                    PAGE 22R
                   Q ..Inow cal
                              lPBC prosecutorM R to the stand.Ms R -would you state yourname and posi
                                                                                                    tion forthe MEDIA
                   world?
                   A.M name is M arci Rex and Iam a PBC assistantstate attorney -who Iikewise -threw my Iife away by unl
                                                                                                                       awfull
                                                                                                                            y
                   prosecuting JM .

    @              Q.AndwereyouorderedtoconvictJMatanycost?
                   A.Unfortunately yes.
                   Q ,Is ittrue -the PDson the JM cases-were aIIvigilante -hand picked -to covertly work wi
                                                                                                          th you to assistin a
                   conviction?
                   A.They keep us outofthe Ioop as to who corruptl   y does what -as far as assigning vigilante PDs - butyes - PD
                   Steve Arbubow and Chris Fox-l-entwere covertly working wi  th us -by notasking questions we didn' twantasked by
                   not introducing certain evidence thatwould have terribly hurtthe state -such as thatadicle titled DNA EVIDENCE
                   CAN BE FABRICATED RESEARCHERS SHOW . Thatwould have kill             ed us -so Aronberg gotto the PDs and m ade               w
                                                                                                                                                     .
                                                                                                                                            .. . .
                   surenoneoflMsPDswereallowedto properlyrepresentedJM inanyway-inwhi
                                                                                    chthejurywouldhavefound him                             Lç!
                                                                                                                                              .
                                                                                                                                              y
                                                                                                                                              g
                   innocent-which -afterhearing aIIthe forensic scientistsaid i
                                                                              n the trials -lbel
                                                                                               ieve he is innocent.                     '


                   Q .Lotofgood thatdoes JM now -afterallofJMs and his wifes Iosses. So PBC PD Arbuzow - and Fox-l-ent are
                   also vigil
                            ante -and worked againstJM?
                                                                                                                                                 (x)
                                                                                                                                                   -)k   .

.
    @              A.Forcertain-andthePBCHeadPDCarreyH-hasaPDSupervisorwhoscreensthemtoseeif......                                                           .
                                                                                                                                                                 y
V4 @               Q.They'llbecomeslime-byturningagainsttheirclients?
  p 1              A.Correct.
                   Q.Ms Rex-isn'taIIFlori
                                        da barand badge-and aIIjudgesand COUNTY AU ORNEYS AND ASAS- supposeto be                                         %
                   IN FULL COMPLANCE wi   th -any and alIstate and federalstatutes? Xnd ifnot-they too become entangled in a
                   CRIMINALCONSPIRACY and OBSTRUCTIO N OF JUSTICE -forintroducing evidence to a coud orcrime lab- that
                                                                                                                                                         4
                                                                                                                                                         .



                   was in violation ofstate and federallaw?
                   A.Absolutely correct! And wi
                                              th thatmade known -Ietme add to ourruin - by quoting the main statute -alIFLO RIDA
                   AND PBC -HAVE MADE A LAUG HING STOCK O F: IT STATES:

                                        FLA.STAT.j 943.
                                                      325(13)(a)
                                       ANALYSIS OF DNA SAM PLES
                   (a)The depadmentSHALL(NO CHOICE W HATSOEVERIII)SPECIFY PROCEDURES -(PBSO GENERALORDER
                   532.00)-FOR THE COLLECTION -SUBMISSION -IDENTIFICATION -ANALYSIS -AND DISPOSITION OF THE
                   DNA SAMPLES (any DNA collected by poli
                                                        ce) AND DNA RECORDS COLLECTED UNDER THIS SECTION.
                   (NEXT LINE CRUCIAL).
                   THESE PROCEDURES SHALL ALSO ENSURE (guarantee) COMPLI
                                                                       ANCE W ITH NATIONAL (FBI) QUALITY
                   ASSURANCE STANDARDS (NQAS)SO THAT THE DNA RECORDS MAY BE ACCEPTED INTO THE NATIONAL
                   DNA DATABASE (CODIS
                   Q.Now Iaskyou Ms Rex- wereyou allowingevidence into ei
                                                                        thertrial-thatwasin anywaycompli
                                                                                                       antwiththatstate
                   statute??
        '          A.Atno time was the swab ortiny pi  ece ofalleged c10th orrobe everin even 1% compliance w i    th thatstate Iaw -
                   again scream ing -unlawfultrials and convictions - which we aIlknew -wellpriorto ei
                                                                                                     thertrial. Butitwas al 1Bondi's




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                  m andates-letting usknow -we couldvi
                                                     olate anythingwe had toviololate -to secure a convicti
                                                                                                          on.
                  Q.Ms Rex-whateverhappened in yourIife -thatwould have made you such a piece of......thatwould cause you to
                  violate every state and federalstatute thatcrosses yourpath?

                  A.ItsjustpartofFl
                                  orida'
                                       s JUST-US judi
                                                    cialsystem.There is no winning atrialin Florida in which ourcorruptAGs (
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                                 PAG E 23R     M.C PD
                                Q,NextIcallBoca Ratons Ex-deFecti
                                                                ve MC.Kindl
                                                                          y havea seatandgi
                                                                                          ve usyourname
                                A. M y name is Mynor Cruz and Iwas the corrupt Boca Ration deFective who couldn't have violated JMs
                                Constitutionalri
                                               ghts -orstate and federalstatutes any more than Ihave -unl
                                                                                                        awfull
                                                                                                             y arresting JM as well.
                                Q.Have you-sir-heard everything heretoday?
                                A Yes SenatorIhave.
                                Q W howasthebiggestjudici
                                                        alcriminalinthese cases?ScottorAronberg?
                                A O hhhh thatwould be a hard one to say - as they'  re both outofcontrolin violating any and everythi
                                                                                                                                    ng. Both neck
                                and neck -as faras intentionally violati
                                                                       ng state -Federal-FIa Constitution and the US Constitution.
                                Q Tellme aboutfabri
                                                  cating theswabanddime size pieceofc10thwi
                                                                                          th JM sDNA.

                     ''
                                A. W e had no choice. Imean - with the PBC CRIME LAB LOG BOOKS - exposed both case evidence was
                      %s        destroyed in 1980 or82 -(l'm notsure whi
                                                                       ch)-and the initi
                                                                                       alASA -afterconceali
                                                                                                          ng the factwe'
                                                                                                                       d destroyed aIIthe
                 .              evi
                                  dence way back then -w i th Scottconfessing to thatin the motion to com pel- had we notfabricated and planted
                                JMs DNA -there was no way to convictJM -as there trul   y W ASN'T ANY OTHER evidence againsthim . Noteven
                                any vi
                                     ctim ID.He was totall
                                                         y clean.

                                Q Explainthe significance ofthe fourcrime l
                                                                          ab IettersAronberg and Bondi had stolen from JMs Iegalbox in hisjail

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                                room -estsbli
                                            shing anotherW atergate.
                                A W ith the assistance ofa PBSO CRIM E LAB FO RENSIC SCIENTIST -she fabricated his DNA profile in afterI'
                                retrieved JM s DNA PROFILE via a federalfriend who was able to getJMs DNA profile outofCodis -which isn'
                                - du
                                                                                                                                                d
                                                                                                                                            teasy
                                                                                                                                                    i
                                     e to the fact-ones DNA and name -ARE NOT Iinked -so no one can frame someone Iike we were stilable to do
        .                       to JM . But-like the witness protection program -there's al
                                                                                          w ays a group ofhigh securi
                                                                                                                    ty agents who can find anyone
    .
            ..
                                they wantby realname.Likew ise -Codis has a depadm ent -in which cedain high secure agents can tind realnam es
                                - wi th theirDNA profi
                                                     le -and that's how we gothis DNA profile''.
                                Q And youknew ofsuchan agent?
                                                                                                                                                    )
                                A.Idid.Butforsome reason his cellisn'
                                                                    tacti
                                                                        ve.
                                Q.And he corruptly Iooked upJMs actualDNA profile and gave itto you -atthe requestofthe FS -who used that
                                profi
                                    le to cl
                                           one JM s DNA -then putiton ANY O LD SW AB and ($0th thatwas handy -and bingo. You made JM the
                 *              assailantofthese crimes.The very crimes he was cleared ofin 1982:2Incredible!
                                A.Yes si
                                       r.
                 *                                                                                       '
                                Q.AndtheI
                                        eoers?                                                               ' #w y'
                                                                                                                   AnêcMj
                                A.To make itaIlIook offi
                                                       cialand Iike the FederalCodis actuall  y m ad a m atch -thatsame federaifriend had Codis
                                send the PBSO CRIME LAB a confirmati     on Ietter- advising of a ''moderate''match wi    th JM s 2007 FederalDNA
                 #              PRO FILE in which JM drove to a FBIDNA subm i   ssion building to give his - to putin Codis.
                                Q.O hhh yeahhhh.Thatreallysounds I ike aguil
                                                                           tym an-dri  ving himselftothe FBlto givethem hisDNA profil  e. As if
                                JM wasn't sm artenough to know - i
                                                                 f he'd comm itted these crim es - giving his DNA to codis would nailhim?????
                                Go on.
                                A.ThatIettersentto the lab from codis -a copy wentinto JM s discovery where subsequently three more Iab letters
                                wentalso -alIfourofwhich JM gota copy of-whi  ch ONLY -ONLY ''moderately' ' Iinked JM TO these two case.




                                                                        Q            >z
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                  Q.So this al
                             leged DNA match w i
                                               th his 2007 subm ission -W ASN'T EVEN rock solidr '
                                                                                                 ??
                  A.Correct-ourfabricated DNA wasn'
                                                  teven good enough to be anything but 'm oderate''-whi
                                                                                                      ch pointed to JM s
          ) innocence-asmuchasguilt-tothepoint-ifhe'dhadagoodattorney-hewouldhavebroughtupthefact-thatvery
         '/ sameprofil
                     e -matchesthousandsofothers-so evenifwedidn'tfabracateand pl
                                                                                anthi
                                                                                    s DNA -he stoodadecent
                  chance ofbeing cleared.
                  Q.The Iettersll'
                                 ??
                  A Ini
                      tially we scriptthe Ietters -to link and convictJM to his 2007 codis DNA - HAVING NO IDEA - (CAUGHT
                  TOTALLY OFF GUARD) he'd gi      ven hisDNA TO FDLE-DOC-in 2005 -which -as you know bythe lab administrator
                  -   goes directly into both codis as seen below.
                            FROM THE PBSO CRIME LAB ADM INISTRATORS
                                          DEPO -TARA SESSA
                                     FRO M PAGE 15,- LINES 4 -15
                                             IN 2016 or2017
                                                                                                                                        $

                  Q. OK forexam pl e -som ebody is in coud this morning -pleads guilty to a felony -and they geta swab in the mouth -
                  thatgets mailed STRAIGHT TO TALLAHASSEE?
                        Correct                                                                                                                 /



j        *
                  Q .They pulloutthe profile-thenputitinthe statesdatabase?
                  A.Yes.Andthentheoffenders are UPLOADED ALSO TO NATIONAL(CODIS)
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                  Q.DOES EVERY IEVERY)OFFENDER GET UPLOADED TO NATIONAL?
                        YES!!!!!!
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                  Q So-no m atterwhatthe state orPB triesto claim -his DNA was FDLE-DOC acquired in 2005 -and putinto BOTH
                  codisIN 200511!!!?:2:7:2
                  A Correct-w hi
                               ch W E KNEW NOTHING ABOUT -untilJM wrote anotherofhis killerrepods -wi
                                                                                                    th a Ii
                                                                                                          ne in i
                                                                                                                timplying:
                      'Hey Flori
                               da -if1was to have com mitted these crimes you allegedly linked to my 2007 -why di
                                                                                                                dn'ti
                                                                                                                    tlink to my 2005
         .            asweII?''
                      Q Timetopani
                                 c.
                      A.To say the Ieast.And thatwas when PB and DA Aronberg had JMs fourletters stolen - because they cl
                                                                                                                        eared JM
                      - by NOT also aim ing to his 2005 - to any evi
                                                                   dence.And ifthatwasn'
                                                                                       t900 % the truth -W HY would Bondiand
                      Aronberg gotoal1thetrouble and risk-ofgetting caught-stealinghisIettersfrom hisjailroom Iegalbox- whenthey
                      had countless copi
                                       es oftheirown?
                      A:Then -when JM had the Iettersreplaced-(whichhi
                                                                     s PDsonthe statesside didn'tmake easy-butcouldn' trefuse
                      wlthoutbl
                              owing theircover)-PB and DA ONLY CHOICE -was to editcodi  s ofhis 2005 -so they could say -,,the
                      l
                      ettersdon'
                               tmentionthe 2005 DNA -because no one evertookyourDNA in 2005''.Oh-and toproveedi
                                                                                                              ting codi
                                                                                                                      s is
                      easyto do-Google Fla Stat.â 943.325 (16).
                      Q.This100% confirms-JM i
                                             s inDOC UNLAW FULLYIII!??????




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                A.That'
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                GO TO PAGE 24 NEXT




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                     PAGE 24R
                    Q.I'm goingto read aFI
                                         a statute-thenasksom equestionspertainingto it.

                                               Fl
                                                -A STAT.5 918.13
                             TAM PERING W ITH O R FABRICATING PHYSICAL EVIDENCE
                    (1)NO PERSON (TO INCLUDE A STATE AG COUNTY SA ASAS POLICE JUDGE),KNOW ING A CRIMINAL
                    TRIAL - O R PRO CEEDING - OR AN INVESTIGATION BY A DULY CONSTITUTED PROSECUTING AUTHORI'I'YP                        .
                    LAW ENFORCEMENT AGENCYU GRAND JURY, OR LEG ISLATIVE CO MM ITTEE OF THIS STATE IS PENDING
                    OR IS ABOUT TO BE INSTITUTED -(that'saboutto be instituted)SHALL:
                    (a)Al
                        ter, destroy,CONCEAL. or remove (2005 FDLE/DOC RELEASE DNA UNLAW FULLY REMOVED FROM
                    CODIS!THE FBIW ILL PROVEII
                    avai
                       labll
                                                ) any RECORD, document,orthing,wi
                           ity in such a proceeding orinvesti
                                                            gation or
                                                                                 th the purpose to impairits veri
                                                                                                                ty or                   %
                    b)Make -present-oruseany record -documentorthing-knowing i
                                                                             tto befalse.
                    2)Any person who viol
                                        ates this provision ofthis section SHALL BE GUILW OF A FELONY OF THE THIRD
                    DEGREE.
                    Q.You've heard testimony supporting youknew youcoul
                                                                      dn'tusetheDNA duetobeing4yearstoo I
                                                                                                        ateper5775.15
                    (15)(a)-isn'tthattrue'??
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                    A. l
                       tis.
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                    Q.Yetyou presented the DNA -to both the ASA - the crim e Iab -the courtand state - as being honorable -thus                   '

Rx                  concealing the very m aterialfacts - i
                                                         twasn'
                                                              teven Iawfulor USEABLE DNA - fabri   cated or actual-which was in
                                                                                                                                            r;;
                                                                                                                                               -
    <..J            violati
                          onof j918.13 -9775.15.(15)(a)and 5838.022 -and federallytitle 18-1512 in severalsub sections-clearl   y             !

                    establishing you concealedthese materialfactsfrom the courtand jury-who had a Iegal ri  ghtto know -perthose            ç
                    statutes-which - inviojating allfourlaws - youtvecommitted fourclassthree felonies-(times 14 counts- wi
                                                                                                                          th both               .

                    juries having 6 members and one al    ternate) in which you were subjectto compl iance to -which made such
                    concealing - allfelonies by you altering the truth -the truth being -itwas too Iate and unlawfulto use the al
                                                                                                                                leged
                    DNA inwhi  chyourfederalfriendadvisedyouof-bytellingyouofthe2007DNA CO DIS ENTRY -inthe yearof2012
                    - whi
                        chwasthen -FOUR YEARS TOO LATE to use anyDNA -Isn'tthatalso true?                                                   (



                    A.The Iaw i
                              s the Iaw -so whatcan 1say? I'm guil
                                                                 ty -and Irealize the entire case and trialwas corrupt-and IIostmy
                    joboverit-qui
                                etly-so JM wouldn'twri
                                                     te a repod onthattoo -which he eventuall
                                                                                            ydid-when he foundoutI'd retired
                    atthe odd numberof28 years-whenanyone - notin anytrouble woul
                                                                                d have goneto 30 years. ButIwas able to
                    getanothercopjobwiththe PBC SCHOOLDISTRICT -so Ifi  gured I'd bettergetoutofthisBoca messwhil
                                                                                                                e Icould
                    savemy pension.(Fornow Cruz -onlyfornow.Getreadytokissthoseweeklychecksgoodbyel   )
                    Q.W hat'
                           sthe di#erencebetweenyouand othercrim inals'??
                    A,The colorofthe coll
                                        arofthe crime:white vs blue Thats i
                                                                          t!AfteralI:

                     1)THE PALM BEACH COUNTY -PBSO CRIME LABS EVIDENCE LOG BOOK -HAS CRUCIAL ENTRIES IN IT:
           t
           j        ONE FOR EACH CASE,-TESTIFYING THAT ALL THE EVIDENCE IN BOTH CASES - HAD BEEN DESTROYED
           /        IN.
                      1980!1!!!Thatalone- almostkilledus-butthetwoASASweresotackfull
                                                                                   ycorrupt-theywouldn'
                                                                                                      tIetthedefense
                    capitali
                           ze on i
                                 t.
                    2)Then the fact-the FS did such a poorjob fabricating the evidence -Codisonl
                                                                                               y made a ''moderate''match as I
                    mentioned earlier - with JMs 2007 Codis DNA. ln other words - if JM had an honorable Atty - they would have
                    discovered - thatDNA would have m atched thousands on earth -due to onlym aking a m oderate match. I've been
                    amazed by this case - there has been so terriblly m uch GOVERNMENT MISCONDUCT - yetno one breughtup the
                    Florida suppremecourtsrulingseen hereon GM .




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             (W rong!Plainti
                           ffbroughtthiscasetoVigilante PD RhettParker-whoblew i
                                                                               toff-then quitthe PDs office and moved
             to Tampa to be a ci
                               vilattorney - praying he too wouldn'tbe eaten up by O BSTRUCTION OF JUSTICE AND
             CRIMINALCONSPIRACY.)
                          campbellVsState 935 So29 614 62O
                              statevsschwadz.WL9250410
             The (Fla) Supreme courtwent on to disagree wi
                                                         th the States claim that the DUE PROCESS defense was
             UNavailable to predisposed defendants and found that, based on the DUE PROCESS provision ofarticl
                                                                                                             e 1, section 9
             ofthe Florida CONSTITUTION,thatGOVERNMENT MISCONDUCT (GM) -which viol
                                                                                 ates the constituti
                                                                                                   on DUE
             PROCESS RIGHTS ofadefendantpredisposition-REQUIRES THE DISMISSALOF CRIM INALCHARGES.
                                     STATE Vs.G LOSSON
                                       462 So 2d 1082
             The type ofconductheld to violate DUE PROCESS , is thatwhich SOOOO OFFENDS DECENCY OR A SENSE OF.
             JUSTICE,thatjudicialpowermay(IS NOT TO BE)notbeexerci
                                                                 sedto obtain aconvictionlll!
                                      Blanco,896 So 2d at901                                                                  '   ,


             W hen GOVERNMENT MISCO NDUCT violatesadefendantsdue process rights, the rem edy IS DISM ISSALII!
             Q .Do you have anything else to say MrC?
             A.ldo.Obviously we're al
                                    l-thru dealing - but 1think the Senate shoul
                                                                               d throw more than a book atthe fullPALM
             BEACH COUN' FY PROSECUTION including Aronberg -the PBC SA -both female trialprosecutors (MarciRex and
'            Brenna Cl
                     okel
                        y) - and the judge - (Jeffrey Colbath) and for sure - the initialPBC ASA Reid Scott - who                      'x
             CONFESSED DURING THE MOTION TO COMPEL, THAT HE HAD PERSONALLY CONCEALED THE
             DESTRUCTION OF,NOT O NLY 24 PIECES OF MATERIAL FAVORABLE EVIDENCE NOT O NLY 11 OF W HICH                                 qxx)llK
             W ERE MATERI    AL EXCULPATO RY BUT 100% OF ALL CLAIM ED EVIDENCE IN BOTH CASES HAD BEEN


h'
             DESTROYED - which also exposes W HY they had to fabricate the only swab - robe and piece of c10th they
             m anufactured forthese cases.                                                                                            )
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             PAGE 25 NEXT
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     I,g-s ,
     j..
       D   z;
     Qz '

               PAGE 25 R
               A.TO BE SURE: THE POLICE - back in 1980 - LITERALLY DESTROYED EVERY SINGLE ITEM THEY
               ''
                GATHERED -TOGETHER'   '- CONFIRMED BY THE STATES ASA SCOTT - IN THE MOTION TO COM PEL -AS
               W ELL AS IN THE PBSO CRIM E LAB LOG BOOK: IM EAN,HEY? BREATHI! W HY W OULD ANYONE NOT
               BELIEVE THE STATES OW N ASA W HO TESTIFIED ALL THE EVIDENCE HAD BEEN DESTROYED -
               RECONFIRM ED BY THE PBSO CRIM E LAB LOG BOO K -DETAILING -PER POLICY -SAID DESTRUCTION BY
               STAFF OF THE 80'S - W HO MADE THE LOG BOOK ENTRIES -PROVING BOTH CASE EVIDENCE HAD BEEN
               O FFICIALLY DESTROYED ....
                             OPPOSED TO ......
               .....   EVEN BEGIN TO BELIEVE - O NE - PREJUDICE FEMALE FORENSIC SCIENTIST IN 2012 - W HO - IN
               DESPERATELY TRYING TO DISCREDIT BOTH RELIABLE SOURCES ABOVE -COOLD (and did) EASILY LIE -
               BY CLAIM ING THE SW AB and CLOTH - ACTUALLY CAME FROM THE CASES IN QUESTION - THAT
               CO INCIDENTALLY - DOESN'
                                      T EVEN HAVE ANY PROPERTY RECEIPTS - OR MANDATORY CHAIN OF
               CUSTODY -OR ANYTHING ELSE TO EVEN HINT A CO NNECTIO N TO -NOT ONLY THESE CASES -BUT ANY
               CASE? AGAIN -CAN YOU HEAR M E NOW ?&?&?&
                A. And it's in the PBSO GENERAL O RDER 532.00 - THAT ALLLLL SUCH DESTRUCTION - M UST BE
               W ITNESSED BY SEVERAL CRIM E LAB STAFF - SO - W HAT? THEY ALL LIED - W HEN W ITNESSING THE
               DESTRUCTION OF THIS EVIDENCE'  ?! FOR W HAT REASO N??????
                                                                                                                                 c
               A. Secondlyp and REGARDING THE TW O TRIAL COURT RECORDED MINUTES r THE TW O FEMALE
               PROSECUTORS, (REX and COKELY.) AND THE JUDGE, (COLBATH) INTENTIONALLYS W ILLFULLY,
               JOYFULLY?AND KNOW INGLY, CO NCEALED FROM THE JURY -M ULTIPLE MATERIAL FACTS -ONLY O NE O F                            3
A@             W HICH W AS - THE STATES AND THE PBSO FO RENSIC SCIENTISTS REPEATED CONFESSIONS OF THE
               SW AB and CLOTH W ERE BOTH STATE AND FEDERALLY UNLAW FUL TO USE - BOTH BY NUMEROUS
               STATE AND FEDERAL DNA MANDATES PBSOS GENERAL ORDER 532.00 THE FBI AND ISO - AND THE
                                                                                                                                         /
                                                                                                                                             *
                                                                                                                                             Q
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               USAGS ''
                      JUSTICE FOR ALL ACT OF 2004'1.They can't be all
                                                                    owed to get away wi
                                                                                      th Mr Senator PBC
               PRO SECUTION HAS URINATED ALL OVER alIConstltuti
                                                              ons-and mul
                                                                        tiple Amendments. Thats aIIIhave to say.
               Q Everhadyourowncuffsonyourw ri
                                             stM rCruz?
ls
k.
-
 ,             A WhenIfirstbecame acop-justto seewhati
                                                     tfeltIike -yeah.                                                                        :z..
               Q W elltellya what-to refresh yourm emory -those two agents willsl
                                                                                ap a pairoftheirs on you -as you're also under
               arrest.Agents?
                                 *****************************


                  M ELLO -1
               Q.Inow callex-Boca detective M.C.partner-R.M .tothe stand.W ould youstate yourname and position forthe
               fullsenate.
               A.My name is Ronald Mello and Iwas Detecti
                                                        ve Cruz partner in 2012 -who accompanied him during the initial
               police interview with JM on 10-19-12.
               Q . So you sataside Cruz in an interview room -wi
                                                               th JM across from you?
               A.Idid.
               Q .And whatwas JMs tem peramentatthattime -being question by police?
               A.Actuall
                       y-hewasverycalm asonewould be - who'
                                                          d done nothing wrong.Yeahhhh-hewasquite calm.




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                   Q.And which ofthetwo ofyou-didthe mostquestioning?
                   A,Cruz did 99% of i  t.Iwas sim pl
                                                    y there to verify what Cruz asked and JM answered - even though the entire
                   interview was recorded.
                   Q.Isee.And did there com e a pointin tim e -Cruz asked JM i
                                                                             fhe'
                                                                                d been priorquestioned by Boca PD in 2007-8/*
                   A. Three times in fact.

                   Q .Andwhythreetimes?
                                                              tbeen interviewed bv ANY POLICE in 2007-8 -duq lp lhgt
                   A.Because Cruz and ICLEARLY KNEW -ifJM hadn'
                   775.15 f15J(a) statute - on the usaae of DNA lim i
                                                                    tino itto one vear- we were four vears too l
                                                                                                                           -

                                                                                                               ate - to even bq   %
                   Q.So in otherwords -as soon as JM told you both -he hadn'tbeen questionec in 2007-8 -you should have ended
                   the interview -in conjuncti
                                             on with no Boca police records ofsuch a priorQ and A with JM indicating such an
                   interview had been conducted?
                   A Yes sir.That's exactlv what1m ea
                     .                             -.-n
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                                                       -                 i      .stion him --where thatstate I
                                                                         nhttonue- -           - -   - -     aw eliminased an#    FB
     @             evi
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                     der
                       lco.
                   Q:
                    .
                      W hen Cruz heard JM say -forthe firsttime -he hadn'tbeen questi
                                                                                    oned in 2007-8 -whatwasCruz'sfram e of
                   ml
                    nd?                                       1                                                                       )*'
                                                                                                                                       N
                   A.Devastated! 1thoughthe as goin to cry.N.
                   Q.And atany time -during this unlawfulinterview -did Cruz ask JM -ifhe'
                                                                                         d been questioned during any otheryear
                                                                                                                                          y
                                                                                                                                          xtk
                                                                                                                                           px A
                   in the 2000's -such as 2004 -2005 -2006 -2009 -2010 -2011?
                    .y& .                                                                                                                  S
                   A No,7
Nv
                   Q .And why not?
     '
     -x            A.Because - that 775 statute - only pave us one yearto use DNA - wi
                                                                                     th thatyear- bepinning '
                                                                                                            1n 2007 --w-hen J.
                                                                                                                             M ''
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                   dmve hl
                         'mgllfto thl FRIDNA Kllhmil
                                                   u inn lnnntinn tn piv/ hl
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                                                                           K DNh -so we both dearlv-knew -ifJM hadn'tbeem
                                                                                                               -                  z%-,-'
                                                                                                                                       **
                   questionwithinthat2007-8 ear-wewpre98.                                                                             $
                    Q,98?
                   A.Completed assignment.Hi
                                           story.
                    Q.YetCruz asked JM two more times -ifhe'd been questioned in 2007-8 -and yetremained questioning JM for
     @              overan hour-knowing he had no case?
                    A.He did - because Cruz was nearheristerical-knowing we had no case.
                    Q.And who informed youbothofthatstatute-andthe oneyear?
          '         A'PBC ASA Reid Scott.
                    Q .So Scottknew -withoutanyshadow ofdoubt-had JM notbeenquestioned i
                                                                                       n 2007-8 ONLY - you were alltoast.
                    A.Notto the degree we are now -butyeahhh -we knew we had no case and lawfully should have IeftJM alonel!
                                                                                           '   m= %        nm - z '= - *




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                    Q.W ouldthathave beenwhatyouwould have done-ifyouweretheO IC??
                    A.Absolutely -butCruz was in-heaton winning any cold case -in thinking he'd be a supercop orsomething.

                    Q ,W hatcould youtellme - tosubstanti
                                                        ate Cruz knew - hewasthrudeal
                                                                                    ing -uponJM advising he'd notbeen prior
                    questioned i
                               n 2007-8?

        '
                    A.Cruz had a package of photographs in his hands during the entire hourorso interview - ofvari  ous crime scene    .
    '
                    Iocations he'd pl
                                    anned on show ing JM - ifthe 2007-8 thing turned outwell- butwhere 775 excluded anv use oftho     '
                                                                                                                                      .-:x-
                    DNA -I jnked to JM nothavinn been cuestioned in 2007-8 - Cruz knew the inv- eatiqation was over-no need to show
                                                    -                -                     -                                          '
                    JM any photos.
                    Q.So atNO TIME - NOOO TIME -di
                                                 d MC -evereven take even one photo outofthe package to show JM ?
                    GO TO PAG E 26 NEXT




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                PAG E 26R
            A.No -and anyone with an IQ overfi  ve -would see -when Cruz was told by JM -he hadn'tbeen priorquestioned in
            2007-8 -ifCruz didn' tclearly understand i
                                                     twasover-meaning - we had no case -W HY W O ULDN'      T he have sti
                                                                                                                        ll
            shown the photos to JM -i fCruz didn' tknow we were done? lm ean -even to me -sitting beside Cruz and knowing
            him well- when Isaw he wasn'    ttaking any photos out- Iknew -THAT HE KNEW -any attem pts to Iawfull   y and
            consti
                 tutionally proceed -were overl!
                                                                                                                                                                                                                                                                    .         f
            A.
            ( As well- IfM C didn'tknow JMs 2007 FBIDNA entry in codis was whatrepresented the beginning of775.15(15)                                                                                                                                                         /
                a)'s - 'should have been establishel'
                                                    ''
                                                     .lfCruz didn'
                                                                 tknow that-whv -whv did he ask JM -three times i
                                                                                                                n twen!y                                                                                                                                                     ''>
                     fhed been auestioned in THOSE VERY YEARSD ? A-nswer:Because Cruz clearlv knew ofJMs 2007--8 ..
            m lnutes-I                                                                   -                           +N
            Codis DNA entw -and Cruz knew -itwas4 vears TOOO LATF yp charoe JW -- - ua-
                                                                                      inc- even the fabric@tqtjoN: -                                                                                      -                                                     -

            rpvermind-ifwe hadanyactgp!IqpfulDNA                                                                                ,
                                                                                                                                <                                                                                  )
                                                                    .
                                                                                                                                               /jjg .jy)jyx
                                                                                                                                               ,          ..,                                         oy ,
            Q .Yetstill-Cruz made an unl
                                       awfularrest?
            A.Yes sir.

            Q .Towhatdegree -did PBC ASA Scottplayinthisarrestwarrant?
                                                                                                                                                                                                                                                                            Q,p
            A.He's the one who made outthe ''inform ati
                                                      on''warrant- which - in i
                                                                              tself-was Iaced with - he had an honorabl
                                                                                                                      e
        @   case -knowinc - we had no case.
                                          . Truthfull
                                                    v -Scottwasthe jniti
                                                                       albad auv in this iniustice.


k
    t       Q .Do youthinkJM comm i
                                  ttedthese crimes?
            A.Sir- Iknew ofthe DNA - being horri   ficall
                                                        y illegal-and Cruz was close to one ofthe PBSO CRIME LAB FS -yetlt
            was anotherFS - who was to have allegedly worked on alleged case DNA -butsuspi      ciously IeftPBSO -shortly after
                                                                                                                                                                                                                                                                               %
Y @
Y
            JM began writing his killer repods - that implicated her in wrong doing -so she I eftthe state -to work with other
            poli
               ce.Very strange -the timing.

            -:ut-did..lthink JM was the.paç ? No Idon'
                                                     t.He wasyoo calm -and he'd been cleared on aIlthese Mçfpkpy#lipns-in                                                                                                                                                          1
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            !ops fANnD 'rDade crim es - wih Boca PD investi atin
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                                                                                                                                         JM and al
                                                                                                                                                 so clearin him bac then.                                                              at.''
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                           TYP%G THAT MAD CQNVICTED TFSQU-
                           -                              V S.,
                                                              PX--J-N.-.)(tiQZE DAYS:-h--
                                                                                        ev? He wascl
                                                                                                   earevv xY                                                                                                                                                            -
            MAVETHùWRONG GM/.!
            Q .Did Cruz have a fed friend thathad access to FederalCodis?
            A.He di
                  d!
            Q .Tellus aboutCruz -telling Scott aboutyourintervi ew -and the fact-Cruz asked JM three tim es- i
                                                                                                             fhe'
                                                                                                                d been
            questi
                 oned in 2007-8.How come thats notin the interview recording?

            A.MoreofASA Scottsevilediting.Scott knew -when hearing JM duringajailphone callto hiswi fe -and telling her-
            thatthe three PAs JM interviewed -alItold him ofthe DNA excluded -775 15(15)(a)-Scottknew -they had to get                                                                          .

            Cruz asking JM those questions- outofthe interview video -BECAUSE IT PROVED -Cruz KNEW -THE 2007-8
            LAW FULLY ENDED EVERYTHING FROM THAT SECOND ON!Casescl           osedll!
            Q .Thisagain proves- thatyou-MC andRS....
             1)...aIIknew -you hadno lawfulPC forarrest.
            2)YouhadnolawfulevidencetodetainJM injail.
            3)Youcouldn'
                       tlawfullytake him totrial.
                                                                  y 4* *
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         . z'    .''
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          xr    k.'/ ,
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              ?k. J .




                4) AndyouaIIknew therewasn'
                                          tonethingIawfulaboutinvadingJMsIiberty?
                A.lagree.And AG PB was advised ofaIlthese unlawfulacts -by herPBC Assi      stantAG atthe time -ofw hich Bondi
                looked the otherway on. Had PBC SA Aronberg advise M C and l-to retire quick - to save ourpensions -so M C
                retired -while Iresigned from Boca PD -and acquired anotherdetective posi
                                                                                        tion inanothercounty.
                Q .So PB isfil
                             thy?
                A.To the extreme.She m akes ''Bonnie''ofBonnie and Clyde -Iook Iike
                 saints.She deserves big time -as she -thru one go-betwen oranother-authori
                                                                                          zed both barand badge to comm i
                                                                                                                        t
                any felony ittook -to geta conviction.
                Q .M rM -having told many people they're underarrest- youdll understand - when Inow say -You're underarrest-
                exactly whati
                            tmeans.Agents? Ifyou'llescod M rM to hiscage.
                       *****A*****************


                Q.Inow callPBC EX PD supervi
                                           sor-TD to the stand.State yourname and position.
                A.My name is Travis Dunnington -and back around 2012 to 2016 -Iwas a PBC PD supervisorofthe PBC Head PD
                C .H .
                Q .W ere you vigilante forthe PBC HEAD PD C.H.?
                A.lwas.She appointed m e to thatpositi
                                                     on.
'               Q .And youw ere the one w ho selected JMs case PDs??
                A.Correct.                                                                                                            A
                Q .W ould you Iistthem alIforus?


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                               d JM bustyou?
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                A.PBC ASA RS waspressuring meto getfrom JM -11-w hatJM calledpowerfulpoi    nts- that-when madeknown-
     .          would clearhim -he woul
                                      dn'
                                        tgi
                                          ve to my vigilante PD Megan Eaten -having fi
                                                                                     gured outshe was working againsthim .
                So one day -when ME and Iwentto see JM injail-1tri
                                                                 ed asking him forthe 11 -andwhen he refused gi
                                                                                                              ving them
                to me also - Iblew my coverby yelling athim to give them to m e - whi
                                                                                    ch he knew -no PD would evercare enough
                about an inm ate - to get emotionall
                                                   y invol
                                                         ved - w hich my unprofessiinally yelling at him - to gi
                                                                                                               ve them to m e -
                exposed.

                Then - a month ortwo Iater- lcalled the jailand had JM do a video conference -atwhich time - upon our
                conversati  on -within minutes IIost ita second tim e - and yelled at him again - which was a huge red flag to JM :
                ''W e'reonthe STATES SIDEI!Tellthem nothi     ng''.So he nevertold ussquat!Then-inknowing both M .E.and Iwere
                vi gilante -JM knew everyone Iappointed -would be also -so he nevertrusted any PD Iassi       gned -andforgood
                 reason:they were alIvigilante PDs -covertly ordered by PB -to
                assistin convicting JM
                GO TO PAGE 27NEXT
                                                      W
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     x ...A
        /T
    Xl -
       ) .



        PAGE.27R           TD. / MC -2
       Q .And whatwas youroveralIassignment?
       A,To secure JM was convicted - no matterwhatwe had to do -say orviolate.W ork covertl
                                                                                           y wi
                                                                                              th the prosecution -
       whichwasa totalwaste oftime-asJM justcannotbedeceived byANYONE Iiving.
        Q.Listthemainkeyplayersinthiscriminalconspiracyandobstructi
                                                                  onofjustice.
       A.Atthe top was Bondi -then Dave Aronberg -then ASA Reid Scott.Thatwas the trio -w ho gave the orders and
       tol
         d the restofus whatto do.
        Q..How guiltywasyourboss -the head ofthe PD office-Carrey.H.?

@       A.Totall
               y!She doesn'thave an innocentbone in herbody.
        Q .And you agree - she could have broughtin the FBI?
        A.Ofcourse -butI  ookwhathappened to Si
                                              rprico? Sni
                                                        tching outan entire regime -neverallows one to remain in that
        position oroffi
                      ce.
        Q.Then i  fshe had any morals -she shouldn't have taken thatposition ofintentionall
                                                                                          y al
                                                                                             lowing hervigilante PDs to
        work againstthe clients - who had no otherrepresentation.That'
                                                                     s in directviolation of18-241 / 18-242 and 18-4.
        She - noryou -have any valid excuse.W ho took over-afterJM busted you - which had you so scared -you Ieftthat
        office and moved to Ohi
                              o?
        A.Thatwould be thehead PDs replacement -a D.E.who becamethe fel ony chief.Itwashisjob-totake overmine
                                                                                                                              :4
        -
         and hetoo i
                   sjustascorruptand criminalandvigilante asJune21stisIong.                                                   xk
        Q.MrD -you're underarrest-and willbe following the restofyourcriminalgang to one FCIoranother-and asfar
        from fam il
                  y as can be -to employ one ofFIa DOCs slimy tricks .W hat's good forthe goose -is even better forthe
        gander.Agents?                                                                                                        1
                                                                                                                              x:
        Suddenly one ofthe federalagents who'd been bringing those the senatorhad placed underarrest- walked up to
        SenatorW hiteandwhisperedsom ethingto him -causing SenatorW hi  teto nod inagreement-priorto announcingv...
        ''ltseem s Boca's once detective Cruz has remem bered som ething he claims we'd aIIwantto hear-thus I've given the
        agentperm issiontobring him backtothe stand.MrCruz-you'      re stillunderoath.W hatisityoufeelissoim portant?
         'During my - afterunlawfully arresting JM on 10-19-12 - i
                                                                 twas in the yearof2013 -linterviewed JM s very girlfriend
         he was LIVING W ITH DURING THE VERY YEARS -SPECIFICALLY O N THE SUBJECT OF ''GUNS'- questing to
         her -the bestIcan recall- going Iike this.

@ X. 'DidJackcarryanyguns??''
         'No!'''the gfem phaticall
                                 yand wi
                                       thouthesi
                                               tation repli
                                                          ed.'JACK NEVER TOOK A G UN O UT OF THE HOUSEIIII'
         ''So you nevereversaw Jack bring a gun outofthe house orcarry one atanytime.'??
         'JACK W OULD NEVER TAKE A GUN OUT OF THE HOUSE OR CARRY O NE -DUE TO THERE BEING SOM E
         KIND O F - ONE OF THOSE HUGE ROAD SIDE POSTERS STATING I    T W AS A LIFE SENTENSE FOR
         CARRYING A GUN -OR SOM ETHING LIKE THAT -I'M NOT SURE EXACTLY W HAT THE SIG N SAID -BUT IT
         HAD A STRONG INFLUENCE ON JACK -NEVER TO TAKE A GUN OUT O F THE HOUSE O R EVER CARRY
         O NE.'I'
            Q.And ofcourse this is im portant- as all
                                                    egedl
                                                        y the assailant in these cases was to have a smallrevolver,Did Jack




                                         W GX/V
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             Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 60 of 142
                                                                  hL




                   own anyguns?
                   A.Yes -butonly two -neitherofwhich he purchached forhim self.
               h    Totally on herow n accord -as presents -his gf bought a .357 Starsky and Hutch TV serious gun for one of his
                   B-days -a huge gun -and she boughthim a Browning 9mm forA Christm as -both ofwhich the gfstillhad and I
                   examined and ranthru NCIC -nei thercom ingupa 10-99.
                   Q .10-99?
                   A .NCIC hit= stolen.
                   Q .So in nowaythetype ofgunthe realassailantwasto haveused i
                                                                              n these allegedassaul
                                                                                                  ts'??
                   .r         v>
                   A               X
                     . Oh gawdd no. /
                                   z
                                    j
                   Q.W hat's the chance ofthe gf- having been a once gf-sim pl
                                                                             y trying to gi
                                                                                          ve you answers to help Jack out?
                                                                                                                                      J!
                   A.Absolute zero,They hadn'  tseen ortalked to each otherin over30 years -and she'd been m arried -so no trailing
                   Iove forthe otherwith ei
                                          therJack orthe gf.Besides -she was firm and quickto make known -Jack would nevercarry
                   any gun outofthe housel!                                                                                        ('
                                                                                              r-h 4*- p           )Fj - ) )--
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   ?-X
                   Q .Anything else MrC?                                                z         ..
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t
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 A0  .
         -         A.There i  s.As is no mystery - Jack was arrested in 1979 forbeina whatthe FBIsai
                                                                            -                        d Jack was a verv resoectable
     t<.           ''iewelthief'.Notan everyday burglarwho broke into hom es and trashed then while Iooking forstuffto stealfordrug
 %
                   money. Butagain-accordingtothe poli
                                                     ce and FBI-a veryrespected -high end -jewelthief-who onlytookjewels
                   orcash -and never messed up the m illion dollarestates he'
                                                                            d pil
                                                                                ferfrom .He'd si
                   HAD AN ALARM -atwhich time he'd shutthe alarm off-ENTER -then go ri
                   acquire i
                           t-then upon l
                                                                                                m ply ONLY HI  T MANSIO NS THAT
                                                                                           ghtwhere he knew the score woul  d be -
                                       eaving -he'd turn the alarm backon -so criminals couldn'tgetin to destroy a hom e.Jack went
                   outofhis way -notto mess up ones home.
                                                                                                                                        A%
                   A.Also Im portantto these assaul

                   the FBlandpoli
                                cetesti
                                                  tcases -during the very time peri

                                      fied in histrialin 1979to:...''
                 by the police forsom eone they di
                                                                                  od these assaultswere allegedl
                   FBIand numerous detectives were hoton his trail:a trailthatin no way crossed paths wi
                                                                                                               y taking place -the
                                                                                                        th these assaults.In fact-
                                                                    we enjoyed trackingJM -because he nevercarri
                                                                                                               eda gun -never
               i confronted anyone inthe com missionofa heist-hasan IQ of167....'.and a bunch ofotherstuffnotusually boasted
                                                 dn'trespect.These were also the years /tim es JM owned two Iand planes -one-sea -
                                                                                                                                           )
                                                                                                                                           '


                   olane-andonehelicooter.wàthfl
                                               oatscinwhici-durinotieseverv70s-heobtainedhisFAA licenseforalloitiem.
                   Q.And yetyouidiots-coul      dn'tsee -thiswasn'tthe make upofonewho'd dotheseassaul  tse
                                                                                                          ?? W hichthe FBlclearl  y
                   saw - having been tracking JM atthe VERY SAME TIME the realassaul       tassailantwas doing his thing - the feds
                   seeing NO sim ilarities'?? Planes-helicopters.m illiondoll
                                                                            arestates-alarms-onlytookgold.TellusM rC -wasthere
                   any gold orcash taken orasked fori   n these assaul ts?
                   A.No sir.Never.
                    Q.Take M rC backto hiscagebefore Ivom i
                                                          t.Thisisadisgrace.
                    PAGE 28




                                                             >s> .T
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                PAGE 28R
                TO THE COURT:
                Plaintiffrequestyou REread these three paragraphs bel
                                                                    ow -fora lastm inute addendum ofimportance. Plainti#
                needs thisfederaljudge to engul
                                              fthese crucialpoints.Due to so much having been read and hopefullydigestedto
                thispoint -thejudge may notgraspthe importance ofthebelow threeparagraphs- so Ietplainti
                                                                                                       ffbreakitdown       .



                A ConGrmed - THE POLICE - back in 1980 - LITERALLY DESTROYED EVERY SINGLE ITEM THEY
                ''GATHERED - TOGETHER''- CO NFIRMED BY THE STATES ASA R.S. IN THE MOTIO N TO COM PEL - AS
           !    W
                BELELL AS IN THE PBSO CRIME LAB LOG BOOK: IM EA NI HEY? BREATHI! FHY WOULD ANYONE NOT
                        IEVE THE STATES OW N ASA W HO TESTIFIED ALL THE EVIEI
                                                                            X NCE HAD BEEN DESTRQYED -
                STAF
                PECON
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                               Y'STHEPBSOMADE
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                                                -ABLOGBOOK-DETAILING-PERPO4ICY-SAIDDESTRUCTIQN (Y
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                OFFICIALLYDEVTROYEWHOD    -
                                              THE LOG BOOK ENTRIES -jgN XIYG BOY
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                .. ..   EVEN BEGIN TO BELIEVE - ONE - PREJUDICE FEMALE FORENSIC SCIENTIST IN 2012 - W HO - IN
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                BY CLAIMINGYT
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                                S TO DISCREDITBOTH RELIABLE SOURCESABOVE -COUL; (@p# (J44) V SJS.Y LI
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                CVINCIDENTALLY O-DI
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                QUSTODY                         -
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                                 OR ANYTHINQXLSQ TQ EVMN HINT A CONNECTION TO -NOT O NLY THESE CASE@ -MUT XN
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). CASE?
A                Again      i
                            t's in the PBSO GENERAL ORDER 532.00 c. THAT ALLLLL SUCH DESTRUCTION - M UST BE
                WITNESSED BY SEVERAL CRIME LAB STAFF -SO -WHAT? THEY ALL LIED WHEN WITNkSSIN; TQF
                DESTRUCTION OF THIS EVIDENCE????'??W hywouldtheyl
                                                                ijMppptspidd#qtrqçtioc ?
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                ***********#**************************#*****#***********%**********************
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 s
                Upon plaintiffsarreston 10-19-12 -PBC ASA REID SCOTT had investi    gated the case for- atthe bare m inim um 12
                months - and we heard -since 2010 -eitherway -aIlthe following facts are true.                                      )
      '

 '' r '
          77$   FACT 1)ScottwaswelI...
                                     weII...weIIaware - (vi
                                                          a Boca detecti
                'MATERIAL FAVORABLE''AND ''MATERIAL EXCULPATORY'
                                                                       v'eEVI
                                                                           CruDENCE
                                                                              z). thatBoca PD had destroyed ALL THE
                                                                                             -
                                                                                               and Scott had offi
                                                                                                                cial Boca PD
 k.             docum entation - revealing such destruction. Itis forthis reason - the BRADY V . MARYLAND case - should have
                prevented an arrest.And -even i fnot-wasa federalcase ruling - requiring the dismissalofthe charges. Absolute
                undeniable facts thiscourtm usthold the state accountable foratTHIS tim e.
                                 U.S -HAYW OOD VS DROW N,556 U .S.729,
                                   129 S.Ct.2108,173L.Ed 2d.920 (2009)
                         'A state CAN NOT REFUSE TO APPLY THE SUBSTANTIVE
                          PRoTEcTloNsoFA FEDERXLs'fXYU#ù I
                                                         v i#-
                                                             b cöùki'j.
                                              U.S.-CONDON v HALEY
                                    21F.SUPP.3d 572,(D.S.C.2014)
                             STATE LAWS THAT RUN CONTRARY TO FEDERAL                         -
                                CONSTITUTIONALPROTECTED RIGHTS
                                          ()FINDIVIDUALS CANNOT Bq
                                               ALLOWED TO STANQ
                                              U.S.-HINES v.LOW REY
                                    305 U.S.85,59 S.Ct.31, L.Ed.56 (1938)
                          STATE COURTSARE REQUIREDTO GIVE TOTHE STATUTW
                              OFTHE UNITID STATESYHESAMERECOGNITIQN                              .




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                                                            -   FORCE -AND EFFECT ACCORDED
                                                                  THE LAW S OF THE STATE
                                FACT 2) ASA Scottcriminall
                                                         y chose to CONCEAL (notsuppressll
                                                                                         )the abovtfads - fortwo years afterplainti
                                                                                                                                  fts
               '    j           @irost - forciRo thO YYCRCO illto Z ''moti
                                                                         orlto COr11DOI''hearinG - atWhich tim-e - Scott had no choice butlp
              )'.               UN-CONCEALthefacts-100% ofth:yyjjqrk
                                                                   ç:ipbpthcav s-HAD BEEN DESTROYED in1980:i
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                       FACT   5) We  then                                                                                                                                                                                %
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                                              the PBSO CRIME LAB LOG BOOKS -thoroughlyconfi
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       FACT 7).W hi             WI
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                  ch -taken together - shows how the evidence destruction came to be putin the Iog book
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                                ONE prejudice Forensic Scientist (rghtfully -butunprofessionallyfeeli
                                                                                                    ng compassion forherfellow female all
                                                                                                                                        eged
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                                 ctims)who criminally allowed herselfto UNLAW FULLY analyze a box ofcl    aimed evidence from decades ago
                                 ontaining CRIME LAB confessed 50 to 300 cases mixed together-al1asunlawfulasyou pri
                                fi
                                Ncti
                                   ciously claim the FS was able to pulla m onstrous rabbit- outofa hat- in whi
                                                                                                                            orread - only to then
                                                                                                              ch no rabbitwould t
                                                                                                                                itin? W hatin the
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                                 ame ofGod -js everyone m issing?
                                    GO TO PAGE 29
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                          PAGE 29R
                         FederalJudge -again keep atthe top ofyourgavel-allread so far- is notforyou to deci      de guil
                                                                                                                        torinnocence. A4l
                         priorread -i s foryou to honorabl   y see -the likel
                                                                            yhood ofone compassionate female -trying to hel
                                                                                                                          p otherfemales
                         ac
                         thquire 'closure''-which in no way -overpowersoreliminatesthe Statesown offensive confessions above - oraII
                         they have literally -criminally violated. Everyoneknows(havi
                           ough guiltorinnocence isn'
                                                                                      ng done so)how terriblyeasy i tisto lie.And again-
                                                        tyourcall- MAKING STATES CO MPLY with allllofthis below - IS your responsibi  lity
                         per18-241and 18-242.Yes-MO RE POW ERFUL repeats!

                                 ARIZONA VS YOUNGBLOOD (1988),488 U.S.51
                           (2O)The-DUE PROCESS CLAUSE PROTECTS A DEFENDANT FROM (FROM)BEING CONVICTED O%
                         CRIMEWiiùkùT(EST/YEH/$FAI LMDTU PRFSMRVt''MA-tCIi?PAUKXCULPATORY''/VIDENCE GM ! F                .
                                                                                                                                      ..




                                             OLMSTEAD VS UNI    TED STATES
                                             227 V.S,438,469, 471,48 s.ct564
                         1
                         'To dedare thatin the administration ofcriminallaw , the end justifiesthe means to declare the GovernmentMAY
      '             i,
      -...z.-.'.-..t.    CO MM IT CRIM ES in orderto secure a c
                                                               onviction ofa private (singul
                                                                                           ar)criminalwould (and Imore then assure you -
          .
               )         WILL)bringterrible(I
                                            egal)retributionl'(GM)
          .   wwt.t
                  -      'The 18 th amendmentHAS NoTsin terms?empowered congress to authori
                                                                                          ze ANYONE (TO INCLUDE BUT NOT
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                            T,PB,OR HER REPLACEMENT)toviolate lawsofthe statellll''(GM)

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                                                     , DEMAND
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                                                                   DEMAND TO
                                                                          thatgovernmentofficials        shallbe SUBJECTED TO THE
W
  '                                                                          THE CITIZENSIII''
              XW         ''Underone otthese alternative theories the rule'
                                                                         s foundation is shifted to the sporting contestthesis thatthe
                         Governm entMUST PLAY THE GAM E FAIRLY
                   9     and CANNOT BE ALLOW ED TO PROFIT FROM I
                                                               TS OW N ILLEGALACTSIII!                                                       O
                                                                                                                                             V
                                           Cam pbellVs State 935 So29 614, 620                                                               l
                                             State Vs Schwartz. W L 9250470
                                                                                                                                             /
                                                                                                                                             >
                         The (Fla) Supreme courtwent on to disagree wi
                                                                     th the States claim that the DUE PROCESS defense was                    j
                         UNavailable to predisposed defendants and found that, based on the DUE PROCESS provision ofadicle 1,section 9
                         ofthe Florida CONSTITUTIO N, thatGOVERNMENT MISCONDUCT (GM) - whi            ch vi
                                                                                                          olates the constitution DUE
                         PROCESS RIGHTS ofa defendantpredispositi     on-REQUIRES THE DISMISSALOF CRIMINALCHARGESIIIIIII!
                                                  STATE Vs.GLOSSON
                                                    462 So2d 1082
                         The type ofconductheld to vi
                                                    olate DUE PROCESS, is thatwhich SOOOO OFFENDS DECENCY OR A SENSE OF
                         JUSTICE,thatjudicialpowermay(IS NOT TO BE)notbe exercisedto obtain aconvicti
                                                                                                    onlll!
                                                  Blanco,896 So 2d at901
      -7' -*' w henGOVERNMENT MISCONDUCTviolatesadefendantsdue process rights,the remedy IS DISM ISSAL
               )                                                                                                               .


                                                U s.HAYW OOD v DROW N
                         A          556,U.s.729,129 S.Ct 2108, 173 L Ed 2d920 (2009)
                           STATE CAN NOT EMPLOY A JURISDICTIONAL RULE TO DISSOCIATE IJSELF FROM FEDERAL LAF
                         B/CAUSE OFA STATE'S DISSAGREEMENT WITH THE LAW S CONTENTS OR ITS REFUSALTO RECOG NIZ
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            Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 64 of 142




                         W HILE STATES RETAIN SUBSTANTIAL LEEWAY TO ESTABLISH THE CONTOURS OF TFJEIB JUDICIV
                         SYSTEM -THEY LACK THE AUTHORIW TO NULIFY A FEDERALRIGHT.9R CAUV C)FACTION TMAT THLY
                         éKLIEVEISINCONSIMTENTWITHTH#I# q9Chk.PQSICIX .
                                             FEDERALTITLE 18-3600 (a)(4)
                         (4) The speci
                                     fic evidence TO BE TESTED is in the possessi
                                                                                on ofthe government(PBSO)and HAS BEEN (PAST
                         TENSE) SUBJECT TO A CHAIN OF CUSTODY and retained underconditions sufficientto ENSURE that such
                         evidence HAS NOT BEEN SUBSTITUTED,CONTAMINATED,TAMPERED W ITH,(being in thatbox -is tamperd
                         with)-REPLACED,OR ALTERED inANY respectmaterialtothe proposed DNA testing
                                     STATE OF FLORIDA CONSTITUTIO NAL PS OATH
     ,
        c+.
        .                  ''I DO SOLEMINLY SW EAR ( or affirm) THAT I W ILL SUPPORT - PROTECT - AND DEFEND - THE
        '
                         CONSTITUTION AND GOVERNMENT OF THE UNITED STATES (even before Florida)AND OF THE STATE OF
     Y                   FLORIDA THAT lAM DULY QUALIFIED TO HOLD OFFICE -UNDER THE CONSTITUTION OF THE STATE AND
                         THAT lW ILL W ELL AND FAITHFULLY PERFORM THE DUW OF (title ofoffice)ON W HICH 1AM NOW ABOUT
                         TO ENTER.SO HELP M E GO D!!!

    .            à
                 sj      AII22 Florida Public Servants - including both the priorAG PB and the currentAG Ashl ey Moody -have taken the
 '
    ;-'              ,   above Flori da Constitutionaloath to God and to the state - and to the UNITED STATES GOVERNM ENT to comply
 ip j .                  with alIstate and federalstatutes mandates provisi    ons case Iaw and obviously US Supreme Courtrulings -yet
            '
            ..           plaintiffhas justagain shown this coud -aI
                                                                  Idefendants have violated everything they could -speci
                                                                                                                       ficall
                                                                                                                            y to obtain
                         unlawfulconvictions -which again - is in federalvi
                                                                          olation ofthis below -which no Federalcourtcan Iook the other
                         way on.
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            h. f         'To declare thatin the administration ofcriminallaw,the end justi
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 (.         ...          COMMIT CRIMES inorderto secureja         convi
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                                                                                  e (
                                                                                    s ingular)criminalwould (and Imore then assureyou -
 -..-v      k            VVILL)bringterrible (Iegal)retribution!j(GM)


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                              PAG E 30R            LAB ADM IN
                              Q ..Icallnext-the PBSO CRIM E LAB ADM INISTTATOR T. S.W ould you identify yourselfand tellthe world your
                              positi
                                   on.
                              A.My name isTara SesAaandwasthe Palm Beach Sheri
                                                                             ffsOffice Crime LabAdm inistratorin 2012.
                              Q.So in2012 and on-were youthe PBSO CRIM E LAB adm i
                                                                                 nistrator?
                              A.Iwas -yes.
                              Q.And youi
                                       ve read aIIofthe trialtranscripts where yourFS testified to the condition ofthe evidence in the twin JM
                              cases was unlawfulto use in any coud oflaw?
                              A.Ihave.
                              Q.Then tellus-tellaIIon earth - how coul
                                                                     d you allow any Forensic Scienti
                                                                                                    st(FS)(CS)to investeven a second -
                              analyzing evidence - 36 years oId - aIIofwhich was in a Iarge box wi
                                                                                                 th the alleged case evidence from 50 to 300
   .'   ';                    othercases - none individual
                                                         ly packages -aIIcramm ed together-touching and contaminating one another-
  /
  !
  j                   ,       one item having a property receipt -thus - you had no idea where any of i
                                                                                                                                    withnot
                                                                                                       t came from - and ABSO LUTELY NO
   k.            .'
                      .
             2                CHAIN OF CUSTODY -which i  s mandated by the FBI- ISO and state j 943.325 (13) (a)and federalI   aw (title
                              18-3600 (a)(4)- 100% ofwhich you knew -was alIunl
                                                                              awful-to anal yze in any crime Iab in Florida - any such
                              evidence -being in the extreme contaminated condition itwas in -thus also againstaIIstates and federalstatutes -
                              nation wide'
                                         ?? W asn'tthatalso whatyou indirectl
                                                                            y testified to -in yourpri
                                                                                                     orread deposi
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                              IT i
                                 s the policy ofthe Sheriffof Palm Beach County to m aintain evi
                                                                                               dence...in accordance wi
                                                                                                                      th FEDERAL,STATE,
                              AND LOCAL STATUTES and courtdecisions (ONLY W HEN COURTS ARE IN FULL COMPLIANCE W ITH THIS
        @                     GENERALORDER AND THE FBl!
                              (whi
                                                        ).Thisorderwillappl
                                 ch PBSO CRIME LAB STAFF,SURELY ARE)
                                                                          yto aIlemployees.

                                                     CHAIN O F CUSTODY
        e
                              IT IS REQUIRED UNDER (the above)LAW .THAT THE ITEM (swab and piece ofcloth) introduced to the courtp.>
                                                                                        -
        ,'   )                qvidence durinn a crim inal or civil proceedinn - IS PROVEN (
                                                                         - -      -       THATS PROFENIIIJ to be THE SAME ITEM
        .-   <
                              ORIGINALY COLLECTED!(W i
                                                     th nochain ofcustody we had no ideawhere the evidence came from orwhatcase i
                                                                                                                                t
                              hadtodowith-i
                                          fany)
        ,   @                 ThechainofcustodvBEGINS -WHEN AN ITEM OFEVIDENCE IS CJVLSQCTED (1976 and 1977) AND ITIS
                !         ,   MAINTAINED UNTILFtNhj,DISP9SIJIQNOqTH%EVIDCYLE(Theevidencewg%!
                                                                                           )'!m@ipy@iqçpatt1
                                                                                                           )
        f
        vf-                   1)TH-
                                  E CHAIN OF CUSTODY INCLUDES THK NAMUS OF ALL PERSONS HANDLING THE EVIDENCE THF
                              RKAbON THE DATE/ûD TIME THEEVIDENCECAM/IQTd THEIR POSSESSIONTJ-Weha noneo t1tt)
                              Q .And inthesetwo iulawfulconvictionsagainstJM -i
                                                                              tisyourlabadministratorssworntestimony-atnotim edidyou
         '' '
            '
            .
             '                have any chain ofcustody (COC) on ei
                                                                 theralleged actualpiece ofevidence -thus 100% ofwhatyoujustquoted -
                              W ASN'
                                   T INFORCED establishingunlawfulevidence having been introduced to bothtrials'
                                                                                                               ??

        '-
            p                 A.Absolutelv correct.The evidencewastotall
                                                                       v illegalevento analyze in any crime Iab -oruse in anycoud hearin: -
                                                                                                           .
         .
                              asImade clearwhenJMsattorney deposed me -seen hel::
                                             FRO M A 2015/16/17 DEPO OFT.D.LABADM INISTRATOR
                                                                                                  + *%
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                                                                                  y
                                        Q.Okay,since lknow youworkwiththedatabase,areyoufamiliarwiththe Fla.Statute j943.325?
                                        A.Yes

                                        Q.9ka and i
                                                  tdoes,itappqarsthatitdoes REQUIRE LABS TO FOLLOW NATIONAL QUALITY ASSURANC#
                                        STAND/RD .                   '
                                        A,Yes
                                        Q .okay,so in thatstatute when they say thatthe NATIO NAL QUALITY ASSURANCE STANDARDS, W HAT ARE
                                        THEY REFERRING TO?

        ;.
         ':' A.THEAUDITDOCUMENTANDTHED ISTANDARDS.ASWELLAS THE.
        ê .' WFREALSO ISO ACCREDITED,:0 WEALSO HAVETO FOLLOW THOSE GUIDELINESAS WELL.         '
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                .           '            Q.So again -wi th youbeingthe headofthe PBSO Crim eIab-andhavingtestifi     edunderoathina depo-tothe I       abs
            '       .                   having to com ply with the FBIS and ISOS federalmandates -tellthe world - how you could so intentionally -will
                                                                                                                                                     fully -
                                        and knowingly - allow one ofyourFS to violate the DNA Iaws -to such an extremee??
                                        A.Sir-lhave no excuses.Iwas aware ofevery unlawfulactthattook place in these two cases -and ldeeply regret
        '
        f''
        ,
        ,                               it. Inevershould have allowed any FS to waste a second - on 36 yearoId - unmarked - m iscellaneous crap in a
                        '               Iarge box -none indivi
                                                             dually packaged -aIIcram med togethercontaminating everything -nothing seal ed -no propedy
                                        receipts -Im ean - Iacceptfullresponsibilityforw hatI've all
                                                                                                   owed.And here's more statutes proving this evi
                                                                                                                                                dence as
k                                       unlawfulto use.

                F   '

                    7
                                        2)PROPER PACKAGING CONSIST OF PROTECTING AND SEPARATING ITEMS TO PREVENT THE LOSS,
                                        REM OVAL CONTAM INATION OR TAM PERING                                                                                       D
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                        ;
                        )-o) Q.Andproperpackaging?'
                            .



                            T
                                                  ??Whatpackaging??e??How couldanyjudgeorcrimelab- allow crimeIabFSconfessed
                                        unlawfulevidence thatW ASN'T EVEN PACKAG ED AT ALL,be used in any courtproceeding?
                                        A.Via corruptionl!
                                                                                                                                                                    *
                                                                                                                                                                    V
        y t.                            3)PROPER SEALS CONSIST OF COVERING ALL OPENINGS OF EVIDENCE PACKAGE TO PREVENT LOSSJ
        ''                              REMOVALrCONTAMINATION OR TAMPERINGI!(NOW GET THIS NEXT LINE) EVIDENCE W ILL NOT.W ILL
            '
                                        NOT BE ACCEPTED (IN THE CRIME LAB OR COURT)UNLESS I
                                                                                          T IS PACKAGED AND UNDER PROPER SEAL.
                    k                   Q.ButtherewasnopackagingorsealsataII!
                '   f1-'    .           A.Iagree!As well....,
                ( '
                z'vQ( 4)EACH ITEM OF EVIDENCE SHALL BE LEGALLY...LEGALLY...LEGALLY
                        i               RECORDED ON THE PROPERTY RECEIPTS!

                    qso'
                    t  )
                       SX' A.Weneverhadorfoundonepropedyreceipt-thus-again-aIIillegalevidencetouse.
                          J
                        '' '
                                        Q .W asthere anywayto havefound onesDNA onevidence thatold?
                    (,          ,       A.Notevidence subjecttowhatthe cl
                                                                        aimed swaband tiny piece of($0th were subjectto-no.Andtoconvicta person
                                        on this ki
                                                 nd ofevidence? Its m ore than a sin.? Especi
                                                                                            ally on a life sentence.In fact thatevidence - cleared JM -
                        c;              more than itconvicted him.
                                         GO TO PAG E 31




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                                               A. Yes.                                                                                                    ..z)
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                                               Q.          Okay .           Since I know you vork with the
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                                                                                                                                                                           I

                                     database, are you fnmn'liar with the statute 943.325?



                                              Q.        Okay. And it doeyy it appears that it does              .



                                     re 'ire labs to                    ollow national quality assurance
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    -                          8     standards?
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                                              A. 'es   .




                           10                 Q.       Okay. So in the statute when they say that                                         -     - - ...


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                                                   1 quality 'assur an c e
                                                                           standards, wha
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                                     referrin to?  *
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          1i# j3                              A. Theauditdocumentandth F81standardsas                                                                                 K'
                           11        well as ther werre ISO accredited so we also have to
                 I         s         ollow those                idelines as well.                                                    g/zxglliyie
                                                                                                                                               oyg
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                                              Qz.- -O:#y. .M d if vpu weren't followipc those,e
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                          18                  A.                                    >
                                                       'qlz might get a findiw , ves.                                               cp .- 2# # F < -
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                                              Q. Okay. Al1 right.So Mr.Tanton was deposed Mp'
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                                   V.
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                                   PAGE 31 R


                                   cases -and why i
                                                   . iab adm i

                                   Q.Tellme aboutthis all
                                                             n2

                                                          eged single swab and piece ofc10th you aIlunl
                                                  twas illegalto use.
                                                                                                       /
                                                                                                      awfull
                                                                                                           y used asthe only evidence in these


        '
            '7.'                   A.OK,well-the firstthing you should know i     s -DNA can be FABRICATED!. Priorto exposing Palm Beach Counties
                                   ((PBC) realcorrupti  on - laced wi  th mul  tiple state and federalviolations, it is crucialthatyou....Yes - EVEN
                                   YO U...GoogIe this very ti
                                                            tle and read itcarefully, ifyou have any realinterestin seeing JMs unlawful
                                                                                                                                      ly convictions.
                                         'DNA EVIDENCE CAN BE FABRSCATED SCSENTIST SHOW '

                    '              A.Failure to read the above adicle priorto going on - youlllnotunderstand how we - in the PBSO CRIM E LAB -
                                   FABRICATED AND PLANTED JMs DNA on an alleged single ''           swab''-and one tiny piece of'cloth''-and a 'robe''-
            .                      each - singularly used in the two horrifical
                                                                              ly unlawfultrials, both,the only alleged evidence the state had, ofwhich
                                   could nothave been anymore unlawfulto use than i   twas.
                                   A.lt cam e outin both trial
                                                             syin the sum mer of 2Q1:y one ofmy PBSO FORENSSC SCIENTIST (FS)confessed to
                                                                                      .-

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    '
    v                              DNA ACQUISITION perthe ''Justice ForAIIActof2004'''w hich MANDATES - EVERY STATE AND FEDERAL DNA
                                   PO LICY AND PRACTICE EVER MADE -BE I-AW FULI!


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                        '
                                   A .Stu#ed to the top ofthis box, was hundreds of alleged pieces of evidence, notone of which was individually
                                   packaged norm arked,to identi
                                   evi
                                                                  fy i
                                                                     t orwhat case i t was supposedly from aIIIiterall
                                                                                                                     y mashed againstother case
                                      dence where ithad been for25 to 40 years, in thatcondition:again,making a mockery outofalIDNA m andates
                                   around the world,literall
                                                           yl!
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              -r,
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                                   A.The FS furtherindirectly confessed to the coud, none ofthe evi
                                   and coul  dn'thelp but being contami nat  ed, by saying,an y  evi
                                                                                                       dence was I
                                                                                                    dence that was
                                                                                                                  awfulto use in any courtproceeding,
                                                                                                                  n'tproperly packaged, stood a high
                                   probability ofbeing contaminated, as alIlIIofthe evidence in thatbox surely was:excessively unlawfult
                                   nevermind in Iife sentenced cases.
                                                                                                                                        o use in court,
                                                                                                                                                           'à
                                   A.As forthe single swab they selected to use, theypi  cked one (ahhh-thisone willdo) outofan envelope,thathad
                                   been clinging onto 20 to 25 otherswabs - none individualpackaged:aIImashed together, none of which were
            (
            ','                    m arked.Thi  s was the alleged swab a FS wasto offound JMs DNA on,which thatclaim is Iaced with holes, such as,
    .       .
                ,                  who'd believe the FS spentthousands ofdoilars and days, analyzing allllthose swabs,she knew were unlawfulto
                                   use in a trial-and coincidentally found one with JMs DNA on it? Again, would an honorable FS -waste aII1IIthattim e
                                   -
                                     analyzing overtwodozen swabs,knowingtheycouldntbeIawfully used in court, EVEN IF shefoundone tom atch a
                                   casero '?? Absolutely not!
        .-- .                      A.Ortry itthis way:would any honestgovernmentoperated, abundantlyfederall  y monitored,CRIM E LAB, actually
                                   spend days, and huge dol    lars, anal
                                                                        yzing unmarked unpackaged, clearly contaminated evi      denceo the Iab
        ')                                                                            y
                                   adm inistratorand FS knew ,notonlycouldn'tbe LAW FULLY used in any court, butthat I'd everallow ANY FS -TO
                                   INVEST THE TIME AND M ONEY ON? ls anyone thatgullibleyto go forthat,coincidentally and allegedl  y to find JMs
                                   DNA onone-CAREFULLY CHOSEN (ahhhhh,whatthe hell:thisonewillserve ourpurpose)swab!
                                               THEN CAME THE TINY PIK E OF CLOTH
                                   A.The FS alsotestifiedtofinding many piecesofc10thinsidethisboxqNONE OF W HICH were individualpackaged-
    U
    '
                    ,              m a king i
                                            tunlawfulto use - mashed againstcountless otherpieces and i
                                                                                                      tem s-one-all egedly having JMs DNA onit-
        '
                    .
                                   again openingthe doorto -would an honest,honorable, FS investthe tim e to testdozens ofpieces ofcloth knowing
                                                                                                                                       -u
            W                      none of i t was Iegalto use in coud none containing any case num bers, as wellas,TOTALLY UNLAW        FUL TO
                                   ANALYZE -EVEN IN ANY FLA CRIM E LAB - PER PBSO GENERAL ORDER 532.00,STRESSING PBSO CRIME
                                   LAB MUST ADHERE TO FEDERAL MANDATES'?? ITHINK NOT.
                                                                    y 6@w+
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                        /.?/'
                        < .




            '
                        A.ln otherwords,thatFS could nothave violated any more state and federalmandates than she has,by even using
            -,.j        anything inthatbox,cl  earlyknowing aIIto be unlawfulvi   a PBSOS own rules and poli  cies-whichthe state confessed
              IE        to know ing of- by saying atthe beginning ofthe firsttrial-something very close to this:
                        ''
                         JUDGEUTHE DEFENSE IS GOING TO TELL THE JURY,THE STATE HAS NO CHAIN OF CUSTODY FOR 30
                    i   YEARS ON THE ONLY EVIDENCE W E HAV EJ AND THAT THE EVIDENCE W AS IN A LARGE BOX W ITH THE
                        EVIDENCE FROM 50 TO 300 OTHER OLD CASESU NONE OF W HICH W AS INDIVIDUALLY PACKAGED , ALL
                        TO UCHING EACH OTHER,W ITH NO PROPERTY RECEIPTS FOR 30 YEARS'
                                                                                    '
                        A.And again -whatdoesthevigilantejudge makethe crucial-spoke toofastwi
                                                                                             thoutthinking -mistake ofrepl
                                                                                                                         ying -
                        incourt-Iessjury-onrecord?
                        A.Looking atboth PDsr the judge return.....''
                                                                    YOU DEFENSE ATTORNEYS CAN NOT DEFEND YOUR CLIENT
                         USING THE STATE HAS NO CHAIN O F CUSTODY FOR 30 YEARS , AND THAT THE EVIDENCE W AS NOT
                '
                         INDI
                            V IDUALLY PACKAGED AND TO UCHING OTHER EVIDENCE, NO R THAT IT DID NOT HAVE ANY
                         PRO PERTY RECEIPTS FOR 30YEARSI''    w
                                                      . .      -   Lj.)t. ..,.,
                                                                              (
                        JM )Havingheardthis,Icouldn'tbreatS Iwassoinshockoverthefact,thestatewouldCONFESStothestatesuse
                        ofunlawfulevi
                                    dence,onyto ave ajud
                                                       'ge acknowl
                                                                 edgethatfact,the evi
                                                                                    dencewasunl
                                                                                              awful,onlyto then ALLOW
                        THE STATE -to em ploy unlawfulevidence. AIIlcouldthinkof-was-they'
                                                                                         ve aIIgottobeon drugs.
                        HOW EVER,though this was a1lsaid atthe very beginning oftrialone, don'   texpectto Iocate iton the courts audio
                        recording m inutes,as they'
                                                  ve read my priorrepods, and undoubtedly had thatsection rem oved -butnotfrom the FBI
                        -
                          who can find where the recording had been tampered with, and probabl
                                                                                             y can retri
                                                                                                       eve the edited section.
F*
'                        GO TO PAGE 32

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                               Forthosew ho weren'tabte to find the articletitled-''DNA CAN BE FABRICATED RESEARCHERS SHOW '- this to
                               f
                                ollow - is too impodant-notto insed severalofi  ts quotes -so again - these are cruci
                                                                                                                    alI
                                                                                                                      ines wi
                                                                                                                            thin this adi
                                                                                                                                        cle -that
                               revealhow -one bad cop andone corruptFS -fabricatedJMs DNA - startingwith :
            (,
             >
             ù                 1) Scienti
                                        st in Israel have demonstrated that it is possible to fabri
                                                                                                  cate DNA evidence UNDERMINING THE
                 ,             CREDIBILITY ofwhathasbeen(PAST TENSEII)consi      deredthe goldstandard ofproofin criminalcases                                        .


                                      In otherwords - anyone is a foolto convicton DNA ALO NE as this quote appearing in an Australian paper
                               blares:
        .-
  :t5:. -<%N$                  'THE PROBLEMS HAVE PROMPTED THE LAW INSTITUTE OF VICTORIA TO W ARN OF THE (EXTREME)
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                               (BASED ON 1 (ONEJ PIECE OF EVIDENCEI! EXACTLY HOW MANY THEY HAD IN EACH CASE /TRIA
                               AGAINST ME!ONEI!(WHATA GULIBLE JURYIJ)                                                                                                      -   L
                      ' 2)The scientistsfabricated blood and sal
                                                               iva samplescontaining DNA from a personOTHER THAN the donorofthe
                               blood and saliva.
             '
                               3)They also showed -ifthsvhadACCESS TO A PERSONS DNA PROFILE IN A DATA MASU -(astheyhad on me
A.
 -#              .
                      ' in2005 and 2007)-THEY COULD CONSTRUCT A SAMPLE OF DNA -TO MATCH TH/T PROFILE (BINGQLI
                        W ITHOUT OBTAINING (Ohhhh Dl
                                                   easeeee!DNA? CREDIBILITY'
                                                                                                                 Q
                                                                           ?? ) ANY TISSUE FROM THAT Pë*$ON!!(thug
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                        %ASY TO FRAMEANYONQI)
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                           (THIS IS EXACTLY W HAT THE CORRUPT BOCA deFective and hisfemale-Iona time nssociate ForensicScientitt
                           di
                           o d wi
                                thmv2007 DNI:they obtained my profile from CODIS - in2012-via afederalfriend ofCruz who was the                               -
                                ne who obtain my profile from the national codis database - at which time the FS cloned m y DNA - THEN
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                                          as)
                                 BRICATED A NEW BATCH TO SMEAR ON ANYTHING THEY CHOSE TO USE AS EVIDENCE IN THIS CASE -
                           THE SWAB AND CLOTHII
                                              )


                                                                                                                        .        .
                           51 W NY BlOLOGY UNDERGRADUATE COULD PERFORM THIS''!!!                                                     )'
                                   ;                    --             -.                       mw.r

                           (Again-itcouldn'
                                          tbe anyeasierforany FS - toplantanyones'DNA ON anythingl)
                           6)'DNA ISA LOT EASIERTO PLANTATA CRIME SCENE-THAN FINGER PRINTS''-
        ,                  A.AND FAR MORE SO - ON A SW AB OR PIECE O F CLOTH - READILY AT HAND -SITTING FO R DECADES -
                     zl    IN A BOX CONTAINING 50-300 CASES OF ANYTHING THAT COULD BE CALLED OR USED - AS EVIDENCE.

  ,- '-i.                  A.THIS article-bythe way - wasone oftheones JM wantedthe PD attorneysto introduce tothejury butas soon                                 -
    ,                      as one of the PDs breathed such a thing - the female prosecutors had a tissy                                   .   Now why oh w hy - would the
  ' ,                      pr
                            osecu
                               sseti
                                   doninNOT
                                        t wanta DNA article -PROVING DNA CAN BE FABRICATED - to be shown to ajury (oreven
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                                      rial)i
                                           ftheyweren'taware JMsDNA hadbeenfabricated ????
      C''
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        .                  7) ''
                               THE othertechni que RELIED ON (BY GLOBAL CORRUPT COPS is) DNA PROFILES STORED IN LAW                                       -
        '                  ENFORCEMENT
                              ATIONS AT DATABASES - AS A SERIES OF'' NUMBERS AND LETTERS
                           VARI                                                                                                                  -   CORRESPONDING TO
                                       13 SPOTS IN A PERSONS GENOME.




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                       A.Agai
                       HAVE  n -this notonly confirms how easy iti
                            ACC                                  s - forcorruptcops to frame anyone - w hose DNA they ALREADY
                                ESS TO IN CODIS -(asthey had JMs)-buthow likelythey fabricated my DNA -where a crime I
                                                                                                                     abslog
                       bookand motiontocompelhearing -CLAIM ALLTHE EVIDENCE W AS DKYTRQYQD.         -


                       Q .Sowhatyoutre directly saying -is-notone single aspectofthe crim e labsinvolvement- analysis - handling -or
          t
          j            any state orfederalDNA m andate -has been com pli  ed with -and could notpossibly be more state and federally
                 ?     unlawful-withaIIrem otely involved -cl
                                                            earl
                                                               y guiltyofOBSTRUCTIO N O F JUSTICE AND CRIMINAL CONSPIRACY -
                       JUST FOR STARTERS?
                       A.ln a nutshell-yesl!
                       Q.Anything else yourcare to add Ms Sessa?
                     A.There is: The -70's/80's Serologist, testi
                                                                fied -upon working cases -these two cases were included in a11he had
     r,      ,    %$ worked on - and when analyzing a swab -he would stapl   e any and aIIswabs - onto an index card -with the case
         v             number,Now hey? AI1PBC case evidence is maintained in the PBSO CRIME LAB (including aIIW RC alleged
             .         'stains'
                              ')-W HERE ONLY -ONLY CRIME LAB FS HAVE ACCESS TO: SO -W HAT????? Oneofthe FS ofdecades
                       ago
                       THEM-SELF
                            had a bad day, and sim ply YANKED ALL THE SW ABS O FF THEIR INDEX CARDS                -   AND SAID TO
                                   :

                        ''
                         AHHHHAt
                       THROW   W)L
                                 HAT
                                  THETHE HELL?
                                      CARDS    I'LL JUST CRAM ALL THESE CUTE LITTLE SWAQS 4N ONE ENVELOPE - AND
                                            XWAY                                                          .   -

                                                                WITHTHEIRèXSéNJJMIMI
                                                                                   q4SQN/T''.
/ V                                                     -



                       A. Remember:The tabs own Iog book (concurrentwith the motion to compelhearing) registers both case entire
                       evidence W AS DESTROYED BY POLICE W HO DOCUMENTED THAT DESTRUCTION! And 'destroyed''- has
                                                                                                                                        7!
R *
L                      no affiliation with -cram med in a box wi
                                                               th 50 to 300 othercase evi
                                                                                        dence - which Isaw mysel
                                                                                                               f.

ys
'-                     A.BesidesOR
                       REQUEST  -whathonIor
                                   PERM  T able crime lab administrator(me -obvi
                                                                               ously in no way honorablel
                                                                                                        ) W OULD EVER EVER
                                           a FS,to spend one second -Ietalone hours - and thousands ofdollars in '''
                                                                                                                   time'
                                                                                                                       '
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                       30 - TOTALLY UNMARKED -NON-INDIVIDUALLY PACKAGED -SW ABS
                       DE
                           CADES wi
                                                                                          - THAT HAD BEEN HAVI

                                   th otherswabs - ABSOLUTELY NOOOOOOOO CONDOMS -ALL OBVIOUSLY CONTAMINATED
                                                                                                                    -
                                                                                                                      on 25 TO
                                                                                                                 NG SEX FOR
                       AND TAMPERED W ITH -PROVEN SO - BY JUST BEING ALL IN ONE ENVELOPE - which no FS would everstore
                       i
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                        n thatmanner-on theirown -oranalyze. JM isowed $$$$$$$ milli
                       theirnam e.
                                                                                   onsforwhatwe've done to him andhiswife!and
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                                  Q .Nex1lcal
                                            l-the PBSO CRIM E LAB FS. W oul
                                                                          d you give yournam e and positi
                                                                                                        on?
                              A.Myjobtitle is FS and my name isCel
                                                                 vnda Sowarçb -and Iwas the maintrialForensic Scientist(FS)in both JMs
                              corrupttrials-andthe FS who testified in both tri
                                                                              als as being the FS who ini
                                                                                                        tially wentthru the Iarge box of typical
                              Drs offi
                                     ce type trash.
                              Q M sS -describethe boxyou cl
                                                          aim edyou l
                                                                    ocatedtheswaband pi
                                                                                      ece of(
                                                                                            710th in?
                              A.W eII
                                    lI...i
                                         twas about30''x 15''x 15'1and had an unsealed Iid.
                              Q From now on -anytim e you mention any characteristics thatwould cause heartfailure in any honorable DNA FS -
                              advise ofsuch violation.          /

           .     ..     A Alrinht!Thenthe unsealed Iid -would have been the first. Then - insi  de-i  twasélled to- the toD- - with aIIkindq.of
                     ' vd/nndes old -wellused and abused medi   caltrash - aIIIiterallv cram-m- ed- tonether-- touchinn on- e. another.r totally
                        unl
                        i awful. Next- there was - not one sincle oroDertv recer  ' t - attached to anv i tem - extrem el v unlawfulto even
                        ntroduce to any lab orcourtprpceedipg.
           ,                  A,AIIi
                                   tems-beinn mashed tonether-W ERL QQFtQJJSLY TAMPERED W ITH -asno FS woul
                                                                              -                           d havq Morêd thmm
           /                  I
                              ikp that- obviougl
                              Fl               y CONTAMINATIN; EACH ITEM -making i
                                                                                 tal1-totally uselessand unlawfulto use in qrly -                     .

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                                  da Iab orcourt.None ofitwas individuallvm ackaned -thusO B-VSOUSLY unl
                                                              -               -           -             awfulto use. Nothing was m arked
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                                                                                     ly ofitcamefrom -aqain makina a mockervoutofalotp l
                              DNA accuisitija pf-ap.y INA.
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                              A Rlltone ofthe Iargestunlawfulaspects ofthisentire injustice -isthe God's honesltruth-W E HAD NO CHAIN OF
               X.             C-UST
                                  I-ODY (COC)sowe had no idea w here anv of-w hatIooked Iike trash from a Dr's office - came from - No case
                                                          -              -        -                            -
          w                   can awfullvnroceed -withoutaCQC.
                                                                                                                                                                  '
                              Q Thenwhydidyou analyze theitemsinthe box?
                                                                                                                                                              j
                                                                                                                                                              .
                              A Because Iwas only an intern in 2005 when Iwas gi
                                                                               ven orders to rum mage thru it- to see whatIcould match.
                              Q Andddd?
      '''''''
      o-                      AAndlcouldn'
                                         tIawfullymatchanything-toanything Likethe swabwe made bethe onewe used
                                                                                      .                                                       .....


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       #                      awhatwasthat?
      1*7
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                              A Iahhh...lmeant...lfound 25 to 30 swabs in a m anila envelope -alItouchinn and mashed tnne
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         z'                   s-
                               o obvi
                                    ouslvcontaminatedtothe unlawfulextrem.q.
  z''J),
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  . z/
                              Q So in general-there was NO W AY foranything in thatbox -to be Iawfully used in a crim e 1ab - ortrial?
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                                          chIthouqhtwasstrange-askinqmetoIookthruit-in an FBI/ISO Iicenced cr
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  k                             IaiadministratorcoincbvtheFBlorIso MANDAT/S SHEvowEo To Go By
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                             Q OK time fora CRUCIAL QUESTIO N EVERYONE NEEDS TO GRASP W ITH at Ieasttwo oftheirfinestTEETH -
(3'                          THAT QUESTI
                             FS ACQUI REDON  BEING
                                           THAT    -IF
                                                SPIT INYOU
                                                       ANY-MANNER
                                                           MsS -SPI T ON OUR FULLSENATE FLOOR RIGHTA OW - AND ANOTHV
                                                                   ACC
                                                                       EPTABLE - FO R DNA ANALYSIS -then analzed it-would th:
   ...
                              DNA profleacquiredbe'MODERATE     'X
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      %                      A No sir-i
                                      twould not.
                             Q Andwhynot?




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                                                                                            (
                          A BECAUSE IT WAS MY DNA -WHICH W OULD PRODUCE A PROFILE READING TO MATCH MY DNA -100% L

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            t   O N EARTH   - I
                              T W O ULD BE YOUR PRICELESS TESTIMONY - THAT THE VERY SPIT YOU RUDELY
    k'       .
     '.
                UPCHUCKED ON OUR 17 M ILLION DOLLAR CARPETS - W OULD REG ISTER A 100% DNA PROFILE -TO
                MATCH YOUR DNA PROFILE'??
                          A Correct!
                          Q Fullsenate massive smiles - as Ed then asked -W hy is that'??
                          A W ell...cause i               . A!
                                          ts m vverv own DN   W hvshouldn't2.
                                                                            r
                                                                            2
                          Q .YoutellusM sS -whyitshouldn'
                                                        t?
                          SUDDENLY you could hear yet another pin drop in the Senates main room -with the FS displaying a frightened

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     if+                         '
         :,               A There s no otherwav sirl!W here-jl
                                                           - r :lafnçtmyDNA -IfANYTHING wasclaimedto have mv DNA on it-IT HAD             (
         ,.           ' TO MATCH 100% Identicaltorrw-DNA PRYFILE!
                          Q JustIikewhatM sS?                                                                                                 J
             - y4         A.
                           OK -OK -okkkkk!JustIike -i       .me.
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                                                                                      1and robe (we DutJMs DNA on)actuallv-hèd                V
             '            honorablv anv connection wi
                                                    th JM DNA -there'd be NO 'MODERATF'AROUT lTl
                                                                                               . IT TOO -W OULD éç f 100%                     F
                                                                                                                                              C
                                                                                                                                              L
                          MATCH!See whattheothersaretal    king ac utsir'?.
                          Q No.W hat?                                                                                                         M
                          A JM s Colum bo reports - dissect evel
                                                               '
                                                               y dam n path we travelover. His has a mind to devours every possible
                          scenario-99.9% welding in place-whatwe've criminaldone inTHE PBSO CRIM E LAB!
                          Q Translating to?
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              '
                  :'                                                               cated D- NA - w 0-u
                          A lfJM had actuallv been the assailant-JMs real- non fabri          --     -ld hav.
                                                                                                           -e ma
                                                                                                               -tchedhis2007 (and 2095)
     ' ;''' DNA PROFILE 100o/L-and IT WASN'T EvEN CLOSEI!ModerateplayKnochanteri
     '
                                                                               n a 100% DNA MATCHJ/
                                                                                    -

                          anvonesDNAI!Andnomatterwhatthestatecounterswi
                                                                      t;-theabovefacts-don'
                                                                                          tandq@-q.'tIik !     .   -   .



             à            Q.OK - another huge questi  on.There' s people today -who are Iiving wi
                                                                                                th the delusion - DNA is that much more
                          accurate then the priormethod ofblood typing.Yourfeelings on that?
                  -                                 v ''secretervs non- secreter''-IS JUST AS ACCURATE as DNA -meaning -in orderto
                          A.Blood typing -specificall                 .   - ---
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                     non secreter. There isno mistakesi Io                in -whi
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                          Q. Ms S - the two federalfemale agents to your Ieft- wi
                                                                                llbe taking you to your own - private - not so-hom y or
                          comfortabl
                                   e holding cell-where you and al
                                                                 lin yourPBC CRIM INAL VIGILANTES are pacing back and fodh in there
                          own -as we speak.Agents'?!




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               PAGE 34 R                HPD
           Q.Nextlcallthe PBC HEAD PUBLIC DEFENDER C. H.W ould yougive usyourname andposition?
           A,My nam e i
                      s Carrey H.and l'm the PBC Head Public Defenderin PBC .
           Q .Ms H -we've been advised -thatthru PBs corrupt confidants -she's ordered you to establi
                                                                                                    sh a group of
           VIGILANTE PDs -who don'
                                 tmind working wi
                                                ththe state -againstthe defendant. Is thattrue?
           A.Yes siri
                    tis and in al$counties in Florida.

           Q .Oohhh won'  tthe fam ili
                                     es ofconvicted inm ates in Florida Iove that! And how do you find - then recrute such
           spineless bar?
  .        A.Years ago - Iwas advised by the AG'   s go-betweens -that Ihad to create a group ofvigilante PDs - who'd work
; -'       w
           he'd Iike a promotion to a PD Supewisort
             i
             t h t
                 he state - against t
                                    he defendants -  hus Ifound a male PD -who seem ed scroupless - so lasked him (TD)i    f
                                                    -to specificalky screen both new ando1d PDsto see ifthey'd stoop as1ow -
           to improperally representtheircli
                                           ents -by assisting the state in obtaining a conviction.
           Q.Selloutthe clients?
           A.Exactly!
           Q.So itis yourtestim ony thatyou were ordered -thru priorAG's -ofwhich BONDIfully supported - to establish an
                                                                                                                               77
           array ofPDs to play the parts ofdefense attorneys -yetwere actuall
                                                                            y on the states side?
           A.Correctl!BondiIeftanyPD whowanted thehead PD position- nochoice. Eitherthatorno top positions.
                                                                                                                                Nxx
                                                                                                                                    >>jt
                                                                                                                                    '
           Q .You alw ays had a choice M s H. You could have repoded Bondito the FBI. So in those days - it was your                   j
                                                                                                                                        #
           appointed supervisor-T.Dunnington -who recruited every PD JM had?                                                    (
                                                                                                                                Q'
                                                                                                                                (QLJ
           A.Correct,O ur only problem was -as others have said - JM can't be scam med by PDS. So he busted them aII-
           stadingwith afemale(Megan Eaten)-foll owed quicklybymy supervisorDunnington:Made-em bothinaweek. Long
           to short-lhad to have TD keep changing PDs and some -JM busted -were so scared oflosing theirbarcards- they
           made a careermove outofthe county and state.
           Q.Andthisis goingon aIIoverFlorida?
           A.Itis -thanks to Pam ala Jo Bondiand whoeverfills herheels.
           Q. How manycorruptPDswereassi
                                       gned to JMscase oversixyears?
           A.In all....ahhhhh....one -two -three -four-five - six. Six in aIIand he m ade everyone. He had m y supervisorso
           scared -he quitand moved to Ohio - li   ving with ths delusi
                                                                      on the feds wouldn'tgethim there.
           Q.
           BEHe  waswrongl! Every single indivi
              CAUGHT                           dualsinvolved -even ifanyone in DOC W AS TO CROSS THE LINE - W ILL
                       and broughttojustice.That-you may be cedain ofl! Ms H -yourbarcard istoast-and yotl'llnever
           have anotherone in any state -and you'
                                                re on the Iistforprosecution.
           A.Onwhatchargessir?
           Q.
           C Justthe tip ofa vew Iarqe ice burq -Title 18-241 - 18-242 and 18-1512 by denying a US citi
                                                                                  -                         zen the samç
       -     onstitutionaland Amendm entriuhts as evervone else - which beina framed and unl      aM ullv renresented and.
           prosecuted -doesn' tfallunderI
                                        awfulin anvstretch ofthe imanjn
                                                  -   -        -   --   -ation.And FIaStatQ 838.022 -9913.18 -concealinn
                                                                        -
           mate--
                rialfacts andfraudulentrenresentation bv Ieadinn JM to believe -he actuall
                                    -                                                    v had Iawfulrenresentation- when
           you.knew i
                    t.wasn't-i
                             s -forsure -Obstruction ofJustice -matinq nicel
                                                                           y wi
                                                                              th CRIMINAL CONSPIRACY!You'llenioy
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               R lsws.                        -


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                           PAG E 35P              Sheri#
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                           Q.Icallthe SHERIFF.R.B. W ould yougive usyournameand posi
                                                                                   tion.                                                        #k
                                                                                                                                                 ft
                                                                                                                                                  ;

                          A.My name isRi
                                       ckBradshaw and I'm the Palm Beach SheriffsOffi
                                                                                    ce SHERIFF.
                          Q,Anddoyourecalhavi
                                            ngJMi
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                                                       lforSl
                                                            XLONGYEARS'
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                          A.Idosi
                                r.Andhewasactualyamodeli
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                                                                              pforanyofus. 5 j'
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            .'            A.
                          hiEverything we did with his m ailand calls -he knew we were behind it. Butthe I
                                                                                                         argesti ssue Icreated was-he had
        f,
         .
         ,.A
           .                s wife -who comm unicateswith a senator-and who we Iearned overa eri     od oftime - is nearly as shar as JM isy-
                           e had hersend a 150 a e re ortto enator- -- -- to secure e oti         t,      the sena orrecel  ve I t-he found I
                                                                                                                                            t
                          substantla enou to send a co back to me -and re ues e              u                                 s a usa lons -
                          asthevwere aIItoo I
                                            ikelvto have takenplace -andhewantedto gettothe bottom pfjt                                     .


                          Q .Andthatw asaproblem -why?
        ,
            '''
                 '        A .Because w hen JM AUTHO RS his Colum bo reDorts -thevfre-99.99- % ac
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                                                                                               ---ra-te -- a
                                                                                                      - -     h-is w as -- which
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                                                                                                                                     ctqd on
                                                                                                                                      -               -                            - - -- .
                   ;  '   paper-more than abakersdozen ofthe PBC publicservants(PS)andthe deputiesSA Aronbem had me assicn--to
                  ,
                  -       q-
                           o-thruJMsiai
                                    -  lroom Iecalboxto stealthe4 crime IabIettersthatclqaredJM ofthese- ch-arqes.
                                                                                                                -                           .

            ''
                          Q .Soooooo....what? You coul
                                                     dn'
                                                       tconductwhatsenatorrequested on JMs repod?
                          A.HeII   -I


                             11ofthe
                                -
                                    Inol!I
                                        -
                                          fIdid -the findinqswoul
                          o- t-hers - JM hasthem good -oncri
                                        eo le Iknow and workwi
                                                                   d have convicted hal
                                                                minalsvi ol
                                                                 th? I'ustcouldn'
                                                                                       fofP-BC PS - includinn Bondia-nd- -Aronbe
                                                                                       -       --

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                                                                          ations-thusmyhandswqre-t-ied.How w as l-.-the-s-
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                                                                                                                               - Q-     - and 14 t-o''20*
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                                                                                 tdo it!And how was I oin to investiate m own 'a-ilde uti
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                              eared JM ofthese
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                                                                                                                                     th the senators
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                                                                                                                                                                                       .                   j
                          Q .Rock and a...
/-
>                         A,BIG TIM E!So Isimply neverordered the investigation.
                          Q .How do youthi
                                         nkJM isableto putthi
                                                            ngstogetheraswellas hecan?
    n
        r
        ir.
          c.
           '
           y..            A.No
                             eo
                          wher  nerehas
                               we'     e
                                     aoi vetrofi
                                        nq     guredthatout-butheknowstheiudicialsvstem farbetterthen ldo -andabundantly knowl
                                               qo                                                                                  -     -                            -                    -
    g            '                                  in everv counterwe m ake rto the point-hi
                                                           -                                  s having thatability i
                                                                                                                   s spooky. JM is   also well
    k            .        aware ofeverything we undedake -to observe hi    s every move. Phone call s and replaying them overto others-we
                 '        think should heara call snailm ailIetters he sends -and ofcourseb- he knows his emails are multiread and copied:
                          he's aware ofitall. He's had some kind ofspecialtraining -so he knows the ti m e on every clock. W e aIIthink we're
                          observing him -whenthetruthis-he'    sgotMO RE THAN ONE SET ofeyes on us
                          Q.Tellushow thetheftofthe Ietterstookplace?
            '
            '             A.
                          hiThatwasearlvon-oriorto mv Iearnina ofthel     'rfederalskv-hinhvantaaepointw ho oversee the wel
                                                                                       -            - .                    fare ofJM and
                            s M rs via some kind offederalaaentDrotection - no one can track down and manv have tried.Thev're ass
                          oversee both JM and hiswife and arrestand prosecute anvonew ho doesanvthinnto them
                                                               -
                                                                                                                                 -i
                                                                                                                                  qned to  --
                                                                                                                 - which there'-snodoukt
                          inmvmind -- .-is..a b
                                              -p.u.
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                                            - -
                                                  jtocatchupwith-a
                                                                 -llofus.
                          Q.Did JM snitchyououttothe Senator-fornothonoring hisinvesti
                                                                                     gation request?
                          A.No..noooo he didn'
                                             t-and hecould have manytimestoo - buthe neverdid.




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                                                               -         fication.the adm inistratofsends the co.l)-fourIettefs.(cooies ofwhich had to ao in the
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                                .        discoveryand how JM potthem)aIlinvolved thinkinc- allisw-        ell.Afterall.the Iettersdo Dointto JM asthe assailant.
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                                         l- -w g
                                          t    -s short
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                                                               s ,JM r
                                                                     ec al l
                                                                           ed  readi
                                                                                   ng in a prior m o t
                                                                                                     iona w here itm entionedhi s 2005 DNA, whi
               V.                       'hi   -

                                           -s m i
                                              -  nd as hasbeensai
                                                      -        -
                                                                 -d beforebyothers.                - -    -       ---                  -        chrunnIoudlvin
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                                        AkSO'
                                        .-      n. how com e.ifthe alleced realcase evidence was to of matchmd m v 2007 DNA. IT DIDNT MATCH mv2005
                                                '
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                       '*
                                        A . He then wrote a state exnosina corruotion renort.PELICAN BRIEF STYLE.revealina w hatthev'd done. which 1
                                             ..                                              -                                                           -
                                                                                                                                                       -
                   ,
                       '.               was told to uive to the PBC STATE A'   FW - -who nnninked. Jand knew- i
                                                                                                              flhev couldn'
                                                                                                                          t cetthe 4 Ietters out ofJM s          -

               '                        hands.(THAT ONLY LINKED HIM - VlA HIS ZOO7--DN AJ a vnrv lm ge-catw outd-be letoutofthe bap'
                                                                                    tems-thevthenclaimed- m ntchedhis 2007 DNA -acai.nnnmel    y they'd
                                                                                                         -                  .-
               w   hi'                  fabricatedandnlantedhisDk/ onaIIthreei                                                             -notknowina
                                        ofhis2005atthattime:THE COXRUPTION -CASE KILLER!
               ,   p44rs                A-. Thus -whv the Aronbern -had m e make mv '
                                                  -                                 Iaildeouti
                                                                                             es stealthe l
                                                                                                         etters- knowina the letters neverlinked JM to
                    .'.
                        '           -   his CODIS in 20051 - thus exposinq m anv PS in violatiin of OBSTRUCTION of JUSTICE and CRIM INAL
                                        CON           -            -       .                     -                                                           -                    --
                                              SPIRACY ON A FEDERAILand STATE LEVEL.
                                        A.To preventthis from exploding and catching alIinvolved, (having heard JM had the Ietters repl    aced,)they knew                                                 *
                            i
                            ,           THEIR DNLY HOPE ofnotbeinn cauoht. and beina federally nrosecuted.-w as to get his FDLE/DO C ACO UIRFD
                                                                                                                                       -
                                        2.0W
                                           0 DN-A,OUT ofCODIS,W HICH THEY CRIM INALLY DID. comm .
                                                                       .                                 ltt.
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               l'                       k0clucincmassqveoBs-rRucmos oFzusTl
                                                                         - ceAND CRIMINALCfZINSPIRAA IGP-.
                                                                                                         QQLEFlastqt943.325(16).                                     --       -
                                                                                                                                                                                                       '
                                        Q .Doyouthinkyourpadicipationin thi
                                                                          s-should allow youtoremain sheriff?
                                                                                F .
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                                        theds
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                                                #JrM
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                                                            epandsaid- lreques.<th
                                                            l                      e- .remaininpilV                              .-.       .
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                                        Very wellM rJM -as you wish. Sheri
                                                                         # -i
                                                                            ts yourIucky day. You may step dow n.                                                                                                  '*
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-..                                     PAGE 37 NEXT                                                                                                                                                               ?
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              / /-z'



             Q .Then how doyoufeelnow aboutthatcoming out?
             A.-Hevvv...   th-e m- an is innocent.He'
                                                    s unlawfully been incarcerated forgoinq on 8 years. I'
                                                                                                         d Iik to seè him qetout.
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      /'rw   ide-js-too jjeneflcialto the countrv and helninn peonle -to be caned awavw it-h alI.-the druccies-ean d tattod-bovs.He
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        't   e
             . Ve-n.. cam e u . p with whathe said w as a 200o/0 qpar-anted pronram thatwould nreventany addi   tionalPARKLANDS
        '    schoolshootin s from taking placeworld wide- butAronber didn'twantto Iose the convi
                                                                                               ction-so he had me blocd
             a 0   IS       -                                  D ans rom Gettlnq out.T e m an isn'
                                                                                                 ta crim inal?
             Q.Aronberg?
                NOOO .Aronberg ispure criminal!JM .He doesn'
                                                           tbelong inprison.
             Qw W ere there anv otherIeoaldocumentsDA askedvouto st
                                   -         -                    ealfrom yIMSIqgal#ox inhiscmllwhenyouputthmm nLzt
             o recl
             PAGE 36 NEXT




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                                h'.. (s.+.




                                PAG E 36 R         SHERIFF 2

                                A.Ye-s.Anvdenositi on paqes ofthe 7O's/80's serql
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                                  dence he deal tw i  Aronbern knew to have those do-cuments i
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                      '
                       .-       Aronbera ordered me to have myTnen snat
                                                         -             ched aII12 coniesofthe Iettersand deoo Daces-while 6isoodwas
                                fgrced to no to rec -which was anothertotalwaste- oftim e-. - where JM had- - hi
                                                                                                               s PDs reluctantlv replace aIIcopies -
                                                                                                                        - -     -                 --                 -       -
                                w hich was additionalnroofthe PDs w ere on the states si
                                                                                 -     de . W ith SA DA noteven sharp enounh to know -JM would
                                                                                             -                 -        -. -        -                      - -   -
                                reolace aIIwe took.
                                Q.DidSA DA tellyouwhythe documentshad tobe stolen?
                                A.Itwas som ethinu about-thouuh thgletters initi
                                                                               all
                                                                                 v aim ed qui
                                                                                         -  lttowards JM -due to notal
                                                                                                                   --so showina a m atch with
                                his FDLE/DOC 2005 release DNA acainste' Ithercase -this exnosed how m v PBSO CRIM E LAB nlanted hjs DNA on
                                evidence -thev then claimed matched hi
                                                                     s 2007 -butnothis 2005.The states nroblem was -thev weren'
                                                                                 -                                                taware of
                                his2005 DNA -whenthgvfébricated hisDNA to matchthe 2007 codisentrv.
                                Q.W hodo youthinkwasthe masterm i
                                                                ndbehindthe letterstheftand...
                                A.Forsure itwas Bondiand Aronberc workina co-r-rum tlv tonethpr-probabl
                                                                                                      v thru the AssistantAG in PBC -as it
                                                                                                          --   -           .-                   ---         -
                                w o d take the nowerofan AG to edi
                                 -             -                 tCod
                                                                    -i
                                                                     -s.
                                Q.Tellm eaboutPB havingCodisedi
                                                              ted.
                                A.IT allbecan with PBC SA.D.  A .m andatinc Ihave JMs iailroom sea-rch- ed w-hile aIIinm atesw ere o-utto rpçsaq  .j I -                               - -
                                                                                                                                                                                                                  -
        ,                       had denuties STEAL 4 crime Iab letters the state sent(thus were in his discoverv)to the Boca coD. thatinitiallyéimed
                                nui
                                  lttowards JM -untilthe state Iearned ofhis 2005 FDLE/D OC release DNA.thatnotonlv CLEARED JM O F BO TH
                            ,   THFqs/ (ZASFS RtJTQ n M/I4j?1
                                THE 2007 DNA?
                                                              .?FMTIV ppf    m -ç-n -TI
                                                                                      Ap KTATP ;7plllnl11rMAR-Y MADF .IM I(367K (71I11-
                                                                                                                                        -

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                                A.As Drior stated -the 4 Ietters -m v own crim e lab authored and sent. did.1
                                towards JM - UNTIL.....UNTIL .1M dgtal
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                                                                            .n one ofhl
                                                                                                            'n fact.on the surface,ini
                                                                                                                                     tiallvaim nuil!
                                                                                       .s-reoods.WA FDLE/DOC had also taken hisDNA IN'200f,
                                and had itDut in both the FBI's and states cr Dls DATA BASF IN 7008 that NEVER MATCHBD GITHFP OF
                                                                                                                                                                             -.
                                                                                                                                                                                                                       j
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                        '
                                THESE 7'
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                                       W O CASES.THEY CLAIMED HlS 2007 DNA W AS T(3 OF''MODERATELY''MATCMED.                                                                                                           ï
                '''
                                A,So PB andthe com !y Attv hadCTCIOIS edi
                                                                        ted ofhis2005.because ifIeftin.i
                                                                                                       tcl
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                                                                                                                                * wi
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           fet
             bters-notmentionin his 2005 and W HY THEY HAQ O STEAL THEM -due to ex osin theirfraud v'a vin.g
    t/ ,       ri ted and Ianted hi N        H TW PRIOR M ENTIO N lTE             usln I s                  eEq ttE?,                                                                                             ..
    f 6' /              IN ....NOT                                              ALREADY BEING I            ' whiçh -
         ' theirfabricated DNA DIDNT E--
                                      VEN wink-at.lettinn aIInonvicilantesknow.JMs innocentl! Anotherhuce whoopsfor
                                                             -

                                the state thev can'
                                                  ttw to Ii
                                                          e offto a federalcourt.

            l/ ;
               '
               ,                Q .Edi ting ourFederal-cod'ls - - t's nn Jabllnrllntlvserious state and federalcrim e- -
                                                                 -       -                                             - oarticul
                                                                                                                                arl
                                                                                                                                  v to keen Codis frqœ
               ,z               clearinc som eoneofa crim e.That'sOBSTRUCTION-OF JUSTI-           CE - BONDIW ILL NEVER bR tI!                                                    --



                                A.Good!She deserves prison.
                                Q.Are yousurethi
                                               s alIbeganwithonl
                                                               ytwo bad PS?
                 ,'
                 '
                                A . Iam .And i
                                             twas the corrupt FS who fabricated JM s DNA.? THEN PLANTED IT ON THE SW AB - PIECE OF
                 '              CLOTH -and ROBE -THEN THE FS GAVE IT TO MY PBSO CRIM E LAB ADM INISTRATOR TO UPLOAD INTO
                                CO DIS, M ORE THAN LIKELY - W I    TH THE ADMINISTRATOR NOT ACTUALLY KNOWINGLY ç.
                                                                                     -                                    ,
                                                                                                                          * MINAQY
                                INvot-vqpINANYweoiùIjbj'
                                                       :ti-atthattj
                                                                  iiii!                                                                                                                                  '
                                                                                                                                                                                                         -
                            )   A.From there the Iabqetsan advisementfrom lheCODIS AGENTS.ofa''MODERATE'
                                                                                                       '-ONLY rMATCH,W ITH                                                             -     -   -   -       --
                                JMs2oo7coàldDNA.ALLTO-rslseolu'rcl-lltosplAvvo vaypyArless                                                                               .




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                         PAGE37R                cpocy:)-
                                                       f cpyc/)/ y z,
                                                                    /wASJS
                         Q.Nextlcallthe PBC PD S. A. Fortherecord-would you stateyourname and posi
                                                                                                 tion inthis pi
                                                                                                              tifulobstruction of
                        justice?
                        A.Myname isSteve Arbuzow and lwasJMspublicdefenderinbothtrials.               -   .-       ..


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                 r.':k Q As
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                 *.    covertwe'vekhfeoa
                             lywor     rrand
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                                             ar
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                                                   heyst-at
                                                          the PBc pDs offi  ce is corrupted by Bondiand you're one ofthejrvigi
                                                           e -againstthe client-is thataccurate?
                                                                                                                             lantes - who
                    '
                ':
                k9e' AUnfortunately-yessir.
                 .
                        Q And isitalsotrue-JM accusedyoutoyourface-manytimes -ofbeingonthe statesside?

            1r'7' A Too manytimesto count.
                ,

                ..
            i
            C77
              3-. Q Andyet-yourepeatedlyl  iedtohim byfraudulentlyleadinghim tobel
                                                                                 ieveyouwerehonorablyrepresentinghim?
                        A By no choice -yes.
                        Q
                        t And i
                              sn'ti
                                  talso true -youwouldn'taskvarious Statewitnesses -cedain questionsJM requestedyou ask- told not             ,:
                                                                                                                                               ,   '
                         o by the state?
                        A Thattoo would be correct. JM basically hadno defenseatall. Itwas a slam dunkforthe state.
                        Q And how manytimesdid JM -at71yearoId-pleadwithyouto believe hewasn'
                                                                                            tguil
                                                                                                tyand tohonorabl
                                                                                                               y represent
                        him -SO HE COULD GET HO ME TO TAKE CARE OF HlS W IFE'??
#                       A Il
                           ostcount-buteveryone's singsthatsame song.    A
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                        job?Fullfledge 'pretender'.
                        QWi
                          th no rem orse?
                        A You can'
                                 thave remorse i
                                               n thi
                                                   s business,
                        Q .Is ittrue-yourPD boss-has been corrupted by Bondiinasm uch as establishing an arrayofpure vigilante PDs -
                        to unlawfully workwith the state - to assistin obtaining a conviction - as you di
                                                                                                        dw i
                                                                                                           th JM ?
                        AyThat's aIltrue -butBondihas a vigilan-te a rrav ofPDs in evew cou
                                                                   - - --                 - ntv in the
                                                                                                     - state nshe employs on aIIhigh profil
                                                                                                               -         -                e
                        cases -so we can imprison alIhigh profile case accused -innocentornot.
                        Q.And wasn'tita Dunnington -the PD supervisor- who recruited aIIofyou                           attorneys?

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        '/ r
           t            A.Thatis correct-except-when JM wrote one ofhis terribly revealing repods - detailing aIlofthi
                                                                                                                     s - JM senta copy
       j.
       'v..
          .'
            , to Carrey -the head PD -implimenting Dunnington and Carrey -causing Dunnington to panic and Ieave the PDs
           '
            .v          office and run to Ohio in thinking he'd be safe from the feds there.

   *
   '
                        Q .W ere aIIofJM sassigned PDs- vi
                                                         gil
                                                           ante?
        ,
       :m*'q,
       ..
            '           A.They were.The priorPD tome -also quit-andtook upajob in Tampa asa civilattorneyto keep JM from busting
            (
            ?           him and taking his card.Listen -Ifeelguil
                                                                ty enough aboutthis -thatI'm now going to revealotherevidence that
                        proves JM wasinnocent.Regardingthe two casesthathe wasunlawfull  y tri
                                                                                             ed and found guilty on - the PBC CRIME




                                                                 > v *
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                     LAB FS FO RENSIC BIOLOGY REPORT revealed in both ofthose cases -''
                                                                                      the presence oftwo individuals''.
                 .
                 i   Q .Two di
                             fferentsemens?
          i
         t ' A.Correct.Thatmeans -thatthe crime lab found DNA ofa second all
                                                                           eged assail
                                                                                     anti
                                                                                        n BOTH CASESII!
                     Q .OK -buthow doesthatcl
                                            earJM?
 z'..''7j
 ( Js)               A.Because bothcaseall
                                         egedvictim -made i
                                                          tverycl
                                                                ear-therewasonlyoneassailan!-nottwp.
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                      Q.Again -ok-butthen how was JMs DNA allegedlyfound on ei
                                                                             thercase evidence?
      '
                     A.As prior stated - JMs DNA was fabficated and planted. Here's the picture: the originalcase evidence the FS
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       '             anal
                        yzed -may have been actualcase evidence to ''
                                                                    a''case -butNOTHING -pi -
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                                                                                                   tdow  n to THESE
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 -
         .            Q.O hhh-soas has beenclaim edaIIalon -acorru tFS sim l r bbe an Id swab nd iece ofc10th-HAVING
      ,.                                           THER MALE would be found on said items, She then simnlv added a dite ofJM's
 $ .
   ,                  DNA to both -then - uoon another-non invo- l
                                                                 ved-'
                                                                     ln.corruDtion -innocentFS anal
                                                                                                  vzinn sa-i
                                                                                                           d evidence -she al
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     '
                      finds JMs fabricated DNA -alono wi
                                                       th n qtmond DNA?

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                      A.100% correct! But-because - bv thi  s ti
                                                               m e -JM had alreadv been arrested and thev'd ninned the crimes on h.i
                                                                                      '-
                      the bad FS involved -and the state -CHOSE TO FOCUS ONLY ON JMs Dlanted DNA - and SAY NOTHING abo-pt
                      the secondandthe realassal .lants DNA l
                                                            .n anothercasp.
                                                                                                                                   fp -                                                     y
                      Q .Then -i
                               fthey didn'twantthis to be broughtto Iight-why did the FS m ention the second dna on herreport?

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                      ilwasneverbrounhtun-asthatwoul
                                                                                    on a second DNA wasfound in bothcase evidence-j.o
                                                   dhavecausedtheiurvtofindJM innocentVlA ashadow otdoubt.
                                                                                                                                                                                                t
                      Q .Did the bad cop -MC know ofa second guy?
         ).AQ..
         .
                      A .Ohhh are you goi
                                        ng to love this part.The day he arrested and interviewed JM -this was one ofthe questions MC
                      asked JM .
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             /        ''Didyouhaveafriend?Someoneyoumetinabar?Someoneyoudi
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      ,'
                 .    A.W hich ASA Scott-also had edi   ted outofthe interview video -due to clearin JM . You betterbelieve Cruz knew of
 'yè;                 the two dna's. And the wav he found out -was - he notten o o the A E ORENSIC BIOLO GY R-EPO RT .
                      .                                                                                                                                                -        -   -   -

 k.                   which stated there was...''
                                                the nresense oftwo individuals''.
                      Q .Rutm avbe thatm eantone male and a female?
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 v ' .
                                         tthe case nunon Crug
                      A.To prove thatwasn'                      - readinq that-he call
                                                                                  -   ed the l
                                                                                           - ab and spoke to
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                      on bothtrialcases-and she told hl.m - .Itw-a.s two differentM-ALE dna,s. To sunnol'tthats whatcruz was toIj- l)e
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                 '
                       NFVFR -FVFR wnlll
                                       d havl aqkmd JM -aboutthe nossibilitv ofiavinc a friend he d'
                                                                                                   Id thincs with -ifhe HADN'   T
         ,-
                       RFFN CONVINGFD hy thm FS -THFRF W AS a K/cond males SEMENI    ..Yet-both alteged vi  ctims and the victims
                      in the W RC ntestitied - there was (m lv one assailant.
                                                         -                                     -



                       Q.So anain-thisprovesJW wasframedand isunlawfullyin D(3(R?
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                               lhdW--J'JrSNCN 58# '


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                                                 fy-we have a corruptFS -who wastheinitialintern-CelyndaSowards whowasassi
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         '                            thru the box ofcrapw i
                                                           th 50 to 30O alleged casesofevi
                                                                                         dence from the 70's -wi
                                                                                                               th each case having a
           m-i.ni
               .mum of3 piecesofevid    ence -Sowardssi
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                                                       m nlvchose anvoldswab- and     p-e-ce ofc10th to connectto JM .
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 x. -      analvze itaII-W HICH SHE OBVIO USLY DIDN'T DO . So whatare we to beli
           D                                                                              eve -thatSowards simplyfound JMJS
            - NA bv analvzinna m ere few item s?-


        /L1'               A Exactly.Thewhole storywasfraud andLIES!
                                  .



                            Q.Anything else?
    .,r            .       A.A whole bunch -starting w i th -the State claim ed Boca PD had keptaIIofthe W RC evidence attheirPD. This -
,z'zv h                    what Ijm about to reveal- W ILL CRACK THAT LIE AND CORRUPTION W IDE OPEN the kind ofevidence                AG
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 %'-                       Moody wi -llbe frantictocoverup-buthas no chance inhellofdo  .i
                                                                                         ng so.The pict  ez-t.he- V o emal
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                            ainteà-andforjiattimebeing-pulivd(
                                                             lff-4willNOW i:expee          .
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         '                 A.As you recall-the state had so much trouble with the EVIDENCE from the tw
                                      - --                                                             oJn
                                                                                                     - - -itialcases - due to so mapy                   .v
                           arrows ointin to ithavin been destro ed etc., thatthe needed to hase in the W RC to osi   on the 'ury, And th#
                           reason the de Io ed t atW RC case -as havin a connection to JM -was due to claimin thatthe W RC evidenœ
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                                               n'ttohav-
                                                       eiaken anyoftheW korevidence -tothe /BC CRIM/ UAé FOR ékYGAQS
                           A.Now anyone believes that-when such an action would vi
                                                                                 olate aIIkinds ofprotocol
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                           Q.
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                               B course!Noway would anv Iaw enforcementNOT HAVE TO brinn EVERY case evidence to its counties crtme
                                                    -   -                                                        -                      -
                              ' ut-can ïouprovethat?                                         -'-                                 -
             .'
                           A.Yes.Here'sa deposi tion page20 -from oneofourPDs(MeganEaton) who deposedthe 70'sserologist-Richard
                           Tanton-talking ofthi
                                              sverysubject-we'llstartonIines9/10/11
                           ****


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     C.7'
        q Q.Okay-thenwould you keep the evidence (any police depadmentbroughtto the crime lab)atthe PBSO CRIME
    ïxw .,                 LAB orrelease thatbackto the agency?
         .                 A.Yeah - itdenends -ifitwaK PBSO -we wt
                                                                 -ulld takq rqqnnnRt
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        -.                 A,.Now - priorto this JM up com ing victofy -this established how Boca D1D HAVE the 1977 evidence in its PD - in
    .(..                   2015/6/7 w hen the state RAN forthis W RC to bailthe state out. Again -there's now -NO DENIAL in BOCA PD DlD
    '
                           HAVE POSSESSION OF THE W RC EVIDENCE from 77 to 2018 in theirPD - as we NOW -allagree.Butheres the
                           straw thatW ILL EXPOSE THE STATES CO RRUPTION -anditstwo femal            e prosecutors -and StateAtty Aronberg
                           Back to the depo Iines 17/18 the PD asks. ..                                                                   .
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                             WOULDTHEY STAY AT PBSO tcrimel
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     h-z(            .
                             Q.Bingo.W OW !So summerize forus- priorto me having Moody arrested fornotnullifying these unlawfulcharges
             .               and prosecution.

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         +ht, A.Fact1)BocaPD di
             ,
                              dfollow protocolb brin in theWRC evienc to hePBSO CRIME LAB IN 1977-DIRECTLY
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              z. .           -        .                                       .
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                             A.Fact2)'
                                       Seroloai
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                                                 stRi
                                                    chard Tanton -the -verv70'  s Serolocistw ho handled allofthese 70's cases -to include this
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             '.              W RC case -testified hejId al
                                                         w avs take aII-100jh
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                             he performed on 100% ofaIlclaimed W RC evidence in 1977!                                                                                                                      L

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         e>                  3) And wl
                                     .th Tanton havl
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                                                                                     cléme.e Atam' s -plleqq whathp fiid with thl pvifimnng he                                                                      '' ,
                  '          acquired the stainsfrom ?                                                                                                                                                     --
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                 ,           Qy.He returned itto Boca PD -(BUT NOT THE STAINS)thus -W HY and HOW BOCA WAS IN CUSTODY OF THE
       .
                             EVIDENCE to 2018 -as they cl aimed during the trials -yet-with allinvolved barand badge KNOW ING - though the
                             evidence W AS stillatBoca PD -                       '!

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                                  lp@linvolved -Iied -and -in doinq so -violated 9838 022 /9918.13 and 18-1512 -by concealing material
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                                                          l@pdjuw.Anddpyou-Sir-know why?
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                                                                ved - (such as aIIthe Iisted defendants)- knew - IF
                         revealed above - gotout-JM would then piece togetherthe factand truth - here aIlca eI
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                         70-'s had been destroved - surelv that destruction DIDN'T
                                       -                                                               -   -        TROYED - whi      ch
                         Aronberg -ASA Rexand CokelvW ERE DESPERATE TO CO NCEALthese materialfacts-and coul          .d onlydoso-by
                         forbiddinn us PD's -from even breathinn anvthinn aboutTantons CONFESSING in thatdepo - ofhis keeping a1l
                         CRI
                                     ME LAM EVI
                                              DENCEXTAINS attiePBéOCRIMELAB.
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         .               Q.Sothe corruntPBSO FS who workedthisW RC case -wasthe onewho fabricated JM's DNA                                                                               -
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                         he robe sw ab and njece ofclot                                                    and plantej i
                                                                                                                       ton
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                                                           -   -                          -   h -PRIOR TO HER SNEAKY DEPO TURE TO ESTABLISH A CAFfEER
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                         kovEl!
     ,.                  A.Correct.AIIdue to - thiswas the tim e JM beaan aim inq-û-u-iltin his horrifvjnn repods-at thecrimelab -resul
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                                                                                                                                          -   -- -     -
     ''-                 the Sheriffcettinccopie-s ofJM's remortswh-en copied in his '
                                                                   - --              IailIaw libraw -atwhich time he'd send a copy overto his
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                         crime Iab as a 'heads up''to anyone quilty.


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                              9                                Q         Okay. And then wpuld you keep the evidence at

                                                lœso crimé 7.% or would yau 'release that back to the
                         11                     agency?


1                        13                    reS.p-n SLbilièy
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                                                               A       ,Yeaw    - depends, if.it was PBSQ we kuuld
                                                                        -r - h it
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                                                  Ild send.tie.evidence bqçk to thep to store it,
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                                                           Q           Okay- And did you ever, do you know how
                 17                            outside agehcies, for
                                                                 r' &exampï                                                                                                                                                      #l ''*
                                                                           e, Boca Raton, badk in                                                                                                                   the  fov;       .> .

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                                                           how they stored their eyidénce?                                                                                                -            .                                    y /4
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                                                        A              No .                                                                                                                                                 v                             .
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                     0                                  Q              Thd sampoes khat you vhad pulledz thou h, the
                                               v                                                                *          .                                                                               e*               *       -
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                                           blood slidea and the five by eight cabd with the
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                2                 *        clothings t-he. cotton sample that would be pqt onto a
                                                                                                                                                                                         z                                                                        4
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                                           cardr would that stay at PBSO o: vould thàt be sent ba ck

                24                         to the agency?                                                                                                                                                               '

                25                                     A                ah the stains w u1d sta with us.
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                                            .z    K'> .
                                             L 'z: ,.
                                            /             z                                         /




                                   PAGE 39R                                               t
                                   A.Rinht!So when the DNA fabricatorFS -saw Jm was closinn in via his exposin.q reports - whatdo w u know -she
                             ;     m ade an all
                                              eged -innocent-''careermove''to an outofstate police agency.

                                   Q.AIlthis-as you may know -is i
                                                                 n Federalviolation ofTi
                                                                                       tle 18-241 (and 18-242) by criminall
                                                                                                                          y doing thisto JM -
                                   which states:
                                                                TITLE 18-241
                                   Iftwoormore oersonsconsoi   re to iniure -onnress-'
                                                                                     threaten-orintimidate (via retali
                                                                                                                     ation) anv nmrqonin ANY Atnte
                                     pnKlml
                                          m inn -ordiqtrintin thl frlm mylrcile nrmnjoymentofANY RIGHT OR PRIVILFGE secured to him by the
                                   Consti
                                        tution ofIaws ofthe Uni
                                                              ted StxfpK -nrin fii
                                                                                 ffmrgntnlIni
                                                                                            Khmpnt--nlinq nr-nfmalties shallbm fined bv thiK title
                                   pri
                                     m prisoned prboth.
                                                               TITLE 18-242
                                   ''w Hn l&/FR tINDF:R (7431C)R (-)F ANY I-AW --STATIITF: W l1IFLILLY -SURJFCTS ANY PFRSON IN ANY STATE
                                    . .TO THE DEPRI VATIO N OF ANY RIGHTS - PRIVILEG ES OR IM MUNITIES SECURED O R PROTECTED BY
                                   THE CONSTITUTION OR LAW S OF THE UNITED STATES,..SHALL BE FINED OR IMPRISONED OR BOIJb '
                                   A.That'sjusttwooftheIawstharllimprisonsallofus.
        ' '*
        (                          Q .Excuse me -A ent? Locate AG Mood and arrestherand s are herno ri
                                                                                                     vile es.Ri htinto a cellshe oes.
                                   A-Yes sir.                                                                                                          83
                                   Q .Anything else Arbuzow?
                                                                                                                                                            Vxp
            ..       '>            A- Yes sir.W hich is crucialregarding the alleged ROBE in the W RC - thatbeing -there was no way the robe was
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        'r,
          f
          - L
            )                      spared its STAIN DESTRUCTION in 1977 -afterTanton acquired any such alleged robe stains -IF IT EVEN HAD                   4
                                                                                                                                                             X
        '':              J
    ,
                         9
                         .         ANY STAINS - as any such stains W OULD HAVE BEEN 100oh REMOVED in 1977 - by PBSOS Serologist Richard
                                   Tanton -AS HE REM OVED FROM ANY OTHER EVIDENCE -which positively m eans fourthings.
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                                       Orwhat? Tanton.m issed a double victim case evi
                                                                                     dence.-and .sim nl
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                                                                                                      v returned .the robe to Boca PD -
                                                                                                                                      .
                                                                                                                                        without
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        1                    ..        FVFRY STAIN l tm ay hnv/ nllt
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                                                                                                 th th9 Ktntl hnvlnp beën (m uphthmre In thl
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            '
                         ,,'' canb/lieveANYTHINC THIS PROSF-CUTION SAID -orthattherobe -EVER EVEN had stainson i
                                                                                                               tto beqinwith?
            V.-
                                       2)W hich -anysuch W RC stai
                                                                 ns(i
                                                                    fthere wereany)-aswere the alleged''swab''and ''
                                                                                                                   cloth''inthe othertwo cases-
                                       were Iikewise DESTROYED inthe70'sor80/.
                 '
                :                      3)And this-takentocether-nroves-the I
                                                                           abfabricatedJM sDNA in 2011-2015andplanted i-ton th-e RO BE -so th- q
                                       %tate could testify the Mb @çg!?'
                                        .                        .     lçojJMsDNA offtherobe-whichwasa li
                                                                                                        e -EXAUTLY LIKE itwasa Ii
                                                                                                                                e -BocaPD
                                       HADN'T bqpugh!theW Rd robe -tothe Iabfor34 yepr>.
                                       4)And fo-ranvoneto d
                                                          --
                                                           eny orargueany ofthis-wouldthen besayinq -Tanton Iiedwhen--
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                                                                                                                                 --ALW-AYS-C
                                                                                                                                           -U--
                                                                                                                                              T
                         .             OFF EVERY STAIN he ran into -to 100% secure he acnuired them all. W ho'd everbelieve -ANY stains woul
                                                                                                                                           -d be  --

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                                        .ft-o-nANY evidence-whencommonsincescreams-itsprotocolandanABSOLUTE MUST-togetaIIthestainj
                     .       E         initiall -to find the stron estand m ostconclusi
                                                                                      ve stains -which -i
                                                                                                        fan stains were leftbehind -i
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                                                                                                                                        d be the one -
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                                  ..   t atidenti
                                            - -   fiedthe assailant-and EXACTLY W HY - no onewoul
                                                  -                                -- -       -       d EVER Ieave stai
                                                                                                                      nsonanvthinq-INCLUDING THC
                                       k-öéE!!!GoodtrvthouuhtFlorida.
                                                                    You'renrosecutionreallvcameupwi
                                                                                                  tha''dposy''thistimp.
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             .-s                       Q.Fl orida judi
                                                     cialistoast- '                   ..The enti
                                                                                               re PBC prosecution willbe exposedascriminals and
            ô l.,i                     having this broughtto Moody -wi
                                                                     th hernotnulifying both unlawfulconvictions - heroffices reputati
                                                                                                                                     on - and her




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             judicialIadderclimb-arehistory.Thiscoul
                                                   dn'tbe anyclearerEtherewereNO STAINS LEFT onthisallegedrobein
             2000 anything -as Tanton CUT THEM ALL OFF IN 1977!!!1
    . * mb
         '
    /'
     .
     -j.. A.ThatistheGod'shonesttruthsir.
       -
       '
       z
                          4.. .
                         ..           ..t.-.-   ''
             Q.Again-anything else?
             A.You m ightbe interested in this also.Severalyears ago -there was an adicle thatcame outin the BO CA RATON
             papersw i
                     th a title of:
                              'AS CRIME FALLS -PRESSURE RISES TO ALTER DATA'
                                                                           '
             Highli
                  ghtsoftheadicl
                               e read:
             Seniorpolice officials around the nation are concerned thatthe sharp drop i
                                                                                       n crime in recentyears has produced new
             pressure on police depadm ents to show ever-decreasing crim e statistics -and m ight be behind incidents in several
             ci
              ties in whi
                        ch com manders have MANIPULATED CRIM E DATA.So far this year there have been charges of
             FALSELY REPORTING CRIM E statistics in New York -Atlanta and BOCA RATON -FLA.resulting in the resignation
             ordem otion ofhigh ranking police comm anders.
             '''In Boca Raton forexample - A POLICE CAPTAIN - W ITH KNOW LEDGE OF THE POLICE CHIEF (thus -
              permissionto commitcrimes)systematicallydowngraded propedy crimesIi
                                                                                ke burglariesto vandalism -tresspassing
             orm issing property-reduci
                                      ngthe ci
                                             ty'sfelonyratealm ost11% in 1997.'''
             Q.Okay -the big question:W as Boca's corruptdefecti
                                                               ve MC wi
                                                                      th Boca atthattime?

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                       PAGE 40R
                       A.I-le was -so he mastered fraud and falsi
                                                                fying reportsfrom his superi
                                                                                           ors..Letme also setthe record straighton the
           '
                       destruction offingerprints as Iwas the PD who held that moti     on to dism iss - based on prints being m aterial
                       exculpatory-injudge KristaMarx'scourt-andwhatshedi
                                                                        d - couldn'
                                                                                  thave beenmore againstciviland federalrights
           '           orstate and federalIaws then i
                                                    twas.May lSenator?

                       Q.You may.
                       A.OK -firstI
                                  et's REestablish -aIlstate and FederalCourts-haye np çhqi
                                                                                          çq.kç1!-1
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                                                                                                  p 4>161.
                                                                                                         : !) alIFederalStptutq? -
                       M S Supreme CourtR uIipgs A ND PROVISIONS - Cqnsli
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                                     U.S.-60Wling VS Parker,882,F.Supp.2d891(Ky.2012)
                             '
                             VhroughtheSupremacycl  auseoftheUnitedStatesConstitution,                                j JYLV
                             StateandFederaIcourtsaIike.AI
                             '                            REBQUND....BOUNQTOGklA.    !?.
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                                                             TITLE18-241            V'lB ''
                                                                                          .
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                       Iftwo ormore personsconspire to injure -oppress-'threaten -ori
                                                                                    ntjmi
                                                                                        date (via retaliation) anyperson inANY state
                         possession -ordistrictin the free exercise orenjoymentofANY RIGHT OR PRIVILEGE secured to him bythe
      Qï
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                       ...
                       Consti
                            tution ofIaws ofthe United States -orto di
                                                                     lerentpunishm ent - pains orpenalties....shallbe fined by this titl
                                                                                                                                       e
                       orimprisoned orb0th.
7.k            .
                       ,,
                                            TITLE 18-242
                        W HOEVER UNDER COLOR OF ANY LAW ...STATUTE..W ILLFULLY SUBJECTS ANY PERSON IN ANY STATE
                         .TO THE DEPRI
                                     VATION OF ANY RIGHTS -PRIVILEGES O R IMM UNITIES SECURED OR PROTECTED BY
                       THE CONSTITUTION O R LAW S OF THE UNITED STATES,..SHALL BE FINED OR IMPRISONED OR BOTH.'
                                                                                                                                             %
                                            US AMENDMENT 14
                       ''NO STATE SHALL MAKE OR ENFORCE ANY LAW THAT ABDIDGES THE PRI
                                                                                    V ILEGES OR IMM UNITIES OF
      J                CITIZENS OF THE UNITED STATES..NOR DENY TO ANY PERSON WITHIN 1TS JURISDICTION THE EQUAL
      t                PROTECTION OF THE LAW
                                         O LMSTEAD VS UNITED STATES
                                          227 V.S.438,469,471,48 s.ct564
                       'To declare thatin the administration ofcriminalIaw,the end justifiesthe means to declare the GovernmentMAY
           .           COMMIT CRIMES in orderto secure aconvi      ctionofa pri
                                                                              vate (singular)criminalwould (and lmore then assure you -
      t,               W ILL)bringterribl
                                        e (Iegal)retributionl''(GM)
                       ''
                        The 18 th amendment HAS NOT,in term s,empowered congress to authori
                                                                                          ze ANYO NE to violate Iaws ofTHE
                       STATE.
                       A.Alone -this m akes itvery clear-anything Irevealhere - in anyway federalPROVISIONS - rulings -m andates -
                    ' statutes-no state judge can simply blow off-asjudge Marx did.Also Ietme make itclear-nojudges 'discretion'
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                     7 can depar
                               t orchall
                                       e nge any of t
                                                    h e above - orwhat'
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                                                                            low. Nord oes anyjudge orprosecutorhave anycivilsuit
                   .
                       protecti
                              on from violating Iaws - when they,
                                                                ve outrightviolate state and federallaw -as alIofus defendants have in
                       these cases.

               -.      A.Now -referringtothe Uni
                                               ted StatesSupreme Coud case -ARI
                                                                              ZONA VS YOUNGBLOOD (1988),488 U.S. 51-
           '
           ,
                       l'm going to quote severalSUPREM E COURT PROVISIONS in regards to what is MATERIAL EXCULPATORY
                       evi
                         dence - in whi
                                      ch judge Marx violated - thus also in violation of aIIabove which state couds must be held
                       accountable for-perthe Uni
                                                ted States Supreme Courtseen below:
                       ''*70 The firstinquiry(astoevidence being exculpatory)underthisstandard concernsthe particul
                                                                                                                  arevidence itsel
                                                                                                                                 f.




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           t m ustbe ofa t e which is cl
          ;'-v
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                                       earl relevant:a re uirem ent SATISFIED in c s where IDENTITY is atissue b
           physical evidence W HICH HAS C-  OME-ERO M THE ASSALLANT. Sam nles of blood and other bo IIv uids -
                                                           -
     i :' FINGFRPRINTS and hairand ti    ssue sam nleq have been used to im Dl
                                                                             icate nuil
                                                                                      tv defendants AND EXO NERA-TM
          JNNOCENT SUSPECTS,           -



         f'c               ''ln ;
                                a naqp w hprm thpr/ iq N(3 Dt-
                                                             luFW --fhat-thp qam nlerx-came-from the assail
                                                                                                          ant-THE PRESUM PTION M UST BE
                           T-HE EVIDENCE BE PRFSFRVFI/ !
                              2) Underthe DUE PROCESS CLAUSE ofthe 14 th Amendmentcri
                                                                                    m inal rosecutions MUST COMPORT wi
                                                                                                                     th
          .                 prevailing notions o fundamental FAIRNESS to require the defendant be afforded a meaningfuloppodunity to
         : y                presenta complete defense.(And again)-To safeguardthatri
                                                                                   ght-THE COURT HAS DEVELOPED W HAT MIGHT
    ''
              ,            LOOSELY BE CALLED A CONSTITUTIONAL GUARANTEE ACCESS TO EVIDENCE. TAKEN TOGETHER -
         <'                THIS GROUP OF CONSTITUTIONAL PRIVILEGES DELIVERS EXCULPATORY EVIDENCE INTO THE HANDS OF
                           THE ACCUSED THEREFORE PROTECTING THE INNOCENT FROM ERRONEO US CO NVICTIO NS - W HILE
                           ENSURING THE INTEG RITY OF OUR UNI
                                                            V ERSI
                                                                 A L JUSTICE SYSTEM ''
                           Q .Andagain-didn'
                                           tthe PBC ASA Cokelytesti
                                                                  fyto the following seenon a priorpageandagainbelow.

                           A.Shedi
                                 d.                                                                                                           91
                            QvW ere there anyfingerprints Ieftbehind by the realassailant-inwhi
                                                                                              ch the all
                                                                                                       eged victims pointed outwhere he        .t
                                                                                                                                                .
                                                                                                                                                    /
                            touched -ofwhich police ''gathered together''THOSE VERY prints -to examine againstJM's??                           zz



4                          A.Um there was.
                            Q.How many pri
                                         ntsinaII,?
4                          A.Ahhh ..welIactuall
                                              y -the police offi
                                                               cerwho TESTIFIED in both trials -testi
                                                                                                    fied HE PERSO NALLY acquired 11
                                                                                                                                                        k


                           fingerprintcards-with5printsoneach-solike-ami
                                                                       nimum of55printswerefoundtotal-from bothcrimescreens                             f
Vy-                                                                                                                                     .


                            Q.Fifty5ve fingerprints inall.And did he take the prints ofEVERYONE in the house to see ifany ofthe printswedre
                            theirs?
                            A.He did -and NONE MATHCHEDII!
          f
          ..
           r(
            q
            :
            j
            '
          U/
           ' Q.SotheprintsHADTOOFBELONGEDtotheassail
                                                   ant?
                  :            Um m ...yeah -no other.
          z
                                              ttrue -fingerprjnts-VICTIM W ITNESSED by alleged victim s - PLACED by the assailants -
                            Q.Ms Cokely -isn'ti
                            are in fact-M ATERIAL EXCULPATORY?''
              '
              ut            A,They are.
                            Q.And have youeverheardof:
                               ARIZONA VS YOUNGBLOOD (1988),488 U.S.51
                              (20)TheDUE PROCESS CLAUSE PROTECTS A DEFENDANT
                            FRO M BEING CONVICTED OF A CRIM E W HERE THE STATE
                             HAS FAILED TO PRESERVE ''MATERIAL EXCULPATORY'
                            GO TO PAGE 41
                                                                             'EVIDENCE!
                                                                                                                /
                                                                                        A:
                                                                                   .2
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                                                                    4J        '
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                               PAGE 41 R

                            A.Um mm m yeah -I'm aware ofthat.
               f.
                j'
                 -'N
                   . Q.Then tellus aII-TELLTHE W ORLD COM ING UP - because that,s who,s g-
               ..
              .                                                                  -    -  o-
                                                                                          ing to read this:did they find any of
                                                                                          -   - --   --   -   -

              Qf''' those55prints-tomatch-evenoneofJMs?                                                                               : '
                            A.No.
               ,
               .  i
                  7C' Q.So here we have the poli
                   1. .
                                               ce -acquire 55 pri
                                                                nts -from the very Iocations -the alleged vi
                                                                                                           ctims saw the REAL
                      '
                      r. assailanttouch -yetnone ofthose 55 prints m atch JMs prints?
              .
                  '   r*) A . Ahhh....well.....because THE PO LICE DESTROYED THEM ALL and documented such destruction - and w hy
                       .. there wasn,tanyway oftelling.
                               The senatorsm iles:
                               Q .lsee.And isn'
                                              titAGAIN true -case testifi
                                                                        ed printsare materialexculpatory?
                               A.They were and arell!

         '                     Q.And isn'tittrue -thefederaljudgesruled in YOUNGBLOOD -thatupon a state failing to PRESERVE MATERIAL
             VR                EXCUPLATORY EVIDENCE -REQUIRESTHE CHARGES TO BE DISMISSED -whichisalso aconsti
                                                                                                            tutionaland
t
    Gx   '
                               Brady MANDATE -notto mention -W ITHO UT AN SCCUSED HAVING TO PROVE SAID PRINTS W ERE HIS -
                               W HERE THEY W ERE DESTROYED'?? !!!                                                                               %
                               A.W hatcan lsay? W e wedre aIIordered by BONDI -to violate anything we had to -to geta conviction -so we did -
         .

         f;Ju
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              r,

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         ,x . .
                               and thatsjustone ofthe manywe vomited aI
                               casethatbebi
                                                                      Iover. Sir-JM'
                                                                                   s gotus.Even i
                                                                                                f...i
                                                                                                    fthere'sanoccasionalnewerfederal
                                          ttlesaprior-nocase-stateorfederalwillruletothecontraryofwhatwe'vebothjustquoted-bothfrom
                               Youndblood orBrady -and whathas been pri
                               ofticerwho acqui
                                              red alI55 prints:
                                                                      ortesti
                                                                            fied to by the state -during both trial
                                                                                                                  s -seen below -by the very    )=
                                                                                                                                                <
              q'               a)Statingthathe'd acquiredthem wherethe victimssaidthe assailanttouched:and..
                               b)ThatNONE ofthe55matchedanyone else'sinthehousehol    d /family-whichsetsthe perfectcase asdescribed in
                               Youndbloodwejustwentover-cleariymakingthe state inviolati
                                                                                       onoffederalstatutes-provisions seen here.

             ::X*'
                 ''            'To declarethatinthe administration ofcri minalIaw,the endjustifiesthe means todeclare the GovernmentMAY
               .
                               COMMIT CRIMES in orderto secure a conviction ofa pri vate (singular)criminalwould (and Imore thenassure you-
                  .
                               W ILL)bringterrible(Iegal)retribution! (GM)
         z-                    ''
                                The 18 th amendment HAS NOT,in term s,empowered congress to authori
                                                                                                  ze ANYONE to violate l
                                                                                                                       aws of THE
         j
         ,                     STA-I-E
                               Q.FullSenatesmilesasthe majorityleadermused -
                               *****


                               Q .Oh are bothAGs evergoing away fora Iongtim e -including youandthe other 21 defendants? History- al
                                                                                                                                   ong
         .
             âe                with the vi
                                         gilantejudge Marx-who intentionallydeni
                                                                               ed thatmoti
                                                                                         onto dismiss - based onnotaccepting MATERIAL
         ;             '
                               EXCULPATORY PRINTS - by scam ming the courtinto beli    eving the prints were mere 'potentially useful''- when
                               SHE KNEW they were exculpatory.She'llneversee a gavelagain -nor i       s she criminall
                                                                                                                     y exem ptfrom violating
                               countl
                                    ess l
                                        aws - mandates - provisions -and rulings.Agents? Locate M arx and place herinto the smallestcage we
                               have.ASAP.




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                          L.
                           .&'
                            gz4,
                            .>




                        A.Yes si
                               r-ourpleasure.
                        Q .OK Arbuzow -you're finished?
                                                                           p
                        A.Asan attorney -obviously.In trying to free JM foraIIofoutwrong doing -no.
                        Q .Speak.
         ..
          ;
          z
            -
                        A.In the FIa case State vs Powers,555 So 2 d 888 -a 4th DCA case - ruled as follows regarding a si
                        had the evidence NOT BEEN PRESERVED as heres the ruling under:
                                                                                                                         tuati
                                                                                                                             on in which
                                                                                                                                               #
            T           ''(1)(2J(3)= Based onthe record presentedto us-i
                                                                       fthe appell
                                                                                 ees'performance had beenvideo taped -(printshad
                ,       been saved)and the tape (prints) NOT BEEN PRESERVED -we would affirm the tri    alcourls dismissalofthe
            .    p;     charges againstthe appellee without having to considergood or bad faith ofthe sheriffs department. An accused
            -
                 A      DUE PROCESS RIGHTS - ARE VIO LATED - IRRESPECTIVE of good or bad fai            th of the prosecution - if the
                        prosecution suppresses MATERIAL EVIDENCE *890 favorabl  e to the accused.Brady vs M aryland.''
            -'
                        (3 clearly supporti
                                          ng - where the pol  ice had the pri nts i
                                                                                  n the beginning - due to FAILING TO PRESERVE SAID
                        PRINTS -the foudh DCA m andates the dism issalofthe charges - notoni      y due to destroying the prints - butdue to
                         Reid Scott-the ASA concealing the truth -the police had destroyed the prints -perBradyl!Scotts compl  ete historyl!
                        A.loon  x,-sirl!And oerFla.stat:876.41 -co NsplRA-roRs -thatstatute paints a crystalclearpicture ofhow we're
             -          aIIin violation ofaIIwe'
                                             ' ve violated-
       4* 1s                                    .
      y
      ' w..
      .
      /   g
          I j( ygd Iastly- Ijustwantto saytoJM -ifhe everreadsthis-he coul
                    .
                                                                              dn'thave been anymore state orfederallyviolated
               than he'sbeen-andwhenW ashington seesthis-andTHEY W ILL -Fl        ori
                                                                                    dajudicialand aIlofuswho'veconspiredto
     )
     .
     .      z/ convictJM -wi llpayforthisinjustice byno Iongerbeing a barmember-aIIthanksto boththe new andold Fla.AG's-                           k
       '       whenAG AshleyMoodycould have nulifi    ed these unlawfulconvi
                                                                           ctionsandsavedourjobs.
                        A.And sir-allow me to add one more factthatwillassist in JM S innocence.A factm ade known -that's l  aced with
                        state suspicion.According to the Boca case 528 -this was aIIofthe states claim ed evidence during the m oti
                                                                                                                                  on to

Nw
                        compel-police destroyed:                                                                                                       )
                                                                                                                                                       *
                        *3fngerprintcards(x5 printsoneachcard= 15 printsin all).
3.
 s                      * 2 sneakerfootcast
                                                                                                                                                       >
                        * 1 ''hang-ten''T-shid
                        * 1 white king size sheet
                           printking si
                                      ze sheet
      sFsK
      <t'i.Hl4)         *1Avon-make up bottl
                                           e (allegedvictim statedthe assailanttouched)
      W'X
                        * 1 panty.
         y* .           A.Then -in the othercase -580 -the evidence they listand destroyed -was:

          t,
           7-           *8fingerprintcards(times5printseach= 40 printsin a1l
                                                                           )
            :zï         * 1 shoe impression casting
            K'z!/
                .f
                 r
            fxx         * 1 piece ofyel
                                      low papertowel
            kz2
             .

                  2Q
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                          A.Sir-evew oiece ofeachcase evi
                                                        dence isEXTREME
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                                                                            RIAL FAVORA                nthkl
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                                                                                                                    SWABS''.kr
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                          ''Pieces ofcloth'
                                          '? The ASA and crime Iab Ion book stated -thatw-arx-allthe evidence -vetno mentionina ofeithqr-of
                          the two item s. How was it-both it-em s -lusthaooeaed to - noto.  nly survive the destruction -BUT ALSCJ FlUDE '  <.
                          RFING Di3/!JMFN--
                                          FFDnrFXISTING XTAIl??
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                                    PAGE 44RD

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                        N           3)Thisequatesto-ANY CRIME LAB-thatwould intentiinall
                                                                                       yanalyze36yearoldclaimedevidenceinalargebox-
                       -%*          thatwas in as many violati
                                                             onsasthatbox was in violation of-seriousl
                                                                                                     y needs itsfederalIicence to operate revokedl!
                  .  1'             Q. O kay M rJM - and one Iasttim e - so the world willclearly understand:W HY is itagain - the PBCS corrupt
                      j             prosecution - brainwashed everyone - thatthe W RC evidence had never been broughtto the crime Iab for or so
                                    years?

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                 x
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              ,,r'
                            .       JM . Strictl
                                               y duetothefact-theprosecutionwasintroubl
                                                                                      e -justtryingtogettwojuriestoacceptthe one swab and
              ' *
               Q >'                 onetiny piece ofc1
                                                     0th-inthetwincasesatbar.Andwhy? Becauseboththestate -duri  ng themotion to compel-and
                 .

            ( ') ;.
                                    thecrimelabIon books- advised thatALLEVIDENCEjnXoth cases had been destroye
                                                                                              - -           ----d - O F W H IC H TH E STATE
                                                                                                                 --   -   -   -   - -   --   -   -- -   - -   - -   - .

            F ''                    REFUSED TO ALLOW THE DEFENSE TO -
                                                                   -         CONVEY-TO THE JURY - due to -i        fmade known -!he iuries would
                                    have seen and known -the states clamed swab and piece of($0th -had beqr)forne
                                                                                                                - d.



                  '                 JM . This being factual-the state had to drag this W RC up outofit38 yearoId grave -where i
                                                                                                                              thad been burried for
                                    decades -then claim :
                  tr
                   ---'                ''oh Iooky - I
                                                    ooky - thi
                                                             s W RC evidence nevermade i
                                                                                       tto the crim e Iab but rather saton a shel
                                                                                                                                f in Boca PD for34
                 ju
                 '
                 ,
                  01 years-afterthecrimewastohavetakenplacein77-sowe-thestate-DOHAVEviableevi
                                                                                            denceinthiscase''....
                                      notknow ing -notknowing - thatthe very seventies serologistwho anal
                                    ....                                                                yzed thatvery W RC evidence -also in the
                                    seventi
                                          es-would evertestify to this REPEAT below :
                                    *******


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                           ,
                                    Q.Okay -then would you keep the evi
                                    LAB orreleasethatbacktothe agency?
                                                                      dence (any police depadmentbroughtto the crime Iab)atthe PBSO CRIME

                                    A veah -it depends - if itwas pBso -we wouhd take responsibility forkeeping the evidqnce.If itwas an outside
                                        .
                                                                                                                                                                          %
    $tk k
    .                               agency j
                                           ike BocA RATON w est-

                                    Palm Beach -W E W OULD SEND THE EVIDENCE BA K TO THEM TO STORE IT
!                                   k***k*


              6,
              '   j
                  >r;2    .,. .     A..Now -priorto this- upcom ingclim ax -I
                                                                            etsestablished how Boca had the 1977 evi
                                                                                                                   dence in its PD in 2015/6/7 -
             ),
              '
              J''e'' whenthestatedesperatel
                   .
                                          y RAN forthisWRCtobailthestateout.Again-there'snow -noresistancei
                                                                                                          nanyone
            ( -                     believing BOCA PD WAS IN POSSESSION OF THE W RC EVIDENCE -aswe NOW aIIagree.But.....but...heresthe
             -            '
                          -         straw thatwillconvictthe state and i
                                                                       ts two femal
                                                                                  e prosrcutors and the state Atty Aronberg,Back to the depo lines
                                    16/17/18 the PD asks....
                                    *******


                                    Q.Okay-di
                                            d youever-do you know (ofany)outside agencies -forexample-Boca Ration -backin the 70'
                                                                                                                                s -how
                                    they stored theirevidence?
                                    A.No.
             .    yi--7), Q.The sampl
                                    es thatyou had pulled (from evidence pol
                                                                           ice broughtinto thecrime Iab)through-the blood slidesand
                 '  ''
                            .     h the 5 by 8 cardswith THE CLOTHING -THE COTTON (piece ofcloth)samples thatwould be putonto a card -
            /   ' WOULDTHATSTAYATPBSO(crimeIab)ORWOULDTHATBESENTBACKTOTHEAGENCY'??
            jj. *
        $3.                                              ,'                                            ,'
            x z'                    A)(DRUM ROLL !) YEAH -THE STAINS W OULD STA
                                                                              -Y--WU H US.
                                                                                         -(again meaning -inside ofthe PBSO CRIME
                                       LAB.
                                    *****




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                                       PAGE 42 R                                                                   '
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                                   A,And whe
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                                                                      lorthis allened ''njece o.fcloth''to.have comefrom -lhatSURELY wou!j
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                                   qeren'tdestroyed -thjpy-j-tle
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                                                                      st.
                                                                        ot.Q.
                                                                            9-.ndeytrpye:eyidenck?
                                   Q.Correct-where'sanymentioning ofjeansorswabsanywhere ineithercaseto beginwith?
    j   fh> A.IntheFS ForensicBiologyReport-i
                                            tfinalymentionedapairofjeansforthefirsttime thatwastohavebeen
    :
    jp
    .
    Nl,
     -tt'
        ,i' a
       kr.
             nalyzedinwhich-inordertoactuallyexist-whydi  dn'
                                                            tthejeansappearonANYOTHERINITIALLIST-where
            both caseevidencewasto have been acquired FROM and -OR destroyed in 1980*
                                                                                                                                                                   JJE
                                                                                                                                                                     .I

                                   Andpriortoanystatedefensebeing-thejeansWEREN'
                                                                               Tdestroyed-justthe198:'listtheASA quotedinthemotion
                                   to com pelwas destroyed -then in thatcase -AGAIN -where's ANY OTHER LIST of claim ed case evidence that
                 '                 wasn'
                                       tdestroved-anditcan'tbecl
                                                               aimeditwasinthePBSO CRIME tAB -asthe I
                                                                                                    absIo bookalsoshows-aIIo!
            .
                         '         the evidence in both caseswasdestroyed -thusagarn -there'sno proûeable or valid mentioning- o jeans-swabs
                                   ofcot lnany1980or1982 I    isto /kY kiidiobe qsed àéevi dëncp.
                                   Q .How could theASA make a mistake Iikethat?
'

        uru                        A.Due to the fact-itwas in the yearof2005 the FS clai
                                                                                       m ed she'd allegedly found many swabs and pieces ofc10th -
    1
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    r
    '
    1
    ' :
      '
      *'#i
    . '.-
    -     .'*
           ''                      and i
                                       twas in the yearof2012 thatthe ANOTHER FS was to have analyzed a pairofNEW LY DESCOVERED claimed
                                   jeansand swab-thus-enoughtimeoverthe years-forthe state tofabricate and give bidh to a JEAN DISCOVERY
                                   STORY -resul
                                              ting inthe pieceofc10th anda swab-theyCOULD HAVE GOTTEN ANYW HERE -then planted JM s
                                       DNA on -thusal
                                                    lowing thejeansandthe swabto have beenfil
                                                                                            tered into the framing.                                                                                                                       r
        '
        ..
             .
                                   JM.And again - the ASA nevermade any mentioning ofjeans in THE MOTION TO COMPEL 2013 HEARING
             y                     containing the 1980 Iist of BOCA POLICE DESTRUCTION OF EVIDENCE - NOR EVIDENCE THAT W ASNjT



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                          'h       pair
                                       DESTROYED -nordid FS Sowardsmenti

                                        of
                                   earlier
                                   .

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                                          ieansto be mir
                                                       aculouslyfound
                                                                       on anyjeans inher2005 boxoftrash.
                                   JM. Ialso find itconvenientin 2010/11/12 when these. tw
                                                                       somewher
                                          tolookfora piecev plpth-IIïJOU.
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                                                                                                                                      fthere w#sa
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                                                                                    XY-FQUND CASE RELATED.JIANS in2010/11/12? Fjo'd
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x                                  pqq4thqc10th-ifthevictuallvha8iihb iqans?Anuwttatwp-uld maket-tttelv
                                                                                                      rteven-think-ofthatbox -
                                                                                                            -                  yéarsIptgrO                                                         .
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             Mr
              '
                -4
                 7 Q.Exceslente
                     .
                              Doint!So actuall
                                             v
                                             #-itwas ONLY in 2010/11/12 -the jeans and swab were born -whichwere neveron
                                                                               .
                    '
                    )              any 1980 sworn acquisi tion IistofBoca PD'
                                                                            s-claim ing aIIthatwas actuallygathered together-was infactdestroyed
                  àï'              in 1980/82.
                 #'                A,                     .
                                      Bingo.The state didn'tfi
                                                             gure anyone would catch aI1ofthis -butthey were W RONG II!
    '        '
                                   Q .Agents-w ouldyoukindlybring -thisvigilante EX PD tohisnew homeforthe nextten totwenty years?
        '6-s
        .                          A.M v.pleasure Sir.Com-onbucko..-
                                                                   Y-o
                                                                  -- -u an-d vo-u- .    rd are toast.You've screwed overthe wronn personjn more
                                                                                 r-barma-           -                    - -     -              -

    L.)                            wavsthan4.
                                       Q.IseeM rJM hashishand raised Didyouwishto makeacom mentsir?
            -                      JM.Please -ifIm ay.Afterhearing MrArbuzow revealthe truth regarding the two fem ale prosecutors -representing
        u. '                       'the state'': uponthestate initially bringing upthe evi
                                                                                         dence inthe W RC -Iwillnow gooverthe extreme - intentional
'
$..         .
                                   dishonestv -and intentionalO BSTRUCTION OF JUSTIC -              l
                                                                                                    'ficallv tO INTENTIONALLY CONCEAL MATETIAL             -
-'*                                    FACTS FROMX HE DEFENSE .                                                                                                                                                                       -
                                       JM.Here we havethe state - alleging there were two sistersassaulted in 1977 -in which -obviously -Boca Raton
                                       Police were called to the crime scene - and in factappeared -who then began their investigation - whi
                                                                                                                                           ch atsome




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                                pointin tim e - Ied to an all
                                                            eged assailant- who was to have a smallgun -thus enhancing the seriousness ofthis
                                crime.
                                JM . The state then presents thatBoca PD has docum entation - that BOCA POLICE - in the process of their
                                investigation - acquired a number ofarticl
                                                                         es ofclothing - allegedly belonging to both sisters - in w hich the state
                        j
                        :
                        ''
                           testified - wasn'tonly broughtto Boca PD atthe conclusion ofthe poli
                                                                                              ce investigati
                                                                                                           on in the yearof1977 -but
                                accordingtothestate-wascrime scene evidence-thatwasNEVER tohavem adethe normal-routine-customary-
                                protocol-mandated -tripto the PBSO CRIME LAB -in 1977 -1978 -1979 -1980 -1981 -1982 - 1983 -aI     IIIIIlthe
            .                   w ay up to 2014 - 15ish - but rather- '' rest comfodable on a shel
                                                                                                 f-atthe Boca PD -fora bare m inimum of33
                                years(1977from 2010= 33years).Justsitting there on ashel
                                                                                       f.
    r
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      .,
       .y                       JM.Thestatethen-toswaythejury-media-judgeanddefense-broughtinasawitnesstobothtrials-aBocaPD
    j   r'                      female offi
                                          cer-whose duty itwasto oversee the evidence propedy -who testified in both tri
                                                                                                                       als -thatthe alleged
                .   :           ''robe'
                                      'in this W RC -had in factbeen i n the BOCA PD EVIDENCE room - since 1977 -which was the only thing the
                                state wanted this witnessto testifyto.
        ' ..w                     JM. Ofcourse -such a testimony-would then have to mean -where she'd testi  fied notonly to i
                                                                                                                             thaving been in that
t; ' 41
,     '
                                position since 1977 -but-due to the factthe evidence was allegedly stilthere in 2018 -in orderforherto know that
  .
    .J
                                -
                                2011)8she'd notonly have to ofbeensti
                                                                    llemployed atthatveryposi tion atBoca PD fora totalof 41 years:(1977 from
                                     =trialtime).
     Xsx
    II,-û'      , ..
                                JM. Now -granted -certain people do remai
                                remain ata posi
                                              ti
                                                                        n atajob pasttheirnormal..
                                               onfor40 years-ashertestimony Ied the courtto beli
                                                                                                 20'.yearretirement-butvery-very few
                                                                                               eve by testi
                                                                                                          fying that1)the W RC evidence
                                                                                                                                                     #1
        -
            )b
             . wasbroughtintotheBocaPD evidenceroom in1977 and2)-itwasstilltherein2018.Highlydoubtful-she'
                                                                                                         dbeen
        <'                      there 41 years.                                                                                                           r'N%
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                                GO TO NEW PAG E 43
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                           t/
                            Jo(
                              z
                               ,'   ,'




                                            PAGE 43R
                xp .
                .                                   JM . But-even ifso -hertestimony -in no way dissolves -dilutes -eliminates -ordestroys the fact-both the
        ?.
         t''y                               States and herclaims the robe had been atBoca PD evidence room -fora bare minimum of33 years (1977 from
                    4t',                    2010= 33years)-NEVER EVER TO HAVE BEEN BROUGHT TO THE PBSO CRIME LAB -UNTIL2010/11 TO BE
            '       '
                                            ANALYZED FOR STAINS -Iwillnow slice aIItohel   l-i
                                                                                             fImay-MrSenate Majority Leader?
                                            Q.I'm enjoyingthisbeyondwordsMrM -byalImeans-tearthem aII-an entirely new one.
                                            JM -Thank you sir-lhave everv intention ofi
                                                                                      t-begi
                                                                                           nning with a briefrem inising ofcrucialpoints MrArbuzow made -
        $
        6?'
        ; .                                 suchas-thathe asanattorney asa''reasdnabl
                                                               -                    emindedperson' andbarmember- wouldactuallvbelieve-and
        k
        !.
         u;
         .-:-'
             .
             ,                              tryanmakemebelieve-thatthe''robe''andal1oftheotherWRCevidence-hadactuallyNEVER BEEN broughtto
                                            the counties crimeI@k-for33to 38vear@.                                                                               '
                    .- .
                       x                    JM.Senator-who -w i th an IQ over2.5 -would EVER believe -thata twin assaul
                                                                                                                      toftwo victim s-alle edl armed
        ' *
                     ?
                     -
                     '
                      !                     assaultsatthat-(eventhouch the state neverintroduced anygun orweaponsl-a-s-
                                                                                                                      si
                                                                                                                       -c-kenlnq an upsetIng an traqlc
                                                                                                                      -- -     -   --

        '                                   as thatcase was:who'd EVER fora second believe -thatsuch evidencec notonl
                                                                                                     -   --   .   -    y wasn' tbroughtdiryctqyto their
                     '
                                            cour)tycrimel@b-butthatsuchevidence wouldn'tbebroughttothelab-for33-tt/3-
                                                                                                                    8years'??

    '
    q
            c'
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              :-
               t                            JM. Here lwas -si
                                                            tting in the courtroom during both trials -Ii
                                                                                                        stening to aIIthis outrightlunacy:Ii
                                                                                                                                           stening to aIIIIIof       T
    f ''.       '                           theseIi
                                                  teral-criminalbarandbadge-IiemyIibertyaway-mymindblown-thatthestateWOULD EVENcreatesuch
    '
        .
                                            a cockand bullstory-orthatanyadult-in anywayinvolvedwiththejudicialsystem -woul
                                                                                                                          d -forasecond -swallow
    x,,.            ..                      any such Ii
                                                      es.Ihad to actually pi
                                                                           nch m yselfatone pointduring the trial- when hearing this - to see ifthis was a               t
                                            dream .

                                            JM. MrMajority Leader-are you grasping the magni
                                                                                           tude ofthis intentionalstate scam: thi
                                                                                                                                s pathetic -atroci
                                                                                                                                                 ous                     N.pM
        J/kr
           zt
            k.                              barfoon story -in whi
                                                                ch the PBC S.A.DAVE ARONBERG ASA MARCIREX ASA BRIANA COKELY JUDGE
        ='
                     .   1, JEFFREY
                            b-
                             a-
                              r me mseCO LBATH PD STEVE ARBUZOW AND PD CHRIS FOXLENT -aIlFlorida Consti
                                       r
                                       s- whos  o-re to 'supp d d f d d
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                                               tution:here tja y jj t tJol
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                                            UW OR TOWN ON EARTH -LET ALONE IN THE UNITED STATES -WOULD BE ALLOW ED NOT TO BRINQ
                                            CI
                                             RUUIAL-CASE SOLVING EVIDENCETO THEIR CQUNTIES CRIMELABdirectl
                                                                                                         vafteranvqrtplw!
                                            Q.And MrJM -did you actually ask Arbuzow -in trial-ifeveryone was crazy to beli
                                                                                                                          eve such a thi
                                                                                                                                       ng'
                                                                                                                                         ??

V       ;t
            ,'
                          ..

                Vk i' broughttothecrime l
                '

                               '
                               .
                                            JM.You betterbelieve Idid - severaltimes in fact-each tim e getting a response - the W RC evidence was never
                                        abuntil2010minimum -againprovingtome-he (and thus-allthe PDs)were onthestate'
                                             de:actual1,pretenders,,. Gathered together - as to the intenti
                                            si
                                                                                                                    s
                                                                                                          onalOBSTRUCTION OF JUSTICE making ALL
            'k ,.              ,

                                            LISTED BELOW GUILTY O F:
                                            PBC STATE ATTORNEY DAVE ARONBERG -IN KNOW ING EVERY STEP HlS ASASW ERE GO ING TO EMPLOY
                               .            and ALLOW PBC ASA MARCIREX and PBC ASA BRINA COKELY -TO LITERALLY LIE AND SCAM THE
                .                           JURY AND DEFENDANT -INTO ACCEPTING AND BELIEVING - THAT EVERY SINGLE ITEM OF EVIDENCE IN
                                            THE W RC -HAD NEV
                                                          -   ER BEEN BROUGHT TO THE PBSO CRIM E LAB -FO R 33 to 38 years:thi
                                                               .                                                            s pa
                                                                                                                               -theticiudicial-

                                            SV@& CO&UOuRdodW thctWOiQROXRtiUfiCS-0O1ORC01V1Om WaSSmadOnoMghtoaSk9riiiniV
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                         :,L'2x             '
                                        !
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                                                 G ee -how were the pol
                                                                      f
                                                                        i
                                                                        ce to apprehend
                                                                                      If
                                                                                         the W RC assailant-i
                                                                                                            fthey don'thave the crim e l
                                                                                                                                       ab analyze the evidence
                                            -
                                                 to determ i
                                                           ne who they re looking for? Or=
            '-,     ki*.
                                    .       ''How wil police know who the assail
                                                                               antis - i
                                                                                       fthey didn'
                                                                                                 t have theircrime l
                                                                                                                   ab narrow i
                                                                                                                             tdown -which is whatcrime
        ,                          ..       jabs do?'''
            1w z
                                            JM. Notonejuror-was brightenough to askthemselveseitherquestion. MrMarority Leader-Iemplore youtosee
                    fj 7
                     ïkz
                                            THE  DEGREE
                                            pleasingl
                                                          OFEVILhere-the PBC prosecution-hasintentionallys-iwi
                                                    y -corruptly and outrightcrim inally -inflicted in these cases! It'
                                                                                                                          ll
                                                                                                                           fully-knowingly-cheerfully-joyfully-
                                                                                                                        m portant you recognize and engulf- the
                     '
                                            depth ofthe States deprivi
                                                                     ty -and desperati
                                                                                     on to convict-while violating any and evef
                                                                                                                              ything itcoul
                                                                                                                                          d -to unl
                                                                                                                                                  awfull
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                                                                                                                                        t
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                    ./O. '


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         /
         -,
          .k
           %                     find an innocent person guilty? This PBC PROSECUTION COULD NOT POSSIBLY BE XNYMORE
        .W.
          -'                     LECHEROUS -SNEAKY AND CORRUPT -THAN IT WAS DURING THIS ENTIRE PROSECUTION -cl  early
                                 earning them a m inimum of20 years in prison.
                                 JM.And also prior mentioned by a PBSO CRIME LAB FS -thatany evi
                                                                                               dence requiring destructi
                                                                                                                       on -hasto go
                                 throughthismandatefrom the PBSO GENERALORDER 532.00 page 18 of21 pagesseen here.
            '
                g                3)EACH STEP IN THE EVIDENCE DESTRUCTION PROCESS WILL BEVISUALLY RECORDED STARTING
    Jt.D'                        VFROM THE CRIME LABORATORY TO E INCINERATION SI TE. AN INVENTORY CONTROL WILL BE
    ' JK-l                       M AINTALNFD    AT FK H -- - ST-AGF    THF: R ECORDINGS W ILL INCLUDE THE CRIM E LABORATO RY
                                 EVIDQNCC TECHNICIAN AND DESIGNATED W ITNESS
                                            -



      ;:
       p> i,x                    JM.Itgoes on from there -with m ul
                                                                  j
                                                                   tiple requierments - butthe pointis -w hen the PBSO CRIM E LAB DESTROYS
        t.' è                    EVIDENCE - its history and doesnt m asteri ousiy return.The crim e I
                                                                                                    ab com pletely destroys any existence of any
    k     '                      evi
                                   dence being destroyed -which - even priorto initiating a destructi
                                                                                                    on ofany evidence -the state-county attorney
        -.
         -                       HAS TO BE ADVISED OF and SIGN O FF O N - giving his/her perm ission forANY AND ALL EVIDENCE to be
                                 destroyed.
                                  M atch Point:and as made known -the PBSO CRIME LAB LOG SHOW S:

                                 1)ALLTHE EVIDENCE WAS DESTROYED IN BOTH CASES.
    ,
     r51
       7
       244                       2)NordidthestateeverproduceanyIist- showinganyallegedevidenceinanyofthethreecaeses-thatwasto
,
j ,'
t ;. '                           have eluded destruction -such asa robe -jeans-swab -orpi
                                                                                        ece ofc1
                                                                                               0th -thus - W HERE W ERE THESE ITEMS
k            i      ,            TO HAVE COME FROM - which no one has any idea nor can prove or support - via any kind of CHAIN OF
        '- ''                    CUSTO DY orPROPERW RECEIPTS?
                                 G O TO PAGE 44                                                                                                    %4
                                                                                                                                                    )
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                                                                                                                                                           )/q' JêvL
                                      JM.W hen this huge catis released -thi
                                                                           s ferline -clad in a 24 kfurcoat- iI
                                                                                                              lfull
                                                                                                                  y and m agni
                                                                                                                             ficently exposes a weath
                                      ofPBC and PBSO UORRUPTION -COPULATING WITH OBST CTION OF JUSTICE AND CRIMINAL
                                      CO NSPIRACY Im ean- MrSenator-uoon thiscom ina outin clobalnews -whatdo vouthinkthe alleced sistersin
                                      lhisW RC cnse-are coina to feeland do TO the state -ifthe state stickswt     't
                                                                                                                    h theirstorv -theircase evid- ence--wa s
                                                                                                                                                           - -   -                         -   -   -
                                      novzorinkon tn iho rtrim o Inh fnrqd ynarq -Iarlllnt'
                                                                                          lng tn.- r
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                                                                                                     ro IA/IDFZNI'
                                                                                                                 T TQVIMn-in fo inh thoiraqqnilnni- KID Q
                                      W ntll(3 P(7IICF HW F HAf7 ANY QHANC:F CIF DO ING S(3 - HAVING N(7T RROUG HT THF CASF FVIDFNCE T(3
                                      lTS PBSO CRIM E LAB'??

              V;p)
              '
                                      JM
                                      QM rSur elv-when the sisterssue Boca-Boca willhave to CO NFESS -thevdid take the evidence to the 1ab in 77 -
                                           jheydl LOSE THAT SUIT CASE = un cominc-ALS-O !
                                                                                                                                                       -




                                      Q .lmustsay M rJM -wellput.YnllKhnllld hlvl im pn;aFmdtRralAp/ntwnrking under-coverinvestiaations and casgs  -
             is
              '
              .
              -
              ''''-.'                 anai
                                         'nststate andcourtcorrupti
                                                                  on.:-) :-) I'm also shocked--thatanycountvattornev-could goalongwithhisASAS
                  '                                         ' '   '
             '. :                     -contrlvlnp thls rTdiculousstory-and em olov itin a circui
                                                                              -                 tcourt.One has to wonder-whatthe hellAronberg and his
                  ..                  two ASASRexand Cokekv-were smokinn-and -or thinkinn -to nullsom ethinc likethis-ascrim inalasthistrqql
                                                                                  -                                                                 y
                                      is-. I'm annalled.ThevaIIneed a stromo fi
                                                                              fty years in prison -for;

                                         1)criminallycoming upwiththi
                                                                    scorrupti
                                                                            on-and

              /6
               %                       F2) for crim inall
                                        RAUD  ULENTvSTconsni
                                                          ORY rinq to fraudulently use that scam story in a                                                                                            1*z
                                                                oolsù?A comoetemoronw ould know z -N o t    Mr
                                                                                                             iawl-ENFO
                                                                                                                   AS TRCEM
                                                                                                                       HE STENT
                                                                                                                             ATEANYW
                                                                                                                                 MADEHERE
                                                                                                                                      A HUGk
                                                                                  -            .- -   -           -- -       -       -       - -
                                                                      -                                   -   -   -      -               -ON  -

             tkQ, ,7
               ,.ss
                                      T-HEPLANET -is going to failbripging such a seriouscaseevidence-toaçrimeéj-
                                                            --            -           -   -.                    b.
                                      GO TO PAG E 45




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                            PAG E 45R
                            Q.Agents-I'm againgoing to haveyoubring Boca'soncedetective Cruz backtothestand.
                            Minute Iater.
    '
                '
                y Q.Cruz-vou're stillunderoath.As vou'   re aware -JM'svigilante PD advised -thatduring yourinterview withJM oq
                  10-19-12 -vou asked JM this cuestion:''Di
                                -                          d vou have a-fciend? som e one vp-u-m..etin a bar? Some onevou didthinqs
                                                                                                 -            --           -- --        - -     -                -         -        -
                            Sh/ity1:
                                   2

                            A.=Y         ildid.
            .               Q.W hyz?.
        $

                      A.Because the FS biolonv renod revealed there was 'the presence oftwo indivi
                                                                                                 dual'- semens -so Ithought- ifi
                                                                                                                               t
                    ; had been JM -he had to ofhad a friend -and Iwas simpl
                                                                          y trying-
                                                                                  to seeifhe'dadmitto i
                                                                                                      tandwho hisaccomplice waj    ..
                            -
                                    ifhe was even the assailant.And ifthere were actuallv two assai
                                    -                                                             lants -this'd make aIIvictims liars an4
                            untrustworthy regarding any questions.
                            Q.Yousuddenlydon'tsoundso sure now -JM wasthe perp?
                      A.W here there was two selnens - and the victim s allsav onlv one -and JM definitely beinp clmared on thm W RC via
                                                                            -   .                                                  -
                                                                                                                                                                                                                           /4/
                '
                      th-e slides -aIIon top of- in 1982 he'd been cleared bv both Dade - and thatdecades ano renime ofPBSO CRIME
                                                                        -       --           -              --                                      .-       -                                                               (
                      LA
                      é- B ontheseverkcases(orrrrrr-hewouldhav        -ebe -e
                                                                            -n
                                                                             --ar
                                                                                -re-
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                                                                                      dllllll!)--thisalIrai
                                                                                                          sestoomuchdoubt-forevenmq.
                         esides - ooinp on the I
                                               onin - mxnrmKlœ d minlltms ano hv Arbuzow -thatthe---   Fs-simol vnrabbed anvoIdswabanj
                    ' piece of($0th -#etwith both items havinc the DNA ofanotherm aIe on each -obviousl
                                                                    -                    -           -          v thatW AS THE EVIDENCE  -- -                                            -
                      F- ROM OTHER CASES -and where the victims '
                                --                                     ln these naqeq -saidthlrm wnsonly nnm mlmnilant-thiKnonfi   rm-d. -                                                                                       =
                      JMs DNA was planted on a swab and niece ofc10th unr l            o these c  -ases - anain confirminn - JMs DNA W AS                                                                                        /
                                                                                                                                                                                                                                 7
                      PLANTED ON BOTH ITEMS..lnotherwords-a huoe W HD OPS for-the-state and crim e Iab:caunhtwith more thMp
                                                                                         .                                                                           -                       -

                      Jheirpaptsdownforsur@.
                            Q.Som ething else I'm trying to figure out-thatyou -having been a detecti
                                                                                                    ve m ay be abie to solve. W hen was the
                                                                                                                                                                                                                                 >
                                                                                                                                                                                                                                 œ
                            yearthatFS Sowards was to have scrounged thru the 50 to 300 decades oId - aIlunmarked and non individually
                            packaged -box?
#                           A.2005 sir.

A.                          Q.Then this does-ooen a kea of corruot PBSO /PBC nightcrawlers - inasm uch as -you FIRST discovered JMs
                            DNA in the nationalCodes whem?                                                                - -- ----
                            A.2007 Si
                                    r

                            Q.TheEVEN
                            YOU   nhow thehWellwa
                                       KNE     OFsJ
                                                  th
                                                   MatFS tohave-ALLEGEDLY madeamatchwithJMsDNA -in2005-WHEN FT Nj--QF                                                                                              -
                                                       OR THAT HE'D G IVEN HIS DNA T D /
                                                                -
                                                                .-                             l     5 .      -
                                                                                                         .... ..... . ..    ....                                                                         J.
                                                                                                                                                                                                     .......



                            A.Sir-areyouforgetting ofJM'
                                                       s DNA being putinto Codesin2005*
                            Q.Ohhhhh...ou mean-the same FDLE /DOC JM 2005 release DNA FDLE utin the states codes in 2005 -thpt
                            anain - NONE OF YOU - IN CLU DING FS SOW ARDS - EVER KNEW AB
                                                            -               -                                   I
                                                                                                                -         -w en      wrote a             -       -
                            renortrevealinn his 2-005 DNA ?- - Thatthe DNA vo-
                                                                -       --   u're referrinc to?9
                                                                                               . Because ifthat'sthe DNA vou're referrinn to -                                                   -             -
                            vou'dindirectlv be savinc - thatt-
                                                        - --- he FS NO-
                                                                      T onlvdiscovered J.
                                                                                     -    M and his DNA in2005 - (bvonly lookinn atseveralof                                   --        -

                            the 500 piecesofevi  dence-Iikethatwould EVER happenl!Anotherlottewl) -butvou'd be savinq-thathavinq madq
                                                            - --

                            a connecti on to JM wi th the allened swab and c10th in 2006-TH                .     HAVE BFEN brouphttq t-he                                           .-                                 -
                            almighthy corrupt PROSECUTION TABLE In 2005 -not2012.

                            Q. Perhapsyou can explain why the 7 yeardelay ina llenedlv connectinn JM to the swab and c10th -if-ofcoursq-
                                                                                                            -- -                                                         - -




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    ,         Sowards actually made a connection in 2005 - as a confusing Iine in the M OTION IN LIM INE states - seen below -
              JMsPD fil
                      edinVigilante Colbathscoud in2017/18:
              *****


              ''Nevertheless - in 2005,while going thru the same box discussed above - Celynda Sowards Iocated i
                                                                                                               tem s of
              evidence purpodedly associated with this case.''
              ******


              Q.Again -such a discovery in 2005 -wasn-'
                                                      lonlv imDp>jible -buta ain -hadthatbe nth ca e -JM woulj- have
              beenarrestedthen:NOT7YEARSLATERIII! Jk',?/-/J'.
                                                            ad..
                                                               î.
              A.Ahhh...well...forsure-FS Sowardswillbeonthe hotseatt in to a                               stion- aswi
                                                                                                                     llMood t in t9
                re FS Sowards - on whatto sa forthe e era u e an trut u - see no honorable wa outforher- orth:
              state -yourar um entbein -Ifan connection between JM and an all
                                                                            e ed swab orc$0th was actuall found in 2005
              - when n o one knew o    or is 2005 DNA -whythe 7 yeardelay infilinq charnes:aIliustanotherPlD warrented'
              d'
               ikmissal.t!!              ---
              Q.W hat'
                     s yourfeelings on the prosecution fraudulently Iying to the coud regarding stating the W RC evidence was
                                                                                                                                      /4Z
              neverbroughtto the crime 1
                                       abforover33 years minimum? (2010 minus1977 =33 years)
            A,Beino a con m vselffornearthree decade-s--   -obviouslv- lXn-
                                                            -       -       ew-the seco nd Iheard thatStates scam -whatthey
                                                                                     .    - - --
          î were un to - and that sucb a nolice failure to brina crucialc-ase evi
                                                                -                dence rinhtto the crime lab - would never evel
            happen.However-asio how I'd look atit-xou c-an expectthatkind ifscam from the state -as FLA.has no morals at
                                                        -

              11
               ..
              A.But if lwas JM - l'd sue Arbuzow and Fox-Lent - his two trialpreten- ders - as they obviously knew - no 1aw
              e- nfo-
                                               --

                    rcementwould ever- notbring evi
                                                  dence to they l
                                                                                         --
                                                                ab -yetthey both PDs intenti
                                                                    -                       onall
                                                                                                   -
                                                                                                 v received JM -theircli
                                                                                                                       enl. I
                                                                                                                          -
                                                                                                                                       't
              m-ean -thev can kiss theirbarcardsmo-  d bve - forsure - and thev should be arrested -forviolati
                                                    o-
                                                    -       -           -   -.   -             -- -    -     on of838.022 /


                                                                                                                                        )
                                                                                                                                        ''
                                                                                                                                        .
              9- 13.18/18-241/18-242/15-1512iustto listafew.
l
v             A. And whatare the oin to clai    m :thatthe didn'tknow? Ifthere w as evera tim e for...duhhhh....thisis i
                                                                                                                       t.Commoq
              sense bl ares -the entire fri in ur ose ofcoll ectin evidence -is to rush itoffto the crim e ab -to see f t car )
              establish an assailant.In my book -the PDs are e uall as uilt as Aronber - Rex and okerl -orm se - and
              r)## to Iose t elrcar S- I erty -@r
                                                ) IVe ihppd.
              Q .1couldn'
                        tagree more.Agents-backto hiscage.
              GO TO PAGE 46
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                 .       ..   I.
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         Page 46R                          PB EX AG 1
        Q .Goodday MsB - W oul
                             d youstate yournam edand posi
                                                         tion inthissi
                                                                     tuati
                                                                         on?
        A.My name is Pamala Jo Bondi-and lwas the Florida Attorney Generalfrom 2011 to 2019.
         Q.So eightyears inall?
        A.Correct.Two terms.
         Q.And in thattime -were you in com pliance wi
                                                     th aIIstate and federalstatutes and Constitutions?
         A.No Iwas not.
         Q .And why isthat?
         A.Because certain cases have too many unproven facts-thatthere is no way to prove - aftera crime is decades o1
                                                                                                                      d
         -
             and Ijustcan'
                         tIetgoofspeculation.I
                                             'm obsessedwithcopspecul
                                                                    ation.
         Q .Butw hataboutinnocentuntilprovenguil
                                               ty?                                                                        '
         A.Again -as faras l'm concern -past-cop-hype dominates.
         Q.Do youthinkyou everwould havewontheelection-i
                                                       fyou'dthosefeelingsavailableto the public?
         A.Obviously not-butthat'
                                s aIIhistory.
         Q. Did you read - in any of JMs m any repods - of the article telling of over 2,000 convicted people had been
                                                                                                                          A
         exonorated in 23 years?                                                                                              x.
                                                                                                                               j-
4        A.ldid.
         Q .So you're wellaware-the system makescountlessmistakes'
                                                                 ??                                                           qi
                                                                                                                              k
         A.Iam aware-butstill-mypsychejustcan'tdismissallthepointedfingersandpoliceconjecture.
         Q.9nanythipgyoureadregardingJM decadqs-pgo-1)werelhqreanvarrestorCONVICTIONS?
                 -                 -   .         .



              I...no -otherthan the one Dade charqe - theirow n c-rim eelab cleared hiln-pf.
         A.W eI                                         -   -- --    --   -



         Q. So rather than honor the Constitutionaloath you took upon entering office - to abide by aII of the laws and
         Consti
              tutionalmandates-yousimplyel
                                         ected tobe yourownjudge --juryand executioner?
         A.You could say that.
         Q.You have a sisterdon'tyou Ms B?
         A.Ahhh yeah -why?
         Q.How wouldyoufeel-i
                            fshewas blamed forsomethingshedidn'tdo?
         A.Notvery good.
         Q .Andwhatifseveralretired police officersfrom decadesago -sworetheysaw herkilling som eone -buttheyhad no
             proveabl
                    e evidence -and heronly defense was thatyou could testi
                                                                          fy she was home thatnight- butthe judge
         wouldn't Ietyou testify to thatfactin hertrial-which a corrupt AG orprosecutoratthattime -wentalong wi
                                                                                                              th -thus




                                                                     >.,
                                                                    ,,
                                                                     yc              y
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     '
     :         t'$
              &/t
                ''JJ
                .
                                                             è
         w-a--.--ee



                                                        yu----.-
                                                        -




                they had herarrested and prosecuted on merespecul
                                                                ation -aIlon top of -theAG had one ofhi
                                                                                                      s vigilantejudgeson
                 hercase-whowastold to convictataIlcost?How wouldyouIikethat'
                                                                            ??

                 A.Canwe changethe subject?Thisone i
                                                   s makingmeangry..
                 Q .Notuntilyou answerthequesti
                                              on!How wouldyoufeelinthatcase?
                 A.l'd be li
                           vidlAnd I'd fiahtth/-svstem -fordojna thatto m v si
                                                                             ster.
                 Q .Yeti
                       ts OK foryou to em ploy thatcourse ofcorrupti
                                                                   on againstJM?
                 A.No com ment.
                 Q.MsB -I'
                         m goingto quotea US Federaljudge intheOLMSTEAD CASE.Tellmewhatthismeanstoyou.
                 ''
                  To declare thatin the administration ofcriminallaw,the end justi
                                                                                 fies the means to declare the GovernmentMAY
                 COMMIT CRIMES in orderto secure a conviction ofa private (singular)cri  m inalwould (and Imore then assure you
                 W ILL)bring terrible (legal)retri
                                                 butionl'
                 A.That means .....ahhhh -thatthe Governmentcan'tbreak the laws - iu
                                                                                   -s-
                                                                                     tt
                                                                                      --
                                                                                       o make an acc-
                                                                                         -          us-ed guilty orconvictan
                                                                                                                                     /ô?
                 accus
                  .   ed.
                 Q.Yet you' ve done that very thing - by allowi
                                                              ng unl awfulspeculation - totall
                                                                                             y unproven facts - to crim inally and
                 unethicall
                          y and wrongfull
                                        y influence you.And you Iooked the otherway on state confessi
                                                                                                    ons ofunlawfultrials such as
                 thi
                   s below.
                  ''
                   JUDGESTHE DEFENSE IS GOING TO TELL THE JURYJ THE STATE HAS NO CHAIN O F CUSTODY FOR 30
    C,            YEARS ON THE ONLY EVIDENCE WE HAVEJAND THAT THE EVIDENCE WAS IN A LARGE BOX WITH THE                                 N
'                 EVIDENCE FROM 50 TO 300 OTHER OLD CASES? NONE OF W HICH W AS INDIVIDUALLY PACKAGED,ALL
                                                                       .                                                               &Nr
                  TO UCHING EACH OTHER,W ITH NO PROPERW RECEIPTS FOR 30YEARS''.
                  ''
                   YO U DEFENSE ATTORNEYS CAN NOT DEFEND YOUR CLIENT USING THE STATE HAS NO CHAIN O F
                  CUSTO DY FOR 30 YEARS,AND THAT THE EVIDENCE W AS NOT INDIV IDUALLY PACKAGED AND TOUCHING
         z         OTHER EVIDENCE,NOR THAT IT DID NOT HAVE ANY PRO PERTY RECEIPTS FOR 30YEARSI'
         '2       A.You'
                      .
                        llnotfind thaton the firsttrialminutes recordinc - beca- usewe hadi
                                             .-    -                         -   -           teditedout-withevewpne in'çyt
                                                                                                                         /yté
                  knowlna -thatwould have both tr.lals nulfi
                                                           ed -and hunc aIlofusto the same trqe.
                     Q.Sorry Ms B -butthe feds don'
                                                  tpl
                                                    ay when itcom esto retrieving anything.You may be sure -they'llrecoverboth
                     pure ignorantconfessions.Andwhatdoesthisjudge quote mean?
                     ''
                      The 18 th amendm ent HAS NOT, in terms,em powered congress to authori
                                                                                          ze ANYONE to violate laws of the
                     state!!!!''
                     A.Ummm thatthe US GovEernmen
                                            to vi
                                                  thasn' tpivenanyone-(INCLUDIN-
                                                olated anv laws.
                                                                               G-STATE QR-F-E-DERALJUDGESJ,thel#-F1yI
                     riqhtfo-
                            ran
                              --V-BAR orBA-DG
                                            - .-



                     Q.YET you bl
                                ew thatoffalso -by aIlofthewaysJM hasIisted in his reports.
                     A.Ohhhh well.
                     Q.So noarreston JM -on anything you read-orweretol
                                                                      d?
                     A Hm mm m nooooo
                                    . .



                     Q .Anycaseseverfi
                                     led onJM basedon mere speculation?This-forsure-witch hunt?




                                                                    4> ,V'f
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        -'
       a


         C      ,




             A.Ahhhh....we
                         -11noooo.
             Q .And isn'
                       tAmericastillprosecuting undertheguise of-innocentuntilprovenguilty?

             A.ltis -butwe found him gui
                                       lty.
             Q.No Ms B -vou made him cuil
                                        tv in these two cases - bv-fabri
                                                                       catinc evi
                                                                                dence and bv having-vi
                                                                                                     gilanlpg-pg s
             assignedto-hiscases-and orderinathem notto defend JM honorablv.He had nodefence whatsoekerl!And lwasn'
                                                                                                                  !
             askino thatquesti
                             on - oertainin? to VourtWO - totallv corruDttrials! iwas askinn that- nedaininc to the speculatiop
             cases?
             A.Again -no com ment.
             Q.So you simnly said-''the hellwith beina an honorable AG''-bvcriminallvand inviolation ofnumerousstate an-j
             federalsta-
                       tutes-nrosecutedJM?
             A.Itworked didn'
                            tit?
             Q Ynll'r- ahf
                         nll
                           ttn AIz!
                                  : what;1ml
                                           'RtnkR thatwns -BFLIFVE THAT-
                                                                       I!ClnllllllJRr/ vnlland Florida gvl!r-''l
                                                                                                               awfuly''-
             xhnll
                 tiosee!
             GoToPAGE47
                               m ypk 0( zy y/?z )0 H p Jos,zf
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                                                                                                    4A       .
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                  PAGE 47R
        N.
         '
    '
                  Q And isn'tittrue Ms B - you were wellaware -JM. w-had been ser-iously investigated by Dade county in 1982 on
                                                                            .            --     - .--         -.      .-

                  si
                   m ilarcharges?
              '   A Thatwould be correctJln fact-both PBC and DADE concurrentl
                                                    -   -                    y- had JM undertheirfinestmi
                                                                                                        croscopes-along
                                                                                                        --   ----' '
                                                                                                                   -'-'- ''

                  ptthhavingqtotqedazlllipnofhi
                                              >prirl:@p-
                                                       d-qyer
                                                            '
                                                            ypossibleBlY/rlowniom@nqiqd.
                  Q So here we have two differentcoun     .ties -in- heatdetectives and crime Iabs -working together-employing every
                                                                                -   --
             A,   crim e detection toolnnd trick nfthm trnde -fornearl  v n year-and yetthev couldn't find a sinale thing to Iink JM to as
                  much as a parkinp ticyetl
                                          . W ouldn-
                                                   '
                                                   t-lhat--b.
                                                            e PERFECTLY-CLEAR TO YOU -HE WASN'
                                                                                             T THE SUBJECT THEY
                  W ERE LOOKING FOR?
                  A WjthdoyenRnfnnnqnnfitwn nrimp I
                                                  xhq nvpqtinatinn him inhnth nnllntiws--and obvi
                                                                                                ouslvaqatnstanvtVDQ.
                                                                                                                   .Q(L
                                                                                                                      'c# -
        -.        onl
                    v totindAbsolutelvWothina in,---
                                                 Dad-
                                                       eOI-PBC -   O
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                  Madbothcouri
                             -t@ crlme- carvlnphlm ;anpw onl-ve fhew-
                               -- .....   . .   .
                                                                    foo-couldhrfmndécukt-which-PER LAW -hedhavq
                  to be innocent''
                  Q Ms B,are you aware ofwhat,''
                                               back peddling''means,in regards to discussion?


                  Q ls thatsomething you would do,-in regardsto answering questions?
                                                                                                                                              16i
                  A No....
                         no Idon't!
                   Q Great,then youjusttestified,JM,in 1982,wasundertwoseparate countiesfinestmicroscopes,di
                                                                                                           d you not?                          %
                   A Ahhhhh,yeahhh,Isaid that.

ê                  Q And would thatbe the truth?
                   A ltwould!
                                                                                                                                                '
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                                                                                                                                                l
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                                                                                                                                                t
                                                                                                                                                k
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V                  Q,OK MsB.so in 2012.you'db.  eenadvl
                                                      'spd thnf.1M m
                   and obviouslv PBC -whichthev-cmntdgny- hmvi
                                                                   ' -19.
                                                                        82-hnd btmn Klrinllqly hinlnpifmll
                                                               np hld PRSCI-I-RO O d-x-dnti
                                                                                                         y diKlmntld in hnth Dndo
                                                                                              ainprnn him nn !qrlR-q7 -qppnifinally
                   to ascertain hisevew ....
                                           everv!
                   A Correct!
                   Q Thentellus,would PBSO Detectives,HAVE BEEN W O RKING W ITH DADE DETECTIVES FOR EVEN A M INU-
                                                                                                                TE
             ; -nevermind-nearl  vavear-IFthebl oodinGe-P-BSO---PRC--RCIQACASFS ASSAILANT-W/SN'
             / the sam e,asthe DADES ASSAILANT'??                   .   -
                                                                                              T FXACTLY
                      - . .-


        ''
                   A.Ahhhhh.ummmm.no.lauess that'
                                                IS-a-NJJMRFR (3NF nrereauiqi
                                                                           te.as.ifthe blood wasn'
                                                                                                 tTHE VERY SAM.
                                                                                                              ;
                   BLOOD -in both countiescastu -whgrg lhtw lholltlhtthgv had th/sammatuail
                                                                                          ant--THEY W OULDN'
                                                                                                           T HAVE BEEN
                   W ORKING TOG ETHER -HAD ITNO-   T BEEN THE SA ME BLOOD AND THUS -THE SAME PERP.
                   Q Nc backpeddling!
                      A Ahhhh,no,no back peddling.
        7             Q Thenwould vou be kind enouchto tellus-whatDade CountvCrime Labcam e upwith -w henanalyzi
                                                                                                               nq JM.!eyely
                      soli
                         dinch-withevefyWpe- ofDnn 'tnndbioDndpcollected-thmntrimdm8tjp'
                                                        -                               ng.w'I
                                                                                             th,
                                                                                               >. Qry.
                                                                                                     -% p4içA>#4. z-,/-
                                                                                                                      -#>
                      tvne ofcrimq ir)Dadq County;
                                                              th> >
                                                              /
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        w....    .rw .y.'
                        q
                tz )



  '

                 A Ahhhhh wmll.annin - as IKaid ahnvp - the- Dndp Grimp lab.afterrunnina vou. I mean.JM .acainst EVERY
                 OPFNED CASE OFANY KIND HAD TQ ANNDLJNC:F --T-HFY HAD THE WRONG ACQUSEDI!THEY COUJXS'T
                 FIND ANY CASE OFANY KIND TO MATCH JMsbr specs
                 . ..                       ..
                                           .,..
                                              ,.
                                               ..
                                               ,                                       -
                 Q.Andofcourse,beingan AG,you beli
                                                 eve in,andgo by,innocentuntilLAW FULLY PROVEN G UILTY
                 A Umm m mm m...welllllno.Fl
                                           orida aIIknows - thatwentoutdecades ago.Everyone is autom atically guilty in Flori
                                                                                                                            da
                 these days- basedon the police make nom istakes.
         '
          ' () M K B -lmts nhanae ths subi
                                         ect T-ell-us-abolltvnlli
                                                                nxvinn :0th-the-states codis and federalCodiq edited ofJM$
                 2005FDLE /DOC RELEASE bNA?
                 A.Oh -that!W hata cluster----thatwas.May 1simp-ly.insertone ofJM s Columbo repods on the codis issue -that
                 turns my hairgray in an FCI.
                 Q.Greatidea.Do that.
                 A.O K -butagain - JM wrote this-notm e -the bastard!
                 JM:''ltalIbecan -when ''
                                        thek'
                                            'ha.
                                               d-corl-untdenuties-ransack mv Ieqalbox in in mv iailroom -in search forthosez
                 etters theirown crim e lab.-authnrld thatdid in fnct.on.the-su/ace.ini
                 I                     -                                                 tiallv aim quiltrpv Fav,UNTIL.....UNTIL l
                 detailqd ip ppe ofmy reports.that          FDIFZ/DC)IR hlfi alsn tlkpn mv DNA IN 2005.and had i   twas outin the
                 FRI'
                 20O>7ct
                       lEllsDATABASEIN.2005..
                      DNAwAsTOOFMATCHEQ-.   yetNEVERMATCHED
                                                          -EITHEROFTHESETWOCASES-THEYCLAIMED M
                                                                                             -Y
                                                                                                                                     V

) **A FROMTHEP
             F
             BO
             RSM
               D
               C
               E
               P
               R
               AI
                O
                G
                ME
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                 A.
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                   E
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                    A
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                    4T
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                     1
                     A
                     5TORS                          IN 2016 or2017
                                                                                                                                     A'4
                                                                                                                                         4
                  Q .O K forexam ple-somebodyis incourtthism orning -pleads guil
                                                                               tytoa fel
                                                                                       ony-and they geta swab inthem outh-
                  thatgetsmailed STRAIGHT TO TALLAHASSEE?
                  A. Correct
                  Q.Theypulloutthe profi
                                       le -then puti
                                                   tinthestatesdatabase?
                  A.Yes.And thenthe offendersare UPLOADED ALSO TO NATIONAL(CODIS)
                  Q.DOFS FVFRY (EVERY)OFFENDER GET UPLOADED TO NATIONAL.?
                  A. YESI!
                   *A***


                   Q So -.n-o matterwhatthe state orvcu11.
                                                         1e.s to claim -his2005 DOC RE-
                                                                                      L
                                                                                      -EA.
                                                                                                     /
                                                                                         S-E DNA was FDLE-DOC accuired in
                   2005 -and nutinto both codi
                                             s?
                   A Correct-whichwe knew nothing about-unti
                                                           lJM wrote anotherofhiski
                                                                                  ll-us reports-w i
                                                                                                  tha Iine in i
                                                                                                              timplying
                   ''Hev Fîorîda -i
                                  ffwasto have committedthese crimeKvon J
                                                                        afft
                                                                           cjntvdlv 1'      my2007-whydi
                                                                                                       dn'
                                                                                                         titIinkto my JOO5.
                   asweII?''
                   Q.Ofwhi
                         ch -whqnyou read that-vou nearlv died rso vou simnl
                                                                           v had GOD IS edited ofJMs 2005 DNA inK/rli
                                                                                                                    on-




                                                       4>            W'
                                                           fihM                 .
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               z)        .
             ,,
                ',
                 v)y
                    ..
               L,f v




         because i
                 fIeftin -i
                          tcleared JM (inconillncti
                                       .-         onwi
                                                     thths Ietters.andW HY THFY HAD TO STEALTHEM)and exooppd
                   vi h '         '                                                      ONED ITEM S usin HIS
         2007 DNA to çomnare i
                             t40 N(3T KNCIW IMN --NOT KN/W ING (DF H1S 7005 Dm - ALREADY BEING IN CODIS,
         thxtyotIR flhrinat/d DNA. n lnNl'-r FA/GKIw ink-al--- lpttinn xlInnn vinilglnt/K knnw . JM W AS innocentl!Anotherhunq
         whooos forthe state.thev carl'tt!
                                         'vto Iie theirwa.v-outnf-to p- fvderalcoud and polygraph    ,.


         .A.Excellentm emorya butnow thatyou opened thatKEG ofworm ssletme tfy and cl
                               -
                                                                                    ari
                                                                                      fy i
                                                                                         tsom e.One bad cop, and
         ONLY O NE BAD FS,W ORKING W ITH THE BAD CO P,BOTH PUT THIS ALL TOGETHER .
    7
         Q.So you're sure this aIIbegan with only two bad publ
                                                             ic servants?
         GO TO PAGE 48 NEXT




                                   /;x<.
)                                                                                                                            l#$
                                                                                                                               A)




                                                  '-             vi
                                                                           gzs.
                                                                           u  gyg
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                     PAGD 48R        PB -LAST
                     A.1am .Because they both knew whatthey were doing -was illegalas hell-and telling anyone else woul
                                                                                                                      d be too
             -.x
                 ,   risky -so I'm betting i
                                           twasjustBoca's detective Cruz and one ofPBSO CRIME LAB FS -possibl
                                                                                                            y SOWARDS
                     behi
                        nd thi
                             s initial
                                     y.Then itwas anothercorruptFS -who fabricated JMs DNA,THEN PLANTED IT ON THE SW AB
                     AND PIECE OF CLOTH ,THEN THE FS GAVE IT TO THE PBSO CRIME LAB ADM INISTRATOR TO UPLOAD INTO
                     CODISU MO RE THAN LIKELY - W ITH THE ADM INISTRATOR NOT INVOLVED - at Ieast atthattim e - IN ANY
                     W RONG DO ING .
             '
                     A.From theresthe lab gets an advisem entfrom the CODIS AG ENTS,ofa ''MO DERATE''ONLY M ATCH -W ITH JM s
        '            2007 CODIS DNA,ALL TO THIS POINT,CHILDS PLAY TO EDIT AND MAKE HAPPEN -vi
                                                                                            a Fla statute 5943.325
                     (16).
        -'
         V           A.Upon the I ab getting the notification,the administratorsentCruz fourIetters,(copies ofwhich had to go in the
                 $
                 (   discovery and how JM gotthem)aIIinvol    ved thoughtaIIiswell.Afterall,the I
                                                                                                etterswerefabricated to pointto JM as
                     the assail
                              ant.Itwas shortly afterthis,JM recalled reading in a pri
                                                                                     ormotion,where i
                                                                                                    tm entioned hi
                                                                                                                 s 2005 DNA,which
                     rung I
                          oudly in hi
                                    s mind the fact-YES AGAIN -seen here:
                      'Hhm mm m , how come - if the alleged case evi
                                                                   dence - m atched my 2007 DNA, IT DIDNT MATCH MY 2005
                     A LSO''
                           ????'?????????????????
    '



é       ..
             xhk
                 !
                 !
                     A.-JM then w rote a state exnosinm corruntion report,PELICAN BRIEF STYLE,revealing w hatthey had done,which
                     fel
                       l'nto the- handsofthe PB-
                         l                       C-
                                                  Y
                                                  - Ar-onberc-who- nanicked,and knew,ifthey couldntqetthe4 lettersoutofJMs hands,
                     THAT ONLY LINKED HlM V1A his2007 DNA)a veryIarge catwould be Ietoutofthe ba - namel,we'df.
                                                                                                              abricat
                                                                                                                    'ed
                                                                                                                     -
                                                                                                                                            l.t
                     and nlanted his DNA on anv i
                                                tem s t e9 c alm m a c e
                                                              - -            l
                                                                             s             - agaln - no nowlng or ma c 1ng ls
                     DNA.A htlqeWY-
                                  QVPSforthestqt..
)                    A.Thus-whvAr
                                onber
                                    ahadt
                                        hpi
                                          ni
                                           lRt
                                             malt
                                                hpI
                                                  t
                                                  R
                                                  tmr
                                                    s-knowi
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                                                              etersh
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                                                                   kedt
                                                                      oaconf
                                                                           i
                                                                           r
                                                                           mat
                                                                             i
                                                                             onofJMsDNA-al
                                                                                         so
                     beinn in CCIDIS in 7005 thllK wnllld hlvp pypnqpd CIRSTRtICTI/ N nf.IlISTIEF         IM CNAI--CLI'IM.
                                                                                                                         IIC/IQANY C7Nl..
                     T-HF STATFS PART -ON A FEDERAL LEVEL - hancina manv PBC nubli          c servants -and ME -PB and the curre-pt
                     FInAG MoodvfornotnullifvinqthesqunlawfMlçppyictions.                                                                     %
                                                                                                                                                  0
                     A.To nrevlntthiKfrnm tunlodina and nntnhinn alIinvolved.fhavinc hqprd JM had the lettersrenl
                                                                                                                aced.hwe knew the
                     nnly honeofnotbeinacauaht.and.beina federallvorosecuted.1(Bondi) had to aethis FDLE/
                                                                                                        -D-OC-A-CQ UIRED 2005      -

                       NA OUT f CODIS W HICH W E CRIMINALLY DID committin mul          tiIe stat nd fe al   -glptute violations,              r-'
                     includinc massive OBSTRUCTION OF JUSTICE                                 .
                                                                                                                                              Q
                     A.There -Inow feelreleased -havingthatoffmychest.                                  ,      . ,f5
                                                                                                   :?:
                                                                                                  '. )qrs.
                                                                                                         k.:
                                                                                                           )=sz:
                                                                                                               tkz
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                                                                    y W *n
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                       L'         ,,7
                                  ,
                                 v:




                        PAGE 49R.              PBC,APPEAL PD -PN
                        Q.NextIcallJM sappealPD -aPN. W oul
                                                          d yougive usyournameandposition inthese cases?
                       A .My name is Peggy Natale and Iwas assigned to JM s case to do the 4th DCA appeal.
                        Q.Have you heard eveythi
                                               ng sai
                                                    d here today?
                        A Ihave.
                        Q .Then you heard JMs PD confess to being on the States side:my questi
                                                                                             on to you is -were you also assigned to
                        work wi
                              th the state - to secure JM didn'twin the appeal?
                        A.Iwas.I
                               twouldn'thave made any sence -to have ourPDs I
                                                                            ose the trial- only to win the appeal-so - yeah - 1
                        wasn'
                            tonl
                               y told to do a poorjob on the appeal-butto actually workwith the two PBC ASAS -so Iwouldn'tcreate
                        any arguments they coul
                                              dn'targue -so we com pared notes -so to speak.
                        Q.Canyougi
                                 vem eanexample ofhow youintentionallyfailedtohonorablyrepresent JM?

    ''
                        A.Sure.One ofthe peopl     e you've already questioned -oh -itwas the PBSO CRIM E LAB FS - Cel      yna Sowards -
                        she testi  ed the box ofdecades oId evidence consisted of- 50 to 300 cases of mixed - com m i
                                  fi                                                                           -         ngling evidence -
                        which reall y casta good dealof doubton w hetheranyone could actually find any speci   fic case evi
                                                                                                                          dence in such a
         '         1
                        box ofgar
                               --
                                   baqe
                                      --
                                         -where the am ountofcases were so high -so to make i   tsound easiertojjfind and mor e Iikely to the
                                                                                                                             j;
                  ;     4th DCA -Isimpl   y wrote in the appealthatthe Forensic ScientistonI had to search thru two orthree - cases - to
                        find JMs DNA -opposed to 50 to 300 - which would have been doubtu - ey ac ua y ave In e                     to these
                        cases -ifthe FS had to actually go thru 50 to 300 cases.This m ade iteasierforthe 4th DCA to deny the appeal.And
                        therewere COUNTLESS otherareasin my appeal-lweakened -to make him I
                                                                                          ookguilty - to helpthethreejudges
                                                                                                                                                A
'
                        atthe 4th DCA -to deny the appeal.
             %          A.Anothertime - lIntentionally di
                                                        dn'
                                                          t 1etthe 4th DCA courtknow in the appeal- that the PB CRIME LAB FS -
                        actuall
                              y cl
                                 eared JM ofany physicalassaultofei ther victim in the W RC case -by the vaginalsm earsli
                                                                                                                        des TOTALLY
                        EXCLUDING JM -so wi
                                          th aIIthe other''robe''crap we were slinging inthe coud room -IT confused the juryto the
                        point- they found him guil
                                                 ty.W orked perfect.
                        Q.Allrightythen-I've heardenoughfrom you-doyouhaveyourbarcard handy?
                                                                                                                                                l
                                                                                                                                                %
              .X
               .
                        A.Ido -i
                               t's righthere -she replied -handing i
                                                                   tto the Senator-who -in turn -took a pairofscissors outofa drawer-
         ';.-) fol
                 lowed closely
               then ordered the
                               by cuttinn
                              - feder
                                 - alagent
                                          it into Iittle pieces-hewasso irate -pr
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                                                                                                   ece back-one bv
                                                                                                                 -
                                                                                                                   one -as1,he
                                                       .   Getheroutofm ysi
                                                                          ght!And Ieavethe cuffsonherwhileshesinthe holding cell.
                 5
                 t          Ms N - you're soooo underarrest- i
                                                             twould take m e an hourto tellyou.You willneversee anothertri
                                                                                                                         alagain -but
                        you're own.You'
                                      ve pulled this obstructi
                                                             on ofjustice and criminalconspiracy ON THE W RONG PERSON -i
                                                                                                                       n many
                        more ways than five!Getheroutofm y sight.Good God -aIItaking place in America! W hata patheticl
                                                                                                                      y evilstate
                        Floridais.                                                                  e'
                                                                                                     7        )
                                                                                                     c-X?.
                                                                                                         ,
                                                                                                         A 1.       .
                                                                                                              QW

                        Q.NextlcallSA DA to thestand.W ouldyougi
                                                               ve usyournam eandposi
                                                                                   tion?
                        A,My name is Dave Aronberg -and l'm the Palm Beach County State Attorney -and Iwas the state attorney who
                        prosecuted JM in 2018.
                        Q .W eII..,.weII....,
                                            weII- IfeelIike I'm standing in front ofa realcrim inal.Have you heard everything allof your
                        accom plices in crim e have said aboutyou and each other?




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                                                                   y/**e
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             :   *.v..
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          /t- D
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                 A.Unfodunately -yes.They're alIsni
                                                  tchesandjustasguil
                                                                   ty as Iam -and Bondi isa hundred timesworse.Isthere
                 anykind ofdeallcanmakewithyousir?
                                                   '   x      .#

                 Agai
                    nafulSenat
                             el
                              aught
                                  er.                      jfM;
                                                              ,ftï
                                                                 '
                 Q.Aaahhhh -no -there'
                                     s nothing you could say -to keep you in Iiberty -forwhatyou and Bondihave done to
                 Americasand Florida'
                                    sjudicialsystem -and an American citi
                                                                        zen -and hisloyalIovingwife.Thisisworse than a sex
                 crime -W HICH IS GOING TO -l ASSURE ALL OF YOU - MAKE MrRED TlE -STEAM -W HAT YOU'VE ALL
                 DO NE IN HlS VERY HOM E STATE - COUNW -AND CIW -and frontyard. Tellus aboutBondiand Codis?


                 PLEASE GO TO PAGE 50




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Q                                                                                                                             V
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                                              c FLSD Docket 06/24/2020 Page 108 of 142                      ## **z+à
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                      PAGE 50 RD

                      A.W hata disasterthatwas.As others have testified -when we Iqarned the fourcrim e i
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                                                                                                           etters no Ion erconvicte.t                                                                   -

                      s   ! -dueto his-unknown atthattime -2005DNA notbein menti
                                                                               oned in theIetters-and thefactJM had the etter?
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                                                                              ng-- was to qethis 2005
                                                                     - r com- i
                     aced -we knew ouronly chance ofthis vew dav nev-e
                ï renl                                                                      .   -- -        .        -   --                                                    c.     .   #-..g!y)
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                      qettingoutofDOC in2005)-outofcodis-whichtookB-o-
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                                                                        iaqdherpowertohave i
                                                                                           teditedoutofcodis-underthe
                      nklisqwi
                             iiFDLErltlp.jamsttk,
                                            -    q.
                      Q.So BondididhavecodiseditedofJM-
                                                      's2005 1F.DIF.
                                                                   E1DOC RFLFASF DNA?
                           .
                               Yessirshedid./
                                           .                                                                                                                                                ;j
                      Qg--l-llvgrlyknowing-to do sowasa state (F1a.Stat:33,
                                                                          4)22/913,1* ndFedera1
                                                                                              -(18-1512)crinw? .
                                                                                                               V.-
                      A.Hey -she was the AG .Itwas herduty to know and besides - even knowing - -didn'tm atterto her.She violated
                      anything she wanted to violate.
                      Q.Due to the fact-sir-I'm having a difficulttime questioning you -having crim inall y violated and orchestrated al1of
                      the criminalacti
                                     vityyou have -I'm notgoing to ask you a greatnum berofquestions -padicularly where this nextone
                      - pr
                         etty m uch sum s i
                                          tup -depending on your answer.Thatquestion being -you'         ve heard everything everyone has
                      accused you ofhere today:Are they aIltelling the truth -and are you in factguilty ofal1accusations?

                      A.K- nowinn the deck i                              i
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                                           s stacked anainst me - 1'11concede        ap& J1 e.frien-d
                                                                                                    -sand fellow bar
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              qs
               -s-
                 o-cjatesaccusedmeof.From orderingReidTcotttoedi ttheCruz/JM i ntewi
                                                                                   ew videoofmaterialfactsthatwou!j
            1 b0th prove JMs innocenceJ:to showinq wé had no Iawfulri
                                                                    ghtto arresthim.
                                                                                   -tothere -in a-ct-belng two mal e
                                                       ch we trie.d to n-in- it aIIon J x--to - not. -Q-nIv-knowinn itwas too late - due to tl
                      assailants in these crimes - ofwhi                                                                              -      p    .       -
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                      775.15 (15)(a)one vearDNA usaae -butthatJM wasjnnocent-ve-
                                                                               ahhh -Iknew i
                                                                                           taII-and simn-
                                                                                                        lv.lookedwtbe otY r

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                      Fav.How the hellcould lnot know italIrwhen evervone had to reood.to. m e - evervthinn thev dtd and thattc k
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                          place? Ihave no qgt.
                                   te true Aronbern -vou have...0- 1
                          Q . Notnui                             - 7,
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                          A.Pam Bondi- was worse than 1was -due to herhaving been advi         sed thru one bar card holder or another- of
                                                                                                                                                                           .                         ,. .
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                          various cr i
                                     m es we al
                                              I vi
                                                 olat
                                                    ed -and yetshe sim ply I
                                                                           p oked he
                                                                                  t -.otberw-ay.She knew Cruzand MellobothviolatedJM'!
                                                                                                        -
                                '  '
                                     n Irinhts -and knew ofthe video editinq w hi
                                                                                ch is /was in violati
                                                                                                    on of838.0-22 and 913,1.8
                                                                                                                            --a-
                                                                                                                               nd 18-1512 -                                    .- -

                          18-241-18-242-18-4andvariousotherstateandfederalviolations-yetBondisi
                                                                                              mhlyhadCruzandMelloretireto
                          save theirpensions.
                          A.Bondiknew ofaIlIlIthe state and federalviolations l'd violated -and also l-ooked the otherway.She knew Scotthad
                                                                           -   --   -                           --            -   - --                -   --

                          the i
                              nterview video edi
                                               ted -whichaqain is in violationofalIiustIiste-dstatu-tq-s - vetblew thatoff.And ofcourse -any
                                                                                                                                      -           -                                 - - -

                          AG who'
                                dedi
                                   tbothstateandfederalcodisofadefendantsDNA dueto i
                                                                                   tclearinnhim ifIeftin?Y'mean-hev?She
                          deserves I                            ygraphvi
                                   ife in nrison.And a federalnol
                                                             -         a J-
                                                                      --
                                                                          M askinnhertheuuestions-she'
                                                                                                     d netIife.
                          Q.And whatare yourfeelingsonAG Moody regardingthisinjustice?
    '
                                                                                                         - ina-llv-conso-ire
                          A.JM sentMoodv a conv ofhis 1983 -advisina ofaIlthese crim es-allofus have-cr-tm                       m
                                                                                                                                 -s-mited -
                                                                                                                                     -t                        -   -                                    -

                          inwhich Moodyhadthe opportuni tyto nul
                                                               li
                                                                fvbothconvictions-butshe cho-  s-e-to-let-heroffice sta;sharkstalkherintp                              -

                          doinn nothinc -to see whatJM was noinc to do. She too notonlv needs to be fired -butqo to prison forno-thaving
                                                                                                                         -                                                                    - .   -
        .                 an unlawfull
                                     v convi
                                           cted man released and payhim the buckshe's-owed -Darti
                                                                                                cularlvwhere aIIofusdefendantshavq
                          vi
                           olated evervthina on the naaes to follow.
                          Q .Ofwhich I'm sure we'llfind informative and factual.Butdueto ourhaving heard enoughfrom you -you are under
                          arrestandwillreceive one-ifnotthe Iargestsentences-forbei   ngone ofthe 'm asterm i
                                                                                                            nds''-knowing how muchthe




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                     PAGE 51RD

                                      UNITED STATES ATTORNEY GENERALS
                                          JUSTIC-E F0 R ALL ACT O F 2004''
                                         ''            - --   -- - - .



                                       5955555550550555555555559555555
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                                 TITLE 111. DNA S.A.JUSTICE FO R ALL ACT OF 2004
                                                  Section302
                                       ENSURING PUBLIC CRIME LAQQRATQPY      -

                                      CO MPLIANCE WI
                                                   TH FEDXMALSTFNOAMDS
                                                   -



                                                  118 STAT 2273
                      ''(B) under co externalAUDITS - (see below) not Iess than once every two years THAT DEMONSTRATES
                     COMPLIANCE (what? Assures Iabsare in compli ancellll)with a standard established bythe Directorofthe Federal
                     Bureau ofInvestigati
                                        ons.
                             FRO M A 2015 /16 l17 DEPO BY T.S . LAB ADM INISTRATOR
                     Q .Okay,since Iknow you workwith the database, areyoufami


4                    A.Yes
                     Q .okay and i
                                 tdoes,itappears thatitdoes REQUIRE
                                                                             di
                                                                              arwi
                                                                                 ththe Fla.Statute 5943.325?
                                                                                                                               l1(
                     sTANokRDs?                                            LABSTO FOLLOW NATIONAL(FBI)QUALITYASSURANCE
                     A,Yes

V           )
            '
              QOkay,sointhatstatutewhentheysaythattheNATIONALQUALIW ASSURANCESTANDARDS,WHATARE
                         .
              THEY REFERRING TO?                                                                                                    A
                                                                                                                                    v
                                                                                                                                    e?!
        #'
                     A.THE AUDIT DOCUMENT see above B AND THE FBI STANDARDS below AS W ELL AS THE -W E'RE                           %
%                    ALSO ISO ACCREDITED - S W E AL O HAVE TO FOLLOW THOSE GUIDELINES AS W ELL.!!!'
                     The PBSO LAB ADM INISTRATO R TESTIFIED IN THE ABOVE DEPO - SHE HAD NO CHO ICE BUT TO
                     SECURE THE PBSO CRIM E LAB ''FOLLOW ED'' THE AB VE ADUI D UM T    H FBl-RECONFIRM ED
                     BY FLO RIDAS OW N:

                                        FLA.STAT.j943.325 (13)(a)
                                       ANALYSIS OF DNA SAM PLES

                     (a)The departmentSHALL(NO CHOICE W HATSOEVERIII)SPECIFY PROCEDURES -(PBSO GENERAL ORDER
                     532.00 - andthe FBls ''
                                           JUSTICE FOR ALL ACT OF 2004''-and 18-3600 (a)(4))FOR THE COLLECTION -
    .                SUBMISSION -IDENTIFICATION -ANALYSIS -AND DISPOSITION OF THE DNA SAMPLES (any DNA collected
                     bypolice) AND DNA RECORDS COLLECTED UNDER THIS SECTION.(NiXT LINE CRUCIAL).
                     THESE PROCEDURES SHALL ALSO ENSURE (guarantee) COMPLIANCE W ITH NATIONAL (FBl) QUALITY
                     ASSURANCE STANDARDS (see below)(NQAS)SO THAT THE DNA RECORDS MAY BE ACCEPTED INTO THE
                     NATIONAL DNA DATABASE (CODIS)
                                         FEDERALTITLE 18-3600 (a)(4)
                     (4) The speci
                                 ficevidence TO BE TESTED is in the possessi
                                                                           on ofthe government(PBSO)and HAS BEEN (PAST
        '            TENSE) SUBJECT TO A CHAIN OF CUSTODY and retained underconditions sufficientto ENSURE that u h
                     evidence I
                              M SNOTBEEN MUBSTITUTED,COUYAM NATED,TAMPERED W l
                                                                             T11,(forallegedcaseDNAjustbeing




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Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 111 of 142
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              in thatbox in itself- IS tam oered w-
                                                - ithllà -REPLACED.OE ALTERED inANY rmsn/ctmaterialto the pronosed DNA
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              testinn

     . / Yetthis PBSO CRIME LAB ADM INISTRATOR AIII'
                                                   IW FqD tINII-AW FI11 FA/IDPNNV IMTO HER PBSO CRIME   - -                                               -
              LAB -AND TO BE UNLAW FULLY TESTED BY A FORENSIC SCIENTIST -M A frpm qrior:below:
                                                           -                                                                                    .



              'Th-e-
                   n-tellus-how coul d youallow anv ForensicScientist(FS)to investasecond---a
                                            -   -              -      --                    .nal
                                                                                               yzinn evi
                                                                                                       dence -36yearsol d         - -
              - alIofwhi  ch was in a Iarqe box wi
                                                 th the alleqed case evidence from 50 to 300 othercases none iidividuafly                                           -
              nackanes -aIIcrammed toqether- touchinn and contaminatinq one another- with notone item having a p-ropedy
              receipt-thus -you had no idea where anY ofitcame from -and A -BSOLUTELY NO CHAIN OF CUSTODY -which is
                                                                                     -                                        -                                             -
              . an
              m    dated bystate 9 943.325. (13)--(a-).and fed     aw (
                                                                -all  title18-3600ta1(4i100% o
                                                             - er          - -       -          - fwhi
                                                                                                     ch you knew wasso unlawful         -
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                        yzinn ofsai d evidence was aq.
              t                                          -instaIIstate and federalstatutes nation widee?? Isn'
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                            W HEN AGAIN BELOW -THE FEDS MANDATE
                                  ALL DNA IS COMPLIANT W ITH:
                                   FEDERAL TITLE 18-3600 (a)(4)
              (4) The specifi
                            c evidence TO BE TESTED is in the possession ofthe government(PBSO)and HAS BEEN (PAST
              TENSE SUBJECT TO A CHAIN OF CUSTODY and retained underconditions sufficientto ENSURE that s!p h
              evidence HAS NOT BEEN SUBM JTUTEQ,VQNTAMINATED TAMPERED I                                                                         bein inthat ox-I
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              wl -         .    ,               .   ln -
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                                                         ASLL                                                                                                                    /     '
                                                118 STAT 2267
              (B)i(5) ''To ENSURE thatDNA testing and analysis ofsamplesfrom crimes-includinq sexualassaul
                                                                                                         tand othqr
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              PLpusviolentcrimesrARECAqRIEDOPTJNATlMryy##k$:g'
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              Ti
              t mely manner? Thirw six vears AFTER the alleaed case'
               oqether- forthree and a hal
                                                                   s DNA were even Manked apartfrom bei   nq crammed
                                         fdecades?r ? That'sa timelym anner? No!Thatsa violation ofa federalm andate -
              notmerelyasuggestionl!AndwhyistheFBIandUSAG mandatingDNA betestedandanal
                                                                                     yziedinatimelymannerl
                                                                                                                                                                        -            A
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              Because thev know - DNA looses abili

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                                                    ty to acquire a 100% accurate .nr
                   tthe feds reason -36 years afteran allened crim- e o in which doesn'
                  jsAGAINSTANYANti>i-LEsùxùANDATESI!
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                                                                                        j-le overa oeriod oftim e -tunouestionablv
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              fartoo much -over36 YEARSII) to the noint- itcan'tnroduceA TRULY ACCURATE PROFILE - butevenI
              wasn'                                                                     even
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              And anyone claiming thatstatute doesn'tpertainto state DNA orto these casesinanyway - would then be saying-it
              wasn'tnecessaryto have tested oranal  yzed the alleged swab of($0th -in a timely m anner-AS IF there'severan
              exception to thatmandatel!
                                            118 STAT 2281
     y ''
        The (circui
                  t)courtmayorderDNA testing byanotherquali
                                                          fied IaboratoryIF THE COURT MAKES ALL NECESSARY
     ) ORDERS TO ENSURE (ENSURE)THE INTEGRITY (INTEGRITY) ofthe specifi          c evidenc
                                                                                         -e AN-D RELI
                                                                                                    ABILITY 0/:
              THE TESTING PROCESS and testresulty''.
              PAGE 52 NFXT




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                      INTEGRITY? Clearl
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                                      y the above blares - to 'W HAT DEGREE''- the feds demand state courts must be federal
                      18-3600 (a)(4)compliant(ON A STATE DNA ACQUISTION LEVEL) or-said di
                      the circuitstate courts responsible fora IawfulDNA acqui
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                                                                                        fferently-how the fedsoutrighthol
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                                                                                                        aboratory - O NLY ''IF-
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                      - OURT    MAKES   ALL   NECESSARY    . DEMA  NDS-TO ENSURE
                                                                              -   (ENSURE)    THE. I NTEG R I
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                                                                                                                          -    ofthe
                      specisc evidence rAND RELIABILITY O F THF TFSTINN IDIRCAIRFC KN >nd tpqtrpKllltK'Thus 1f-18-3600 doesn'torove
                      iiw fqdsDNA standardsarecrucialr-npt
                                                         -hjn-
                                                             qwill.
                      THIS AGAIN CLFARLY SHOW S AND PROVES -the feds would NEVER ALLOW ANY CASE DNA TO BE USED -
                      IN ANY KIND (DF STATF CIASF - IN W HICH W ASN'T OF ''INSURED INTEG RITYI'I!W hi       ch means- there is no w ay
                                                                                                              -               .        .   -

                      the usAG or FBIwoul   d have everall ow the PBC DNA - to be used in the denl
                                                                                           -   .-   - -orable condition Florida's PBSO
                      CRIME LA-B USED IN THESE CASES - a1Iofwhi
                                         -                           ch has been brounhtto the attention ofFlorida's Attornev General-
                                                                                                    -     -       -               --

                      A- shl
                           evMoodv-toseewhatshe'     snoinnto do:acceDtJMsnri    orreadresolution-andnulliiltheseterribl     v unlaw#ul
                      convictions- orelectto Iettheworld see how evilandcrim inalFlorida iudicialreall
                                                                                                     vi s.
                        Or- willAG Moody attem pt to employ the typicalFlorida responce -of intenti
                                                                                                  onall
                                                                                                      y trying to drag this out -by
                      trying to implementthe common -typical ''this is up to an a ellate coud''- delay ame - Florida THRIVES on
                      pl
                       aying -justto keep people i
                                                 n rlson as on as e can -Innocentorno - w Qn @ .
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       # ,,The 18 th amendm ent HAS NOT,in term s,empowered congress to authorize ANyo xE . to violate îaws ofthe
      $h statellll'
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                      ''Under one of these alternati
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                      SAM E RULES OF CONDUCT THAT ARE COMMANDS TO THE CITIZENSIII'
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                                                                                          fted to the sporting contest thesis that the
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                       Governm entM UST PLAY THE GAM E FAIRLY and CANNOT BE ALLOW ED TO PRO FIT FROM ITS OW N ILLEGAL
                      ACTSIIII'
                                     U.S.-Bowlingvs Parker,882,F.Supp.2d 891(Ky.2012).              ''
                                                                                                     Through the Supremacy clause ofthe
                      United States Constitution,
                       State and Federalcourts alikejARE BOUND....BOUND TO GUARD
                          AND PROTECT RIGHTS SECURED BY THE CO NSTITUTIO N.III''
                                             U,S.-HAYW OOD VS DROW N,556 U.S.729,
                                              129S.Ct.2108:173 L.Ed 2d.920(2009)
                                    ''
                                     A state CAN NOT REFUSE TO APPLY THE SUBSTANTIVE
                                              PROTECTIONS O F A FEDERAL STATUTE
                                     AS W ELL AS -FLO RIDA'S OW N SUPREM E COURT
                                             CampbellVs State 935 So 29 614, 620
                                               State Vs Schwadz. W L 9250470
                          The (F1a) Supreme courtwent on to disagree wi
                                                                      th the States Claim that the DUE PROCESS defense w1
                                                                                                                        '
                          UNavai
                               lable topredisposeddefendantsandfoundthat,based onthe DUE PROCESS provision ofarticle 1,secti
                                                                                                                           on9 '*
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          ofthe Flori
                    da CONSTITUTION,thatGOVERNMENT MISCONDUCT (GM) -which violates the constitution DUE
          PROCESS RIGHTS ofa defendantpredisposi
                                               tion -REQUIRES THE DISMISSALOFCRIMINALCHARGESIIIII!
          Now -I'm no Einstein -butdoes itreall
                                              y take one - to comprehend this above is Florida's (oveqthe state AGs)
          Supreme Court-megaphoni
                                ngto aIIFlorida barand badge....
          ....
               ''Hey -checkthis out:We know they'lbe cases you become personallyentrenched i
                                                                                           n -inwhich youjustcan'
                                                                                                                tlet
          go of.Cases you ache inside to close. Butthe factis- ''  The 18 th amendm entHAS NOT,in terms,em powered
          congress to authori
                            ze ANYONE -to vi olate Iaws ofthe statellll''And thatincludesYOU .YES -YOU FLA!
          ''
           A nd we -here -in the Fla.suprem e court-are here to make sure you're going to extend every U.S.Citi
                                                                                                              zen -their
          ConstitutionalCivilRights-and you can'tdo that-by com mitting EVEN ONE - LET ALONE -TW O DOZEN ACTS
           OF GOVERNMENT MISCONDUCT - parjcularly -intenti        onall
                                                                      y - will
                                                                             fully and KNOW INGLY'?? Imean -hey? You'd
          expectour governmentto honorabl   y form ulate a case on you -orone in yourfamily -wouldn'tyou? W ell-so does
           everyone else.
          ''
           This wears atranslation of-ifyou Fla.violate anyone' s ConstitutionalCi
                                                                                 vilRights-eithervi   a the Florida orU.S.
      -   Constitution -walk awa !You blew jtl!Ourlaws are to protectalIofus -and truth is....'Decencyu security and Iiberty -
     J'    DEMAND that governm ent o Icla s shallbe SUBJECTED TO THE SAME RULES OF CU NDUCT THAT A*-E
                                                               - -                                                 -


           CO MMANDS TO THE CI
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                                    TIZENSIII''.OPTIONAL? ABSOLUTELY NOT - NOT WITHOUT THEN VIOLXYING
           FEDERAL TITLE 18-241 and 18-242 -W HICH W OULD THEN BE IN VIOLATION OF M ULTIPLE UNITED
           STATES SUPREME COURT RULINGS AND U.S.CO NSTITUTIONAL M ANDATES.''

                  LET IT GO FLORIDA -OR W ASHINGTO N W ILL
                         MAKE YOU W ISH YOU HAD!!!!                                                                              l17
           IF this has been made available to the federalcourt -the Florida AG -Ashley M oody has in factelected to Iook the
           other way - on aII mentioned state and federal violations - concurrently assaul     ting both the Florida and US
           Consti tutions -specificall
                                     y to spare ex AG BONDIand 22 PBC public servants -from going to prison.AS IF
           THAT'S NOT EXACTLY W HERE THEY'RE ALL GOING m-eitherbvthe uo-com'-    .      lnu federalcourt-ormedia -includir!g
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           AG M oodv -forcriminalconsniracv bv notarrestinn aIId-   efendants in this 1983 -and notnullifvinq these unlawft?l

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            Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 114 of 142

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                      PAGE 53RD
                                     IT IS THE BELIEF OF THIS PLAINTIFF -THE COURT
                                    IS MANDATED TO HONOR ALL TO FOLLOW REPEATS

                                        U.S.-BowlingvsParker,882:F.Supj.2d891(Ky.2012)
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                                   T hrou hthe Su remac clauseottheUnl
                                                                     ted StatesConsti
                                                                                    tutiona
                                   S-tate and Federalcouds alikeyARE BOUND....B UND TO UA-M D
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                                    AND PROTECT RIGHTS SECURED BY THE CONSTITUTION.III''
                                              U.S.-HAYW OO D VS DROW N,556 U.S.729,
                                                 129 S.Ct.2108, 173L.Ed2d.920(2009)
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                                         'A state CAN NOT REFUSE   TO APPLY THE SUBSTANTI
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                                -lievesthiscourt iscompelledto REQUEST botht-
                                                                            he FBiand I -
                                                                                        SO -to investiqate andARREST aI   lofthe
                  A PBSO - PBC CRIME LAB Forensic Scientist and Crime- Lab  - AdministratorW HO HAV  -E-VIDLATED-ANY PBC -
                    STATE.OR FEDERAL DNA MANDATES within thi        s 1983 - and remove the FederalIi  cense issued to the PBSO
                       délû/LABfprthlfp-ltpwipg(repeat)VIQLATIOQS -asNUNF-JNONF-J-OFT/ISISYP-YIONALI!                           '
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                                                 PBSO GENERAL ORDER 532.00
                        ''lT is the poiicy ofthe SheriffofPalm Beach Countyto maintain evidence...in accordance wi
                                                                                                                 th FEDERALrSTATE !
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                        AND LOCAL STATUTES and courtdecisions (ONLY -ONLY W HEN COURTS ARE IN FULL COMPLIANCE W ITH
                        THIS GENERAL ORDER AND THE FB1and ISO).Thisorderwillapply to ALL employeeslll. (which PBSO CRIME
                        LAB STAFF,SURLY ARE).
                                                        CHAIN OF CUSTODY
                  ,
                  7, ''IT IS REQUIREDUNDER theabove LAWS-THATTHE ITEM swab and ieceofc10th INTRODUCEDTO THq
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                                     S EVIDENCE DURING A CRIMINA.L OR CIVIL PROCEEDIN.
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    Case 9:20-cv-80997-DMM Document 1 Entered on FLSD Docket 06/24/2020 Page 115 of 142

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                 REMOVAL,CONTAMINATION OR TAMP-ER
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           g 3)EVIDENCE WILL NOT BE ACCEPT--
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                 CRIMES LABS OW N STATE -COUNW LAW S -(W H           - U REA
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                          (GETTHEIMPRESSION A PROPERTYRECEIPTISIMPORTANTS                                                                  MM
                     And this court asks - did the PBSO CRIM E LAB ADM INISTRATO R KNOW OF THESE LOCAL - STATE AND
                     FEDERAL LAW S.Again to prove the adm inistratorand l
                                                                        ab did know - and therefore intentionallyviolated countless
                     lawsand mandates-the i  cing onTHIS cake!
                                      FRO M THE PBSO CRIM E LAB ADM INISTRATORS
                                                    DEPO -TARA SESSA
                                                 FROM PAG E 15.- LINES 4 -15
                                                       IN 2016 or2017
                      Q.Okay,since Iknow youworkwi
                                                 ththe database,are youfamiliarwiththe Fla.Statute j943.325?
                      A.Yes
                      Q.okay,and i
                                 tdoes,itappears thati
                                                     tdoes REQUIRE I-ABS TO FOLLOW NATIONAL QUALITY ASSURANCE
                      STANDARDS?
                      A,Yes
                      Q.okay,so in thatstatute when they say thatthe NATIONAL QUALITY ASSURANCE STANDARDS,W HAT ARE




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                    A.THE AUDIT (seenon nri
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              PROSECUTION AND ALLOF THESE ACTUAL- QRIMINAL DEFENDANTS -GET                                           -1 . :
               1)Florida State Statutesthe/ve violated?
              2)The United StatesFederalStatutesthey'
                                                    veviolated?
               3)The Florida Consti
                                  tutionalOaththey vowed to God -and to the Uni
                                                                              ted States Government-to ''
                                                                                                        support-defend
               and protect''-yethaveviolated incountlessways?
               4)The UnitedStatesConstitutionalCivilRightviolations mandates Amendments Laws andprovisions?
               5)The Uni
                       ted StatesAttorneyGenerals''
                                                  JUSTICE FOR ALL ACT OF2004''mandatesand statutes?
               6)The Uni
                       ted StateSupremeCourtrulings-mandates and provisions?
               7)The Fla.SupremeCoud GM ruling?                                                                                   '
                  aIlofwhich have been pi
               .....                    tifully state assaul
                                                           ted - for three and a half decades? For - 36 years - after alleged
               crimes - IN W HICH THEY CAN'T EVEN PR ODUCE ANY LAW FULL CHAIN O-F .CUSTO DY FOR - which is
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NV             horrificall
                         y AGAINST ANY AND ALL DNA MANDATES? W ould any Uni                ted States Federal i
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               wASHINGTON toreadsuchaiudael
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               Plaintiffhas iust oroven al1listed above and aIIdefendants - HAVE IN FA CT VIOLATED THE FBls - ISOS and
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 j             USAGS FederalStatutesand mandates -AGAIN aqd AGAIN and
                                                          -                  --   N confirmed w ith the Uni
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                                                                            - A               -   ---     ted States Supreme
               (74klrt:rklllingsin:
     2                           OLMSTEAD VS UNITED STATES
                                 227 V.S.438,469,471,48 s.ct564
               ''
                To declare thatin the administration ofcriminail aw,the end justifi
                                                                                  es the means to declare the GovernmentMAY
               COMMIT CRIMES in orderto secure a conviction ofaprivate (singular)criminalwould (andwe morethanassure you
               - W ILL)bringterrible (legal
                                          )retributionl'(by classi
                                                                 fied -federalagentoverseers)
               'The 18 th amendment HAS NOT,in terms,em powered congress to authori
                                                                                  ze ANYONE - to violate Iaws ofthe
               statel'
               ''Decencz
                       y securi
                              ty and Ii
                                      bertyo DEMAND.....DEMAND thatgovernment officials shallbe SUBJECTED TO THE
               SAM E RULES OF CO NDUCT THAT ARE COM MANDS TO THE CITIZENSI'
               ''Under one of these alternati
                                            ve theories the rule's foundati
                                                                          on is shi
                                                                                  fted to the sporting contest thesis thatthe
                Governm entM UST PLAY THE GAM E FAIRLY and CANNOT BE ALLOW ED TO PRO FIT FROM lTS OW N ILLEGAL
                ACTSI!!!'
                             U.S.-BowlingvsParker,882,F.Supp.2d891(Ky.2012)
                       'ThroughtheSupremacy clauseoftheUnited StatesConstitution
                       StateandFederalcourtsali
                                              ke'AREBOUND....BOUNDTO GUAMD
                        AND PROTECT RIGHTS SECURED BY THE CONSTITUTION.''
                                 U.S.-HAYW OOD VS DROW N,556 U.S.729,
                                  129 S.Ct.21081 173L.Ed2d.920 (
                                             .
                                                                2009)
                           ''
                            A STATE CAN NOT REFUSE    TO APPLY THE SUBSTANTIVE
                                   PROTECTIONS OF A FEDERAL STATUTE




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         '                   Plainti
                                   ffaskedthisfederaljudge-to understand-that53600 (4)(a)federalstatute-though IS talking''
                                                                                                                          of'- ''post
                             conviction''testing -THAT the POST CONVICTION evidence 53600 is referringto being tested -HAD TO OF
                             BEEN SUBPCCT TO:
                 '            ''HAS BEEN PASTTENSE SUBJECT TO A CHAIN QF CUSTQM-Y (whi            chisposi tivelyNEVER OPTIONALII)
                             and retained under conditi
                                                      ons su lcient to                URE - that such evidence HAS NOT BEEN substitutED -
                             contaminatED - tamperED W I
                                                       TH -replacED -oralterED -i
                                                                                n ANY respect- materialto the proposed (lawful
                                                                                                                             )DNA
                             testing''.
                             lnotherwords-THERE'S NO SUCH ANIMAL AS -'postconviction''DNA in i
                                                                                             tsel
                                                                                                f- thatwasn'tstate orfederalDNA
                             first!
                             lt am azes Iaintiff be ond words - EVERYONE a arentl doesn't know - or won't acce t what the above
                             'TAM PETED W I   TH''even m eansl!Tam ered wi th -EQUATES TO -once a FS has Iawfull com l1e wI        t a state
                             and FederalDNA m andates in acauisi tion -handlinc -Dackaninq -and has lawfulm r    rtv recei
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                             swab and 1 alleped piece of c10th nnd                               ' d to EVE-RY l                          3QQ.
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                             RESTRICTION intheaboveandbel   ow statutes-4Nat-D-
                                                                              EMANDS itCAN'T BE SUBJECTEQ-TX !                        -
                             AI1ofwhich brutally assaults 18-241 and 18-241 = b-
                                                                               v-the-P-BSO -CR1ME.LAB INTRODUCING DNA -THAT W AS
     >                       D NLAW FUL TO lNTRODUCE TO THE ANY I-Q- - --
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                              3600 -is NOT talkinnabout''nostconviction''dna !!I
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                              HAsToBEIN coMpL1ANcE-wITHaeocST-
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                               SUCH EVIDENCE W AS THEREFORE UNLAW FULLY MAINTAINED -AND T RIMINAL TO INTRODUCE.QiR
                                   N ANY COURT (on eadhl)
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             '   -                PRSO (DRIMF LAR intentionall y - willfully-- and knowingly em plo        ' nce.- THEY ALL KNEW - couldn't
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                                       v have been anvmore in violationofEVERYTHING---hKVI
                                 nossibl                         -                            '
                                                                                              IN -any rel
                                                                                                        ation to DNA -thqnitwas.

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       PAGE 56R
                   15 REASONS W HY FLORIDA MANDATES AN
                                                                                 %
                                                                                #.
                    EMERGENCY COURT HEARING TO NULIFY                             c
                      THESE TW O UNLAW FUL CO NVICTIONS
                        GM = GOVERNM ENT M ISCO NDUCT
       NOTE:Along wi
                   th the independentfeloni
                                          es attached to each publ
                                                                 ic servantbelow -al1willbe col
                                                                                              lecti
                                                                                                  vely charged
       wi
        th OBSTRUCTION OF JUSTICE AND CRIM INAL CONSPIRACY -ALL W ORKING TOGETHER.
       1)100 % ofaIlPublic Servants(PS)involved- knew the alleged DNA -was4 yearsoutofANY usable time -via FIa
       j 775.15 (15)(a)'s one yearDNA usage - unquestionabl  y eli
                                                                 m inating -EVEN THE fabricated DNA having had
       accessto my FB1codis 2005 /2007 DNA entry - and any denialofthatbei
                                                                         ng the truth - can only come from vi
                                                                                                            gil
                                                                                                              ante
       BAB.
       2)Anothertotall
                     yseparatecharge- isduetoFlori
                                                 danotextendi
                                                            ng memyci
                                                                    vilrightstoreapthehonorabilityofthe
       above -thus in violation of18-241 and 18-241 and 18-242
       3)The ini
               tialPBC ASA RS intentionall
                                         y-will
                                              fullyandknowingly-thuscriminally- violated 5838.022 and 18-1512                   ,    A1KK.
       byconcealingseriouslymaterialfactsfrom thedefense-coud -medi
                                                                  a -inasmuchasthepoliceconfessedand                            fv
       documentedthe destructi
                             onof100% of'materialfavorable'evidence-ofwhi
                                                                        chconsistedof11fingerprintcards- / '
       containing 55 tri
                       altestified pri
                                     nts-thatwe're withoutquesti
                                                               on''materialexculpator/'state -federal-and consti
                                                                                                               tuti
                                                                                                                  on
       m andating the dism issalofthe charges -which again -is addi
                                                                  tionalviolations of18-241 and 18-242.
       4)Clone the above -also being ''governmentmi
                                                  sconduct''-(GM)also requiring the dismissalofcharges -and a
       ''Brady vi
                olation''.
                         w hich al
                                 so requiresthe dism issalofcharges.


4      5)The PBC PBSO CRIME LAB ADMINISTRATOR intenti
                                                    onally -will
                                                               fully and knowingl
                                                                                y all
       CHAIN OF CUSTODY -state -federal-and constitutionalunlawfulevidence notonl
       as evidence in twin Iife sentence cases -committing m ul
                                                                                    owed 36 yearoId -NO
                                                                                           y into a crim e Iab -butto be used
                                                              tiple state and federalfelonies in doing so.
                                                                                                                                     rF
                                                                                                                                      A
ê      6)A cloneoftheabove-butaddi   tionallyviolated5838:022 and 18-1512byconcealingthosematerialfactsfrom the
       court-judge -defence-multiplecountsofclass3felonies.
                                                                                                                                     kX
                                                                                                                                     7
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                                                                                                                                      7
                                                                                                                                      %
Xo     7)A clone ofabove -in violation ofj943.325 (13)(a)/18-3600 (a)(4) /PBSO GENERAL ORDER 532.00 -and
        because ofdoing so-alsoviolated 18-241/18-242 by instructing a FS -CS toanalyzea boxofalleged evi   dence-no
        one knows where itcame from oranything abotl
                                                   tit-excessively in state and federalmultiple violations.
        8)EX AG PB -had 3 ofhervigilante judges- deny 3 motionsto dismiss-nei
                                                                            therofwhich could NOT have legally
        been denied -both mandating my release -seen under#16 below.
        9)lcan and willprove-the PBC SA Aronberg -(wi  th the knowledge ofPB)-unlawfully hadjaildeputiesgothru my
        jailroom Iegalbox-specificallytoIocate-thensteal4 legalIettersthatfailedtoshow anyconnectionwithmatching
        my FDLE/DOC release DNA in 2005 - SPECIFICALLY DUE TO ALL 4 LETTERS CLEARED M E OF BOTH
        CHARG ES -thustheftand W ATERGATE -GM !!!
        10)ExAG PB -criminally had both state and federalcodisedited ofmy2005 DNA dueto -ifI  eftin-itcleared me -
        making PB guil
                     tyofseveralstate and federalstatutes 18-1512 - along with 5838.022 -denyi
                                                                                             ng my rights -18-241/
        18-242.
        11)Icanandwillprove-the head PBC PD assigned -overa period of6 years- 7 PDs-eitherdirectlyori      ndirectl
                                                                                                                  y
        (asAttys orsupervisors)assigned to mycases-who were speci
                                                                fically assigned to secure convictionsforthe state -
        in multiple violation of18-241 /18-242 and every state and U.S.CONSTITUTIO NAL RIG HT A PERSON HAS -thus
        clearlyGM !!
        12) Ican and willprove -both the two female prosecutors (MR and BC)and the PBC circui
                                                                                            tcourtjudge (JC)-




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         intentionally-will
                          fully -joyfully -corruptly -criminally -and knowingly -aI1three confessed on courttrialrecord - to
         knowing -both case evidence was confirmed unlawfulto introduce to any court-by the FS and by the pri orread
         administratorsdepo -yetaIlthreedid so -againststate andfederalstatutes-838.022sim ply one such statute-thus
         EXTREME INTENTIONALGM !!
         13) TrialtranscriptsW ILL CERTAINLY PROVE -the PBSO CRIME LAB FS -TESTIFIED IN BOTH TRIALS -thatthe
         alleged case related swab and piece of ($0th - HAD NO PROPERTY RECEIPTS W ASN'         T INDIVIDUALLY
         PACKAGPD W AS ALL CRAMMED IN ONE -TOTALLY UNSEALED BOX - COMMINGLING -TOUCHING AND
         SURLY - AFFECTIO NATELY CONTAMINATING ONE ANOTHER - FOR DECADES HAD NO CHAIN OF
         CUSTODY AT ALL notone single aspectofwhich is Iawfulin any state orcountry on eadh -and totally unlawfulto
         introduce to any courtworldwide -
         welding inplace-EXTREME GM !!
          14)Ex AG Pam Bondi and AG Moody -are in violati
                                                        on ofthi
                                                               s below -fornotnul
                                                                                fying the convicti
                                                                                                 ons-thatwere
          saturatedwithGOVERNM ENT M ISCONDUCT.
                    cam pbellVs State 935 So 29 614 620
                            statevsschwar
                                        tz.WL9250070                                                                       VJ
          The (Fla) Supreme coud went on to disagree wi
                                                      th the States cl
                                                                     aim that the DUE PROCESS defense was
          UNavai
               lable to predisposed defendants and found that,based on the DUE PROCESS provision ofarticle 1,sed ion 9
          ofthe Florida CONSTITUTION,thatGOVERNMENT MISCONDUCT (GM) -which violates the consti
                                                                                             tution DUE
          PROCESS RIGHTS ofadefendantpredisposi
                                              tion-REQUIRES THE DISMISSALOF CRIMINALCHARGESIIIIIII!
          15)AIIthree PBC CIRCUIT COURT JUDGES OUTRIGHT VIOLATED numerousUS ConstitutionalRightsduringthe

A.        three motion hearingsasfoll
                                    ows:
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1         1)Themotionto dismissbasedon PlD vsSPEEDY.
          2)The motionto dismissbased ontheMotion in Li
                                                      m ine.
          3)The motiontodismissbased onfingerprintsbeing MATERIAL EXCULPATORY.
          lnall,threemoti
                        ons-aIlthreejudges-violatednumerousConstituti
                                                                    onalRights.-aII100% GM!
          Defendants are guilty of OBSTRUCTION              JUSTICE AND CRIM INAL CONSPIRACY Vl
                                                                                              A MULTIPLE
          COUNTS !!




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                    PAG E 57RD

                                         REQUESTED RELIEE
                                  BY PLAINTIFFJOHN A.MAC LEAN
                               UNITED STATES DISTRICT COURT FOR THE
                                   SO UTHERN DISTRICT OF FLORIDA
                             CIVIL RIGHTS COMPLAINT UNDER 42 U.S C j 1983
                    In Iieu of the defendants the pri or AG Pamela Jo Bondi and the current Flori       da AG Ashley Moody and the
                    num erousPBC PUBLIC SERVANTS -havinqw ronufull        v inflicted acts-andwroncfulviolationson nlzintiff-and have
                    criminall
                            v been allowld to take nlace apai
                                                            nKtplaintiffin the form ofm ultiple violati
                                                                                                      on of plaintiffs U.S,Constitutional
                    and CivilRi ghts -and state and Federalstatute violations -and U.S.Supreme CourtProvi        sions - plainti; ask thi:
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                    court forthe followina relief.
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                    1)Bothconvictionsmustbe nullified-NEVER tookplace!                                                                                 '
                    2) Plaintiffmustbe immediately rel
                                                     easedfrom anyandaI
                                                                      Ijailorpri
                                                                               son incarcerati
                                                                                             on-no re-arrestrelated to anypast
                    crim e accusati
                                  ons.
                    3) The states media spokes person MUST CLEAR John A Mac Lean ofboth the two casesplaintiffwas unlawfully
                    convicted on -and ofthe W illiam s Rule Case with the media leaving no doubt plainti
                                                                                                       ffwas in factcleared with the
                    media ofaIIthree cases.
%                   4) The 2012 arrestand NCIC records orany and aIlotherFlorida state orFederalrecords relating to the arrestor                   1%
                    convictions M UST BE TOTALLY cleared ofthese charges and ARREST -with no trying to lead plainti
                                                                                                                  ffto beli
                                                                                                                          eve that
                    can'
                       tbe done -as we have federalagents who have m ade very clear-is an easy correction.

    -   )
                    5) A notarized Ietterfrom the Atty General-Ashley Moody MUST BE given to plainti
                    hearing fi
                             les -AND noted on any files established withi
                                                                                                   ffand putin THIS COURTS
                                                                         n thisfederalhearing - confirm ing plainti: has been cleared of
                    these and any related charges - and any and al1related case charges have been removed from pl        aintils record -
                                                                                                                                                           $
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                    wi
                     thprejudice.
                    6) Plaintiffi
                                s neverto be arrested again by Florida on any pastcase speculati
                                                                                               on oron any same orsimil
                                                                                                                      artype of
                    charges thatwere to have taken place decades ago.

                    7)No past-presentorfuture Florida publicservants-oranyone even remotely involved wi
                                                                                                      th these cases-including
                    butnotIimitedto the all
                                          eged victim s -orfam il
                                                                y ofall
                                                                      eged victim s-are allowed to wri
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                    publishing company about John A Mac Lean in connection with any type of sex charges - orwork with any other
                    wri
                      ter/author/journali
                                        stwho would write such an arti
                                                                     cle - story -6rbook- OR BE ABUNDANTLY ASSURED -
                    PLAINTIFF W ILL COUNTER said adicle - story - or book - by plainti    ff publishing a ''free''and a wellpublisi
                                                                                                                                  zed
                    eBook on Iine - AND THIS 1983 CivilAction Suit-to include any addendum plai    ntiffcares to wri
                                                                                                                   te -accom panied by
                    any and aIIcoud rulings -comments -or''other''- m ade by this federalorany othercourt.

                    8) The stateofFlorida -vowsthatplainti
                                                         ffwillnotbejudiciallyharassed-by anycourtin Florida -oranyform ofIaw
                    inforcement- regarding any type ofalleged pastsex allegations everagain in Fl
                                                                                                orida.

                    9) Becausethis1983CivilRightsCompl
                                                     aintwasfiledbytheplainti
                                                                            ff-thisfederalcoudMUSTdenythestate-orany
                    case defendants any rightto add any addi
                                                           ti
                                                            onalexcl
                                                                   usions orsti
                                                                              pul
                                                                                ations to THIS plainti
                                                                                                     ffs requested relief-in which
                    the plaintiffwould notapprove of.
                    10)ThisfederalcourtORDERS AND RESTRICTS any Florida public servant -retired -fired -retired orstillactive -
                    orany Florida DepartmentofCorrecti   ons-prior-currentorfuture staffmember-orthe company DOC hasemployed
                    ortaken up partnership w i
                                             th called Jpay -to NEVER broadcast-advise -tell-reveal-write about-orin ANY W AY -
                    SHARE -orconvey ANY INFO RMATION ofANY kind regarding plai       ntiff-gained thru Jpays ''Kiosk account/emails''




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           system -to any otherl
                               iving soul-orbusiness orentity -in any capacity -forthe next100 years ''and a day'
                                                                                                                '.

            11).The state ofFlorida has a standing statute in the area ofj960.?? thatauthorizesthe state to pay wrongfully
           accused -$50,000 peryearforbeing wrcmgfullyconvicted. Seeing how this isa Florida Statute andthis is NOT a
           separate requestofthiscourtforcom pensation-plai
                                                          ntiffrequestthis coud to orderthe stateofFloridato pay infull-
           a totalamountNO LESS THAN the amount of$400,000 (8 years ofwrongfully incarcerati
                                                                                           on -times $50,000 =
           $400,000)immediatelyuponplainti
                                         ffsrel
                                              ease - intheform ofa bank checkany Fl
                                                                                  ori
                                                                                    da bankwillimmediately cash -
           ortransferredtoanyotherbankofplainti#schoosing.
            12)AI1Flori
                      daBarandBadge defendantsinvolved inthisunlawfulcharadeofviolati
                                                                                    onsmusthave:
            1)Theirbarcards and -orbadges nermanentlv removed,:absolute man-
                                                                           datorv and NOT justduring probationary
            period.
            2)None ofthese defendants wi
                                       llever be allowed to run foranv Dublic office aaain - orbe empl
                                                                                                     oyed by anysuch
            type ofoffice -orwork forany politici
                                                an - everagain.
            3)None ofthe defendantswillbe allowed to be employeed in the 'field'
                                                                               'ofthei
                                                                                     rtrade everagain in which they have
            any poweroverthelibedyofothers-norworkasaparalegalanywhere.
            4)And ifnotsentencedto prison -each defendantMUST BE outon''Drobation''foraminimum ofTEN SOLID YEARS
            -   with no chance ofending said probation any earlier-wi
                                                                    th three ofthe below sti
                                                                                           pul
                                                                                             ations INCLUDED:


)           a)Mustbeintheirhome no laterthan9:00 PM.(what'sgood forthe goose-isfarbetterforthegander)everynightof
            the week.
            b)No alcoholicbeveragesofany kind whil
                                                 e on probati
                                                            on.
As          c)No recreationaldrugsor-'weed''.ofany kind duringthe probati
                                                                        onar
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                                                                           y period.
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                    PAGE 59RD

                                          HOW EVER...
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                     f AG Moody wishes to accept plaintiffs inform alresolution outside of the FederalCourt- then this below is the
                    informalrequestinpl
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                    1)Both convictionsmustbe nulli
                                                 fied -NEVER tookplace!
                    2) Plainti: mustbe immediately released from any and alIjailorprison incarceration -no re-arrestrelated to any
                    decades pastcrime accusati
                                             ons.
                    3) The states media spokesperson MUST CLEAR John A Mac Lean ofboth the two cases piaintiffwas unlawfulfy
                    convicted on -and ofthe W illiam s Rule Case -w i
                                                                    th the m edia LEAVING NO DOUBT - pl
                                                                                                      ainti# was in factcleared                x
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                    with the media ofa1Ithree cases.                                                                                              '



                    4) The 2012 arrestand NCIC records orany and a1IotherFlorida state orFederalrecords relating to this arrestor                     6/
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                    convictions M UST BE TOTALLY cleared ofthese charges and ARREST -with no trying to l
                                                                                                       ead pl
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                    can'
                       tbe done -aswe have federalagents who have made VERY cl  ear-i
                                                                                    s an easy correction.                                             *e
                                                                                                                                                      tt
k                   5) A notarized letterfrom the Atty General-Ashley Moody MUST BE givento plaintiffand putin THIS COURTS                            .
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                    hearing files -AND noted on any files established wi
                                                                       thin this federalhearing - confirm ing plaintiff has been cleared of
                    these and any related charges -and any and aIlrelated case charges have been removed from plainti#s record -

+
(                   with prejudice.
                    6) Pl ainti; isneverto be arrested agai
                                                          n by Florida on any pastcase speculation oron any same orsimi
                                                                                                                      lartype of
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                    charges thatwere to have taken place decades ago.
%,                  7)No past-presentorfuture Florida publicsewants-oranyone even remotel
                    butnotlim ited to the alleged vi
                                                   ctims -orfamily ofall
                                                                                        y invol
                                                                                              ved withthese cases-including
                                                                       eged victim s -are allowed to wri
                                                                                                       te anything to the m edia orany
                    publishing company aboutJohn A Mac Lean in connecti   on with ANY TYPE OF CHARG ES - orwork wi         th any other
                    wri
                      ter/author/journalistwho wouldwrite such an adicle -story -orbook -ORRRR BE ABUNDANTLY ASSURED -
                    PLAINTIFF W ILL COUNTER said article -story -orbook -by plainti  ffpublishing a 'free'
                                                                                                         'and a wellpublisized
                    eBook on Iine- AND THIS 1983 CivilAction Sui
                                                               t-to include any addendum plainti
                                                                                               l carestowrite-accom panied by
                    anyand a1Icourtrulings-com ments-or'other'- made bythi  sfederalorany othercourt.
                     8) The state ofFlorida -vowsthatplaintiffwillnotbejudi
                                                                          cially harassed-by any courtin Florida-oranyform oflaw
                     inforcement-regardinganytype ofalleged decades pastallegationseveragain in Florida.
                     9) Becausethis1983 CivilRightsCompl
                                                       aintwasfiledbythe plaintiff-thisfederalcourtMUST denythe state -orany
                     casedefendantsanyrightto add anyadditionalexclusionsorstipulationsto THIS pl
                                                                                                aintiffsrequested relief-inwhich
                     the plainti
                               # wouldnotapproveof.
                     10)DOC PC RECORD AND PHOTO REMOVED -notsimpl
                                                                ysaying''inacti
                                                                              ve''.
                     11) FOUR MILLION DOLLARS putinto mywife'sbank accountorany accountplainti
                                                                                             ffwants-and-fi
                                                                                                          vethousand in
                     cash -upon release - aIlin fi
                                                 fties - non-debate abl
                                                                      e -fornot prioraccepting my inform al -and form aking me m iss
                     anotherChristmasand ourbidhdays (within5 daysofeachothers)- wi
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                     PLEASE GO TO PAGE 60




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     The prior and Iaststipulation read is an official12th reiief request- which m ust be em pfoyed - for M s Moody not
     accepting pl
                ainti#spriorgenerousoffer-and FOR ALLOW ING aIlofthe publicservantsto getawaywi           th a1Iwithin. If
     -   onthe otherhand-thiscoud doesnotemploythismandate-said courtwould beshowing prejudice againstplaintiff
     by notpunishing the 22 public servants in a m annerPLEASING TO THEIR VICTIM - foraIIoftheirnumerous
     violations -and pain they have caused my family and self-who are al1watching thi
                                                                                    s federalcourtcase beyond
     com prehension.
     Aswell-where AG Moodyhasalready recei    ved this 1983-i
                                                            twouldn'tcome totoo m uch ofa surprise -i
                                                                                                    fthe AG will
     attem ptto cl
                 aim she hasalreadydealtwith aIldefendantsand sanctionedthem in anotherway-AS IF THAT W OULD
     EVER BE ACCEPTABLE forwhatthey have putmy poorw i      fe and lthrough: having I
                                                                                    osteverything -to include our
     home new car business credi  t savings friends my parents personalpossessions 8 years ofm y liberty wi th m y
     wife-who hadto go thrutwo majoroperationswithoutme there forher-and numerousotherIosses.
      Forthis reason -plaintiffSTRO NGLY recom mends this honorable coud employs the fullrequestabove -and alIprior
      requestmade via relief.
      PLEASE GO TO PAGE 59R9




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                    PAGE 60RD                                                        .
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                                             D E C LA R A T 1O N
                                             by John A.Mac Lean.
                                               P L A IN T IF F
                    I- John A.M ac Lean - make the following declarati
                                                                     on that everythi
                                                                                    ng within this CIVIL RIG HTS CO MPLAINT
                    UNDER 42 U.S.C.j1983tobecorrectandtrue-basedon:
                    1)Factsfrom both casesacquiredfrom both Trialdialogueandnarration.
                    2)Variouscase motioncontent
                    3)Variousthingssaidanddone within andduri
                                                            ng motion hearings.
                    4)Variousconversati
                                      onswithand by attorneys
                    5)Various confessions ofwrong doing by the prosecution -judge -PBC Forensic Scientist-police offi
                                                                                                                    cers -and
                    various other public servants -both pri
                                                          orto -and during bothtrials -moston transcript.

                    6)Severalvictim depositi
                                           oncomments.
                    7)Various physi
                                  calactions taken by public servants -afterreading one ormore ofplainti
                                                                                                       ffs repods in which said                   'xxw
                    repodscaused public servants to take criminalcounteracti
                                                                           on -in an attem ptto coverup wrong doing.                              N
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                                                                                                                                                  1
y;                  8)PlaintiffsknowledgeofFloridaStateandFederalstatutes.                                                                    y
                                                                                                                                              /
                                                                                                                                              !
                                                                                                                                              ' C
                    9)PlaintiffsknowledgeofboththeFloridaandU.S.Consti  tuti
                                                                           ons.                                                               / &t
                                                                                                                                              ,
                                                                                                                                                   .

    z
                    10)Having seen and heardvariousinvolved publicservantswere covedl
                                                                                    y removedfrom office orcase posi
                                                                                                                   tion -due
                    to unlawfulacts - orw rong doing - in which plainti: always exposed which was always covered up by filing said
z                   m oves under''
                                 careermove'  '-which - anytime there's over8 such moves in two to three years during the same case
                    - i
                      m pli
                          esw rong doing.
                    11)No criminalcase - goesthru judges Iike waterovera dam - such as these cases -withthreejudges having
                    been assigned - none Ieaving office:aIlhaving been caughtby plaintiffin one serious violation oranother-ofwhi
                                                                                                                                ch -
                    afterexposing said viol
                                          ations in reports -the PBC S.
                                                                      A . Dave Aronberg / orthe PBC AssistantAG /orThe priorFIa
                    AG Pam Bondi-hadaIIthreejudgesreplacedfrom the case ortake overthe cases - asifa ''spare tire''-afterone
                    ofthe m ain tires wentBAD.
                    12)Afterpl
                             ainti
                                 ffauthored a criminalconductreporton PBC ASA.Read Scott.- said initialASA was abruptly
                    rem oved from the case and state attornies office -having beenthe head ofhisdepartment-w here Scottcl        aimedto
                    become a private attorney - having leftthe state attornies office foraround a month -only to return to thatoffice after
                    plaintiffwrote anotherrepod -exposing the realreason ScottIeftoffice -due to crim inalwrong doing.

                    13)Clearevidence PBC publi
                                             cdefenderswereonthe statessi
                                                                        de -includingtheAppealPD.
                    14)Momentary PANIC vi
                                        ewed in PBC ASA MarciRex -upon myPD Arbuzow advisingthe court during a briefbar
                    discussion -Iwasgoing to ''
                                              TAKE OVER'
                                                       'the closing -wi
                                                                      th ASA Rex -knowing Icould have exposed and undone -
                    aIIofwhatthey'd criminallyfabricated -ifl'dtakenover-butin knowingthejudgewasonthestatessi   de -Iknew he'd
                    block anything Isaid -from getting to thejury -thusmy reason fordecli
                                                                                        ning taking over-and whythere i
                                                                                                                      s no such
                    thingasa fairtrialanywhere -duetocorruptjudgesdictatingwhatthejuryhearsand doesn't-initself-MURDERING
                    ''
                     THE W HOLE TRUTH....
                                        A ND NOTHING BUT THE TRUTH -AND THE U S.CONSTITUTION

                    15)Variousquesti
                                   onsasked-andthingssai
                                                       d byBoca RationDetectiveCruz during 10-19-12 police interview




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                                                  ,                     ,   z       #z
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                                              p' FLSD Docket 06/24/2020 Page 126 of 142
                                               k.




         16)Variousthingswri
                           tteninpiaintiffsiniti
                                               al4DCA brief-authored by PBC AppealPD Peggy Natal
                                                                                               e -thatcouldn'
                                                                                                            tbe
         more intentionly UNtrue -proving she was on the states side!

         17)And Iastly -aIlwi
                            thin - has reflectivel
                                                 y been based ofplaintiffs bestrecol
                                                                                   lection ofeverything read -which no
         courtcan expectanym ore than that-thus thisW ILL SERVE -as my declaration.
         18) Plainti
                   ffs firm belief-declares-basedon aIIthe above proveable facts -taken togetherand combined -this 58
         page CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C.j 1983to be correctand true.

                                           J hn A.Mac Lean
                                                <


                                           DATE:V --IL-%'---
         CC
         Countl
              ess coming

                      PLAINTIFF RESPECTFULLY MAKES KNOW N
                                                                                                                         1$t
          ln hopesthe federaljudge who hearsthis case -(DEMAND FOR TRIAL -with Dlainti
                                                                                     ffdoinn a1lthe cuestionino)-
          doesn'ttake thi
                        spersonal y (particularlywhenyouhaven'
                                                             tevenbeenassiqned atthistime) aqain beadvised-asl
          mentioned before - defendantPamelaJo Bondihad mvfirst1983'-
                                                                    lxed''-so the courtwoul
                                                                                          dn'teven hearit.-thus-
          i
          twas NEVER HEARD -(thus no out-forany iudge to denvhearinq thi  s 1983)W HICH ISN'T GOING TO BE THE-
%
A         CASE W I
                 TH THIS ONE.


Ys        W ith Bondistillarmed wi th corruotiudicialconfidants and ''bin friends'
          friends in hiah nlaces to also have this 1983 ''
          decision - as FOR THIS CO URT             coi
                                                         fixed'
                                                                                 'power-lfullv expectshe willanain contacther
                                                                                      -

                                                              '- in ANY W AY W HAT SO EVER - which would not be a wise
                                                      n id ntl refuse to hear this 1983 - as wel
             as Incton-orthe W ashinqtonPost-unonthe Iiterallvcountless thousandswillread---exactl
                                                                                                   l - wouldn' t Iook ood to
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          @-fs-/rly-q-
         --          ind Ofrulingsaidfederaliudgemakes.
          An one honorable -who reads this -willcl
                                                 earl see -no reaterin'ustices ormore unconsti  tutional- state employed
                  ri -has evertaken lace -thus m wi    fe and Ires c full     -                           ' -i ' ou
                           s 1-
          refuses to hearthi -983-ori
                                    fthecoud rul  es inthedefgndants-favor-a11willK(Rt
                                                                                     z!-thiKton wo5 qllrlyfiy-d.
          Plaintiffthanksthis hon rable courtfori
                                                ts time and honestconsideration.
          John A M ac Lean       .
          070620
          Go To PAGE 61
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                 PAGE 63RD
                                     John A.Mac Lean.#070620
                                   Everglades Correcti
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                                                                on
                                        1599 S.W . 187th Avenue
                                           Miam i-Flori
                                                      da.33194

                                 UNITED STATES DISTRICT COURT FOR THE
                                      SOUTHERN DISTRICT OF FLORIDA
                                        IN REGARDS TO PLAINTIFFS
                             CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C.j 1983
                                                                                           (/
                                                                                           V:


                                  COURT RECEIVED ON 11-14-19 @ 12:59 PM
                                    JOHN ARTHUR MAC LEAN = PLAINTIFF
                             PLAINTIFFS ''LOSSES'' DUE TO THE STATES UNLAW FUI
                                                                             .
                                       PRO SECUTION and CONVICTIONS

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                                        $$$$$$$$$$$$$$$$$$$$$$$$$$                                                               1$1
                 Due to Florida'sunlawfuland unconstitutionalprosecutionand convicti
                                                                                   ons -a1
                                                                                         Ito follow arejustafew ofpl
                                                                                                                   aintiffsand
                 wifes Iosses -keeping in mind -Ii
                                                 teral
                                                     ly none ofthis would have taken place orbeen I
                                                                                                  ost-had the 22 defendants not
N                crim inally done -whatthey have.
x    '
                 FIRST:= Mostoutstandi    ng was the loss of my parents Iasthom e they'd li
                                                                                          ved in forover33 years - my wife and I
N                rem ained in aftermy mothers death in 2008.I
                                                            twas due to the nature ofthe alleged erroneous charges -my wife and I
                 were evicted from ourhom e -which was also unconstitutionalwhere - atthattim e - Ihadn' teven been found guilty
                                                                                                                                       %
                 and wasn'tforthe nextsix years.
                                                                                                                                       T
                  Needless to say -this Ioss took with it-countless priceless memories ofaIIourgood and fun tim es in thathome:-
                 and aIl the great m eals both of my parents cooked over the years. Then too - there were num erous fam ily
                                                                                                                                       <
                 get-togethers in this home -and Christm as and Thanksgiving dinners with fam il
                                                                                               y resul
                                                                                                     ting in m eals fitform ore than   U
                                                                                                                                       G
                 kings.                                                                                                                *
                 My dad -overthe years -added one room oranother-here and there -making theirhom e more fitting forthem -and
                 his gardens outside were the m ostbeauti fulin the area.l
                                                                         tneeds to be broughtto this federalcourts attention - and
                 the readers ofthis -up-coming W P story -thatupon the Ioss ofboth my mom and dad -the house and aIIoftheir-
                 and its personalbelongings -became m y 'parents'to me:naturally not replacing them -nonetheless -the cl     osest
                 rem aining thing lhad -to representthem -as every direction in oroutside ofthe hom e I'd Iook - I'
                                                                                                                  d see them -from
                 the m any prioryears ofdoing various acti
                                                         vities.
                  Likewise -a1lmy dads old w ork shop tools he'
                                                              d had fordecades -such as his ham mer-screw drivers and drills -etc-
                  were Iost-w ith most everything else my wife couldn' t take when having to Ieave - wi
                                                                                                      thout a vehicle.AIIgone.A
                  tremendous Ioss forme and my wi  fe -where thathome was also ourfirstto Iive i
                                                                                               n upon being married -only to -after
                  being evicted-mywi
                                   fe hadto rentacheapapadmentclosertothe PBSO jail-to be nearertome.
                  SECO ND:= Iinvented a '' stylus''in 2010 foralItouch screen devi
                                                                                 ces such as the ipad when itcame outin 2010 -in
                  which my invention quickly turned into the W ORLDS M OST W ANTED stylus on the m arket-via a web site my wife
                  andIbui
                        lt@ ''
                             stylus-r-us.com'
                                            '.ThiswassucharaveforaI
                                                                  loneadhwhohadtouch screendevices-thatinamere
                  two years-wi
                             th mywife and Irunning the businessoutofmy parents home -we netover$266,000.00 -investing
                  only ten orso hours a week.
                  My stylus becam e an overnightsuccess - as di  d the business in which m y wife couldn'
                                                                                                        trun -without me -thus - a
                  Ioss -the business stillin operation -butwi
                                                            thoutmy salesmanship and personalassistance -sales dropped from 18




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              PAGE 64RD
                               PAGE 2 = LOSSES
              FOURTH = Due to ourtremendous stylus success -we purchased a new - high end 2011 /V-8 Cam aro we were
              m aking paym entson-inwhichlcustom i zed byhaving i  tstunninglypinstripped with aIIofits windowsprotected by
              a smash proofwindow coating and avery specialgrill and a second al     arm thatdisallowed anyone to getwithin 5
              feetofthe car-priorto itwarning them - they'd violated i
                                                                     ts protective space:a carwe named -''FIVE-O'' we had
              painted on each side -on the rearofthe frontwheelwells - named afterthe TV program ''HawaiiFi   ve-O''-m y w i
                                                                                                                           fe
              and lalways watched together-as they had the same cari  n thatseries -even to the color.

              A car-so outofthisworld beauti
                                           ful-a police officerpullmeoverJUST TO LOOK AT IT -tellinc me he'd neversee-n
              a'nY finercarin his Iife. Inside and out - I'
                                                          d incorporated my magic - the resul
                                                                                            ts being - we couldn'
                                                                                                                tgo anywhere -
              wi thoutpeople having to elim inate the gap between them and FIVE-O -to check i tout-mosttaking pictures:aI1gone
              Iost!A 45 grand car- w hen allIvowed was done.
              FIFTH = And this one - makes me steam l!My poorwi fe - had to go through two MAJOR OPERATIO NS -within a
              few months ofeach other- one - a hysterectom y -in the hospitalboth times -without me atherside .AND NOT
              THERE FOR HER -W HEN SHE O PENED HER EYES after com ing out ofit: Ooomm mggg -do this - to MY
              wife?????
**
              Any idea whatthis di
                                 d TO ME -in jail- both times having a seri
                                                                          ous operation severalmi
                                                                                                les away -and l'm
*2            UNLAWFULLY stuckinjail-asinnocentasthe deputies-and -i
              having the bestwife i
                                  n the world -ofwhatgoi
                                                                     n mostcases-MORE SO??!! You have NO idea-
                                                       ng thru that-di
                                                                     d to us!Speak aboutvictimsll!
/*
W''           And Icouldn'teven be there FOR HER -due to the 22 Flori
              U.S.Constitutionaland CivilRightthey could every Uni
                                                                    da /Palm Beach County public servants -violating every
                                                                 ted States Supreme Coud provi
              State andFederalStatutemadeforpublicservantsregardinq''concealing''and''
                                                                                     al
                                                                                             sion and ruling m ade every
                                                                                       tering andeditinq'-concurrently
                                                                                                                                   )$i
              VOM ITING ALL OVER BRADY Even violating Fl
                                                       orida's own Supreme Coud rulings on 'GOVERNMENT                              C
              MISCONDUCT''thatmandated the charges be dismissedll!And what? A Federaljudge is simplygoing to Iook the
              otherway on a$Ithis'
                                 ?!                                                                                                 'N
                                                                                                                                    >
              As well-my wi
                          fe had no one to take care ofheraftereitheroperation while recuperating forten days each time.And         %<
              youwonderwhy$4,000,000? W ONDER NOT!Florida'sIucky i
                                                                 tsnotfifty-because i
                                                                                    fIcouldfind an HONEST.court-
              itW ILL BE 50 -unquesti
                                    onably backed up byW ashington-i
                                                                   fIeftno otherchoice -butto takethatpath-(withfive                Q
              federalagents -one a greatfri
                                          end -alIas Iivid as we are overthis -assigned to MAKE SURE we com e outofthis
                                                                                                                                    <
              smelling betterthan a rose -and ANYONE who is corruptl
                                                                   y involved in any manner (ifthe AG doesn'tacceptmy
              informalinfull)-said agentsW ILL BRING TO JUSTICE.AG Moodywillalso be considerablywise-ifshe doesn'ttry
              to talk us down -from fourm illion:be very certain ofthat!
              SIXTH:= The liberty and oneness God blessed my wife and Iwith -we cherish more than the majori
                                                                                                           ty ofmarried
              people -delayed -having stolen 8 years ofourIives -as the extrem e ''one''we are -aIIby 22 criminalpublic servants
              -   KNOW ING THAT BOTH CASES -FROM THE JUMP -W ERE UNLAW FUL -thus -thi
                                                                                    s entire injustice was
              INTENTIONAL - W ILLFUL -AND KNOW INGLY CRIM INAL ON THEIR PART - ofwhich again - lassure you ALL -
              W ashington W ILL m ake them regret-every underhanded -corrupt-criminalthing they'
                                                                                               ve inflicted -wi
                                                                                                              th us -having
              been doing greatforyears -with no troubl
                                                     e ofany kind.
              SEVENTH:= W e'   ve also - notoniy Iostour 'savings''- butour 'credi
                                                                                 t''couldn'
                                                                                          t be worse - on top ofowing credit
              cardsa com bined debtofaround 15to 20 grand -whi   ch -dueto us no longerchased bythe card com paniesafter8
              years -we could probably forget paying.That is - i
                                                               f we weren'tChristians who wi llstil be calling the banks AND
              payingthem offinfull.That'sjust''us''and the rightthingtodo.
              And mywi
                     fe -eventhough having had decentjobsthewhole 8years-hasstillhad to strugglewithutiliti
                                                                                                          es -hercell-
              power-andwater-turned offthreetim es along wi
                                                          th beingtwom onthsbehind in rent-constantly neareviction-and
              typi
                 callyeatingdoll
                               arham burgersatMcDonaldsmanynight-to keepfrom starving.O hhasFloridaeverscrewed up!




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                               C O N C LU S lO N
         These i
               temsjustIisted-were onlyafew ofthethingswe've lost-others-suchas mywife notseeinghermom forthe
         8years-dueto notbeing able$$ to fl
                                          y hertothe US tovisi
                                                             t-again-aIlbecause ofFLORIDA /PBC GOVERNMENT
         MISCONDUCT TO THE EXTREM E MAX.Eightyears wi         th notgetting to hold and l
                                                                                        ove herelderly - notwell-
         mother-concurrentwithmy notseeing my son foreightyears.O hwon'tW ashingtonIovebothAG M oodyand ExAG
         Bondi.

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                               fthis entire MANUSCRIPT HA S T-O azme-ar      --                           -

         roalflllltonatl -orcountrv.Justimacine whatthev'
                                                        d do ''
                                                              TO''aIIofvou -to INCLUDE ANY FEDERAL JUDGE -
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         Mapintrntlq -ifthev were to lookthe otherwav on this insane travestv ofiustice?
         Any iudge-thatdoesn'tseri
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                                               aintiffs favor-and comnlv wi
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                                                                                     aintiffs renuested and seriouslv
         warrented sanctions anainstaII22 publi
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                                                                tco overwellwith anvone in o-urareatcountw ofAmeri
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         John Mac Lean          . .
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         FEDERAL and VV       VIDENCE #56




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         PAGE 62RD
                                  DEMAND FOR TRI
                                               AL
         It is the belief of this plaintiff- that because the defendants have in fact comm i  tted allof the violations wi  th-in
         this1983 -m i xed wi th the pitifulcorruption in Flori
                                                              da - and the States abi
                                                                                    li
                                                                                     ty to have things ''
                                                                                                        fixed'
                                                                                                             '-itis the plaintiffs
         beliefhis requestfora trialwon'    tbe honored.
         Naturally -such a deni
                              alwill-in itsel
                                            f-be in violation ofFederalTitl
                                                                          e 18-241 and 18-242 -w hi
                                                                                                  ch woul
                                                                                                        dn'
                                                                                                          tbe taken in
         any otherway-than prejudice.Itisal
                                          so seen in advance -thatifthiscourtdoespermitsthis casefortrial-plainti
                                                                                                                ff
         willbe denied -(bywhicheverjudge who hearsthis trial)-asking defendantsveryspeci
                                                                                        ficquestions-ofwhich iwill
         requestthejudge mandates the defendants to answereach and everyquesti
                                                                             on -wi
                                                                                  th no pleading the fifth -or
         requestto requestto see theirattorney.
                            W HY SHOULDN'  T DEFENDANTS HAVE
                               THE RIG HT TO PLEAD THE 5TH?
                      STATE OF FLO RIDA CONSTITUTIO NAL PS OATH
           'I DO SOLEMINLY SW EAR ( or alrm) THAT I W ILL SUPPORT - PROTECT - AND DEFEND - THE
         CONSTITUTION AND GOVERNMENT OF THE UNITED STATES (even before FIorida)......AND OF THE STATE OF
         FLO RIDA THAT IAM DULY Q UALIFIED TO HOLD OFFICE -UNDER THE CO NSTITUTIO N OF THE STATE AND
         THAT lW ILL W ELL AND FAITHFULLY PERFORM THE DUR OF (title ofoffice)ON W HICH IAM NOW ABOUT                                 .
         TOENTyER
         Seriousl
                   .SOHELPMEGOD!!
                  note these things:
                                                                                                                                     1 ,
          1)Every Florida barand badge (BAB)vowed underoath -they - ''SOLEMINLY SW EAR (oraffi
                                                                                             rm)THAT THEY                                (
         W O ULD SUPPO RT -PROTECT -AND DEFEND -THE CONSTITUTION AND GOVERNMENT O F THE UNITED
         STATES''= ofw hi ch - thi
                                 s FederalCoud represents the governmentofthe United States - and - in orderforeach
                                                                                                                                             l

)        oathtaking publicservantdefendantto''support-protectand defend''-the United StatesGovernment-thevcan'tbe
         all
           owed to notanswerevery questi

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                                       on asked ofeach -with questions being asked reqarding theirjudi
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         durinc the tim e neriod ofdefendants actinn in their''OFFIC IA L CA PA CITY''-w hich the oath pprtainsto.
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         W e not only I
                      ostaI1ofour globalcustomers aIIaround the world - but THEY LOST US - as we were the O NLY
         com pany on earth - that made various models oftelescoping stylus in which perm i
                                                                                         tted the paraplegics and other
         handicapped to use theirtouch screen device -now -no Iongeravail able forthe handicapped people anywhere on
         earth-withmeinjail.Good going Florida-won'
                                                  ttheworld Iove you.
         Anyone reading this -should check outthe emailreviews on ourweb si   te and Iook atthe video on the video Iink of
         one ofour custom ers in Hawai i-who has no arms from birth - yet- due to m y stylus -was able to use any touch
         screen she has -herIast-an ipad in which Iasked herhusband on the phone - i     f I paid for halfofa new ipad -
         could he pay forthe otherhalf.ln agreem ent- I was able to putmore than a smile on his wifes'face -as one woul  d
         see on hervideos ofwhi ch ldare you -AG Moody -and exAG Pam Bondi-to watch - on oursi       te.
         Ialso personally called every paraplegic l could world wide - after they'd placed an order - to see if I could
         custom ized their requested telescopi
                                             ng stylus - and to ask ifthere was any other way I could help them - often
         sending them two stylus -forthe price ofone -and more times than not-(as mywife would veri
                                                                                                  fy)- I'
                                                                                                        d do this-
         crying on the phone - theirdisability messed me up so.Read ourem ailreviews - and youdllsee how greatof a
         com pany we were -robbed by the 22 criminalpublic servants.W ho'd they rob? My wife and I-and aIIthe physically
         handicapped around the W O RLD who counted on us -to give them the abilityto play wi
                                                                                            ththeirdevi
                                                                                                      ce.
         Truth is - my wi  fe and I buil
                                       t that beautifulbusiness from scratch - and had a blast doing so: Our Iivelihood -
         crim inally ripped offand rui
                                     ned -by Florida public sew ants -who swore to be honorable representatives forthe state
         and county.They lied!
         THIRD:= Though my wife was able to save a num berofmy personalpossessi        ons -there were many others -she
         couldn'
               t-wi thouta vehicle thus aIIa Ioss forme - including a wealth i
                                                                             fclothing -footwear-num erous powertool s-
         and very personalproperty m y dad and lutili
                                                    zed togetheroverthe years



1 GOTOPAGE64RD                                                                                                            )    f
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           PAG E 65RD

                        TO THE FEDERALJUDGE W HO HEARS THIS CASE
          AS you m ay recallin the beginning -plainti: advised -he'
                                                                  s NOT expecting this honorable courtto decide innocence
          orguil
               t-nordecide ifthethejurymadetherightorwrongdecision.
          Your onI Consti  tutionalres onsibilit and Oath to GOD the United States Government Citi         zens of the Unitqd
          States.-and to m v noorwife and Iwho are clearlv - forsure -''   TH E VICTIM S'
                                                                                -                  tifulJn
                                                                                        ' in this Di     -iustice ha-vlnn os-#-
                                                                                                               -   -                Y       .
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       '! vears of beinq toqetherand everythi - nn else w e owned -is forvou to RECOGNIZE T- HE DEGREE the defendants
                                                   -   -   - - --                                                                               )
        / have violated countless 18-241p- nd
                                            . - 18              onalCivilR-iqhtsand OBSTRUCTED JUSTICE and CRIM-INAL
                                                  -242 Constituti           -              -                           - --

          ùoNsplFmcv -inthenrocessof-li
                                      terallvusinathisBELOE toioll
                                                                 ow -asTH/IR auidel
                                                                                  ine onhow thedefendants k
          CRIM INALLY planned and won a case - the defendants couldn't honestlv have won othelw ise.That's should be
                                                                    -                  -

          v0
           -urtarnetand goal.
          ''
           To declare thati n the administration ofcrimi
                                                       nalIaw,the end justifiesthe means to declare the GovernmentMAY
           COMMIT CRIMES in orderto secure a conviction ofa pri  vate (singular)criminalwoul
                                                                                           d (and lmore then assure you
          W ILL)bring terrible(Iegal
                                   )retributionl
                                               ''
                                FOOT NOTE /NLT BIBLE = ISAIAH 10:1
                       GO D W ILL JUDGE UNJUST JUDGES AND THOSE W HO
                       MAKE UNFAIR LAW S. THOSE W HO OPPRESS OTHERS
                         - W I
                             LL BE OPPRESSED THEM SELVES. IT IS NOT                                                                     '
                             ENO UGH TO LIVE IN A LAND OF JUSTICE
                                   - EACH INDIVIDUAL MUST DEAL                                                                    ï'3.t.A(>*
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A                                      JUSTLY W ITH THE POO R
                                          AND POW ERLESS                                                                                            y
/          AGAIN-yourrequest
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           STATES AND FLORIDAS'CONSTITUTIONAL RIGHTS -ofan ipd
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           keepinq in mind -ifplaintil -wi
                                         fe and entire familv-aren'
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                                                                        edwith vourrulinn --v-
                                                                                             e-s--asmentioned seveialtim.
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           - Washinntonnol  iticians theSenate and Sunreme Cour     l-(viatheW ashinnton Post-beinnthe brilliantnanerttwy
           are)-W ILL HAVF plaintiffq nnd familimspermissionto nnptivatethqlholeworld by:
           1)Putting anysi
                         ze sectionofthis1983 they desire -ineachdailypaperfor5to 10daysrunning -concurrentl
                                                                                                           ywith
           2)Inserting itWORD FOR WORD -knowing -i
                                                 fthe Postemploysthisstrategy-they'llsellmore papersthose days-
           than everbefore -as this istrurly a Florida Pelican Brief-marri
                                                                         ed to a Florida W atergate.

           3)And interviewing plainti
                                    ffasthey didin 1980.
           Good I
                uckjudge inyourdecision.

           Signed

                           John Mac Lean
                        (ofthe realDie Hardfame)

           FEDERAL and XPEVIDENCE#61-IFNEEDE;.




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                                      FEDERALEVIDENCE#0035                                               )UN                                         2                                                                  '
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           TO '
              . PBC STATE ATTY DAVE ARONBERG PBC ASA MARCI REX
                                                                                                             SNCVL '.
                PBC ASA BRENNA COKELY
               Justthoughtyou'd care to read one ofmyrevised and strengthened subjects assured to take both -yourbarcard -
           and the cards ofyourtwo -undoubtedl
                                             y starfem ale prosecutors -by/foral1three ofyou -clearly knowing aIIto fol
                                                                                                                      low
           -thus-also assurin ou INTENTIQNAkXY.--WILXFULL,Y an4 KNOW INGLY rosecutedtwo cases -in which ou
           knew (having hear the Boca PD fingerprintdetectivestestimony in bothtrias a eow) tat ot cases never
                                                            --                                                            --

           >houldhave beenfiled basedon hisàngerprinttestirtmnylpfoll
                                                                    ow.
            Forthe sake ofanyone reading this -thisbelow -isa m ock Q andA between an FBIagentasking questions-and
            PBC State Attorney Dave Aronbergs starfem ale ASAS -M arciRex and Breanna Cokely answering -who aI1-
           clearly knew everythingyou'reaboutto read-al1ofwhichiseasyfora iournalistto prove - by merelyasking al1three
            ifthey'd W ILLINGLY SUBM I
                                     T to a polygraph -unquestionably aIlofwhom willrefuse -thus proving guilt.
                        LET THE PBC JUDICIAL EM BARRASSMENT BEGIN
            Q .W ere there any tingerprints Ieftbehind IN BOTH CASES by the REAL assailant-in which the alleged victims
            POINTED outwhere the assailanttouched -ofwhich police 'gathered together''THOSE VERY prints-to exam ine
            againstJM '  s??
            A.U m there w-as.
            A.A- h-
                    -

            Q .How many prints in al
                   hh...wellactuall
                                       l?
                                   y -the fi ngerprint police officerTESTIFIED in both tri
                                                                                         als - HE PERSO NALLY acnuired. ll- f-inc-
            printcards-with5 printsoneach-so a minim um of55 printswerefound total-from BOTH crimescreens.            -
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            Q .Fi ftv five finqerprints in all.And did he take the prints ofEVERYONE in both case homes       -to see i
                                                                                                                      fany ofthe
4           nrints we.re theirs?
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               Q.               '   AD T F ELONGED to the assailanl?                                                                                                                                                         ïs
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(
            A .Umm ... veah -obviouslv!Duhhhh.
            Q .Isn'tittrue-finqerprints-W ITNESSED by all
            EXCULPATORY'?'
                                                        egedvictims-PI
                                                                     -ACED bythe assailants- are infact-M ATERIAL


4o          A.Thev are.     -

               Q.Aniihaveyoueverheardof:
                            ARIZONA VS YOUNGBLOOD (1988),488 U S 51
               The DUE PROCESS CLAUSE PROTECTS A DEFENDANT FROM (FROMJ BEING CONVICTED OFA CRIME -
               WI
                IEkETHESTATEHASFAILED(FAILEDI)TO PRESERVE MATERIAL EXCULPATORY W lùùûèt''.
               A.Umm mm yeah -1.                           ..             .
               Q.Thentellus aI1-           .           ,                  .                                                                                      id theyfind any qf
               those 55 prints-.to m    ' (  )nl(j r àc ean<.
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               A.No.
               Q.S.                                                                    -                   ctims saw the REAL
                    o here we have the police - acquire 55 prints from the V. ERY Locations - the alleged vi                                                                     -              -

               assailanttouch-vetnone ofthose55 printsm atchJM snrintz?
                        A.Ahhh....
                                 well,....becauseTHE POLICE DESTROYED
                         THEM ALL and document    ed such destruction -was                                             , i
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                           the reason there wasnItanvwav oftellinc ifthev                                             v.
                                          m atched JM>- PCp99.

               Q .I
                  - se
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                       e.And isn'titAGAIN true-victi  tnessed assailantprintsare ma-teriaIexcu-lmatory?
                                                   m wi                                                  .        .    -

               A.Thev were and arell!
               Q.And isn'tittrue -the Federaljudges ruled in YOUNGBLOOD thatupon a state-failinc to PRESFRVS MATERIAL



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      EXCUPLATORY EVIDENCE - REQUIRES THE CHARGES TO BE DISMISSED -lhich is also a Cpnsli
                                                                                        tMtional
      cuar'
          antee - and Bradv MANDATE -notto mention -W ITHOUT AN AC U -.VING TO - HAV. ING      -
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      HAVING TO PROVE SA- ID PRINTS W RE HIS -WHERE THE POLI
                                                       - - CE DESTROYED THAT OPPORTUNI
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          nating anywayoftestingsaidpriqts?
      A.W hat
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                n lsay?W ewedre aIIORDERED by EX AG BONDItoviolate anythingwe had
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      Justice i
              s bein mi
                      scarri
                           ed throu houtthe Iand.Foreveryofficial(PBC SA ARONBERG)is underordersfrorp hi
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      u FLA. EX.AG BONDI and m atterso 'ustl
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      M                y
      = ...., Si
               r-JM 'sqotus.Even i
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                                    fthere'san occasionalnewerFederalcasethatbelittles a prior-no        case -state or
      Federalwould overrule whatwetve both justquoted -eitherfrom Youndblood -Brady orthe US Consti
                                                                                                  tution -and
      whathas been priortestified to -by the state - during both tri
                                                                   als -seen bel
                                                                               ow -by the very officerwho acquired aII55
      prints:
      a)Statingthathe'dacquiredall55pri
                                      ntsWHERE the victimssajdthe assailanttpuched:and...
      b)ThatNONE ofthe 55 matched an one else'sin EITHER household /family --lhich setsthe PERFECT cpqq ps                 c/
      describedin Youndbloodan radywejuq!Fentp-r r.-                                                                        'o
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      must be of a t e which i
      nhvsical evidence W HICH A C M FR
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                                s clearl relevant:a requirement SATISFIED in a case where IDENTIW is at issue b
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                .SPECTS.ln a case where there i
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      FINGERPRINTS and hairand tissue samples have been used to implicate nuiltv defendants AND- EXDNERATE
                                              s NO DOUBT thatthe samnles came from the assail
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4,                         Q .So herewehavethe police-acquire 55 nrint:
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                                     55 printswere PRESERVEb'
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       PAGE 2 NEXT




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         '' 2) Underthe DUE PROCESS CLAUSE ofthe 14 th Amendmentcriminalprosecutions MUST COM      - PORT with                            --

          revailin notions offundamentalFAIRNESS to re uire the defendant be afforded a meanin fuIo odunit to
         nresenta completq dp..f
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                      A. Ahhha...well.....because THE POLICE DESTROYED                                                                .

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                                               dJMSOrnot.
             To safe uard THAT RIGHT -THE COURT HAS DEVELOPED WHAT MIGHT LOOSELY BE CALLED F
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           ONSTITUTIONAL    A ANTEE ACCESS TO EVIDENCE. TAKEN TOG ETHER                                                      - THI                    OF
              TIT TIONAL PBIVIL        RS E-XCULPATORY-EN IDENCE....
                      A. Ahhhs...well.....because THE POLICE DESTROYFD
                       THEM ALL and documented such DESTRUCTION -was
                          the reason there wasn'  tanvwav oftefli
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                   INTO THE HANDS OF THE ACCUSED THEREFORE PROTECTING THE INNOC                                                               FROM     2
         ERRONEOUS CONVICTIONS -W HILE ENSURING THE INTEGRI                                                                                   SYSTEM,'

                      AND ALSO U S.SUPREM E COURT RULING IN BRADY
         ''RFGARDLESS (REGARDLESSIIII) O F GOOD O R BAD FAITH ON THE PART OF THE PROSECUTIO N -
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                   TRUCTION OF EVIDENCE FAVORAiLE7:6 ZFHEDéiEEN/ùVIULAYG VIOLATES!DUE PROCW V.V..                                                                                  k
                      A. Ahhh....
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                                                       THER GUILT OR PUNISHMENT'
                   W HERE THE EVIDENCE IS MATERIAL TO EI                       ' ( Not optional: thus             .                                     -

         REQUIRERING THE DISMISSALOF CHARGESII
                                             )
                   AND THEN W E HAVE THE PBC 4TH DCA SCREAMING AN
                            IDENTICLE CASE - ONLY W I
                                                    TH A VIDEO
         The 4th DCA case - rul
                              ed as follows re ardin a si
                                                        tuation in which had the evidence NOT BEEN PRESERVED -the
         chargesM UST be DISM I SED -ofwhich a1lPBC viilante PD's-bein onthe statesside -wouldn'tbrin u in m
          e ence -Ms Iwou ave pu : ytatg !pa Ir?: . 9rIFP.
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                                         nwiçhedJMsorpot.                                                                                                   &v,-
            ...  we woul
                       d AFFIRM the trialcouds DISM ISSAL OF THE CHARGES againstthe appellee -W IT-HOUT having tc?                    -

          considernoo-d orbad faith ofthe sheriffs deoartment.An accused DUE PROCESS RIGHTS -ARE VlO-I.
                                                                                                      ATK -
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          PAGE 3.
               THUS W ITH ALL ABOVE BEING UNDEFENDABLE BY THE
                  STATE -ALL 3 PBC VIG ILANTE PROSECUTORS
                           ARE GUILW OF VIOLATING:
                              1)Obstructi
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